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     Proposed Counsel for the Debtors and
     Debtors-in-Possession

                           IN THE UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

                                                                    )
     In re:                                                         )    Chapter 11
                                                                    )
     GENESIS HEALTHCARE, INC., et al.,                              )    Case No. 25-80185 (SGJ)
                                                                    )
                                        Debtors. 1                  )    (Joint Administration Requested)
                                                                    )    (Emergency Hearing Requested)
                                                                    )

             DEBTORS’ EMERGENCY MOTION FOR ENTRY OF INTERIM AND
              FINAL ORDERS (I) AUTHORIZING THE DEBTORS TO (A) OBTAIN
            POSTPETITION FINANCING AND (B) UTILIZE CASH COLLATERAL,
          (II) GRANTING ADEQUATE PROTECTION TO PREPETITION SECURED
          PARTIES, (III) MODIFYING THE AUTOMATIC STAY, (IV) SCHEDULING
                 A FINAL HEARING, AND (V) GRANTING RELATED RELIEF




 1
       The last four digits of Genesis Healthcare, Inc’s federal tax identification number are 4755. There are 299 Debtors
       in these chapter 11 cases, for which the Debtors have requested joint administration. A complete list of the
       Debtors and the last four digits of their federal tax identification numbers are not provided herein. A complete
       list of such information may be obtained on the website of the Debtors’ proposed claims and noticing agent at
       https://dm.epiq11.com/Genesis. The location of Genesis Healthcare, Inc.’s corporate headquarters and the
       Debtors’ service address is 101 East State Street, Kennett Square, PA 19348.
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     EMERGENCY RELIEF HAS BEEN REQUESTED. RELIEF IS REQUESTED NOT LATER
     THAN 9:30 A.M. (CT) ON JULY 11, 2025.

     IF YOU OBJECT TO THE RELIEF REQUESTED OR YOU BELIEVE THAT EMERGENCY
     CONSIDERATION IS NOT WARRANTED, YOU MUST APPEAR AT THE HEARING IF ONE
     IS SET, OR FILE A WRITTEN RESPONSE PRIOR TO THE DATE THAT RELIEF IS
     REQUESTED IN THE PRECEDING PARAGRAPH. OTHERWISE, THE COURT MAY
     TREAT THE PLEADING AS UNOPPOSED AND GRANT THE RELIEF REQUESTED.

     A VIRTUAL HEARING WILL BE CONDUCTED ON THIS MATTER ON JULY 11, 2025 AT
     9:30 A.M. (CT) AT THE EARLE CABELL FEDERAL BUILDING, 1100 COMMERCE
     STREET, 14TH FLOOR, COURTROOM 1, DALLAS, TEXAS, 75242.

     YOU MAY PARTICIPATE IN THE HEARING EITHER IN PERSON OR BY AN AUDIO AND
     VIDEO CONNECTION.

     AUDIO COMMUNICATION WILL BE BY USE OF THE COURT’S DIAL-IN FACILITY. YOU
     MAY ACCESS THE FACILITY AT 1-650-479-3207. VIDEO COMMUNICATION WILL BE BY
     THE USE OF THE CISCO WEBEX PLATFORM. CONNECT VIA THE CISCO WEBEX
     APPLICATION OR CLICK THE LINK ON JUDGE JERNIGAN’S HOME PAGE. THE
     MEETING CODE IS 2304 154 2638. CLICK THE SETTINGS ICON IN THE UPPER RIGHT
     CORNER AND ENTER YOUR NAME UNDER THE PERSONAL INFORMATION SETTING.

     HEARING APPEARANCES MUST BE MADE ELECTRONICALLY IN ADVANCE OF
     ELECTRONIC HEARINGS. TO MAKE YOUR APPEARANCE, CLICK THE “ELECTRONIC
     APPEARANCE” LINK ON JUDGE JERNIGAN’S HOME PAGE. SELECT THE CASE NAME,
     COMPLETE THE REQUIRED FIELDS AND CLICK “SUBMIT” TO COMPLETE YOUR
     APPEARANCE.

          Genesis Healthcare, Inc. (“Genesis”) and certain of its affiliates and subsidiaries, as debtors

 and debtors-in-possession in the above-captioned chapter 11 cases (collectively, the “Debtors”),

 hereby move (the “Motion”) for entry of interim and final orders, substantially in the forms

 attached hereto as Exhibit A and Exhibit B (the “Interim Order” and the “Final Order,”

 respectively), granting the relief described below. In support thereof, the Debtors rely upon the

 Declaration of Louis E. Robichaux IV in Support of Chapter 11 Petitions and First Day Pleadings

 (the “First Day Declaration”), 2 filed contemporaneously herewith. In further support of the

 Motion, the Debtors respectfully represent as follows:


 2
      Capitalized terms used but not otherwise defined in this Motion shall have the meanings ascribed to them in the
      DIP Term Sheet (as defined below) or the First Day Declaration, as applicable.

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                                     RELIEF REQUESTED

        1.       By the Motion, the Debtors respectfully request entry of the Interim Order and the

 Final Order (collectively, the “DIP Orders”):

             •   DIP Facility: authorizing the Debtors to obtain postpetition financing on a secured
                 junior basis, consisting of a new money term loan facility (the “DIP Facility,” and
                 the loans issued thereunder, the “DIP Loans”) in an aggregate principal amount of
                 up to $30,000,000 pursuant to the terms and conditions set forth in the Interim
                 Order and that certain term sheet attached to the Interim Order as Exhibit 1 (as
                 may be amended, restated, supplemented, waived, or otherwise modified from
                 time to time in accordance with the terms hereof and thereof, the “DIP Term
                 Sheet”), executed by Genesis and FC-GEN Operations Investment, LLC, as
                 borrower (the “DIP Borrowers”), and those certain Debtors identified as
                 guarantors in the DIP Term Sheet (the “DIP Guarantors” and, together with the
                 DIP Borrowers, the “DIP Loan Parties”), Markglen, Inc., as lender under the DIP
                 Facility (in such capacity, the “Welltower DIP Lender”), OHI Mezz Lender LLC,
                 as lender under the DIP Facility (in such capacity, the “Omega DIP Lender”), and
                 CPE 88988 LLC, as lender under the DIP Facility (in such capacity, the “WAX
                 DIP Lender” and, together with Welltower DIP Lender and Omega DIP Lender,
                 the “DIP Lenders”), and Welltower OP LLC, upon execution of the DIP Credit
                 Agreement, administrative and collateral agent (in such capacity, the “DIP Agent”
                 and, together with the DIP Lenders, the “DIP Secured Parties”);

             •   DIP Loan Documents: authorizing the Debtors to enter into the DIP Term Sheet
                 and, subject to a final order, that certain loan agreement by and among the DIP
                 Borrowers, the DIP Guarantors, the DIP Lenders, and the DIP Agent (the “DIP
                 Credit Agreement”) and that certain promissory note evidencing the obligations
                 due and owing under the DIP Credit Agreement (the “DIP Note”) and any other
                 agreements, instruments, pledge agreements, guarantees, indemnities, security
                 agreements, intellectual property security agreements, control agreements, escrow
                 agreements, instruments, notes, and documents executed in accordance and
                 connection therewith (each as amended, restated, supplemented, waived, or
                 otherwise modified from time to time in accordance with the terms hereof and
                 thereof, and collectively with the DIP Term Sheet, the DIP Credit Agreement, and
                 the DIP Note, the “DIP Loan Documents”);

             •   DIP Facility Obligations: authorizing the DIP Borrowers to incur, and for the
                 DIP Guarantors to guarantee on an unconditional joint and several basis,
                 obligations for principal, interest, fees, costs, expenses, obligations (whether
                 contingent or otherwise), and all other amounts, as and when due and payable
                 under and in accordance with the Interim Order, the DIP Term Sheet, and the other
                 DIP Loan Documents (collectively, the “DIP Facility Obligations”);

             •   Authorization: authorizing the DIP Loan Parties to perform such other and further
                 acts as may be necessary or desirable in connection with this Interim Order, the
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             DIP Term Sheet, the DIP Loan Documents, and the transactions contemplated
             hereby and thereby;

         •   DIP Liens: granting each of the DIP Lenders, jointly and severally, and
             authorizing the DIP Loan Parties to incur, the DIP Liens, as applicable, in all DIP
             Collateral having the priority described in the Interim Order;

         •   DIP Superpriority Claims: granting each of the DIP Lenders, jointly and
             severally, and authorizing the DIP Loan Parties to incur, allowed superpriority
             administrative expense claims against each of the DIP Loan Parties in respect of
             all DIP Facility Obligations, in each case, in accordance with the terms of the
             Interim Order;

         •   Cash Collateral: authorizing the DIP Loan Parties’ use of Prepetition Collateral,
             including Cash Collateral, as well as the proceeds of the DIP Facility, subject to
             the terms and conditions set forth in the Interim Order and the DIP Loan
             Documents;

         •   Adequate Protection: providing adequate protection to the Prepetition Secured
             Parties on account of any Diminution in Value (as defined in the Interim Order) of
             the Prepetition Secured Parties’ interest in the Prepetition Collateral;

         •   Automatic Stay; Immediate Effectiveness: modifying the automatic stay imposed
             by Bankruptcy Code section 362 solely to the extent necessary to implement and
             effectuate, including the right to exercise remedies following an Event of Default
             and expiration of any applicable notice period, the terms and provisions of the
             Interim Order and the DIP Loan Documents, waiving any applicable stay
             (including under Bankruptcy Rule 6004) with respect to the effectiveness and
             enforceability of the Interim Order, and providing for the immediate effectiveness
             of the Interim Order;

         •   506(c) and Equities of the Case Waivers: upon entry of a Final Order providing
             for such relief and as set forth in paragraphs 25 and 27 of the Interim Order,
             authorizing the Debtors to waive as to the DIP Lenders and Prepetition Secured
             Parties (a) any rights to surcharge the DIP Collateral or any Prepetition Collateral
             pursuant to Bankruptcy Code section 506(c), and (b) any “equities of the case”
             exception under Bankruptcy Code section 552(b);

         •   Marshalling Waiver: upon entry of a Final Order providing for such relief,
             waiving the equitable doctrine of “marshaling” and other similar doctrines with
             respect to (a) the DIP Collateral, for the benefit of any party other than the DIP
             Secured Parties, and (b) the Prepetition Collateral, for the benefit of any party other
             than the Prepetition Secured Parties, subject to the Carve Out; and

         •   Final Hearing: scheduling a final hearing (the “Final Hearing”) to consider entry
             of the Final Order, and approving the form of notice with respect to the Final
             Hearing.
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        2.      The Debtors also request that the DIP Orders authorize the Debtors’ banks and other

 financial institutions to receive, process, honor, and pay any and all checks and other forms of

 payment drawn on the Debtors’ bank accounts, including fund transfers and electronic payment

 requests, to the extent they relate to any of the foregoing and to rely on the Debtors’ direction to

 pay amounts authorized under the Motion, provided that sufficient funds are available in the

 applicable accounts to make such payments.

                                 JURISDICTION AND VENUE

        3.      The Court has jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157 and

 1334 and the Order of Reference of Bankruptcy Cases and Proceedings Nunc Pro Tunc dated

 August 3, 1984, entered by the United States District Court for the Northern District

 of Texas. This matter is a core proceeding under 28 U.S.C. § 157(b). Venue of these cases and

 the Motion in this District is proper under 28 U.S.C. §§ 1408 and 1409.

        4.      The legal predicates for the relief requested herein are sections 105, 361, 362, 363

 364(c), 364(d)(1), 364(e), 503 and 507 of title 11 of the United States Code (the “Bankruptcy

 Code”), Rule(s) 2002, 4001, 6003, 6004 and 9014 of the Federal Rules of Bankruptcy Procedure

 (the “Bankruptcy Rules”), Rules 2002-1, 4001-1. 5005-1, and 9013-1 of the Local Bankruptcy

 Rules of the United States Bankruptcy Court for the Northern District of Texas (the “Local Rules”),

 and Sections C and D of the Procedures for Complex Cases in the Northern District of Texas,

 effective February 6, 2023 (the “Complex Case Procedures”).

                                         BACKGROUND

 I.     The Chapter 11 Cases

        5.      On July 9, 2025 (the “Petition Date”), each Debtor commenced a case by filing a

 petition for relief under chapter 11 of the Bankruptcy Code (collectively, the “Chapter 11 Cases”)


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 in the United States Bankruptcy Court for the Northern District of Texas, Dallas Division

 (the “Court”). Contemporaneously herewith, the Debtors have requested procedural consolidation

 and joint administration of the Chapter 11 Cases pursuant to Bankruptcy Rule 1015(b). The

 Debtors continue to operate their businesses and manage their properties as debtors and debtors-

 in-possession pursuant to Bankruptcy Code sections 1107(a) and 1108.

         6.      To date, the Office of the United States Trustee for Region 6 (the “U.S. Trustee”)

 has not appointed an official committee in these Chapter 11 Cases, nor has any trustee or examiner

 been appointed.

         7.      Additional information regarding the Debtors and these Chapter 11 Cases,

 including the Debtors’ business operations, capital structure, financial condition, and the reasons

 for and objectives of these Chapter 11 Cases, is set forth in the First Day Declaration.

 II.     Proposed Postpetition Financing

         8.      As discussed in the First Day Declaration, the Company’s liquidity challenges are

 not new.     As part of the Company’s continuing growth — both organically and through

 acquisitions — the Company transformed into a multi-billion-dollar operation with over 500

 facilities in 34 states at its peak. With those acquisitions, however, came a complex web of legacy

 liabilities and operational challenges that built up over time. In addition, the COVID-19 pandemic

 and its resulting after-effects irrevocably changed the Company and the industry in ways that are

 still prevalent today.

         9.      In the months prior to the Petition Date, the Company engaged constructively and

 collaboratively with the lenders under the Prepetition Term Loans to explore potential

 restructuring scenarios. As part of this process, the Debtors sought post-petition financing, which

 ultimately was memorialized in the DIP Term Sheet, proposed to be entered into by the DIP Loan


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 Parties and the DIP Secured Parties, which will supply the Debtors with critical and necessary

 postpetition debtor-in-possession financing. The DIP Facility and the Debtors’ ability to use Cash

 Collateral are essential to the Debtors’ ability to maintain their business relationships with their

 employees, landlords, administrative personnel, vendors, and suppliers, and to meet their ongoing

 obligations to their residents. In short, access to the proceeds of the DIP Facility and the use of

 Cash Collateral are crucial to the Debtors’ continued viability during the Chapter 11 Cases. Any

 disruption in operations would likely have a grave and immediate impact on the Debtors’

 businesses and negatively impact their chapter 11 effort.

         10.     The DIP Facility consists of a postpetition junior secured debtor-in-possession

 credit facility in the form of a new money term loan facility in an aggregate principal amount of

 up to $30 million, with a maximum principal amount of $12 million available upon entry of the

 Interim Order, available upon satisfaction of certain conditions set forth in the DIP Term Sheet.

 The DIP Facility will be secured by (a) valid, binding, continuing, enforceable, fully-perfected

 first priority senior security interests in and liens on all property of the DIP Loan Parties, whether

 existing on the Petition Date or thereafter acquired, that, on or as of the Petition Date are not subject

 to valid, perfected and non-avoidable liens (or perfected after the Petition Date to the extent

 permitted by Bankruptcy Code section 546(b)), and (b) valid, binding, continuing, enforceable,

 fully-perfected security interests in and liens on all property of the DIP Loan Parties (other than

 the property described in clause (a) above, as to which the liens and security interests in favor of

 the DIP Lenders will be as described in such clause), whether existing on the Petition Date or

 thereafter acquired, which DIP Liens shall be (A) subject only to the Carve Out, the ABL

 Obligations, Prepetition ABL Liens, ABL Adequate Protection, Prepetition Term Loan

 Obligations, Prepetition Term Loan Liens, Prepetition Term Loan Adequate Protection,


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 WELL/OHI Master Lease Obligations, WELL/OHI Master Lease Liens, WELL/OHI Master

 Lease Adequate Protection Liens, Prepetition Rochester Manor HUD Liens, Prepetition HUD

 Lender Liens, and Other Landlord Liens, and (B) senior to any and all other liens and security

 interests in the DIP Collateral.

        11.     If approved, the proposed DIP Facility will provide the Debtors with access to much

 needed liquidity that will enable the Debtors to, among other things, honor employee wages and

 benefits, procure goods and services, fund general and corporate operating needs and the

 administration of these Chapter 11 Cases, and, most importantly, continue to provide quality care

 at the Debtors’ Facilities, in each case in accordance with the Approved DIP Budget agreed upon

 by the Debtors and the DIP Lenders and attached as Exhibit 2 to the Interim Order.

        12.     In addition, by this Motion, the Debtors seek the Court’s authorization to use Cash

 Collateral. The nature of the Debtors’ business requires the Debtors to have immediate use of

 Cash Collateral. Without it, the Debtors would be unable to operate their business and administer

 their estates, which would immediately and irreparably harm their stakeholders. With access to

 Cash Collateral, the Debtors will be able to continue their operations and preserve value for the

 benefit of their estates and stakeholders.

        13.     It is particularly important that the Debtors be granted authority to use Cash

 Collateral subject to the Prepetition ABL Liens. Pursuant to the Prepetition ABL Documents, the

 Prepetition ABL Agent, for the benefit of itself and the Prepetition ABL Lenders, holds a priority

 lien on the Debtors’ cash.         Because of the Debtors’ existing borrowing base and reserve

 requirements imposed by the Prepetition ABL Documents, it was unclear to the Debtors whether

 the Prepetition ABL Lenders would provide the Debtors with any additional liquidity.

 Accordingly, by this Motion, the Debtors are seeking the authority to use the Cash Collateral


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 subject to the Prepetition ABL Liens, with the Prepetition ABL Lenders being provided adequate

 protection on account of their liens.

        14.     Overall, the DIP Facility is the culmination of extensive prepetition negotiations

 between the Debtors and the DIP Secured Parties and is the only actionable proposal that the

 Debtors’ received. Access to the proposed DIP Facility will send a clear signal to the Debtors’

 stakeholders that the Debtors’ business is on the path to solid footing, encouraging them to work

 cooperatively with the Debtors through the restructuring. As set forth in the First Day Declaration,

 the Debtors and their estates would suffer immediate and irreparable harm if the Debtors were

 denied the financing needed to sustain ongoing business operations during the critical first weeks

 of these Chapter 11 Cases. First Day Decl. ¶¶ 108–110. The DIP Facility ensures that the Debtors

 (a) have sufficient funding to consummate a value-maximizing restructuring transaction and

 (b) can continue to operate uninterrupted in these Chapter 11 Cases. Further, as set forth in the

 DIP Declaration, the terms of the DIP Facility are reasonable under the circumstances, and were

 the product of good faith, arm’s-length negotiations.

        15.     Accordingly, the relief requested by this Motion is necessary, both to preserve the

 Debtors’ operations and provide a bridge to consummation of a comprehensive restructuring

 transaction.   For the reasons set forth in this Motion, the First Day Declaration, and the

 DIP Declaration, the Debtors firmly believe that the DIP Facility and continued use of Cash

 Collateral, on the terms set forth in the Interim Order, are necessary to avoid immediate and

 irreparable harm and are in the best interests of the Debtors, their estates, and all stakeholders. The

 Debtors respectfully request that the Court enter the Interim Order.




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 III.       Concise Summary of Terms of DIP Facility

            A.       Summary of Material Terms

            16.      Under the disclosure requirements of Bankruptcy Rule 4001(b), (c) and (d) and

 Section D.13 of the Complex Case Procedures, the following table concisely summarizes the

 significant terms of the DIP Facility and the Interim Order: 3

                  MATERIAL TERMS OF THE PROPOSED POSTPETITION FINANCING

     Borrower                    Genesis, a Delaware limited liability company, and FC-GEN Operations
                                 Investment, LLC, a Delaware limited liability company, each in its capacity
     Fed. R. Bankr. P.           as a debtor and debtor-in-possession.
     4001(c)(1)(B)
                                 (DIP Term Sheet, Borrower)

     Guarantors                  Each of the Borrower’s direct and indirect affiliates and subsidiaries that
                                 commence Chapter 11 Cases on or after the Petition Date, including without
     Fed. R. Bankr. P.           limitation such affiliates and subsidiaries as set forth on Exhibit B of the DIP
     4001(c)(1)(B)               Term Sheet.
                                 (DIP Term Sheet, Guarantors)

     DIP Secured Parties         DIP Lenders:     Markglen, Inc., OHI Mezz Lender LLC, and CPE 88988 LLC
                                 DIP Agent:       Welltower OP LLC, as the administrative and collateral agent
     Fed. R. Bankr. P.
     4001(c)(1)(B)               (DIP Term Sheet, DIP Secured Parties)

     Amount and Type of          A junior secured debtor-in-possession credit facility comprised of a term loan
     Facilities                  credit facility available in two draws in an aggregate principal amount equal
                                 to $30,000,000, which shall be available as term loans upon entry of the
     Fed. R. Bankr. P.           Interim Order and satisfaction of the other conditions set forth therein in an
     4001(c)(1)(B)               initial amount not to exceed the amount reflected in the Budget and the
                                 remainder available upon entry of the Final Order.
                                 (DIP Term Sheet, Type and Amount of the DIP Facility)

     Interest Rates, Fees,       Interest Rate. 15%, with such interest payable monthly in arrears in kind
     and Expenses                (i.e., by adding such outstanding interest to the aggregate principal amount
                                 of the DIP Loans) on the monthly anniversary of the Petition Date,
     Fed. R. Bankr. P.           computed based on a 365/366-day year; provided that any and all accrued
     4001(c)(1)(B)               and unpaid (in cash) interest shall be due and payable in cash upon the DIP
                                 Termination Date.



 3
        The summaries contained in this Motion are qualified in their entirety by the provisions of the documents
        referenced including, without limitation, the DIP Term Sheet and the Interim Order. To the extent anything in
        this Motion is inconsistent with such documents, the terms of the applicable documents shall control.

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            MATERIAL TERMS OF THE PROPOSED POSTPETITION FINANCING
                      (DIP Term Sheet, Interest)

                      Default Rate. An additional 2% per annum above the applicable interest rate
                      if an Event of Default under the DIP Loan Documents has occurred and is
                      continuing.
                      (DIP Term Sheet, Default Interest)

                      Upfront Fee: Each DIP Lender shall receive an upfront fee, payable-in-kind
                      (i.e., by adding such fee to the aggregate principal amount of the DIP Loans)
                      equal to 2% of such DIP Lender’s DIP Commitment under the DIP Facility,
                      which shall be fully earned, non-refundable, and due and payable upon the
                      Closing Date.
                      Exit Fee: Each DIP Lender shall receive a payable-in-cash exit fee
                      (the “Exit Fee”) equal to 4% of such DIP Lender’s initial DIP Commitment,
                      which shall be fully earned and non-refundable on the Closing Date, and
                      payable on the DIP Termination Date; provided, however, if the DIP
                      Termination Date has occurred solely as a result of the occurrence and
                      continuation of an Event of Default under the DIP Loan Documents, then the
                      Exit Fee shall not be payable until the DIP Facility Obligations have been
                      accelerated by the DIP Lenders.
                      (DIP Term Sheet, Fees)

                      Expenses: All fees, including reasonable and documented out-of-pocket legal
                      and other professional fees (limited to the reasonable and documented fees of
                      the advisors) related to negotiating, documenting, approving, administering,
                      monitoring or enforcing any rights under the DIP Facility of each DIP Lender
                      shall be paid by the Debtors promptly upon written demand and without the
                      requirement of Court approval.
                      (DIP Term Sheet, Expenses)

 Maturity             All DIP Obligations will be due and payable in full in cash unless otherwise
                      agreed to in writing (email being sufficient) by each of the DIP Lenders on
 Fed. R. Bankr. P.    the earliest of (i) the date that is 210 calendar days after the Petition Date (or
 4001(c)(1)(B)        such later date as agreed to by each of the DIP Lenders), (ii) if the Final DIP
                      Order has not been entered, 35 calendar days after the Petition Date (or such
                      later date as agreed to by each of the DIP Lenders), (iii) the acceleration of the
                      DIP Loans and the termination of the DIP Commitments upon the occurrence
                      of an event referred to in the DIP Term Sheet under “Termination”, (iv) the
                      effective date of any chapter 11 plan of reorganization or liquidation of the
                      Borrower or any other Loan Parties (the “Plan”), (v) the date the Bankruptcy
                      Court converts any of the Chapter 11 Cases to a case under chapter 7 of the
                      Bankruptcy Code, (vi) the date the Bankruptcy Court dismisses any of the
                      Chapter 11 Cases, (vii) the closing of any sale of assets under section 363 of
                      the U.S. Bankruptcy Code, which when taken together with all other sales of
                      assets since the Closing Date, constitutes a sale of all or substantially all of the
                      assets of the Loan Parties, (viii) the date an order is entered in any Bankruptcy
                      Case appointing a chapter 11 trustee or examiner with enlarged powers,
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           MATERIAL TERMS OF THE PROPOSED POSTPETITION FINANCING
                         (ix) the date on which the Debtors consent to the standing of any party,
                         including a Committee to pursue any claim or cause of action belonging to the
                         Debtors or their estates, including, without limitation, any Challenge, and
                         (x) the date on which a Challenge Proceeding is commenced by any party,
                         including the Debtors or a Committee (each, a “DIP Termination Event” and
                         the earliest of any such date, the “DIP Termination Date”). Principal of, and
                         accrued interest on, the DIP Loans and all other amounts owing to the DIP
                         Lenders under the DIP Facility shall be due and payable in cash on the DIP
                         Termination Date.
                         The occurrence of the DIP Termination Date shall terminate the ability of the
                         Borrower to borrow the Initial Draw or the Final Draw and shall terminate the
                         DIP Commitments and any further obligation each DIP Lender has to make
                         any DIP Loans under the DIP Loan Documents.
                         (DIP Term Sheet, Maturity)

 Mandatory               Subject to the senior rights of the ABL Lenders in Prepetition ABL Collateral,
 Prepayments             the Prepetition Term Loan Lenders in Prepetition Term Loan Collateral, the
                         WELL/OHI Master Lease Secured Parties in WELL/OHI Master Lease
 Fed. R. Bankr. P.       Collateral, and the Other Landlords in Other Landlord Collateral, the
 4001(c)(1)(B)           following amounts shall be indefeasibly paid in cash in satisfaction of the DIP
                         Obligations within two (2) business days of receipt, except as such amounts
                         are set forth in the Budget and are necessary to satisfy the expenditures set
                         forth in the Budget:
                            i.       100% of the net proceeds of asset sales.
                           ii.       100% of the net proceeds of insurance and condemnation awards.
                          iii.       100% of the net proceeds of any debt issuance or equity issuance.
                          iv.        100% of proceeds of claims and causes of action.
                         (DIP Term Sheet, Mandatory Prepayments)

 Security and Priority   As security for all obligations of the Borrower and the Guarantors to the DIP
                         Lenders under the DIP Facility, including, without limitation, all principal and
 Fed. R. Bankr. P.       accrued interest, premiums (if any), costs, fees and expenses or any other
 4001(c)(1)(B)(i)        amounts due (collectively, the “DIP Obligations”), effective and
                         automatically perfected upon the date of the Interim DIP Order, and without
                         the necessity of the execution, recordation of filings by the Debtors of
                         mortgages, security agreements, control agreements, pledge agreements,
                         financing statements, or other similar documents, or the possession or control
                         by any DIP Lender of, or over, any DIP Collateral, the following security
                         interests and liens will be granted by the Debtors to the DIP Lenders, subject
                         only to the ABL Obligations, Prepetition ABL Liens, ABL Adequate
                         Protection, Prepetition Term Loan Obligations, Prepetition Term Loan Liens,
                         Prepetition Term Loan Adequate Protection, WELL/OHI Master Lease
                         Obligations, WELL/OHI Master Lease Liens, WELL/OHI Master Lease
                         Adequate Protection Liens, Prepetition Rochester Manor HUD Liens,
                         Prepetition HUD Lender Liens, Other Landlord Liens, payment of the Carve
                         Out to the extent provided for herein and the Permitted Liens (if any) (all such
                         liens and security interests granted to the DIP Lenders under the Interim DIP
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                      Order and the DIP Loan Documents, the “DIP Liens,” and the property subject
                      to the DIP Liens, collectively, the “DIP Collateral”):

                         i.      First Lien on Unencumbered Property: Under section 364(c)(2)
                                 of the Bankruptcy Code, a valid, binding, continuing,
                                 enforceable, fully-perfected first priority senior security interest
                                 in and lien on all property of the Loan Parties, whether existing
                                 on the Petition Date or thereafter acquired, that, on or as of the
                                 Petition Date is not subject to valid, perfected and non-avoidable
                                 liens (or perfected after the Petition Date to the extent permitted
                                 by section 546(b) of the Bankruptcy Code), including, but not
                                 limited to, all of the Loan Parties’ respective rights, title, or
                                 interest in and to the following assets to the extent unencumbered:
                                 cash and any investment of such cash, accounts, inventory, goods,
                                 contract rights, mineral rights, instruments, documents, chattel
                                 paper, patents, trademarks, copyrights and licenses therefor,
                                 accounts receivable, receivables and receivables records, general
                                 intangibles, payment intangibles, tax or other refunds, insurance
                                 proceeds, letters of credit, intercompany claims, contracts, owned
                                 real estate, real property leaseholds and proceeds therefrom,
                                 fixtures, deposit accounts, commercial tort claims, securities
                                 accounts, instruments, investment property, letter-of-credit rights,
                                 supporting obligations, vehicles, machinery and equipment, real
                                 property, all of the issued and outstanding capital stock of each
                                 Loan Party, other equity or ownership interests, including equity
                                 interests in subsidiaries and non-wholly-owned subsidiaries,
                                 beneficial interests in any trust, money, investment property,
                                 causes of action (including, for the avoidance of doubt, but
                                 subject to entry of the Final DIP Order, all proceeds of the Loan
                                 Parties’ respective claims and causes of action under sections
                                 502(d), 544, 545, 547, 548, 549, 550, and 553 of the Bankruptcy
                                 Code and any other avoidance or similar action under the
                                 Bankruptcy Code or similar state law (the “Avoidance Actions”)),
                                 and all cash and non-cash proceeds, rents, products, substitutions,
                                 accessions, profits, and supporting obligations of any of the
                                 collateral described above, whether in existence on the Petition
                                 Date or thereafter created, acquired, or arising and wherever
                                 located;

                        ii.      Priming Liens and Liens Junior to Certain Other Liens: Under
                                 sections 364(c)(3) and 364(d)(1) of the Bankruptcy Code, a valid,
                                 binding, continuing, enforceable, fully-perfected security interest
                                 in and lien on all property of the Loan Parties (other than the
                                 property described in clause (i) above, as to which the liens and
                                 security interests in favor of the DIP Lenders will be as described
                                 in such clause), whether existing on the Petition Date or thereafter
                                 acquired including, but not limited to, all of the Loan Parties’
                                 respective rights, title, or interest in and to the following assets:
                                 cash and any investment of such cash, accounts, inventory, goods,
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         MATERIAL TERMS OF THE PROPOSED POSTPETITION FINANCING
                                   contract rights, mineral rights, instruments, documents, chattel
                                   paper, patents, trademarks, copyrights and licenses therefor,
                                   accounts receivable, receivables and receivables records, general
                                   intangibles, payment intangibles, tax or other refunds, insurance
                                   proceeds, letters of credit, intercompany claims, contracts, owned
                                   real estate, real property leaseholds and proceeds therefrom,
                                   fixtures, deposit accounts, commercial tort claims, securities
                                   accounts, instruments, investment property, letter-of-credit rights,
                                   supporting obligations, vehicles, machinery and equipment, real
                                   property, all of the issued and outstanding capital stock of each
                                   Loan Party, other equity or ownership interests, including equity
                                   interests in subsidiaries and non-wholly-owned subsidiaries,
                                   beneficial interests in any trust, money, investment property,
                                   causes of action (including, for the avoidance of doubt, but
                                   subject to entry of the Final DIP Order, all proceeds of Avoidance
                                   Actions), and all cash and non-cash proceeds, rents, products,
                                   substitutions, accessions, profits, and supporting obligations of
                                   any of the collateral described above, whether in existence on the
                                   Petition Date or thereafter created, acquired, or arising and
                                   wherever located, which DIP Liens shall be (A) subject only to
                                   the Carve Out, the ABL Obligations, Prepetition ABL Liens,
                                   ABL Adequate Protection, Prepetition Term Loan Obligations,
                                   Prepetition Term Loan Liens, Prepetition Term Loan Adequate
                                   Protection, WELL/OHI Master Lease Obligations, WELL/OHI
                                   Master Lease Liens, WELL/OHI Master Lease Adequate
                                   Protection Liens, Prepetition Rochester Manor HUD Liens,
                                   Prepetition HUD Lender Liens, and Other Landlord Liens (in
                                   each case, to the extent such liens and security interests are valid,
                                   perfected and nonavoidable as of the Petition Date, the “Permitted
                                   Liens”), and (B) senior to any and all other liens and security
                                   interests in the DIP Collateral.

                      Except to the extent expressly permitted hereunder (including, for the
                      avoidance of doubt, the Prepetition ABL Liens, Prepetition Term Loan Liens,
                      WELL/OHI Master Lease Liens, Other Landlord Liens, HUD Liens, and
                      adequate protection with respect to the foregoing, as applicable), subject to
                      the Carve Out, the DIP Liens and the DIP Superpriority Claims shall not be
                      made subject to or pari passu with (a) any lien, security interest, or claim
                      heretofore or hereinafter granted in any of the Chapter 11 Cases or any
                      successor cases, including any subsequently converted Chapter 11 Case of the
                      Debtor to a case under chapter 7 of the Bankruptcy Code and any lien or
                      security interest granted in favor of any federal, state, municipal, or other
                      governmental unit (including any regulatory body), commission, board, or
                      court for any liability of the Debtors, (b) any lien or security interest that is
                      avoided or preserved for the benefit of the Debtors and their estates under
                      section 551 of the Bankruptcy Code or otherwise, (c) any intercompany or
                      affiliate claim, lien, or security interest of the Debtors or their affiliates, or



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                      (d) any other lien, security interest, or claim arising under section 363 or 364
                      of the Bankruptcy Code granted on or after the date hereof.
                      (DIP Term Sheet, Priority and Security under DIP Facility; Interim
                      Order, ¶ 5)

 DIP Budget and       Subject to the satisfaction of the conditions precedent set forth below, use of
 Reporting            cash shall be subject to a 13-week cash flow forecast commencing on the
                      Petition Date, which forecast shall include an itemized list of expenses to be
 Fed. R. Bankr. P.    incurred during each week along with information sufficient to denote the
 4001(c)(1)(B)        purpose of such expenses and shall be in form and substance acceptable to
                      each of the DIP Lenders in their sole discretion (the “Budget,” a copy of the
                      initial Budget is attached as Exhibit A to the DIP Term Sheet) and shall, at a
                      minimum, contain the categories set forth in the Budget attached as Exhibit A
                      to the DIP Term Sheet (each, a “Reporting Category”).
                      By no later than 5:00 pm ET on the fourth business day of each week,
                      commencing with the fourth full week after the Petition Date (each, a
                      “Reporting Date”), Borrower shall deliver to the DIP Lenders a variance
                      report (each, a “Variance Report”) showing comparisons of actual results for
                      each line item against such line item in the Budget. Each Variance Report
                      shall indicate whether there are any adverse variances that exceed the allowed
                      variances, which means, in each case measured on a cumulative basis for the
                      prior four-week period and for the period from the Petition Date, (x) up to
                      15% in the aggregate for all “Total Operating Disbursements,” excluding, for
                      the avoidance of doubt, “Non-Operating Disbursements” and “Restructuring
                      Disbursements” and (y) up to 15% in the aggregate for all “Total Receipts”
                      (all as defined in the Budget) (each, a “Permitted Variance”)
                      If necessary, the Debtors may provide to the DIP Lenders an updated 13-week
                      cash flow forecast, containing line items of sufficient detail to reflect the
                      Debtors’ projected cash receipts and disbursements for such 13-week period
                      on a weekly basis (the “Updated 13-Week Forecast”). Such Updated 13-
                      Week Forecast shall be acceptable to each of the DIP Lenders in their sole
                      discretion, and upon acceptance by each of the DIP Lenders, such Updated
                      13-Week Forecast shall become the new Budget commencing on such week,
                      and promptly after ethe DIP Lenders approve the new Budget, the Debtors
                      shall deliver the new Budget, together with any amendments or modifications
                      thereto approved by each of the DIP Lenders. In the event that the DIP
                      Lenders and the Debtors do not agree to an updated Budget, the Budget shall
                      be the then-existing Budget or such Budget as may be approved by the
                      Bankruptcy Court after a hearing.
                      (DIP Term Sheet, Financial Reporting Requirements)

 Lending Conditions   The DIP Lenders’ obligations to fund the Initial Draw will be subject to each
                      of the following conditions precedent satisfied to each of the DIP Lenders’
 Fed. R. Bankr. P.    sole discretion:
 4001(c)(1)(B)
                        i.    All “first day” motions, including those related to the DIP Facility,
                              filed by the Debtors and related interim and final orders, as applicable,
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                              entered within 3 business days of the Petition Date by the Bankruptcy
                              Court in the Chapter 11 Cases shall be in form and substance
                              reasonably satisfactory to each of the DIP Lenders.

                        ii.   The DIP Lenders shall have received a Budget in form and substance
                              satisfactory to each of the DIP Lenders. Entry by the Bankruptcy
                              Court of the Interim DIP Order authorizing the secured financing
                              under the DIP Facility on the terms and conditions contemplated by
                              this DIP Term Sheet, authorizing the Debtors’ use of DIP Collateral
                              subject to the terms provided herein, and otherwise on terms
                              reasonably acceptable to each of the DIP Lenders no later than 3
                              business days after the Petition Date, and such Interim DIP Order
                              shall be in full force and effect and not have been vacated, reversed,
                              stayed, modified or amended (except in the case of a modification or
                              amendment as consented to by each of the DIP Lenders, in their sole
                              discretion) and shall not be subject to a stay pending appeal or motion
                              for leave to appeal or other proceeding to set aside any such order or
                              the challenge to the relief provided for in it, except as consented to by
                              each of the DIP Lenders.

                       iii.   Entry by the Bankruptcy Court of an order authorizing, on an interim
                              basis, the use of Cash Collateral and providing for adequate protection
                              in favor of the Prepetition Secured Parties on terms satisfactory to the
                              Prepetition Secured Parties.

                       iv.    The DIP Lenders shall have a valid and perfected lien on and security
                              interest in the DIP Collateral of the Debtors on the basis and with the
                              priority set forth herein.

                        v.    All out-of-pocket costs, fees and expenses required to be paid to the
                              DIP Lenders under this DIP Term Sheet, the DIP Loan Documents or
                              the Interim DIP Order shall have been paid.

                       vi.    No default or Event of Default shall have occurred, and shall be
                              continuing, under the DIP Term Sheet immediately prior to the
                              funding of the DIP Loans or would result from such borrowing of the
                              DIP Loans.

                      vii.    The Borrower shall have delivered to the DIP Lenders a customary
                              borrowing notice.

                      viii.   Other than the Chapter 11 Cases, as stayed upon the commencement
                              of the Chapter 11 Cases, or as disclosed in writing to the DIP Lenders
                              prior to the Petition Date, there shall exist no action, suit,
                              investigation, litigation or proceeding pending or threatened in
                              writing in any court or before any arbitrator or governmental authority
                              that (a) would reasonably be expected to result in a material adverse
                              effect, or (b) restrains, prevents or purports to affect materially

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                              adversely the legality, validity or enforceability of the DIP Facility or
                              the consummation of the transactions contemplated thereby.

                       ix.    The making of the Initial Draw shall not violate any requirement of
                              law and shall not be enjoined, temporarily, preliminarily, or
                              permanently.
                      (DIP Term Sheet, Conditions Precedent to Initial Draw)

 Entities with an     As of the Petition Date, the following secured parties have an interest in
 Interest in Cash     Cash Collateral:
 Collateral
                          •   Prepetition ABL Secured Parties
 Fed. R. Bankr. P.
 4001(b)(1)(B)(i)         •   Prepetition Term Loan Secured Parties
                          •   Rochester Manor HUD Lender (as defined below)
                          •   Internal Revenue Service
                          •   HUD (as defined below)
                      (Interim Order, ¶ E)
                      Proceeds of the DIP Loans and Cash Collateral shall be used, in each case
 Use of Proceeds
                      subject to the Budget (including Permitted Variances) and the terms and
                      conditions of the DIP Term Sheet, the Interim DIP Order, the Final DIP Order,
 Fed. R. Bankr. P.
                      and the DIP Loan Documents, to (i) provide working capital and for other
 4001(b)(1)(B)(ii),
                      general corporate purposes of the Debtors, (ii) fund the costs of the
 4001(c)(1)(B)
                      administration of the Chapter 11 Cases (including professional fees and
                      expenses), and (iii) fund fees and other payments contemplated in respect of
                      the DIP Facility.

                      Without in any way limiting the foregoing, no DIP Collateral, Prepetition
                      Collateral, DIP Loans, Cash Collateral, proceeds of any of the foregoing, any
                      portion of the Carve Out, or any other cash or funds may be used, directly or
                      indirectly, by any of the Debtors, any official committee appointed in the
                      Chapter 11 Cases (the “Committee”), or any trustee or other estate
                      representative appointed in the Chapter 11 Cases or any other person or entity
                      (or to pay any professional fees, disbursements, costs or expenses incurred in
                      connection therewith): (a) to object to, contest, prevent, hinder, delay, or
                      interfere with, in any way, the DIP Secured Parties’ or the Prepetition Secured
                      Parties’ enforcement or realization upon any of the DIP Collateral, Prepetition
                      Collateral, or Cash Collateral, following the occurrence and continuation of a
                      DIP Termination Event ; or (b) to investigate (including by way of
                      examinations or discovery proceedings, whether formal or informal), prepare,
                      assert, join, commence, support, or prosecute any action for any claim,
                      counter-claim, action, proceeding, application, motion, objection, defense, or
                      other contested matter seeking any order, judgment, determination, or similar
                      relief against, or adverse to the interests of, in any capacity, against any of the
                      Prepetition Secured Parties, DIP Agent, and DIP Lenders, and each of their
                      respective successors, assigns, affiliates, parents, subsidiaries, partners,
                      controlling persons, representatives, agents, attorneys, advisors, financial
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                      advisors, consultants, professionals, officers, directors, members, managers,
                      shareholders, and employees, past, present and future, and their respective
                      heirs, predecessors, successors and assigns (in each case, in their respective
                      capacities as such) with respect to any transaction, occurrence, omission,
                      action, or other matter arising under, in connection with, or related to the
                      Interim DIP Order, the DIP Facility, the DIP Loan Documents, the DIP
                      Facility Obligations, the Prepetition Liens, the Prepetition Secured
                      Obligations, or the Prepetition Secured Documents or the transactions
                      contemplated therein or thereby, or any other matters relating to the Debtors,
                      including, without limitation, (A) any Avoidance Actions, (B) any so-called
                      “lender liability” claims and causes of action, (C) any claim or cause of action
                      with respect to the validity, enforceability, priority and extent of, or asserting
                      any defense, counterclaim, or offset to, the DIP Obligations, the DIP
                      Superpriority Claims, the DIP Liens, the DIP Loan Documents, the Adequate
                      Protection Liens, the Adequate Protection Claims, the Prepetition ABL
                      Obligations, the Prepetition ABL Documents, the Prepetition ABL Liens, the
                      Prepetition Term Loan Documents, Prepetition Term Loan Liens, the
                      Welltower Master Lease Agreement, the Welltower Master Lease Documents,
                      the Welltower Master Lease Liens, the Omega Master Lease Agreement, the
                      Omega Master Lease Documents, or the Omega Master Lease Liens, (D) any
                      claim or cause of action seeking to challenge, invalidate, modify, set aside,
                      avoid, marshal, subordinate, or recharacterize in whole or in part, the DIP
                      Obligations, the DIP Liens, the DIP Superpriority Claims, the DIP Collateral,
                      the Prepetition ABL Obligations, the Prepetition Collateral, the Adequate
                      Protection Liens, and the Adequate Protection Claims, or (E) any action
                      seeking to modify any of the rights, remedies, priorities, privileges,
                      protections, and benefits granted to any of the DIP Secured Parties hereunder
                      or under any of the DIP Loan Documents or the Prepetition Secured Parties
                      hereunder or under any of the Prepetition Secured Documents, as applicable
                      (in each case, including, without limitation, claims, proceedings, or actions
                      that might prevent, hinder, or delay any of the DIP Secured Parties, or the
                      Prepetition Secured Parties’ assertions, enforcements, realizations, or
                      remedies on or against the DIP Collateral or Prepetition Collateral in
                      accordance with the applicable DIP Loan Documents or Prepetition Secured
                      Documents and the Interim DIP Order and/or the Final DIP Order (as
                      applicable)); provided, that (i) no more than $25,000 in the aggregate of the
                      DIP Collateral, the Carve Out or Cash Collateral, proceeds from the
                      borrowings under the DIP Facility or any other amounts, may be used for
                      allowed fees and expenses incurred solely by any Committee (if appointed) in
                      investigating, but not objecting to, challenging, litigating, opposing,
                      prosecuting, or seeking to subordinate or recharacterize the validity,
                      enforceability, perfection, and priority of the Prepetition Liens, the Prepetition
                      Secured Documents, the Adequate Protection Liens, or the Adequate
                      Protection Claims prior to the Challenge Deadline, (ii) no more than an
                      additional $25,000 in the aggregate of the DIP Collateral, the Carve Out or
                      Cash Collateral, proceeds from the borrowings under the DIP Facility or any
                      other amounts, may be used for allowed fees and expenses incurred solely by
                      any Committee (if appointed) in investigating the claims and/or liens of the
                      WAX/MAO Term Lenders and each of their respective officers, directors,
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                          controlling persons, employees, agents, attorneys, affiliates, assigns, or
                          successors of each of the foregoing (collectively, the “WAX/MAO
                          Investigation Parties”), and (iii) no DIP Collateral (including Cash Collateral)
                          or any proceeds thereof shall be used to investigate, object to, challenge,
                          litigate, oppose, or prosecute any cause of action against the DIP Secured
                          Parties (in their capacity as such), including seeking to subordinate or
                          recharacterize the validity, enforceability, perfection, and priority of the DIP
                          Liens, the DIP Superpriority Claims, the DIP Loans, or the DIP Loan
                          Documents. Except to the extent expressly permitted by the terms of the DIP
                          Loan Documents and this Interim Order or any further order of this Court,
                          none of the Debtors, any Committee (if appointed), or any trustee or other
                          estate representative appointed in the Chapter 11 Cases or any other person or
                          entity may use or seek to use Cash Collateral or, to sell, or otherwise dispose
                          of DIP Collateral or Prepetition Collateral, in each case, without the consent
                          of each of the DIP Lenders.

                          (DIP Term Sheet, Use of Proceeds; Interim Order, ¶ 23)

 Stipulations as to       After consultation with their attorneys and financial advisors, and without
 Prepetition Liens and    prejudice to the rights of parties in interest, the Debtors, on their behalf and
 Claims                   on behalf of their estates, admit, stipulate, acknowledge, and agree to certain
                          stipulations regarding the validity and extent of the Prepetition Secured
 Fed. R. Bankr. P.        Parties’ claims and liens, but subject to paragraph 24 of the Interim Order.
 4001(c)(1)(B)(iii)
                          (Interim Order, ¶¶ E, 24)

 Effect of Stipulations   The Debtors’ Stipulations shall be binding on the Debtors in all circumstances
                          upon entry of the Interim Order. The Debtors’ Stipulations shall be binding
 Fed. R. Bankr. P.        on each other party in interest upon the occurrence of the Challenge Deadline,
 4001(c)(1)(B)(iii)       including, without limitation, any official committee, unless, and solely to the
                          extent that a Challenge Proceeding is commenced prior to the Challenge
                          Deadline.
                          (Interim Order, ¶ 24)

 Adequate Protection      ABL Adequate Protection. As adequate protection for the interests of the
                          Prepetition ABL Secured Parties in the Prepetition ABL Collateral (including
 Fed. R. Bankr. P.        Cash Collateral), under sections 361, 362, and 363(e) of the Bankruptcy Code,
 4001(c)(1)(B)(ii)        and as a condition for the use of their Prepetition Collateral, including any
                          Cash Collateral, the Prepetition ABL Secured Parties will be granted the
                          following (collectively, the “ABL Adequate Protection”):

                            i.      ABL Adequate Protection Liens: Solely to the extent of any
                                    Diminution in Value of any Prepetition ABL Secured Party’s
                                    interests in Prepetition ABL Collateral and in each case subject and
                                    subordinate to the Carve Out and any other prepetition Permitted
                                    Lien expressly permitted to be senior in priority to the ABL Liens
                                    on the Petition Date, the Prepetition ABL Secured Parties are
                                    granted the following security interests and liens (collectively, the
                                    “ABL Adequate Protection Liens”) under sections 361, 362, 363 of
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                                the Bankruptcy Code: valid, binding, enforceable, and perfected
                                replacement liens on and security interests in assets of the type and
                                nature that would be deemed Prepetition ABL Collateral but for the
                                filing of these cases, and the proceeds thereof. For the avoidance of
                                doubt, the DIP Liens, Prepetition Term Loan Adequate Protection
                                Liens, and the WELL/OHI Master Lease Adequate Protection Liens
                                shall be subject, subordinate and junior to all ABL Adequate
                                Protection Liens on assets of the type and nature that would be
                                deemed Prepetition ABL Collateral but for the filing of these cases,
                                and the proceeds thereof.

                        ii.     ABL Adequate Protection Superpriority Claims: Solely to the
                                extent of any Diminution in Value of any Prepetition ABL Secured
                                Party’s interests in Prepetition Collateral and in each case subject
                                and subordinate to the Carve Out, the Prepetition ABL Secured
                                Parties will be granted an allowed superpriority administrative
                                expense claim under sections 503(b) and 507(b) of the Bankruptcy
                                Code against the applicable Debtors (collectively, the “ABL
                                Adequate Protection Superpriority Claims”). All ABL Adequate
                                Protection Superpriority Claims shall have priority over any and all
                                administrative expenses and other claims against the applicable
                                Loan Parties now existing or hereafter arising, of any kind
                                whatsoever, including, without limitation, all administrative
                                expenses of the kind specified in sections 503(b) and 507(b) of the
                                Bankruptcy Code, and over any and all administrative expenses or
                                other claims arising under the Bankruptcy Code.

                       iii.     ABL Adequate Protection Payments: No later than the fifth
                                Business Day following entry of the Interim DIP Order and on the
                                fifth Business Day of each month hereafter, Debtors shall pay the
                                Prepetition ABL Agent adequate protection in the form of interest,
                                that has accrued at the non-default rate on the Prepetition ABL
                                Obligations as of the Petition Date to be applied by the Prepetition
                                ABL Agent in accordance with the Prepetition ABL Documents.

                       iv.      As further adequate protection, the Debtors will reimburse each
                                Prepetition ABL Secured Party for all reasonable and documented
                                out-of-pocket fees, costs and expenses of such Prepetition ABL
                                Secured Party (limited, in the case of counsel, to all reasonable and
                                documented out-of-pocket fees, costs, disbursements and expenses,
                                including one (1) local counsel and one (1) prepetition credit
                                counsel). All such fees, including reasonable and documented out-
                                of-pocket legal and other professional fees shall be paid by the
                                Debtors promptly upon written demand and without the requirement
                                of Bankruptcy Court approval.

                      For the avoidance of doubt and except for the ABL Adequate Protection Liens
                      and the ABL Adequate Protection Superpriority Claims, (a) the respective
                      rights, interests obligations, priority, and positions as between the Prepetition
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                      ABL Secured Parties and the Prepetition Term Loan Secured Parties shall
                      continue to be governed by the ABL/Term Loan Intercreditor Agreement; and
                      (b) the respective rights, interests obligations, priority, and positions as
                      between the Prepetition ABL Secured Parties and the WELL/OHI Master
                      Lease Landlords shall continue to be governed by the ABL/Landlord
                      Intercreditor Agreements.

                      Prepetition Term Loan Adequate Protection: As adequate protection for the
                      interests of the Prepetition Term Loan Secured Parties in the Prepetition
                      Collateral (including Cash Collateral), under sections 361, 362 and 363(e) of
                      the Bankruptcy Code, and as a condition for the use of the Prepetition
                      Collateral, including any Cash Collateral, the Prepetition Term Loan Secured
                      Parties will be granted the following (collectively, the “Prepetition Term Loan
                      Adequate Protection”):

                         i.   Prepetition Term Loan Adequate Protection Liens. Solely to the
                              extent of, and in an aggregate amount equal to, any Diminution in
                              Value of any Prepetition Term Loan Secured Party’s interests in such
                              Prepetition Term Loan Secured Party’s Prepetition Collateral, from
                              and after the Petition Date, the Prepetition Term Loan Lenders are
                              granted the following security interests and liens (collectively, the
                              “Prepetition Term Loan Adequate Protection Liens” and the collateral
                              subject thereto, the “Prepetition Term Loan Adequate Protection
                              Collateral”) under sections 361, 362, and 363 of the Bankruptcy
                              Code: valid, binding, enforceable, and perfected replacement liens on
                              and security interests in the Prepetition Collateral, including now-
                              owned and hereafter-acquired real and personal property, assets, and
                              rights of any kind or nature, wherever located, which liens and
                              security interests shall be junior to (a) the Carve Out and (b) the
                              Prepetition ABL Agent’s prepetition liens and the ABL Adequate
                              Protection Liens (subject to such liens solely with respect to assets of
                              the type and nature that would be deemed Prepetition ABL Collateral
                              but for the filing of these cases).

                        ii.   Prepetition Term Loan Adequate Protection Superpriority Claims.
                              Solely to the extent of, and in an aggregate amount equal to, any
                              Diminution in Value of its respective Prepetition Collateral, and in
                              each case, subject and subordinate to the Carve Out and the ABL
                              Adequate Protection Superpriority Claims, each Prepetition Term
                              Loan Secured Party is hereby granted an allowed superpriority
                              administrative expense claim under sections 503(b) and 507(b) of the
                              Bankruptcy Code against the applicable Debtors (collectively, the
                              “Prepetition Term Loan Adequate Protection Superpriority Claims”).
                              All Prepetition Term Loan Adequate Protection Superpriority Claims
                              shall be junior to (a) the Carve Out and (b) the ABL Adequate
                              Protection Superpriority Claims, and otherwise have priority over any
                              and all other administrative expenses and other claims against the
                              applicable Loan Parties now existing or hereafter arising, of any kind
                              whatsoever, including, without limitation, all administrative expenses
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                              of the kind specified in sections 503(b) and 507(b) of the Bankruptcy
                              Code, and over any and all administrative expenses or other claims
                              arising under the Bankruptcy Code.

                       iii.   Prepetition Term Loan Adequate Protection Payments: No later than
                              the fifth Business Day following entry of the Interim DIP Order and
                              on the fifth Business Day of each month hereafter, Debtors shall pay
                              the Prepetition Term Loan Agent adequate protection on partial
                              account of interest that has accrued on the Prepetition Term Loan
                              Obligations in the amounts set forth in the Budget, to be applied by
                              the Prepetition Term Loan Agent in accordance with the Prepetition
                              Term Loan Documents.

                       iv.    As further adequate protection, the Debtors will reimburse each
                              Prepetition Term Loan Secured Party for all reasonable and
                              documented out-of-pocket fees, costs and expenses of (limited, in the
                              case of counsel, to all reasonable and documented out-of-pocket fees,
                              costs, disbursements and expenses, including one (1) local counsel).
                              All such fees, including reasonable and documented out-of-pocket
                              legal and other professional fees shall be paid by the Debtors promptly
                              upon written demand and without the requirement of Bankruptcy
                              Court approval; provided, however, that in the event such fees and
                              expenses exceed the amounts set forth in the DIP Budget, any excess
                              amounts shall be added to the principal balance of the DIP Loans.

                      Master Lease Adequate Protection: As adequate protection for the interests
                      of the WELL/OHI Master Lease Secured Parties in the Prepetition Collateral
                      (including Cash Collateral), under sections 361, 362 and 363(e) of the
                      Bankruptcy Code, and as a condition for the use of the Prepetition Collateral,
                      including any Cash Collateral, the WELL/OHI Master Lease Secured Parties
                      are hereby granted the following (collectively, the “WELL/OHI Master Lease
                      Adequate Protection”):

                         i.   Master Lease Adequate Protection Liens: Solely to the extent of, and
                              in an aggregate amount equal to, any Diminution in Value of any
                              WELL/OHI Master Lease Secured Party’s interests in such
                              WELL/OHI Master Lease Collateral, from and after the Petition Date,
                              the WELL/OHI Master Lease Secured Parties are granted the
                              following security interests and liens (collectively, the “WELL/OHI
                              Master Lease Adequate Protection Liens” and the collateral subject
                              thereto, the “WELL/OHI Master Lease Adequate Protection
                              Collateral”) under sections 361, 362, and 363 of the Bankruptcy
                              Code: valid, binding, enforceable, and perfected replacement liens on
                              and security interests in the Prepetition Collateral, including now-
                              owned and hereafter-acquired real and personal property, assets, and
                              rights of any kind or nature, wherever located, which liens and
                              security interests shall be junior to (a) the Carve-Out, (b) the
                              Prepetition ABL Agent’s prepetition liens, (c) the ABL Adequate

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                              Protection Liens, (d) the Prepetition Term Loan Liens, and (e) the
                              Prepetition Term Loan Adequate Protection Liens.

                        ii.   Master Lease Adequate Protection Superpriority Claims. Solely to
                              the extent of, and in an aggregate amount equal to, any Diminution in
                              Value of its respective Prepetition Collateral, and in each case, subject
                              and subordinate to the Carve Out, the ABL Adequate Protection
                              Superpriority Claims, and the Prepetition Term Loan Adequate
                              Protection Superpriority Claims, each WELL/OHI Master Lease
                              Secured Party is hereby granted an allowed superpriority
                              administrative expense claim under sections 503(b) and 507(b) of the
                              Bankruptcy Code against the applicable Debtors (collectively, the
                              “WELL/OHI Master Lease Adequate Protection Superpriority
                              Claims”). All WELL/OHI Master Lease Adequate Protection
                              Superpriority Claims shall be junior to (a) the Carve Out, (b) the ABL
                              Adequate Protection Superpriority Claims, and (c) the Prepetition
                              Term Loan Adequate Protection Superpriority Claims.

                       iii.   As further adequate protection, the Debtors will reimburse each
                              WELL/OHI Master Lease Secured Party for all reasonable and
                              documented out-of-pocket fees, costs and expenses of (limited, in the
                              case of counsel, to all reasonable and documented out-of-pocket fees,
                              costs, disbursements and expenses, including one (1) local counsel).
                              All such fees, including reasonable and documented out-of-pocket
                              legal and other professional fees shall be paid by the Debtors promptly
                              upon written demand and without the requirement of Bankruptcy
                              Court approval; provided, however, that in the event such fees and
                              expenses exceed the amounts set forth in the DIP Budget, any excess
                              amounts shall be added to the principal balance of the DIP Loans.
                      (DIP Term Sheet, Adequate Protection; Interim Order ¶ 9)]

 Covenants            Affirmative Covenants: Customary for transactions of this type (and to
                      include reporting covenants (including with respect to the Budgets and
 Fed. R. Bankr. P.    Permitted Variances) and consistent with the Prepetition Term Loan
 4001(c)(1)(B)        Agreement, the delivery of all material pleadings, motions and other material
                      documents filed with the Bankruptcy Court on behalf of the Debtors in the
                      Chapter 11 Cases to the DIP Lenders and their counsel, to the extent practical
                      under the circumstances, update meetings and/or calls with the DIP Lenders
                      as reasonably requested).
                      Negative Covenants: Customary for transactions of this type (and to include
                      limitations on indebtedness, liens, investments, acquisitions, restricted
                      payments and dispositions of assets) and consistent with the Prepetition Term
                      Loan Agreement.
                      (DIP Term Sheet, Affirmative Covenants, Negative Covenants)




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 Events of Default and   “Events of Default” shall include the following and any other defaults
 DIP Termination         specified as such in the DIP Orders, each of which may only be waived in
                         writing by each of the DIP Lenders:
 Fed. R. Bankr. P.
 4001(c)(1)(B)              i.   failure to make payments including adequate protection payments
                                 when due;

                           ii.   noncompliance with covenants (subject to customary cure periods as
                                 may be agreed with respect to certain covenants);

                          iii.   breaches of representations and warranties in any material respect, in
                                 either case, under the DIP Loan Documents;

                          iv.    invalidity of any material provision of the DIP Loan Documents;

                           v.    change in ownership or control;

                          vi.    filing of a Plan by the Debtors that does not propose to indefeasibly
                                 repay the DIP Obligations, to the extent outstanding, in full in cash on
                                 the Plan effective date, unless otherwise consented to in writing by
                                 each of the DIP Lenders prior to its filing;

                         vii.    any of the Debtors shall file a pleading seeking to vacate or modify
                                 the Interim DIP Order or the Final DIP Order over the objection of
                                 the DIP Lenders;

                         viii.   entry of an order without the prior written consent of each of the DIP
                                 Lenders amending, supplementing or otherwise modifying the
                                 Interim DIP Order or the Final DIP Order;

                          ix.    entry of an order without the express written consent of each of the
                                 DIP Lenders obtaining additional financing from a party other than
                                 the DIP Lenders under section 364(d) of the Bankruptcy Code except
                                 if such financing contemplates payment in full of the DIP Obligations;

                           x.    reversal, vacatur or stay of the effectiveness of the Interim DIP Order
                                 or the Final DIP Order except to the extent reversed within ten (10)
                                 business days;

                          xi.    any violation of any material term of the Interim DIP Order or the
                                 Final DIP Order by the Debtors;

                         xii.    termination of the Debtors’ right to use Cash Collateral as permitted
                                 hereunder;

                         xiii.   failure to comply with the Budget, including Permitted Variances;



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                       xiv.    entry of an order in favor of the objector, movant or plaintiff any
                               timely filed Challenge Proceeding;

                        xv.    dismissal of the Chapter 11 Case of a Debtor with material assets or
                               conversion of the Chapter 11 Case of a Debtor with material assets to
                               a case under chapter 7 of the Bankruptcy Code, or any Debtor shall
                               file a motion or other pleading seeking such dismissal or conversion
                               of any Bankruptcy Case;

                       xvi.    appointment of a chapter 11 trustee or examiner with enlarged
                               powers, or any Debtor shall file a motion or other pleading seeking
                               such appointment;

                      xvii.    failure to meet a Milestone, unless extended or waived by the prior
                               written consent (email being sufficient) of each of the DIP Lenders;

                      xviii.   the Debtors’ filing of a motion to reject the WELL/OHI Master Lease
                               Documents or modify the claim(s) of the WELL/OHI Master Lease
                               Landlords or the failure of the Debtors to make any payment when
                               due (without taking into account any stays or other relief provided by
                               commencement of the Chapter 11 Cases) of postpetition Rents (as
                               defined in the WELL/OHI Master Lease Documents) accruing on
                               account of the WELL/OHI Master Lease Obligations, unless
                               otherwise waived by the prior written consent (email being sufficient)
                               of the applicable WELL/OHI Master Lease Landlord, or the failure of
                               the Debtors to make any payment when due (without taking into
                               account any stays or other relief provided by commencement of the
                               Chapter 11 Cases) of other postpetition rents, unless otherwise waived
                               by the prior written consent (email being sufficient) of the applicable
                               WELL/OHI Master Lease Landlord, or the occurrence and
                               continuation of any other “Event of Default” under the WELL/OHI
                               Master Lease Documents (other than a default of the type described
                               in section 365(b)(2) of the Bankruptcy Code) unless otherwise waived
                               by the prior written consent (email being sufficient) of the applicable
                               WELL/OHI Master Lese Landlord;

                       xix.    the Debtors’ filing of a motion to reject the VSR Master Leases or
                               modify the claim(s) of the Landlords thereunder or the failure of the
                               Debtors to make any payment when due (without taking into account
                               any stays or other relief provided by commencement of the Chapter
                               11 Cases) of postpetition Rents (as defined in the VSR Master Leases)
                               accruing on account of the obligations thereunder, unless otherwise
                               waived by the prior written consent (email being sufficient) of the
                               applicable Landlord under the VSR Master Leases, or the failure of
                               the Debtors to make any payment when due (without taking into
                               account any stays or other relief provided by commencement of the
                               Chapter 11 Cases) of other postpetition rents, unless otherwise waived
                               by the prior written consent (email being sufficient) of the applicable
                               Landlord under the VSR Master Leases, or the occurrence and
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                              continuation of any other “Event of Default” under the VSR Master
                              Leases (other than a default of the type described in section 365(b)(2)
                              of the Bankruptcy Code) unless otherwise waived by the prior written
                              consent (email being sufficient) of the applicable Landlord under the
                              VSR Master Leases;

                       xx.    the Debtors’ filing of a motion to reject the PA 22 Sub-Subleases or
                              PA 22 MOTAs or modify the claim(s) of the Landlords or
                              counterparties thereunder or the failure of the Debtors to make any
                              payment when due (without taking into account any stays or other
                              relief provided by commencement of the Chapter 11 Cases) of
                              postpetition Rents (as defined in the PA 22 Sub-Subleases) accruing
                              on account of the obligations thereunder, unless otherwise waived by
                              the prior written consent (email being sufficient) of the applicable
                              Landlord under the PA 22 Sub-Subleases, or the failure of the Debtors
                              to make any payment when due (without taking into account any stays
                              or other relief provided by commencement of the Chapter 11 Cases)
                              of other postpetition rents, unless otherwise waived by the prior
                              written consent (email being sufficient) of the applicable Landlord
                              under the PA 22 Sub-Subleases, or the occurrence and continuation
                              of any other “Event of Default” under the PA 22 Sub-Subleases or PA
                              22 MOTAs (other than a default of the type described in section
                              365(b)(2) of the Bankruptcy Code) unless otherwise waived by the
                              prior written consent (email being sufficient) of the applicable
                              Landlord or counterparty under the PA 22 Sub-Subleases or PA 22
                              MOTAs;

                      xxi.    the Debtors’ filing of a motion to reject the JV Leases or modify the
                              claim(s) of the Landlords thereunder or the failure of the Debtors to
                              make any payment when due (without taking into account any stays
                              or other relief provided by commencement of the Chapter 11 Cases)
                              of postpetition Rents (as defined in the JV Leases) accruing on
                              account of the obligations thereunder, unless otherwise waived by the
                              prior written consent (email being sufficient) of the applicable
                              Landlord under the JV Leases, or the failure of the Debtors to make
                              any payment when due (without taking into account any stays or other
                              relief provided by commencement of the Chapter 11 Cases) of other
                              postpetition rents, unless otherwise waived by the prior written
                              consent (email being sufficient) of the applicable Landlord under the
                              JV Leases, or the occurrence and continuation of any other “Event of
                              Default” under the JV Leases (other than a default of the type
                              described in section 365(b)(2) of the Bankruptcy Code) unless
                              otherwise waived by the prior written consent (email being sufficient)
                              of the applicable Landlord under the JV Leases;

                      xxii.   the Debtors’ filing of (or supporting another party in the filing of) a
                              motion seeking entry of, or the entry of an order by the Bankruptcy
                              Court, granting any superpriority claim or lien (except as

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                                contemplated herein) which is senior to or pari passu with the DIP
                                Claims;

                       xxiii.   the Debtors seeking, or supporting any other person’s motion seeking
                                (in any such case, verbally in any court of competent jurisdiction or
                                by way of any motion or pleading filed with the Bankruptcy Court, or
                                any other writing to another party in interest by the Debtors), to
                                challenge the validity or enforceability of any of the obligations of the
                                parties under the Prepetition Secured Documents;

                       xxiv.    the Debtors filing a motion for the Bankruptcy Court to approve a sale
                                of the DIP Collateral under section 363 of the Bankruptcy Code,
                                unless such proposed sale is approved by each of the DIP Lenders, in
                                their sole discretion;

                        xxv.    any Debtor shall fail to execute and deliver to the DIP Lenders any
                                agreement, financing statement, trademark filing, copyright filing,
                                notices of lien or similar instruments or other documents that the DIP
                                Lenders may reasonably request from time to time to more fully
                                evidence, confirm, validate, perfect, preserve and enforce the DIP
                                Liens created in favor of the DIP Lenders;

                       xxvi.    the Debtors shall assert in any pleading filed in any court that the
                                guarantee contained in the DIP Loan Documents is not valid and
                                binding, for any reason, to be in full force and effect, other than under
                                the terms hereof or thereof;

                      xxvii.    payment of or granting adequate protection with respect to prepetition
                                debt, other than as expressly provided herein or as otherwise
                                consented to by each of the DIP Lenders;

                      xxviii.   expiration or termination of the period provided by section 1121 of
                                the Bankruptcy Code for the exclusive right to file a plan with respect
                                to a Debtor with material assets unless such expiration or termination
                                was sought by any of the Prepetition Secured Parties or the DIP
                                Lenders;

                       xxix.    cessation of the DIP Liens or the DIP Claims to be valid, perfected
                                and enforceable in all respects;

                        xxx.    any Debtor asserting any right of subrogation or contribution against
                                any other Debtor until all borrowings under the DIP Facility are paid
                                in full and the commitments are terminated;

                       xxxi.    subject to entry of the Final DIP Order, the allowance of any claim or
                                claims under section 506(c) of the Bankruptcy Code or otherwise
                                against any Prepetition TL/ML Secured Party;


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                      xxxii.    the entry of an order in any of the Chapter 11 Cases granting relief
                                from any stay or proceeding (including, without limitation, the
                                automatic stay) so as to allow a third party to proceed with foreclosure
                                against a material portion of the Debtors’ assets;

                      xxxiii.   the entry of an order in any Bankruptcy Case avoiding or requiring
                                repayment of any portion of the payments made on account of the DIP
                                Obligations owing under the DIP Loan Documents; and

                       xxxiv.   the entry of an order by the Bankruptcy Court providing relief adverse
                                to the interests of any DIP Lender or any Prepetition Secured Party
                                with respect to any motion, objection, application or adversary
                                proceeding challenging the validity, enforceability, perfection or
                                priority of, or seeking avoidance, subordination or characterization of,
                                any portion of the Prepetition Secured Obligations and/or the liens
                                and security interests securing the Prepetition Secured Obligations or
                                asserting any other claim or cause of action against and/or with
                                respect to the Prepetition Secured Obligations or the liens and security
                                interests securing the Prepetition Secured Obligations, but excluding
                                preliminary or final relief granting standing to any other party to
                                prosecute such claims, causes of action or proceeding.
                        (DIP Term Sheet, Events of Default, Termination; Interim Order, ¶ 17)

 Remedies               The DIP Lenders shall have customary remedies upon the occurrence and
                        during the continuance of an Event of Default, including, without limitation,
 Fed. R. Bankr. P.      the following:
 4001(c)(1)(B)
                        Without further order from the Bankruptcy Court, and subject to the terms of
                        the Interim DIP Order and the Final DIP Order (including in respect of any
                        required notices), the automatic stay provisions of section 362 of the
                        Bankruptcy Code shall be vacated and modified to the extent necessary to
                        permit the DIP Lenders to exercise, upon the occurrence and during the
                        continuance of any Event of Default under the DIP Loan Documents, all rights
                        and remedies provided for in the DIP Loan Documents, and to take any or all
                        of the following actions without further order of or application to the
                        Bankruptcy Court (as applicable): (a) immediately terminate the Debtors’ use
                        of any cash collateral; (b) cease making any DIP Loans under the DIP Facility
                        to the Debtors; (c) declare all DIP Obligations to be immediately due and
                        payable; (d) freeze monies or balances in the Debtors’ accounts (and, with
                        respect to the DIP Loan Documents and the DIP Facility, sweep all funds
                        contained in any account subject to a control agreement); (e) immediately set-
                        off any and all amounts in accounts maintained by the Debtors with the DIP
                        Lenders against the DIP Obligations, or otherwise enforce any and all rights
                        against the DIP Collateral in the possession of the DIP Lenders, including,
                        without limitation, disposition of the DIP Collateral solely for application
                        towards the DIP Obligations; and (f) take any other actions or exercise any
                        other rights or remedies permitted under the Interim DIP Order and the Final
                        DIP Order, the DIP Loan Documents or applicable law to effect the repayment
                        of the DIP Obligations; provided, however, that the DIP Lenders must provide
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                      the Debtors with five (5) business days’ written notice (which may be by email
                      and a copy of which shall be sent to the Prepetition ABL Agent) before
                      exercising any enforcement rights or remedies with respect to the DIP
                      Collateral or the Prepetition Collateral other than funds contained in any
                      account subject to a control agreement; provided, further, that neither the
                      Debtors, the Committee nor any other party-in-interest shall have the right to
                      contest the enforcement of the remedies set forth in the Interim DIP Order and
                      the Final DIP Order and the DIP Loan Documents on any basis other than an
                      assertion that an Event of Default has not occurred or has been cured within
                      the cure periods expressly set forth in the applicable DIP Loan Documents.
                      (DIP Term Sheet, Remedies; Interim Order, ¶ 18)

 Carve Out            “Carve Out” means an amount equal to the sum of the following: (i) all fees
                      required to be paid to the Clerk of the Bankruptcy Court and to the Office of
 Fed. R. Bankr. P.    the United States Trustee under 28 U.S.C. § 1930(a) plus interest under 31
 4001(c)(1)(B)        U.S.C. § 3717 (without regard to the notice set forth in clause (iii) below);
                      (ii) all reasonable fees and expenses incurred by a trustee under section 726(b)
                      of the Bankruptcy Code in an aggregate amount not to exceed $50,000
                      (without regard to the notice set forth in clause (iii) below); (iii) to the extent
                      permitted by the Budget (subject to an allowed variance of 15% of the amount
                      budgeted for each respective Estate Professional) and allowed by the
                      Bankruptcy Court at any time, whether by Interim DIP Order, procedural
                      order, final order or otherwise, all accrued and unpaid fees, disbursements,
                      costs and expenses incurred by persons or firms retained by the Debtors under
                      section 327, 328 or 363 of the Bankruptcy Code (the “Debtor Professionals”)
                      and all accrued unpaid fees, disbursements, costs and expenses incurred by
                      the Committee (if any) under section 328 and 1103 of the Bankruptcy Code
                      (the “Committee Professionals,” together with the Debtor Professionals, the
                      “Estate Professionals,” and such Estate Professional fees, the “Allowed
                      Professional Fees”), at any time before or on the first business day following
                      delivery by the DIP Lenders of a Carve Out Trigger Notice, whether allowed
                      by the Bankruptcy Court prior to or after delivery of a Carve Out Trigger
                      Notice; and (iv) Allowed Professional Fees of Estate Professionals in an
                      aggregate amount not to exceed $750,000 incurred after the first business day
                      following delivery by the DIP Lenders of a Carve Out Trigger Notice, to the
                      extent consistent with the Budget and allowed at any time, whether by Interim
                      DIP Order, procedural order, final order, or otherwise (the amounts set forth
                      in this clause (iv), the “Post-Carve Out Trigger Notice Cap”); provided,
                      however, nothing herein shall be construed to impair the ability of any party
                      to object to any fees, expenses, reimbursement or compensation sought by any
                      such professionals or any other person or entity. For purposes of the
                      foregoing, “Carve Out Trigger Notice” shall mean a written notice (which
                      may be delivered by e-mail (or other electronic means)) by the DIP Lenders
                      to the Debtors and their counsel, the United States Trustee, and lead counsel
                      to any Committee appointed in the Chapter 11 Cases, which notice may be
                      delivered following the occurrence of an Event of Default, stating that the
                      Post-Carve Out Trigger Notice Cap has been invoked.


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                       For the avoidance of doubt and notwithstanding anything to the contrary
                       herein, the Carve Out shall be senior to all liens and claims securing the DIP
                       Facility, and all other forms of adequate protection, liens, or claims securing
                       the DIP Obligations or the Prepetition Secured Obligations.
                       (DIP Term Sheet, Carve Out; Interim Order, ¶ 21)
                       The obligations of the DIP Lenders to advance the DIP Loans shall be subject
 Milestones
                       to the Debtors satisfying, or causing the satisfaction of, the milestones listed
                       below (collectively, the “Milestones”) by the specified or by such later date
 Fed. R. Bankr. P.
                       as each of the DIP Lenders may agree in writing (email being sufficient):
 4001(c)(1)(v), (vi)
                          i.   No later than three (3) days after the Petition Date, the Bankruptcy
                               Court shall have entered the Interim DIP Order.

                         ii.   No later than ten (10) days after the Petition Date, the Debtors shall
                               have filed a motion for approval of procedures for the marketing and
                               sale of some or all the Debtors’ assets under Bankruptcy Code section
                               363 (the “Transaction”), which motion shall be in form and substance
                               acceptable to each of the DIP Lenders.

                        iii.   No later than twenty-one (21) days after entry of the Interim DIP
                               Order, all documentation relating to the DIP Facility, including the
                               DIP Credit Agreement, shall be in form and substance satisfactory to
                               each of the DIP Lenders and shall have been duly executed and
                               delivered by all parties thereto.

                        iv.    No later than thirty-five (35) days after the Petition Date, the
                               Bankruptcy Court shall have entered an order granting the Debtors’
                               motion for approval of procedures for the marketing and Transaction
                               (the “Bidding Procedures Order”), which order shall be in form and
                               substance acceptable to each of the DIP Lenders.

                         v.    No later than thirty-five (35) days after the Petition Date, the
                               Bankruptcy Court shall have entered the Final DIP Order.

                        vi.    No later than forty (40) days after the Petition Date, the Bankruptcy
                               Court shall have entered an order approving the Debtors rejection of
                               the certain leases mutually agreed between the Debtors and the DIP
                               Lenders, which order shall be in form and substance acceptable to
                               each of the DIP Lenders.

                       vii.    Any auction to select a winning bidder under the Bidding Procedures
                               Order shall be conducted no later than ninety-five (95) days following
                               the Petition Date.

                       viii.   No later than one hundred (100) days after the Petition Date, the
                               Bankruptcy Court shall have entered an order approving the
                               Transaction by approving the sale of substantially all the Debtors’

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                                assets under section 363 of the Bankruptcy Code, which order shall
                                be in form and substance acceptable to each of the DIP Lenders.

                         ix.    No later than 210 days after the Petition Date, the Transaction shall
                                have been consummated.
                        (DIP Term Sheet, Chapter 11 Cases Milestones)

 Automatic Stay         The Interim Order provides for modifying the automatic stay to allow the
                        DIP Lenders and Prepetition Secured Parties to exercise all rights and
 Fed. R. Bankr. P.      remedies provided for in the DIP Loan Documents and the Interim Order.
 4001(c)(1)(B)(iii)
                        (Interim Order ¶ 11)
                        Effective upon entry of the Final Order, the DIP Lenders and the Prepetition
 Marshalling and
                        Secured Parties shall not be subject to the equitable doctrine of “marshalling”
 Waiver of 506(c) and
                        or any similar doctrine with respect to the DIP Collateral, the DIP Facility
 552(b) Claims
                        Obligations, the Prepetition Collateral, or the Prepetition Secured Obligations
                        as applicable, and all proceeds shall be received and applied in accordance
 Fed. R. Bankr. P.
                        with the Interim Order, the DIP Term Sheet and the Prepetition Secured
 4001(c)(1)(B)(x)
                        Documents, as applicable.

                        Effective upon entry of the Final Order, the Debtors (on behalf of themselves
                        and their estates) shall waive, and shall not assert in the Chapter 11 Cases or
                        any successor cases, (i) any surcharge claim under sections 105(a) and/or
                        506(c) of the Bankruptcy Code or otherwise for any costs and expenses
                        incurred in connection with the preservation, protection or enhancement of, or
                        realization by the DIP Lenders and the Prepetition Secured Parties, upon the
                        DIP Collateral or the Prepetition Collateral, and (ii) the DIP Lenders and the
                        Prepetition Secured Parties shall each be entitled to all of the rights and
                        benefits of section 552(b) of the Bankruptcy Code, and the “equities of the
                        case” exception under section 552(b) of the Bankruptcy Code shall not apply
                        to the Prepetition Secured Parties or Prepetition Collateral.
                        (Interim Order, ¶¶ 25–27)
                        The DIP Liens shall attach to the proceeds of claims and causes of action under
 Liens on Avoidance
                        chapter 5 of the Bankruptcy Code.
 Actions
                        (Interim Order, ¶ 5)
 Fed. R. Bankr. P.
 4001(c)(1)(B)(xi)
                        The Debtors shall indemnify, pay and hold harmless the DIP Lenders (and
 Indemnification
                        their directors, officers, employees and agents) against any loss, liability, cost
                        or expense incurred in respect of the financing contemplated hereby or the use
 Fed. R. Bankr. P.
                        or the proposed use of proceeds thereof (except to the extent resulting from
 4001(c)(1)(B)(ix)
                        the gross negligence, bad faith, fraud, or willful misconduct of the indemnified
                        party, as determined by a final, non-appealable judgment of a court of
                        competent jurisdiction).
                        (DIP Term Sheet, Indemnification; Interim Order, ¶ 19)


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         B.       Provisions to Be Highlighted

         17.      The Debtors hereby disclose the below key terms pursuant to Complex Case

 Procedures Section D.10: 4

     •   Case Milestones: Pursuant to paragraph 16 of the Interim Order and the “Chapter 11 Cases
         Milestones” section of the DIP Term Sheet, the Debtors have agreed to comply with certain
         case milestones. See Complex Case Procedures, § 10(a).

     •   Cross-Collateralization Provisions: No such provision is contained in the Interim Order
         or DIP Term Sheet. See Complex Case Procedures, § 10(b).

     •   Provisions Authorizing “Roll Up” or Repayment of Prepetition Debt: No such provision
         is contained in the Interim Order or DIP Term Sheet. See Complex Case Procedures,
         § 10(c).

     •   Default and Termination Provisions: Paragraph 18 of the Interim Order and the “Events
         of Default” section of the DIP Term sheet sets forth default and termination provisions,
         including: (a) the occurrence and continuance of any “Event of Default” under and as
         defined in the DIP Term Sheet; (b) failure to make payments including adequate protection
         payments when due; (b) occurrence of any event within the definition of “DIP Termination
         Date” in the DIP Term Sheet; (c) consent of the Debtors to the standing of any party,
         including an Official Committee, to pursue any claim or cause of action belonging to the
         Debtors or their estates, including, without limitation, any Challenge; or
         (d) commencement of a Challenge Proceeding. See Complex Case Procedures, § 10(d).

     •   Stipulations: Pursuant to paragraph E of the Interim Order, the Debtors have provided the
         Debtors’ Stipulations concerning the Prepetition Loan Documents, the Prepetition Secured
         Obligations, and the Prepetition Liens, and a release and indemnification of the Prepetition
         Secured Parties and certain of the DIP Secured Parties, among other things. The
         stipulations are subject to challenge by parties in interest (other than the Debtors), subject
         to the limitations set forth in paragraph 24(d) of the Interim Order, and will not be binding
         upon any such parties in interest until occurrence of the Challenge Deadline. The
         Challenge Deadline is the earliest of (a) if no committee has been appointed, 75 days after
         the Petition Date or (b) if a committee has been appointed, 60 days after the date of
         formation of such committee. See Complex Case Procedures, § 10(e).

     •   Releases: Section E.xi of the Interim Order includes certain proposed releases by the
         Debtors, the Debtors’ estates, and certain related parties of the Released Parties (as defined
         in the Interim Order). See Complex Case Procedures, § 10(f).


 4
     As of the date of this Motion, the DIP Borrowers, the DIP Guarantors, the DIP Lenders, and the DIP Agent have
     not yet entered into or finalized a form of DIP Credit Agreement. As such, the Debtors have identified the location
     of the terms below in the Interim Order and DIP Term Sheet.
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    •   Priming of Prepetition Liens: Pursuant to paragraph 6(a)(2) of the Interim Order, the DIP
        Facility provides for “priming” liens. See Complex Case Procedures, § 10(g).

 IV.    Prepetition Capital Structure – Secured Debt Obligations

        18.      As described and defined more fully below, as of the Petition Date, all of the

 Debtors’ assets are pledged to secure debts held by multiple parties, including: (a) affiliates of

 White Oak Healthcare Finance, LLC (“White Oak”) under the White Oak Prepetition ABL

 Facilities (as defined below); (b) affiliates of Welltower and Omega Healthcare Investors, Inc.

 (both publicly traded real estate investment trusts) as well as other co-lenders under the Prepetition

 Term Loan Credit Facility (as defined below); (c) certain HUD lenders under HUD Operator

 Security Agreements to secure certain Facilities encumbered by HUD loans; (d) the Rochester

 Manor HUD Lender (as defined below) under the Rochester Manor HUD Mortgage (as defined

 below); and (e) the Internal Revenue Service, who filed numerous tax liens against Company

 entities for outstanding deferred payroll tax claims. A summary of the Debtors’ prepetition secured

 debt is as follows:

                               Prepetition Secured Debt Obligations
  Secured Debt                                 Interest        Maturity        Estimated Amount
                                                                Date              Outstanding
                                                                                 ($ in millions)
  White Oak Prepetition ABL Revolving Credit Facilities
                       White Oak Prepetition Non-HUD ABL Credit Facility
  White Oak Non-HUD Revolver             SOFR + 4.85%       3/9/27                   $223.6
                         White Oak Prepetition HUD ABL Credit Facility
  White Oak HUD Revolver                 SOFR + 6.00%       3/9/27                    $55.7
  Prepetition Term Loan Credit Facility
                                 2016 Term Loan Credit Facility
  Welltower Term Loan ($120M)                14.0%         6/30/26                    $72.6
  Omega Term Loan ($120M)                    14.0%         6/30/26                    $97.7
  WAX Term Loan ($120M)                      14.0%         6/30/26                    $69.8
  MAO Term Loan ($120M)                      14.0%         6/30/26                    $13.7
                                 2018 Term Loan Credit Facility
  Welltower Term Loan ($40M)                 10.0%         6/30/26                    $39.9
  Omega Term Loan ($40M)                     10.0%         6/30/26                    $23.1
  MAO Term Loan ($40M)                       10.0%         6/30/26                    $1.0
  Other Secured Debt

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                                    Prepetition Secured Debt Obligations
     Secured Debt                                      Interest          Maturity          Estimated Amount
                                                                          Date                Outstanding
                                                                                             ($ in millions)
     HUD Operator Agreements                           Various            Various                 $0.0
     Rochester Manor – HUD Loan                         2.99%             1/1/52                  $8.3
     Internal Revenue Service                       Statutory Rate         N/A                   $103.1
     Total Secured Liabilities                                                                   $708.5

           19.      The lien priorities among the various secured lenders are largely governed by

 intercreditor and subordination agreements. In addition, within the Prepetition Term Loan Credit

 Facility, collateral is allocated pursuant to agreement among the various lenders. A simplified

 summary of the lien priorities is as follows: 5




           A.       White Oak Prepetition Non-HUD ABL Credit Facility

           20.      The Debtors have outstanding obligations under that certain Fifth Amended and

 Restated Credit Agreement, dated as of March 9, 2022 (as otherwise amended, supplemented, or

 otherwise modified from time to time, the “Prepetition Non-HUD ABL Credit Agreement,” and

 together with any other documents executed and delivered in connection therewith, the


 5
       The following depiction is provided for summary purposes only, but any lien priorities shall be governed solely
       by the rights and privileges afforded under relevant security agreements, intercreditor arrangements, the
       Bankruptcy Code, and other applicable law.
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 “Prepetition Non-HUD ABL Documents”), by and among, Genesis Healthcare, Inc. (“Ultimate

 Parent”), Ultimate Parent’s affiliates and subsidiaries party thereto as “Borrowers” (as defined

 therein) (collectively with Ultimate Parent, the “Prepetition Non-HUD ABL Borrowers”), the

 “Lenders” (as defined therein) from time-to-time party to the Prepetition Non-HUD ABL Credit

 Agreement (the “Prepetition Non-HUD ABL Lenders”), and White Oak, as “Administrative

 Agent” (as defined therein) for the Prepetition Non-HUD ABL Lenders (in such capacity, the

 “Prepetition Non-HUD ABL Agent,” and together with the Prepetition Non-HUD ABL Lenders,

 the “Prepetition Non-HUD ABL Secured Parties”) pursuant to which the Prepetition Non-HUD

 ABL Lenders provided a first lien asset-based lending credit facility to the Prepetition Non-HUD

 ABL Borrowers (the “White Oak Prepetition Non-HUD ABL Credit Facility,” and the loans

 provided thereunder, the “White Oak Prepetition Non-HUD ABL Loans”).

        21.     Under the Prepetition Non-HUD ABL Documents, the Prepetition Non-HUD ABL

 Borrowers granted to the Prepetition Non-HUD ABL Agent, for the benefit of itself and the

 Prepetition Non-HUD ABL Lenders, valid and properly perfected continuing liens on and security

 interests in (the “Prepetition Non-HUD ABL Liens”) all “Collateral” (as defined in the Prepetition

 Non-HUD ABL Credit Agreement) (the “Prepetition Non-HUD ABL Collateral”), which includes

 a first priority security interest in, and continuing lien on, the Prepetition Non-HUD ABL

 Borrowers’ cash and accounts receivable (the “Prepetition Non-HUD ABL Priority Collateral”).

        22.     As of the Petition Date, the Debtors were indebted and liable to the Prepetition Non-

 HUD ABL Secured Parties, in the aggregate amount of approximately $215.0 million on account

 of the White Oak Prepetition Non-HUD ABL Loans outstanding under the Prepetition Non-HUD

 ABL Documents, plus all fees, charges and interests as provided in the Prepetition Non-HUD ABL

 Documents, (collectively, the “White Oak Prepetition Non-HUD ABL Obligations”).


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         B.       White Oak Prepetition HUD ABL Credit Facility

         23.      The Debtors have outstanding obligations under that certain Third Amended and

 Restated Revolving Credit Agreement, dated as of March 6, 2020 (as otherwise amended,

 supplemented, or otherwise modified from time to time, the “White Oak Prepetition HUD ABL

 Credit Agreement,” and together with any other documents executed and delivered in connection

 therewith, the “White Oak Prepetition HUD ABL Loan Documents”), 6 by and among, certain

 affiliates and subsidiaries of Ultimate Parent party thereto as “Borrowers” (collectively, the

 “Prepetition HUD ABL Borrowers”), the Prepetition HUD ABL Borrowers’ affiliates and

 subsidiaries party thereto as guarantors (the “HUD ABL Guarantors,” together with the Prepetition

 HUD ABL Borrowers, the “HUD ABL Loan Parties” and, together with the Prepetition Non-HUD

 ABL Borrowers, the “ABL Loan Parties”; the Prepetition HUD ABL Borrowers and the

 Prepetition Non-HUD ABL Borrowers are collectively referred to herein as the “Prepetition ABL

 Borrowers”), the “Lenders” (as defined therein) from time-to-time party to the Prepetition HUD

 ABL Credit Agreement (the “Prepetition HUD ABL Lenders” and, together with the Prepetition

 Non-HUD ABL Lenders, the “Prepetition ABL Lenders”), and White Oak as “Administrative

 Agent” (as defined therein) (successor-by-assignment to MidCap Funding IV Trust, a Delaware

 statutory trust) for the Prepetition HUD ABL Lenders (in such capacity, the “Prepetition HUD

 ABL Agent,” and together with the Prepetition HUD ABL Lenders, the “Prepetition HUD ABL

 Secured Parties”) 7 pursuant to which the Prepetition HUD ABL Lenders provided a first lien asset-


 6
     The White Oak Prepetition HUD ABL Credit Agreement and Prepetition Non-HUD ABL Credit Agreement are
     collectively referred to herein as the “Prepetition ABL Credit Agreements”, and the White Oak Prepetition HUD
     ABL Loan Documents and the Prepetition Non-HUD ABL Documents are collectively referred to herein as the
     “White Oak Prepetition ABL Loan Documents”.
 7
     The Prepetition HUD ABL Agent and Prepetition Non-HUD ABL Agent are collectively referred to herein as the
     “Prepetition ABL Agents”, and the Prepetition HUD ABL Secured Parties and the Prepetition Non-HUD ABL
     Secured Parties are collectively referred to herein as the “Prepetition ABL Secured Parties”.

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 based lending credit facility to the Prepetition HUD ABL Borrowers (the “White Oak Prepetition

 HUD ABL Credit Facility,” and the loans provided thereunder, the “White Oak Prepetition HUD

 ABL Loans”). 8

         24.     Under the White Oak Prepetition HUD ABL Loan Documents, the Prepetition

 HUD ABL Borrowers and the other HUD ABL Loan Parties granted to the Prepetition HUD ABL

 Agent, for the benefit of itself and the Prepetition HUD ABL Lenders, valid and properly perfected

 continuing liens on and security interests in (the “Prepetition HUD ABL Liens” and, together with

 the Prepetition Non-HUD ABL Liens, the “Prepetition ABL Liens”) all “Collateral” (as defined

 in the Prepetition HUD ABL Credit Agreement) (the “Prepetition HUD ABL Collateral” and,

 together with the Prepetition Non-HUD ABL Collateral, the “Prepetition ABL Collateral”), which

 includes a first priority security interest in, and continuing lien on, the Prepetition HUD ABL

 Borrowers’ cash and accounts receivable (the “Prepetition HUD ABL Priority Collateral” and,

 together with the Prepetition Non-HUD ABL Priority Collateral, the “Prepetition ABL Priority

 Collateral”).

         25.     As of the Petition Date, the Debtors were indebted and liable to the Prepetition

 HUD ABL Secured Parties, in the aggregate amount of approximately $57.7 million on account

 of the White Oak Prepetition HUD ABL Loans outstanding under the White Oak Prepetition HUD

 ABL Loan Documents, plus all fees, charges and interests as provided in the White Oak Prepetition

 HUD ABL Loan Documents, (collectively, the “Prepetition HUD ABL Obligations”).




 8
     The White Oak Prepetition HUD ABL Credit Facility and White Oak Prepetition Non-HUD ABL Credit Facility
     are collectively referred to herein as the “White Oak Prepetition ABL Credit Facilities”, and the White Oak
     Prepetition HUD ABL Loans and the White Oak Prepetition Non-HUD ABL Loans are collectively referred to
     herein as the “White Oak Prepetition ABL Loans”.
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          C.       Prepetition Term Loan Credit Facility

          26.      The Debtors have obligations under that certain Term Loan Agreement, dated as of

 July 29, 2016 (as otherwise amended, supplemented, or otherwise modified from time to time, the

 “Prepetition Term Loan Credit Agreement,” and together with any other documents executed and

 delivered in connection therewith, the “Prepetition Term Loan Documents”), by and among

 Ultimate Parent, certain affiliates and subsidiaries of Ultimate Parent party thereto as “Borrowers”

 (collectively, the “Prepetition Term Loan Borrowers”), certain affiliates and subsidiaries of

 Ultimate Parent party thereto as guarantors (together with Ultimate Parent, the “Prepetition Term

 Loan Guarantors,” together with the Prepetition Term Loan Borrowers, the “Prepetition Term

 Loan Obligors”), the “Lenders” (as defined therein) from time-to-time party to the Prepetition

 Term Loan Credit Agreement (collectively, the “Prepetition Term Loan Lenders”), 9 and

 Welltower OP LLC (formerly known as Welltower Inc.) as “Administrative Agent” (as defined

 therein) for the Prepetition Term Loan Lenders (in such capacity, the “Prepetition Term Loan

 Agent,” and together with the Prepetition Term Loan Lenders, the “Prepetition Term Loan Secured

 Parties”) 10 pursuant to which the Prepetition Term Loan Lenders provided a term loan credit




 9
      The original Prepetition Term Loan Lenders include MarkGlen, LLC, an affiliate of Welltower (the “Welltower
      Prepetition Term Loan Lender”) and OHI Mezz Lender LLC, an affiliate of Omega Healthcare, Inc. (“Omega”).
      As discussed herein, a portion of the Prepetition Term Loan Credit Facility held by the Welltower Prepetition
      Term Loan Lender was assumed and assigned to MAO and WAX (each as defined herein) on September 30,
      2024.
 10
      The Prepetition Term Loan Agent and Prepetition ABL Agents are collectively referred to herein as the
      “Prepetition Agents”, the Prepetition Term Loan Lenders and Prepetition ABL Lenders are collectively referred
      to herein as the “Prepetition Lenders” and the Prepetition ABL Secured Parties and the Prepetition Term Loan
      Secured Parties are collectively referred to herein as the “Prepetition Non-HUD Secured Parties”.

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 facility to the Prepetition Term Loan Borrowers (the “Prepetition Term Loan Credit Facility,” and

 the loans provided thereunder, the “Prepetition Term Loans”). 11

          27.     Under the Prepetition Term Loan Documents, the Prepetition Term Loan

 Borrowers and the other Prepetition Term Loan Obligors granted to the Prepetition Term Loan

 Agent, valid and properly perfected continuing liens on and security interests in (the “Prepetition

 Term Loan Liens”) all “Collateral” (as defined in the Prepetition Term Loan Credit Agreement)

 (the “Prepetition Term Loan Collateral”), which includes second priority valid and properly

 perfected continuing liens on and security interests in all Prepetition Non-HUD ABL Priority

 Collateral, and a first priority security interest in, and continuing lien on, all assets other than the

 Non-HUD ABL Priority Collateral (the “Prepetition Term Loan Priority Collateral”).

          28.     On September 30, 2024, the Welltower Prepetition Term Loan Lender executed

 two Assignment and Assumption agreements with MAO 22322 LLC (“MAO”) and WAX Dynasty

 Partners LLC (“WAX”), 12 pursuant to which a portion of the Prepetition Term Loan Credit Facility

 held by the Welltower Prepetition Term Loan Lender was assumed and assigned. In total,

 $55,504,328.00 was assigned to WAX and $13,275,000.00 was assigned to MAO and each

 received promissory notes from FC-GEN in corresponding amounts. The interests of WAX and

 MAO are subordinated to the interests of Welltower and Omega under the Prepetition Term Loans.

          29.     As of the Petition Date, the Debtors were indebted to the Prepetition Term Loan

 Secured Parties in the aggregate amount of approximately $317.8 million on account of the

 Prepetition Term Loans outstanding under the Prepetition Term Loan Documents, plus all fees,



 11
      The Prepetition Term Loan Credit Facility and White Oak Prepetition ABL Credit Facilities are collectively
      referred to herein as the “Prepetition Credit Facilities”, and the Prepetition Term Loans and the White Oak
      Prepetition ABL Loans are collectively referred to herein as the “Prepetition Non-HUD Loans”.
 12
      WAX is an entity that shares common beneficial ownership with ReGen Healthcare, LLC (“ReGen”), which
      holds convertible subordinated notes with the Company.
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 charges and interests as provided in the Prepetition Term Loan Documents (collectively, the

 “Prepetition Term Loan Obligations”). Of that balance, approximately $112.5 million is owed to

 the Welltower Prepetition Term Loan Lender, $120.8 million is owed to Omega, $14.7 million is

 owed to MAO, and $69.8 million is owed to WAX

        D.     Prepetition HUD Lender Obligations

        30.    Certain Debtors operate Facilities (collectively, the “HUD Facilities”) which are

 encumbered by loans (the “HUD Property Loans”) provided by certain financial institutions

 (the “Prepetition HUD Lenders”) and insured by the U.S. Department of Housing and Urban

 Development, acting by and through its Secretary and his or her successors, assigns or designates

 (“HUD”). In connection with the HUD Property Loans, such Debtors entered into certain Operator

 Security Agreement (each, a “HUD Operator Security Agreement”) with the applicable HUD

 Lender granting to such HUD Lender valid and properly perfected continuing liens on and security

 interests in (the “Prepetition HUD Lender Liens”) all “Collateral” (as defined in each HUD

 Operator Security Agreement) (the “Prepetition HUD Lender Collateral”) to secure, among other

 things, obligations owed to the HUD Lenders, including the HUD Property Loans (the “Prepetition

 HUD Lender Obligations”).

        31.    As of the Petition Date, the Debtors do not believe any amounts were due and owing

 to the Prepetition HUD Lenders.

        E.     Rochester Manor HUD Mortgage

        32.    Debtor 40 Whitehall Road Property LLC (the “Rochester Manor Borrower”) has

 outstanding obligations owed to Berkadia Commercial Mortgage LLC (the “Rochester Manor

 HUD Lender”) and, together with HUD, the “Rochester Manor HUD Secured Parties”) under that

 certain Healthcare Facility Note, dated as of December 1, 2016 (as otherwise amended,


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 supplemented, or otherwise modified from time to time, the “Rochester Manor HUD Note,” and

 together with any other documents executed and delivered in connection therewith, the “Rochester

 Manor HUD Documents”), which is insured by HUD.

          33.      Under the Rochester Manor HUD Documents, the Rochester Manor Borrower

 granted to the Rochester Manor HUD Secured Parties valid and properly perfected continuing liens

 on and security interests in (the “Prepetition Rochester Manor HUD Liens”) substantially all of its

 asserts, including the Rochester Manor skilled nursing facility located in Strafford County, New

 Hampshire (the “Prepetition Rochester Manor HUD Collateral”).

          34.      As of the Petition Date, the Rochester Manor Borrower was indebted and liable to

 the Rochester Manor HUD Secured Parties in the aggregate amount of approximately $8.3 million

 on account of the Rochester Manor HUD Note, plus all fees, charges, and interest as provided in

 the Rochester Manor HUD Documents (collectively, the “Prepetition Rochester Manor HUD

 Obligations”).

          6.       IRS Secured Liens

          35.      Sections 2302(a)(1)-(2) the Coronavirus Aid, Relief, and Economic Security Act

 (the “CARES Act”) allowed employers to defer, without penalty, the deposit and payment of the

 employer portion of Social Security taxes for the period beginning on March 27, 2020 until

 December 31, 2020. 13 Section 2302(d)(3) of the CARES Act required employers to pay 50% of

 the eligible deferred amount by December 31, 2021 and the remaining amount of the eligible

 deferred amount by December 31, 2022. 14



 13
      See Pub. L. 116-136, 134 Stat. 281 §§ 2302(a)(1)-(2), (d)(2) (Mar. 27, 2020).
 14
      See id., § 2302(d)(3); see Deferral of employment tax deposits and payments through December 31, 2020, IRS
      FAQs #18, available at https://www.irs.gov/newsroom/deferral-of-employment-tax-deposits-and-payments-
      through-december-31-2020#what-are-applicable-dates-by-which-deferred-deposits-employers-share-social-
      security-tax-must-be-deposited (last accessed July 8, 2025).
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        36.     As permitted by the CARES Act, the Company deferred its employer portion of

 payroll taxes for the period beginning March 27, 2020 until December 31, 2020 for approximately

 312 of its subsidiaries. Such deferred amounts were due in part on December 31, 2021 and in full

 on December 31, 2022. Given the Company’s liquidity constraints in advance of the payment

 dates, the Company engaged with the IRS on a payment plan to pay the outstanding deferrals to

 the IRS, with penalties and interest.

        37.     Pursuant to certain Installment Agreements (Form 433-D) (the “Prepetition IRS

 Installment Agreements”) executed by certain Debtors in July 2024 in favor of the Department of

 Treasury – Internal Revenue Service (the “IRS”), certain Debtors (the “Prepetition IRS Obligors”)

 agreed to pay to the IRS certain amounts otherwise due and payable relating to such Prepetition

 IRS Obligors’ portion of employer payroll taxes (the “Prepetition Deferred Payroll Taxes”). The

 Prepetition Deferred Payroll Taxes are secured by liens on substantially all assets of the Prepetition

 IRS Obligors, as exhibited by notices of federal tax lien filed prior to the Petition Date against such

 Prepetition IRS Obligors.

        38.     As of the Petition Date, the Debtors were indebted to the IRS, in the aggregate

 amount of approximately $103.1 million on account of the Prepetition Deferred Payroll Taxes

 outstanding under the Prepetition IRS Installment Agreements, plus all fees, charges and interests

 as provided under applicable law (collectively, the “Prepetition IRS Tax Obligations”).

  V.    Proposed Postpetition Financing

        A.      The Debtors’ Need for the DIP Facility and Development of the DIP Budget

        39.     As described in the DIP Declaration and in the First Day Declaration, the Debtors

 require immediate access to the DIP Facility in addition to continued use of Cash Collateral to

 fund, among other things, working capital, payroll obligations, overhead costs, and make any other


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 payments that are essential for the continued management and preservation of the Debtors’

 business and continuity of care for the residents of the Debtors’ Facilities. As of the Petition Date,

 the Debtors’ cash on hand is insufficient to operate their enterprise and continue paying their

 obligations as they come due. The Debtors’ business is cash-intensive, and without sufficient

 liquidity to satisfy obligations to the Debtors’ contract counterparties, landlords, vendors,

 workforce, and other stakeholders, the Debtors will be unable to maintain their critical role as a

 healthcare provider in the communities in which the Debtors operate.

        40.     The Debtors, in consultation with Ankura, reviewed and analyzed the Debtors’

 projected cash receipts and disbursements and prepared a budget outlining the Debtors’

 postpetition cash needs in the initial 13 weeks of the Chapter 11 Cases, a copy of which is attached

 as Exhibit 2 to the Interim Order. The Debtors relied on these forecasts to determine the amount

 of postpetition financing required to fund operations and administer these Chapter 11 Cases. More

 specifically, the Debtors determined that they require immediate access to DIP financing to fund

 the costs of these Chapter 11 Cases and ongoing business operations.

        41.     Importantly, the Debtors’ business requires immediate liquidity to satisfy their

 obligations owed to employees, vendors, and suppliers, all of whom are critical to ensuring that

 the Debtors can continue providing safe, high-quality healthcare in the communities in which they

 operate. Furthermore, obtaining access to the DIP Facility will allow the Debtors to send a clear

 message to the Debtors’ stakeholders—including, most critically, vendors on whose continued

 partnership the Debtors rely to provide high quality care to residents—that the Debtors will

 continue to be a reliable partner in spite of the difficulties facing the Debtors’ business. The

 proposed DIP Facility will provide much needed stabilization to the Debtors’ business operations.

 The DIP Facility will also provide the funding means to accomplish a comprehensive restructuring


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 and ensure the Debtors’ ability to operate as a going concern, preserving value of the Debtors’

 estates for the benefit of all of their stakeholders.

         A.      The Debtors’ Efforts to Obtain Postpetition Financing

         42.     As described herein and in the DIP Declaration and the First Day Declaration, the

 Debtors and their advisors have engaged in extensive discussions and diligence with key

 stakeholders to reach a framework for the Chapter 11 Cases. The current framework contemplates

 that postpetition financing will be necessary to reorganize or transition the Debtors’ facilities to

 new operators and subsequently liquidate the Debtors’ remaining assets.

         43.     Prior to commencing these Chapter 11 Cases, the Debtors, with the assistance of

 Jefferies, sought to solicit and secure the best available DIP financing. See DIP Decl. ¶ 9. In

 connection therewith, Jefferies commenced an outreach to potential third party financing sources.

 Id. At the same time, the Debtors, with the assistance of Jefferies and their other advisors, also

 engaged in discussions with the Prepetition Secured Parties regarding potential DIP financing. Id.

         44.     Specifically, on May 28, 2025, Jefferies launched a formal outreach to potential

 third party lenders. Id. at ¶ 10. In total, Jefferies contacted and provided twelve (12) potential

 third party financing sources, including banks and credit funds, with an overview of the financing

 opportunity. Id. These parties were selected based on, among other things, their experience with

 financing transactions and their experience with Debtors’ industry. Id. Nine (9) of these parties

 entered into non-disclosure agreements with the Debtors and were thereafter given confidential

 marketing materials and access to a virtual data room in connection with their evaluation of a

 potential financing transaction with the Debtors. Id.

         45.     Notwithstanding the foregoing outreach, only one party provided indicative terms

 with respect to financing on a senior secured priming basis. Id.at ¶ 11. Thus, to obtain third-party


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 DIP financing, the Debtors would have had to engage in a “priming” fight with Prepetition

 Lenders, and the prospect of such fight would challenge any efforts to obtain postpetition

 financing. Further, to date, none of the remaining parties contacted have expressed a willingness

 to provide financing on an unsecured or junior secured basis.

        46.     Certain of the Prepetition Secured Parties, however, had informed the Debtors that

 they would not consent to any third party priming liens. Id. at ¶ 12. Accordingly, the Debtors and

 their advisors focused their efforts on DIP financing from the Prepetition Secured Lenders and

 ultimately agreed to the terms of the DIP Term Sheet with the DIP Lenders, avoiding potentially

 extensive and costly litigation associated with a third party priming debtor-in-possession facility.

 Id.

        47.     The DIP Facility is critical to the Debtors’ ability to pay the administrative costs of

 the Chapter 11 Cases and should provide the Debtors with sufficient liquidity to operate their

 business without creating a “priming” or valuation dispute at the outset of the Chapter 11 Cases.

 See First Day Decl. ¶ 110. The DIP Facility, therefore, should provide a path to emergence that

 the Debtors believe is important to reassure residents, protect operations, and maximize value for

 all stakeholders. Id.

                              BASIS FOR RELIEF REQUESTED

 I.     The Debtors Should Be Authorized to Obtain Postpetition Financing Through the
        DIP Loan Documents

        A.      Entry into the DIP Loan Documents Is an Exercise of the Debtors’ Sound
                Business Judgment

        48.     The Court should authorize the Debtors, as an exercise of their sound business

 judgment, to enter into the DIP Loan Documents, obtain access to the DIP Facility, and continue

 using the Cash Collateral. Bankruptcy Code section 364 authorizes a debtor to obtain secured or


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 superpriority financing under certain circumstances discussed in detail below. Courts grant a

 debtor-in-possession considerable deference in acting in accordance with its business judgment in

 obtaining postpetition secured credit, so long as the agreement to obtain such credit does not run

 afoul of the provisions of, and policies underlying, the Bankruptcy Code. See, e.g., In re N. Bay

 Gen. Hosp., Inc., No. 08-20368 (Bankr. S.D. Tex. July 11, 2008) (order approving postpetition

 financing on an interim basis as exercise of debtors’ business judgment); In re Trans World

 Airlines, Inc., 163 B.R. 964, 974 (Bankr. D. Del. 1994) (approving a postpetition loan and

 receivables facility because such facility “reflect[ed] sound and prudent business judgment”); In

 re L.A. Dodgers LLC, 457 B.R. 308, 313 (Bankr. D. Del. 2011) (“[C]ourts will almost always defer

 to the business judgment of a debtor in the selection of the lender.”); In re Ames Dep’t Stores, Inc.,

 115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990) (“[C]ases consistently reflect that the court’s discretion

 under section 364 is to be utilized on grounds that permit reasonable business judgment to be

 exercised so long as the financing agreement does not contain terms that leverage the bankruptcy

 process and powers or its purpose is not so much to benefit the estate as it is to benefit a party in

 interest”).

         49.    The Fifth Circuit has described the business judgment standard as a flexible one,

 which will be satisfied if a debtor articulates a business justification, and the decision furthers the

 interests of the debtors and other parties in interest. See ASARCO, Inc. v. Elliott Mgmt. (In re

 ASARCO, L.L.C.), 650 F.3d 593, 601 (5th Cir. 2011) (in the context of section 363 of the

 Bankruptcy Code. To determine whether the business judgment standard is met, a court need only

 “examine whether a reasonable business person would make a similar decision under similar

 circumstances.” In re Exide Techs., 340 B.R. 222, 239 (Bankr. D. Del. 2006); see also In re Curlew

 Valley Assocs., 14 B.R. 506, 513–14 (Bankr. D. Utah 1981) (noting that courts should not second


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 guess a debtor’s business decision when that decision involves “a business judgment made in good

 faith, upon a reasonable basis, and within the scope of the debtor’s authority under the

 [Bankruptcy] Code”).

        50.     In considering whether the terms of postpetition financing are fair and reasonable,

 courts consider the terms in light of the relative circumstances of both the debtor and the potential

 lender. See In re Farmland Indus., Inc., 294 B.R. 855, 886 (Bankr. W.D. Mo. 2003) (while many

 of the terms favored the DIP lenders, “taken in context, and considering the relative circumstances

 of the parties,” the court found them to be reasonable); see also In re Elingsen McLean Oil Co.,

 Inc., 65 B.R. 358, 365 n.7 (W.D. Mich. 1986) (recognizing a debtor may have to enter into “hard

 bargains” to acquire funds for its reorganization).

        51.     The Debtors’ determination to move forward with the DIP Facility is a sound

 exercise of their business judgment following an arm’s-length process and careful evaluation of

 available alternatives. The Debtors require significant postpetition financing to support their

 working capital needs and to operate smoothly in chapter 11. As discussed herein, the Debtors

 and their advisors determined that the DIP Facility is the only reasonable financing option

 available to the Debtors, and no alternative financing is available on more favorable economic

 terms. The Debtors and their advisors also determined that the DIP Facility provides certainty

 with respect to the capital necessary for the administration of these Chapter 11 Cases through

 emergence. The fees, rates, and other economics provided for in the DIP Facility, taken as a whole,

 are in the Debtors’ best interests and the DIP Facility is the best and only reasonable financing

 option currently available to the Debtors under the circumstances. Id. ¶¶ 16–18. The Debtors

 simply do not have any actionable alternatives.




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        52.     The Debtors negotiated the DIP Loan Documents in good faith, at arm’s-length,

 and with the assistance of their advisors, and they have obtained the best financing available under

 the circumstances. After extensive negotiations with the DIP Lenders and careful consideration

 of the alternatives, the Debtors determined that the proposed DIP Facility was the only viable

 alternative as it provided immediate liquidity and avoided a costly priming fight. Accordingly, the

 Court should authorize the Debtors’ entry into the DIP Loan Documents as a reasonable exercise

 of the Debtors’ business judgment.

        B.      The Debtors Should Be Authorized to Grant Liens and Superpriority Claims
                to the DIP Secured Parties

        53.     The Debtors propose to obtain financing under the DIP Facility by providing

 security interests and liens as set forth in the DIP Loan Documents pursuant to Bankruptcy Code

 section 364(c).    Specifically, the Debtors propose to provide to the DIP Secured Parties

 postpetition security interest in and liens on the DIP Collateral and Prepetition Collateral that are

 valid, perfected, allowed, enforceable, non-avoidable and not subject to challenge, dispute, or

 subordination immediately upon entry of the Interim Order.

        54.     The statutory requirement for obtaining postpetition credit under Bankruptcy Code

 section 364(c) is a finding, made after notice and hearing, that a debtor is “unable to obtain

 unsecured credit allowable under Section 503(b)(1) of [the Bankruptcy Code].” 11 U.S.C.

 § 364(c); see In re Crouse Grp., Inc., 71 B.R. 544, 549 (Bankr. E.D. Pa. 1987) (secured credit

 under Bankruptcy Code section 364(c) is authorized, after notice and hearing, upon showing that

 unsecured credit cannot be obtained). Courts have articulated a three-part test to determine

 whether a debtor is entitled to financing under Bankruptcy Code section 364(c). Specifically,

 courts look to whether:



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              •   the debtor is unable to obtain unsecured credit under Bankruptcy Code section
                  364(b), i.e., by allowing a lender only an administrative claim;

              •   the credit transaction is necessary to preserve the assets of the estate; and

              •   the terms of the transaction are fair, reasonable, and adequate, given the
                  circumstances of the debtor-borrower and proposed lenders.

 See Ames Dep’t Stores, 115 B.R. at 37–40; see also In re St. Mary Hosp., 86 B.R. 393, 401–02

 (Bankr. E.D. Pa. 1988); Crouse Grp., 71 B.R. at 549.

        55.       The Debtors meet each part of this test. As described above, no lenders were

 willing to provide sufficient postpetition financing on a junior lien or an unsecured or

 administrative priority basis. See DIP Decl. ¶¶ 11, 16. Given the Debtors’ dire cash position, the

 lack of an alternative lender willing to provide financing on more favorable terms, the DIP Facility

 is reasonable under the circumstances and necessary to obtain critical financing and, by extension,

 maintain ordinary course operations for the benefit of all parties in interest including, especially,

 the Debtors’ residents.

        56.       In the event that a debtor is unable to obtain unsecured credit allowable as an

 administrative expense under Bankruptcy Code section 503(b)(1), Bankruptcy Code section

 364(c) provides that a court “may authorize the obtaining of credit or the incurring of debt (a) with

 priority over any or all administrative expenses of the kind specified in section 503(b) or 507(b)

 of [the Bankruptcy Code]; (b) secured by a lien on property of the estate that is not otherwise

 subject to a lien; or (c) secured by a junior lien on property of the estate that is subject to a lien.”

 As described above, the Debtors are unable to obtain unsecured credit. Therefore, approving (a)

 superpriority claims in favor of the DIP Lenders, (b) liens in favor of the DIP Lenders on

 unencumbered property of the estate, and (c) junior liens in favor of the DIP Lenders on Prepetition

 Collateral is reasonable and appropriate.


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        B.      No Comparable Alternative to the DIP Facility Is Reasonably Available on
                More Favorable Overall Terms

        57.     A debtor need only demonstrate “by a good faith effort that credit was not available

 without” the protections afforded to potential lenders by Bankruptcy Code section 364(c). In re

 Snowshoe Co., Inc., 789 F.2d 1085, 1088 (4th Cir. 1986); see also In re Plabell Rubber Prods.,

 Inc., 137 B.R. 897, 900 (Bankr. N.D. Ohio 1992). In circumstances where only a few lenders

 likely can or will extend the necessary credit to a debtor, “it would be unrealistic and unnecessary

 to require [the debtor] to conduct such an exhaustive search for financing.” In re Sky Valley, Inc.,

 100 B.R. 107, 113 (Bankr. N.D. Ga. 1988), aff’d sub nom. Anchor Sav. Bank FSB v. Sky Valley,

 Inc., 99 B.R. 117, 120 n.4 (N.D. Ga. 1989); see also Snowshoe Co., 789 F.2d at 1088

 (demonstrating that credit was unavailable absent the senior lien by establishment of unsuccessful

 contact with other financial institutions in the geographic area); In re Stanley Hotel, Inc., 15 B.R.

 660, 663 (D. Colo. 1981) (bankruptcy court’s finding that two national banks refused to grant

 unsecured loans was sufficient to support conclusion that section 364 requirement was met); Ames

 Dep’t Stores, 115 B.R. at 37–39 (debtor must show that it made reasonable efforts to seek other

 sources of financing under section 364(a) and (b)).

        58.     As noted above, the Debtors do not believe that any more favorable alternative DIP

 financing is reasonably available given the realities imposed by the Debtors’ existing capital

 structure and the Debtors’ solicitation of alternative financing proposals. Furthermore, as set forth

 in the DIP Declaration, the Debtors engaged with certain stakeholders and third parties regarding

 potential financing for a chapter 11 process, but ultimately they did not receive any offer or

 combination of offers superior to the DIP Facility. DIP Decl. ¶ 11. Simply put, the DIP Facility

 provides the Debtors with the liquidity they need at the lowest cost available while simultaneously

 placing the Debtors on an optimal path for a successful restructuring. Therefore, the requirement

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 of Bankruptcy Code section 364 that alternative credit on more favorable terms be unavailable to

 the Debtors is satisfied.

 II.        The Debtors Should Be Authorized to Use Cash Collateral

            59.       Bankruptcy Code section 363 generally governs the use of estate property.

 Bankruptcy Code section 363(c)(2)(A) permits a debtor in possession to use Cash Collateral with

 the consent of the secured party or if the court, after notice and a hearing, authorizes such use in

 accordance with the provisions of this section of the Bankruptcy Code.

            60.       The Debtors seek to use the Cash Collateral of White Oak to allow the Debtors to

 continue their operations, pay their employees, care for their residents, and administer these

 Chapter 11 Cases for the benefit of all creditors, including White Oak. 15 Failure to obtain use of

 Cash Collateral would result in an immediate and unplanned closure of the Debtors’ Facilities,

 which would put the very lives that the Debtors are charged with protecting in danger. Thus, the

 continuing use of Cash Collateral is necessary to stabilize and maintain operations, and ultimately

 bridge to a sale transaction through a competitive auction process. The far-reaching economic

 impact of the Debtors’ inability to use Cash Collateral would result in significant value destruction

 for the Debtors’ estates and each of their creditors.

 III.       Adequate Protection Provided to the Prepetition Secured Parties Is Appropriate

            61.       Bankruptcy Code section 363(e) provides for adequate protection of interests in

 property when a debtor uses cash collateral. Further, Bankruptcy Code section 362(d)(1) provides

 for adequate protection of interests in property due to the imposition of the automatic stay. See In



 15
        The Debtors intend to negotiate with White Oak following the filing of the Chapter 11 Cases to determine whether
        use of Cash Collateral can be obtained on a consensual basis. However, given that access to Cash Collateral is
        critical for the Debtors to continue to operate their facilities and provide continuous critical health care services
        to their residents, to the extent they are unable to reach agreement with White Oak, the Debtors intend to seek
        authority to obtain use of Cash Collateral on a non-consensual basis.
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 re Cont’l Airlines, 91 F.3d 553, 556 (3d Cir. 1996) (en banc). While Bankruptcy Code section

 361 provides examples of forms of adequate protection, such as granting replacement liens and

 administrative claims, courts decide what constitutes sufficient adequate protection on a case-by-

 case basis. See, e.g., In re Swedeland Dev. Grp., Inc., 16 F.3d 552, 564 (3d Cir. 1994) (explaining

 that the “determination of whether there is adequate protection is made on a case by case basis”);

 In re Satcon Tech. Corp., 2012 WL 6091160, at *6 (Bankr. D. Del. Dec. 7, 2012) (same); In re

 N.J. Affordable Homes Corp., 2006 WL 2128624, at *14 (Bankr. D.N.J. June 29, 2006) (“the

 circumstances of the case will dictate the necessary relief to be given”); In re Columbia Gas Sys.,

 Inc., Nos. 91-803, 91-804, 1992 WL 79323, at *2 (Bankr. D. Del. Feb. 18, 1992) (“[W]hat interest

 is entitled to adequate protection and what constitutes adequate protection must be decided on a

 case-by-case basis.”); see also In re Dynaco Corp., 162 B.R. 389, 394 (Bankr. D.N.H. 1993) (citing

 2 Collier on Bankruptcy ¶ 361.01 [1] at 361–66 (15th ed. 1993) (explaining that adequate

 protection can take many forms and “must be determined based upon equitable considerations

 arising from the particular facts of each proceeding”)).

        62.     As described more fully herein, and as set forth in the Interim Order, the Debtors

 propose to provide the Prepetition Secured Parties with a variety of adequate protection to protect

 against the postpetition Diminution in Value of the Cash Collateral resulting from the use, sale, or

 lease of the Cash Collateral by the Debtors and the imposition of the automatic stay. The adequate

 protection being provided includes: (a) the ABL Adequate Protection Liens, Prepetition Term

 Loan Adequate Protection Liens, and WELL/OHI Master Lease Adequate Protection Liens; (b)

 the ABL Adequate Protection Superpriority Claims, Prepetition Term Loan Adequate Protection

 Superpriority Claims, and WELL/OHI Master Lease Adequate Protection Superpriority Claims,

 (c) the ABL Adequate Protection Payments and Prepetition Term Loan Adequate Protection


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 Payment, and (d) reimbursement of each Prepetition HUD ABL Secured Party, Prepetition Non-

 HUD ABL Secured Party, Prepetition Term Loan Secured Party, and Welltower Landlord and

 Omega Landlord for all reasonable and documented out-of-pocket fees, costs and expenses

 (limited, in the case of counsel, to all reasonable and documented out-of-pocket fees, costs,

 disbursements and expenses, including one (1) local counsel) (collectively, the “Adequate

 Protection Package”). In light of the foregoing, the proposed Adequate Protection Package to be

 provided for the benefit of the Prepetition Secured Parties is appropriate. The Debtors’ provision

 of the liens provided for under the Adequate Protection Package is not only necessary to protect

 against any diminution in value but is fair and appropriate under the circumstances of these Chapter

 11 Cases to ensure the Debtors are able to continue using the Cash Collateral, subject to the terms

 and limitations set forth in the Interim Order, for the benefit of all parties in interest and their

 estates.

 IV.        The Scope of the Carve Out Is Appropriate

            63.   The proposed adequate protection is subject to the Carve Out contained in the DIP

 Orders. Without the Carve Out, the Debtors and other parties in interest may be deprived of certain

 rights and powers because the services for which professionals may be paid in these Chapter 11

 Cases would be restricted. See Ames Dep’t Stores, 115 B.R. at 40 (observing that courts insist on

 carve outs for professionals representing parties in interest because “[a]bsent such protection, the

 collective rights and expectations of all parties-in-interest are sorely prejudiced”). The Carve Out

 does not directly or indirectly deprive the Debtors’ estates or other parties in interest of possible

 rights and powers. Additionally, the Carve Out protects against administrative insolvency during

 the course of the Chapter 11 Cases by ensuring that assets remain for the payment of the Clerk of




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 the Court, U.S. Trustee fees, and professional fees of the Debtors and any statutory committee

 appointed under Bankruptcy Code section 1102 in these Chapter 11 Cases.

 V.     The Debtors Should Be Authorized to Pay the Fees Required by the DIP Lenders
        under the DIP Loan Documents

        64.     In connection with negotiating the DIP Facility, the Debtors have agreed, subject

 to Court approval, to incur certain fees and premiums to the DIP Lenders. In particular, as noted

 above, the Debtors have agreed to incur the fees consisting of the following:

        •       Upfront Fee: Each DIP Lender shall receive an upfront fee, payable-in-kind (i.e.,
                by adding such fee to the aggregate principal amount of the DIP Loans) equal to
                2% of such DIP Lender’s DIP Commitment under the DIP Facility, which shall be
                fully earned, non-refundable, and due and payable upon the Closing Date.

        •       Exit Fee: Each DIP Lender shall receive a payable-in-cash exit fee (the “Exit Fee”)
                equal to 4% of such DIP Lender’s initial DIP Commitment, which shall be fully
                earned and non-refundable on the Closing Date, and payable on the DIP
                Termination Date; provided, however, if the DIP Termination Date has occurred
                solely as a result of the occurrence and continuation of an Event of Default under
                the DIP Loan Documents, then the Exit Fee shall not be payable until the DIP
                Obligations have been accelerated by the DIP Lenders.

        65.     As set forth in the DIP Declaration, the interest and fees to be incurred under the

 DIP Facility are consistent with the market and appropriate, particularly in light of the

 circumstances of these Chapter 11 Cases and the marketing process undertaken, and represent the

 only viable option presently available to the Debtors. See DIP Decl. ¶¶ 16–17. The fees and rates

 to be paid under the proposed DIP Facility were the subject of arm’s-length negotiation between

 the Debtors and the DIP Lenders. Id. ¶ 17. The Debtors considered the fees described above when

 determining in their sound business judgment that the DIP Facility is reasonable and constitutes

 the best terms on which the Debtors can obtain the postpetition financing necessary to continue

 their operations, prosecute their cases, and benefit the Debtors’ estates. Accordingly, the Court

 should authorize the Debtors to pay the interest and fees provided under the DIP Loan Documents

 in connection with the DIP Facility.
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 VI.    The DIP Secured Parties Should Be Afforded Good-Faith Protection under
        Bankruptcy Code Section 364(e)

        66.     Bankruptcy Code section 364(e) protects a good-faith lender’s right to collect on

 loans extended to a debtor, and its right in any lien securing those loans, even if the authority of

 the debtor to obtain such loans or grant such liens is later reversed or modified on appeal.

 Bankruptcy Code section 364(e) provides that:

        The reversal or modification on appeal of an authorization under this section [364
        of the Bankruptcy Code] to obtain credit or incur debt, or of a grant under this
        section of a priority or a lien, does not affect the validity of any debt so incurred, or
        any priority or lien so granted, to an entity that extended such credit in good faith,
        whether or not such entity knew of the pendency of the appeal, unless such
        authorization and the incurring of such debt, or the granting of such priority or lien,
        were stayed pending appeal.

        67.     As explained herein, the DIP Loan Documents are the result of: (a) the Debtors’

 reasonable and informed determination that the DIP Secured Parties provided the best postpetition

 financing alternative available under the circumstances and (b) extended arm’s-length, good-faith

 negotiations between the Debtors and the DIP Secured Parties. The terms and conditions of the

 DIP Loan Documents are reasonable under the circumstances, and the proceeds of the DIP Facility

 will be used only for purposes that are permissible under the Bankruptcy Code. Further, the

 Debtors market tested the terms of the DIP Facility before determining that the DIP Facility

 provided the best terms available. Accordingly, the Court should find that the DIP Secured Parties

 are “good faith” lenders within the meaning of Bankruptcy Code section 364(e) and are entitled to

 all of the protections afforded by that section.

 VII.   The Automatic Stay Should Be Modified on a Limited Basis

        68.     The proposed Interim Order provides that the automatic stay provisions of

 Bankruptcy Code section 362 will be modified to allow the DIP Agents to file any financing

 statements, security agreements, notices of liens, and other similar instruments and documents to

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 validate and perfect the liens and security interests granted to them under the Interim Order. The

 proposed Interim Order further provides that the automatic stay is modified as necessary to permit

 the Debtors to grant liens to the DIP Secured Parties and the Prepetition Secured Parties and to

 incur all liabilities and obligations set forth in the Interim Order. The automatic stay should be

 modified to allow the Debtors and the DIP Secured Parties to effectuate the terms of the Interim

 Order.

 VIII. Failure to Obtain Immediate Interim Access to the DIP Facility and Cash Collateral
       Would Cause Immediate and Irreparable Harm

          69.   Bankruptcy Rules 4001(b) and 4001(c) provide that a final hearing on a motion to

 obtain credit pursuant to Bankruptcy Code section 364 may not be commenced earlier than 14

 days after the service of such motion.       Upon request, however, the Court may conduct a

 preliminary, expedited hearing on the motion and authorize the obtaining of credit to the extent

 necessary to avoid immediate and irreparable harm to a debtor’s estate.

          70.   The Debtors request that the Court hold and conduct a hearing to consider entry of

 the Interim Order authorizing the Debtors, from and after entry of the Interim Order until the Final

 Hearing, to withdraw and borrow funds under the DIP Facility to the extent permitted in the Interim

 Order. The Debtors require access to the DIP Facility prior to the Final Hearing and entry of the

 Final Order to continue operating in the ordinary course by paying their administrative expenses

 and implementing the relief requested in the Debtors’ other “first day” motions. This and such

 other relief is necessary for the Debtors to avoid immediate and irreparable harm to the Debtors’

 estates and to preserve and maximize value for the benefit of all parties in interest.

 IX.      Cause Exists to Authorize the Debtors’ Financial Institutions to Honor Checks and
          Electronic Fund Transfers.

          71.   The Debtors also request that all applicable banks and other financial institutions

 be authorized to receive, process, honor, and pay all checks presented for payment, and to honor
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 all electronic payment requests made by the Debtors, related to the obligations described herein,

 whether such checks were presented or electronic requests were submitted prior to or after the

 Petition Date. The Debtors further request that all such banks and financial institutions be

 authorized to rely on the Debtors’ designation of any particular check or electronic payment

 request as approved pursuant to the Motion. The Debtors represent that they have sufficient

 availability of funds to pay any amounts described herein.

                                 EMERGENCY CONSIDERATION

         72.     The Debtors respectfully request emergency consideration of this Motion pursuant

 to Bankruptcy Rule 6003, which empowers a court to grant relief within the first 21 days after the

 commencement of a chapter 11 case “to the extent that relief is necessary to avoid immediate and

 irreparable harm.” Fed. R. Bankr. P. 6003. Here, the Debtors believe an immediate and orderly

 transition into chapter 11 is critical to the viability of their operations and that any delay in granting

 the relief requested could hinder the Debtors’ operations and cause irreparable harm. Furthermore,

 the failure to receive the requested relief during the first 21 days of these Chapter 11 Cases would

 severely disrupt the Debtors’ operations at this critical juncture. Accordingly, the Debtors submit

 that they have satisfied the “immediate and irreparable harm” standard of Bankruptcy Rule 6003

 and, therefore, respectfully request that the Court approve the relief requested in this Motion on an

 emergency basis.

                             WAIVER OF ANY APPLICABLE STAY

         73.     The Debtors seek a waiver of any stay of the effectiveness of the order granting this

 Motion. Pursuant to Bankruptcy Rule 6004(h), any “order authorizing the use, sale, or lease of

 property other than cash collateral is stayed until the expiration of 14 days after entry of the order,

 unless the court orders otherwise.” The Debtors submit that the relief requested in this Motion is


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 necessary to avoid immediate and irreparable harm to the Debtors for the reasons set forth herein.

 Accordingly, the Debtors submit that ample cause exists to justify a waiver of the 14-day stay

 imposed by Bankruptcy Rule 6004(h), to the extent applicable.

                                   RESERVATION OF RIGHTS

        74.     Nothing in the Motion should be construed as (a) authority to assume or reject any

 executory contract or unexpired lease of real property, or as a request for the same; (b) an

 admission as to the validity, priority, or character of any claim or other asserted right or obligation,

 or a waiver or other limitation on the Debtors’ ability to contest the same on any ground permitted

 by bankruptcy or applicable non-bankruptcy law; (c) a promise or requirement to pay any claim

 or other obligation; or (d) granting third-party-beneficiary status, bestowing any additional rights

 on any third party, or being otherwise enforceable by any third party.

                                               NOTICE

        75.     The Debtors will provide notice of the Motion to: (a) the U.S. Trustee; (b) the

 Internal Revenue Service; (c) the United States Attorney for the Northern District of Texas; (d) the

 Attorney General for the State of Texas; (e) State Comptroller of Public Accounts; (f) the Centers

 for Medicare and Medicaid Services; (g) the Attorneys General for the states in which the Debtors

 conduct business; (h) the parties included on the Debtors’ list of their 30 largest unsecured

 creditors; (i) counsel to the Prepetition ABL Agents; (j) counsel to the Prepetition Term Loan

 Agent, (k) counsel to the Omega Landlords; (l) counsel to the Welltower Landlords; (m) the

 United States Department of Housing and Urban Development; and (n) all parties entitled to notice

 pursuant to Bankruptcy Rule 2002. The Debtors submit that no other or further notice is required.




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                                     NO PRIOR REQUEST

          76.   No previous request for the relief sought herein has been made to this or any other

 court.

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        WHEREFORE, the Debtors respectfully request that the Court enter the Interim and Final

 Orders, substantially in the forms attached hereto as Exhibit A and Exhibit B, respectively,

 granting the relief requested herein and such other and further relief as may be just and proper.

 Dated: July 10, 2025                          MCDERMOTT WILL & EMERY LLP
        Dallas, Texas
                                               /s/ Marcus A. Helt
                                               Marcus A. Helt (TX 24052187)
                                               Jack G. Haake (TX 24127704)
                                               Grayson Williams (TX 24124561)
                                               2801 N. Harwood Street, Suite 2600
                                               Dallas, Texas 75201-1574
                                               Telephone: (214) 295-8000
                                               Facsimile:     (972) 232-3098
                                               Email:         mhelt@mwe.com
                                                              jhaake@mwe.com
                                                              gwilliams@mwe.com

                                               - and -

                                               Daniel M. Simon (pro hac vice pending)
                                               Emily C. Keil (pro hac vice pending)
                                               William A. Guerrieri (pro hac vice pending)
                                               444 West Lake Street, Suite 4000
                                               Chicago, Illinois 60606
                                               Telephone: (312) 372-2000
                                               Facsimile:     (312) 984-7700
                                               Email:         dsimon@mwe.com
                                                              ekeil@mwe.com
                                                              wguerrieri@mwe.com

                                               Proposed Counsel for the Debtors and
                                               Debtors-in-Possession




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                                    CERTIFICATE OF SERVICE

        I hereby certify that on this date a true and correct copy of the foregoing Motion was served

 by the Court’s CM/ECF system on all counsel of record registered in these Chapter 11 Cases

 through CM/ECF. Subject to the Court’s approval of their retention and access to filing privileges,

 the Debtors’ proposed claims and noticing agent will be filing a supplemental certificate of service

 on the docket to reflect any additional service of the foregoing Motion.


 Dated: July 10, 2025                          MCDERMOTT WILL & EMERY LLP
        Dallas, Texas
                                               /s/ Marcus A. Helt
                                               Marcus A. Helt (TX 24052187)
                                               Jack G. Haake (TX 24127704)
                                               Grayson Williams (TX 24124561)
                                               2801 N. Harwood Street, Suite 2600
                                               Dallas, Texas 75201-1574
                                               Telephone: (214) 295-8000
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                                               Email:         mhelt@mwe.com
                                                              jhaake@mwe.com
                                                              gwilliams@mwe.com

                                               - and -

                                               Daniel M. Simon (pro hac vice pending)
                                               Emily C. Keil (pro hac vice pending)
                                               William A. Guerrieri (pro hac vice pending)
                                               444 West Lake Street, Suite 4000
                                               Chicago, Illinois 60606
                                               Telephone: (312) 372-2000
                                               Facsimile:     (312) 984-7700
                                               Email:         dsimon@mwe.com
                                                              ekeil@mwe.com
                                                              wguerrieri@mwe.com

                                               Proposed Counsel for the Debtors and
                                               Debtors-in-Possession




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                                   EXHIBIT A

                              Proposed Interim Order
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                           IN THE UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

                                                                  )
     In re:                                                       )    Chapter 11
                                                                  )
     GENESIS HEALTHCARE, INC., et al., 1                          )    Case No. 25-80185 (SGJ)
                                                                  )
                                        Debtors.                  )    (Jointly Administered)
                                                                  )
                                                                  )    Related to Docket No. ___



            INTERIM ORDER (I) AUTHORIZING THE DEBTORS TO (A) OBTAIN
            POSTPETITION FINANCING AND (B) UTILIZE CASH COLLATERAL,
          (II) GRANTING ADEQUATE PROTECTION TO PREPETITION SECURED
          PARTIES, (III) MODIFYING THE AUTOMATIC STAY, (IV) SCHEDULING
                 A FINAL HEARING, AND (V) GRANTING RELATED RELIEF




 1
       The last four digits of Genesis Healthcare, Inc’s federal tax identification number are 4755. There are 299 Debtors
       in these chapter 11 cases, which are being jointly administered for procedural purposes only. A complete list of
       the Debtors and the last four digits of their federal tax identification numbers are not provided herein. A complete
       list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
       https://dm.epiq11.com/Genesis. The location of Genesis Healthcare, Inc.’s corporate headquarters and the
       Debtors’ service address is 101 East State Street, Kennett Square, PA 19348.
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          Upon the motion (the “DIP Motion”) 2 of Genesis Healthcare, Inc. (“Genesis”) and its

 affiliated debtors and debtors in possession (collectively, the “Debtors”) in the above-captioned

 chapter 11 cases (the “Chapter 11 Cases”) for entry of an interim order (this “Interim Order”) and

 a final order (“Final Order”), under sections 105, 361, 362, 363, 364, 503, 506, and 507 of title 11

 of the United States Code (the “Bankruptcy Code”), Rules 2002, 4001, 6003, 6004, and 9014 of

 the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rules 2002-1, 4001-1,

 5005-1, and 9013-1 of the Local Bankruptcy Rules of the United States Bankruptcy Court for the

 Northern District of Texas (the “Local Rules”), and Section D of the Procedures for Complex

 Cases in the Northern District of Texas (the “Complex Case Procedures”) seeking, inter alia:

                   (i)     authorizing the Debtors to obtain postpetition financing on a secured junior

 basis, consisting of a new money term loan facility (the “DIP Facility,” and the loans issued

 thereunder, the “DIP Loans”) in an aggregate principal amount of up to $30,000,000 pursuant to

 the terms and conditions set forth in this Interim Order and that certain term sheet annexed hereto

 as Exhibit 1 (as may be amended, restated, supplemented, waived, or otherwise modified from

 time to time in accordance with the terms hereof and thereof, the “DIP Term Sheet”), executed by

 Genesis and FC-GEN Operations Investment, LLC, as borrowers (the “DIP Borrowers”), and

 those certain Debtors identified as guarantors in the DIP Term Sheet (the “DIP Guarantors” and,

 together with the DIP Borrowers, the “DIP Loan Parties”), Markglen, Inc., as lender under the DIP

 Facility (in such capacity, the “Welltower DIP Lender”), OHI Mezz Lender LLC, as lender under

 the DIP Facility (in such capacity, the “Omega DIP Lender”), and CPE 88988 LLC, as lender

 under the DIP Facility (in such capacity, the “WAX DIP Lender” and, together with Welltower

 DIP Lender and Omega DIP Lender, the “DIP Lenders”), and Welltower OP LLC, upon execution


 2
     Capitalized terms used herein and not herein defined have the meaning ascribed to such terms in the DIP Motion
     or the DIP Term Sheet (as defined herein).

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 of the DIP Credit Agreement, administrative and collateral agent (in such capacity, the “DIP

 Agent” and, together with the DIP Lenders, the “DIP Secured Parties”);

                 (ii)    authorizing the Debtors to enter into the DIP Term Sheet and that certain

 loan agreement by and among the DIP Borrowers, the DIP Guarantors, the DIP Lenders, and the

 DIP Agent (the “DIP Credit Agreement”) and that certain promissory note evidencing the

 obligations due and owing under the DIP Credit Agreement (the “DIP Note”) and any other

 agreements, instruments, pledge agreements, guarantees, indemnities, security agreements,

 intellectual property security agreements, control agreements, escrow agreements, instruments,

 notes, and documents executed in accordance and connection therewith (each as amended,

 restated, supplemented, waived, or otherwise modified from time to time in accordance with the

 terms hereof and thereof, and collectively with the DIP Term Sheet, the DIP Credit Agreement,

 and the DIP Note, the “DIP Loan Documents”);

                 (iii)   authorizing the DIP Borrowers to incur, and for the DIP Guarantors to

 guarantee on an unconditional joint and several basis, obligations for principal, interest, fees, costs,

 expenses, obligations (whether contingent or otherwise), and all other amounts, as and when due

 and payable under and in accordance with this Interim Order, the DIP Term Sheet, and the DIP

 Loan Documents (collectively, the “DIP Facility Obligations”);

                 (iv)    authorizing the DIP Loan Parties to perform such other and further acts as

 may be necessary or desirable in connection with this Interim Order, the DIP Term Sheet, the DIP

 Loan Documents, and the transactions contemplated hereby and thereby;

                 (v)     granting each of the DIP Lenders, jointly and severally, and authorizing the

 DIP Loan Parties to incur, the DIP Liens (as defined below), as applicable, in all DIP Collateral

 (as defined below) having the priority described in this Interim Order;



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                 (vi)    granting each of the DIP Lenders, jointly and severally, and authorizing the

 DIP Loan Parties to incur, allowed superpriority administrative expense claims against each of the

 DIP Loan Parties in respect of all DIP Facility Obligations, in each case, in accordance with the

 terms of this Interim Order;

                 (vii)   authorizing the DIP Loan Parties’ use of Prepetition Collateral (as defined

 below), including Cash Collateral (as defined below), as well as the proceeds of the DIP Facility,

 subject to the terms and conditions set forth in this Interim Order and the DIP Loan Documents;

                 (viii) providing adequate protection to the Prepetition Secured Parties (as defined

 below) on account of any Diminution in Value (as defined below) of the Prepetition Secured

 Parties’ interest in the Prepetition Collateral;

                 (ix)    modifying the automatic stay imposed by section 362 of the Bankruptcy

 Code solely to the extent necessary to implement and effectuate, including the right to exercise

 remedies following an Event of Default (as defined below) and expiration of any applicable notice

 period, the terms and provisions of this Interim Order and the DIP Loan Documents, waiving any

 applicable stay (including under Bankruptcy Rule 6004) with respect to the effectiveness and

 enforceability of this Interim Order, and providing for the immediate effectiveness of this Interim

 Order;

                 (x)     upon entry of a Final Order providing for such relief and as set forth in

 paragraphs 25 and 27 herein, authorizing the Debtors to waive as to the DIP Lenders and

 Prepetition Secured Parties (a) any rights to surcharge the DIP Collateral or any Prepetition

 Collateral (as defined herein) pursuant to section 506(c) of the Bankruptcy Code, and (b) any

 “equities of the case” exception under section 552(b) of the Bankruptcy Code;




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                (xi)    upon entry of a Final Order providing for such relief, waiving the equitable

 doctrine of “marshaling” and other similar doctrines with respect to (a) the DIP Collateral, for the

 benefit of any party other than the DIP Secured Parties, and (b) the Prepetition Collateral, for the

 benefit of any party other than the Prepetition Secured Parties (as defined herein), subject to the

 Carve Out (as defined below); and

                (xii)   scheduling a final hearing (the “Final Hearing”) to consider entry of the

 Final Order, and approving the form of notice with respect to the Final Hearing.

        This Court having considered the DIP Motion, the DIP Term Sheet, the proposed Interim

 Order, the Declaration of Jaspinder Kanwal in Support of Debtors’ Emergency Motion for Entry

 of Interim and Final Orders (I) Authorizing the Debtors to (A) Obtain Postpetition Financing and

 (B) Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties, (III)

 Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief

 [Docket No. [•]] (the “DIP Declaration”) and the Declaration of Louis E. Robichaux IV in Support

 of Chapter 11 Petitions and First Day Pleadings [Docket No. [•]] (the “First Day Declaration”),

 the pleadings filed with this Court, the evidence submitted and arguments proffered or adduced at

 the hearing held before this Court on July 11, 2025 (the “Interim Hearing”), and upon the record

 of these Chapter 11 Cases; and adequate notice of the Interim Hearing having been given in

 accordance with Bankruptcy Rules 2002, 4001 and 9014, and all applicable Local Rules; and it

 appearing that no other or further notice need be provided; and any objections, responses and

 reservations of rights with respect to the entry of the Interim Order or the relief requested in the

 DIP Motion having been withdrawn, resolved, or overruled by this Court; and it appearing to this

 Court that granting the interim relief requested in the DIP Motion is necessary to avoid immediate

 and irreparable harm to the Debtors and their estates pending the Final Hearing, and otherwise is



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 fair and reasonable and in the best interests of the Debtors, their estates, and their creditors,

 represents a sound exercise of the Debtors’ business judgment, and is necessary for the continued

 operation of the Debtors’ businesses; and after due deliberation and consideration, and for good

 and sufficient cause appearing therefor:

          THE COURT HEREBY MAKES THE FOLLOWING FINDINGS OF FACT AND

 CONCLUSIONS OF LAW: 3

          A.       Petition Date. On July 9, 2025 (the “Petition Date”), each of the Debtors filed a

 voluntary petition for relief under chapter 11 of the Bankruptcy Code in the United States

 Bankruptcy Court for the Northern District of Texas (this “Court”) commencing these Chapter 11

 Cases. On July [•], 2025, this Court entered an order approving the joint administration of the

 Chapter 11 Cases for procedural purposes only.

          B.       Debtors-in-Possession. The Debtors continue in possession of and to manage and

 operate their businesses and properties as debtors in possession pursuant to sections 1107 and 1108

 of the Bankruptcy Code. No trustee or examiner has been appointed in any of these Chapter 11

 Cases.

          C.       Committee Formation. As of the date hereof, the United States Trustee for

 Region 6 (the “U.S. Trustee”) has not appointed an official committee of unsecured creditors in

 these Chapter 11 Cases (the “Official Committee”).

          D.       Jurisdiction and Venue. This Court has jurisdiction over the Debtors, property of

 the Debtors’ estates, the Chapter 11 Cases, the DIP Motion, and the parties and property affected

 hereby pursuant to 28 U.S.C. § 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b).


 3
     The findings and conclusions set forth herein constitute this Court’s findings of fact and conclusions of law
     pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To the
     extent that any of the following findings of fact constitute conclusions of law, they are adopted as such. To the
     extent any of the following conclusions of law constitute findings of fact, they are adopted as such.

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 Venue for these Chapter 11 Cases and the proceedings on the DIP Motion is proper in this district

 pursuant to 28 U.S.C. §§ 1408 and 1409. The predicates for the relief set forth herein are sections

 105, 361, 362, 363, 364, and 507 of the Bankruptcy Code, Bankruptcy Rules 2002, 4001, 6004,

 and 9014, Local Rules 2002-1, 4001-1, 5005-1, and 9013-1, and the Complex Cases Procedures.

        E.      Debtors’ Stipulations. Subject to the limitations thereon contained in paragraph

 24 hereof, the Debtors, on behalf of their estates, admit, stipulate, acknowledge, and agree, having

 considered and reviewed the facts and circumstances and record, that the following statements are

 true and correct:

                (i)     Prepetition ABL Credit Agreement.

                        (a)      Genesis Healthcare, Inc., and certain of its affiliates designated

 therein as borrowers (such borrowers, collectively, the “Prepetition Non-HUD ABL Borrowers”

 or the “Prepetition Non-HUD ABL Obligors”), White Oak Healthcare Finance, LLC and the other

 financial institutions party thereto from time to time as lenders (the “Prepetition Non-HUD ABL

 Lenders”), White Oak Healthcare Finance, LLC, as agent for the Prepetition Non-HUD ABL

 Lenders (in such capacity, the “Prepetition Non-HUD ABL Agent,” and together with the

 Prepetition Non-HUD ABL Lenders, the “Prepetition Non-HUD ABL Secured Parties”), entered

 into that certain Fifth Amended and Restated Credit Agreement, dated as of March 9, 2022 (as

 otherwise amended, supplemented, or otherwise modified from time to time, the “Prepetition Non-

 HUD ABL Credit Agreement,” and together with any other documents executed and delivered in

 connection therewith, the “Prepetition Non-HUD ABL Documents”).

                        (b)      As of the Petition Date, the Prepetition Non-HUD ABL Obligors

 were justly and lawfully indebted and liable to the Prepetition Non-HUD ABL Secured Parties,

 without defense, counterclaim or offset of any kind, in the aggregate principal amount of not less



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 than $[223.6] million, plus accrued and unpaid interest (including default interest) thereon and

 reimbursement obligations, fees, costs, and expenses (including, without limitation, any attorneys’,

 accountants’, appraisers’ financial advisors’ fees, and related costs and expenses, in each case,

 solely to the extent that they are chargeable or reimbursable under the Prepetition Non-HUD ABL

 Documents), charges, disbursements, indemnification obligations, and any other amounts,

 contingent or otherwise, whenever arising or accruing, that may be due, owing, or chargeable in

 respect thereof, and all other Obligations (as defined in the Prepetition Non-HUD ABL

 Agreement) incurred or accrued in connection therewith (whether arising before, on, or after the

 Petition Date), owing, in each case under or in connection with the Prepetition Non-HUD ABL

 Documents without defense, counterclaim, or offset of any kind (collectively, the “Prepetition

 Non-HUD ABL Obligations”).

                        (c)      The Prepetition Non-HUD ABL Obligations are secured by valid,

 binding, perfected, and enforceable first priority security interests in and liens on all “Collateral”

 (as defined in the Prepetition Non-HUD ABL Documents) (such collateral, the “Non-HUD ABL

 Senior Collateral” and such security interests in and liens on the Non-HUD ABL Senior Collateral,

 the “Prepetition Non-HUD ABL Liens”).

                        (d)      Genesis Healthcare, Inc., and certain of its affiliates designated

 therein as borrowers (such borrowers, collectively, the “Prepetition HUD ABL Borrowers” or the

 “Prepetition HUD ABL Obligors” and, together with the Prepetition Non-HUD ABL Borrowers

 or the Prepetition Non-HUD ABL Obligors, the “Prepetition ABL Borrowers” or the “Prepetition

 ABL Obligors”), White Oak Healthcare Finance, LLC and the other financial institutions party

 thereto from time to time as lenders (the “Prepetition HUD ABL Lenders” and, together with the

 Prepetition Non-HUD ABL Lenders, the “Prepetition ABL Lenders”), White Oak Healthcare



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 Finance, LLC, as agent for the Prepetition HUD ABL Lenders (in such capacity, the “Prepetition

 HUD ABL Agent,” and together with the Prepetition HUD ABL Lenders, the “Prepetition HUD

 ABL Secured Parties”; the Prepetition HUD ABL Agent and the Prepetition Non-HUD ABL

 Agent shall be referred to collectively as the “Prepetition ABL Agents” and the Prepetition HUD

 ABL Secured Parties and the Prepetition Non-HUD ABL Secured Parties shall be collectively

 referred to as the “Prepetition ABL Secured Parties”), entered into that certain Third Amended and

 Restated Credit Agreement, dated as of March 6, 2020 (as otherwise amended, supplemented, or

 otherwise modified from time to time, the “Prepetition HUD ABL Credit Agreement,” and

 together with any other documents executed and delivered in connection therewith, the

 “Prepetition HUD ABL Documents”; the Prepetition HUD ABL Credit Agreement and the

 Prepetition Non-HUD ABL Credit Agreement shall be referred to collectively as the “Prepetition

 ABL Credit Agreements” and the Prepetition HUD ABL Documents and the Prepetition Non-

 HUD ABL Documents shall be collectively referred to as the “Prepetition ABL Documents”).

                        (e)      As of the Petition Date, the Prepetition HUD ABL Obligors were

 justly and lawfully indebted and liable to the Prepetition HUD ABL Secured Parties, without

 defense, counterclaim or offset of any kind, in the aggregate principal amount of not less than

 $[55.7] million, plus accrued and unpaid interest (including default interest) thereon and

 reimbursement obligations, fees, costs, and expenses (including, without limitation, any attorneys’,

 accountants’, appraisers’ financial advisors’ fees, and related costs and expenses, in each case,

 solely to the extent that they are chargeable or reimbursable under the Prepetition HUD ABL

 Documents), charges, disbursements, indemnification obligations, and any other amounts,

 contingent or otherwise, whenever arising or accruing, that may be due, owing, or chargeable in

 respect thereof, and all other Obligations (as defined in the Prepetition HUD ABL Agreement)



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 incurred or accrued in connection therewith (whether arising before, on, or after the Petition Date),

 owing, in each case under or in connection with the Prepetition HUD ABL Documents without

 defense, counterclaim, or offset of any kind (collectively, the “Prepetition HUD ABL Obligations”

 and, together with the Prepetition Non-HUD ABL Obligations, the “Prepetition ABL

 Obligations”).

                         (f)      The Prepetition HUD ABL Obligations are secured by valid,

 binding, perfected, and enforceable first priority security interests in and liens on all “Collateral”

 (as defined in the Prepetition HUD ABL Documents) (such collateral, the “HUD ABL Senior

 Collateral” and such security interests in and liens on the HUD ABL Senior Collateral, the

 “Prepetition HUD ABL Liens”; the HUD ABL Senior Collateral and the Non-HUD ABL Senior

 Collateral shall be referred to collectively as the “ABL Senior Collateral” and the Prepetition HUD

 ABL Liens and the Prepetition Non-HUD ABL Liens shall be collectively referred to as the

 “Prepetition ABL Liens”).

                  (ii)   Prepetition Term Loan Credit Agreement.

                         (a)      Genesis Healthcare, Inc., and certain of its affiliates designated

 therein, as borrowers (such borrowers, collectively, the “Prepetition Term Loan Borrowers”),

 certain other parties designated as guarantors thereto (such guarantors collectively, the “Prepetition

 Term Loan Guarantors” and, together with the Prepetition Term Loan Borrowers, the “Prepetition

 Term Loan Obligors”), Markglen, Inc. (in such capacity, the “Prepetition Welltower Term Loan

 Lender”), OHI Mezz Lender, LLC (in such capacity, the “Prepetition Omega Term Loan Lender”

 and, together with the Prepetition Welltower Term Loan Lender, the “Prepetition WELL/OHI

 Term Loan Lenders”), WAX Dynasty Partners LLC (in such capacity, the “Prepetition WAX Term

 Loan Lender”), MAO 22322 LLC (in such capacity, the “Prepetition MAO Term Loan Lender”



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 and, together with the Prepetition WAX Term Loan Lender, the “Prepetition WAX/MAO Term

 Loan Lenders”) and the other financial institutions party thereto from time to time as lenders and

 the other financial institutions party thereto from time to time as lenders (collectively, the

 “Prepetition Term Loan Lenders”), and Welltower OP LLC (formerly known as Welltower Inc.),

 as administrative and collateral agent for the Prepetition Term Loan Lenders (in such capacity, the

 “Prepetition Term Loan Agent,” and together with the Prepetition Term Loan Lenders, the

 “Prepetition Term Loan Secured Parties”) entered into that certain Term Loan Agreement, dated

 as of July 29, 2016 (as otherwise amended, supplemented, or otherwise modified from time to

 time, the “Prepetition Term Loan Credit Agreement,” and together with any other documents

 executed and delivered in connection therewith, the “Prepetition Term Loan Documents”).

                        (b)    As of the Petition Date, the Prepetition Term Loan Obligors were

 justly and lawfully indebted and liable to the Prepetition Term Loan Secured Parties, without

 defense, counterclaim or offset of any kind in the aggregate principal amount of at least $[317.8]

 million, plus accrued and unpaid interest thereon and fees, expenses (including any attorneys’,

 accountants’, appraisers’ and financial advisors’ fees, in each case, solely to the extent that they

 are chargeable or reimbursable under the Prepetition Term Loan Documents), charges, indemnities

 and all other Obligations (as defined in the Prepetition Term Loan Credit Agreement) incurred or

 accrued in connection therewith (whether arising before, on, or after the Petition Date), owing in

 each case under or in connection with the Prepetition Term Loan Documents without defense,

 counterclaim, or offset of any kind (collectively, the “Prepetition Term Loan Obligations”), which

 Prepetition Term Loan Obligations have been guaranteed on a joint and several basis by the

 Prepetition Term Loan Guarantors.




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                        (c)      The Prepetition Term Loan Obligations are secured by second

 priority security interests in and liens on property of the Prepetition Term Loan Obligors

 constituting ABL Senior Collateral and first priority security interests in and liens on any other

 property of the Prepetition Term Loan Obligors as set forth in the Prepetition Term Loan

 Documents (such collateral, the “Prepetition Term Loan Collateral” and such security interests in

 and liens on the Prepetition Term Loan Collateral, the “Prepetition Term Loan Liens”).

                (iii)   Prepetition Welltower Non-HUD Master Lease Agreement.

                        (a)      Genesis Dynasty Operations, LLC (the “Welltower Non-HUD

 Master Tenant”) entered into that certain Master Lease Agreement, dated as of December 23, 2016

 (as amended, restated, amended and restated, supplemented, or otherwise modified from time to

 time, the “Welltower Non-HUD Master Lease Agreement” and, together with all other agreements,

 documents, and instruments executed and/or delivered with, to or in favor of the “Landlord” (the

 “Welltower Non-HUD Master Lease Landlord”) including, without limitation, all security

 agreements, notes, guarantees, including the Welltower Non-HUD Master Lease Guaranty (as

 defined below), mortgages, Uniform Commercial Code financing statements, documents, and

 instruments, including any fee letters, executed and/or delivered in connection therewith or related

 thereto, the “Welltower Non-HUD Master Lease Documents”) by and among the Welltower Non-

 HUD Master Tenant and the Welltower Non-HUD Master Lease Landlord. The Welltower Non-

 HUD Master Tenant has subleased the facilities leased to the Welltower Non-HUD Master Tenant

 under the Welltower Non-HUD Master Lease Agreement to certain operators set forth therein (the

 “Existing Welltower Non-HUD Operators”).

                        (b)      Certain of the Debtors, including the Existing Welltower Non-HUD

 Operators, and other parties (each a “Welltower Non-HUD Master Lease Guarantor” and,



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 collectively with the Welltower Non-HUD Master Tenant, the “Welltower Non-HUD Master

 Lease Obligors”) have entered into that certain Unconditional and Continuing Guaranty and

 Indemnification Agreement, dated as of December 23, 2016 with the Welltower Non-HUD Master

 Lease Landlord (as amended, restated, amended and restated, supplemented, or otherwise modified

 from time to time, in respect of the Welltower Non-HUD Master Lease Agreement, the “Welltower

 Non-HUD Master Lease Guaranty”).

                        (c)      As of the Petition Date, the Welltower Non-HUD Master Lease

 Obligors were justly and lawfully indebted and liable to the Welltower Non-HUD Master Lease

 Landlord, without defense, counterclaim or offset of any kind for certain amounts, plus accrued

 and unpaid interest thereon and fees, expenses (including any attorneys’, accountants’, appraisers’

 and financial advisors’ fees, in each case, solely to the extent that they are chargeable or

 reimbursable under the Welltower Non-HUD Master Lease Documents), charges, indemnities and

 all other Lease Obligations (as defined in the Welltower Non-HUD Master Lease) incurred or

 accrued in connection therewith (whether arising before, on, or after the Petition Date) owing, in

 each case under or in connection with the Welltower Non-HUD Master Lease Documents without

 defense, counterclaim, or offset of any kind (collectively, the “Welltower Non-HUD Master Lease

 Obligations”), which Welltower Non-HUD Master Lease Obligations have been guaranteed on a

 joint and several basis by the Welltower Non-HUD Master Lease Guarantors.

                        (d)      The Welltower Non-HUD Master Lease Obligations are secured by

 second priority security interests in and liens on property of the Welltower Non-HUD Master

 Lease Obligors constituting ABL Senior Collateral and first priority security interests in and liens

 on any other property of the Welltower Non-HUD Master Lease Obligors as set forth in the

 Welltower Non-HUD Master Lease Documents (the “Welltower Non-HUD Landlord Collateral”).



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                (iv)    Prepetition Welltower HUD Master Lease Agreement.

                        (a)      Genesis Tang Operations LLC (the “Welltower HUD Master

 Tenant”) entered into that certain Master Lease Agreement, dated as of October 1, 2017 (as

 amended, restated, amended and restated, supplemented, or otherwise modified from time to time,

 the “Welltower HUD Master Lease Agreement” and, together with all other agreements,

 documents, and instruments executed and/or delivered with, to or in favor of “Landlord” (the

 “Welltower HUD Master Lease Landlord” and together with the Welltower Non-HUD Master

 Lease Landlord, the “Welltower Landlords”) including, without limitation, all security

 agreements, notes, guarantees, including the Welltower HUD Master Lease Guaranty (as defined

 below), mortgages, Uniform Commercial Code financing statements, documents, and instruments,

 including any fee letters, executed and/or delivered in connection therewith or related thereto, the

 “Welltower HUD Master Lease Documents” and together with the Welltower Non-HUD Master

 Lease Documents, the “Welltower Master Lease Documents”) by and among the Welltower HUD

 Master Tenant and the Welltower HUD Master Lease Landlord (together with the Welltower Non-

 HUD Master Lease Landlord, the “Welltower Master Lease Secured Parties”). The Welltower

 HUD Master Tenant has subleased the facilities leased to the Welltower HUD Master Tenant under

 the Welltower HUD Master Lease Agreement to certain operators set forth therein (the “Existing

 Welltower HUD Operators”).

                        (b)      Certain of the Debtors, including the Existing Welltower HUD

 Operators, and other parties (each a “Welltower HUD Master Lease Guarantor” and, collectively

 with the Welltower HUD Master Tenant, the “Welltower HUD Master Lease Obligors,” and,

 together with the Welltower Non-HUD Master Lease Obligors, the “Welltower Master Lease

 Obligors”) have entered into that certain Unconditional and Continuing Guaranty and



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 Indemnification Agreement, dated as of October 26, 2017 with the Welltower HUD Master Lease

 Landlord (as amended, restated, amended and restated, supplemented, or otherwise modified from

 time to time, in respect of the Welltower HUD Master Lease Agreement, the “Welltower HUD

 Master Lease Guaranty”).

                        (c)      As of the Petition Date, the Welltower HUD Master Lease Obligors

 were justly and lawfully indebted and liable to the Welltower HUD Master Lease Landlord,

 without defense, counterclaim or offset of any kind for certain amounts, plus accrued and unpaid

 interest thereon and fees, expenses (including any attorneys’, accountants’, appraisers’ and

 financial advisors’ fees, in each case, solely to the extent that they are chargeable or reimbursable

 under the Welltower HUD Master Lease Documents), charges, indemnities and all other Lease

 Obligations (as defined in the Welltower HUD Master Lease) incurred or accrued in connection

 therewith (whether arising before, on, or after the Petition Date) owing, in each case under or in

 connection with the Welltower HUD Master Lease Documents without defense, counterclaim, or

 offset of any kind (collectively, the “Welltower HUD Master Lease Obligations” and, together

 with the Welltower Non-HUD Master Lease Obligations, the “Welltower Master Lease

 Obligations”), which Welltower HUD Master Lease Obligations have been guaranteed on a joint

 and several basis by the Welltower HUD Master Lease Guarantors.

                        (d)      The Welltower HUD Master Lease Obligations are secured by

 second priority security interests in and liens on property of the Welltower HUD Master Lease

 Obligors constituting ABL Senior Collateral and first priority security interests in and liens on any

 other property of the Welltower HUD Master Lease Obligors as set forth in the Welltower HUD

 Master Lease Documents (the “Welltower HUD Landlord Collateral,” and together with the

 Welltower Non-HUD Landlord Collateral, the “Welltower Landlord Collateral”).



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               (v)    Prepetition Omega Master Lease Agreement.

                      (a)      Sunbridge Care Enterprises, LLC, a Delaware limited liability

 company, Sunbridge Beckley Health Care, LLC, a West Virginia limited liability company,

 Sunbridge Putnam Health Care, LLC, a West Virginia limited liability company, Sunbridge

 Dunbar Health Care, LLC, a West Virginia limited liability company, Sunbridge Salem Health

 Care, LLC, a West Virginia limited liability company, Sunbridge Regency-North Carolina, LLC,

 a North Carolina limited liability company, Sunbridge Healthcare, LLC, a New Mexico limited

 liability company, Sunbridge Regency-Tennessee, LLC, a Tennessee limited liability company,

 Falmouth Healthcare, LLC, a Delaware limited liability company, Mashpee Healthcare, LLC, a

 Delaware limited liability company, Peak Medical Of Idaho, LLC, a Delaware limited liability

 company, Peak Medical Of Boise, LLC, a Delaware limited liability company, Genesis OMG

 Operations LLC, a Delaware limited liability company, 803 Hacienda Lane Operations LLC, a

 New Mexico limited liability company, 419 Harding Street Operations LLC, a New Mexico

 limited liability company, 1650 Galisteo Street Operations LLC, a New Mexico limited liability

 company, 3720 Church Rock Street Operations LLC, a New Mexico limited liability company,

 3514 Fowler Avenue Operations LLC, a New Mexico limited liability company, 400 Mckinley

 Avenue Operations LLC, a West Virginia limited liability company, Sunbridge Retirement Care

 Associates, LLC, a Colorado limited liability company, and Albuquerque Heights Healthcare And

 Rehabilitation Center, LLC, a Delaware limited liability company (collectively, the “Omega

 Master Tenant”) entered into that certain Second Consolidated Amended and Restated Master

 Lease Agreement, dated as of January 30, 2015 (as amended, restated, amended and restated,

 supplemented, or otherwise modified from time to time, the “Omega Master Lease Agreement”

 and, together with all other agreements, documents, and instruments executed and/or delivered



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 with, to or in favor of the Omega Landlords (as defined therein) including, without limitation, all

 security agreements, notes, guarantees, including the Omega Master Lease Guaranty (as defined

 below), mortgages, Uniform Commercial Code financing statements, documents, and instruments,

 including any fee letters, executed and/or delivered in connection therewith or related thereto, the

 “Omega Master Lease Documents” and together with the Welltower Master Lease Documents, the

 Prepetition Term Loan Documents, and the Prepetition ABL Documents, the “Prepetition Secured

 Documents”) by and among the Omega Master Tenant and the Omega Landlords (the “Omega

 Master Lease Secured Parties” and, together with the Welltower Master Lease Secured Parties, the

 WELL/OHI Master Lease Secured Parties and, the WELL/OHI Master Lease Secured Parties

 together with the Prepetition Term Loan Secured Parties, the “Prepetition TL/ML Secured Parties”

 and, the Prepetition TL/ML Secured Parties together with the Prepetition ABL Secured Parties,

 the “Prepetition Secured Parties”). The Omega Master Tenant has subleased the facilities leased

 to the Omega Master Tenant under the Omega Master Lease Agreement to certain operators set

 forth therein (the “Existing Omega Operators”).

                        (b)    Certain of the Debtors, including the Existing Omega Operators, and

 other parties (each an “Omega Master Lease Guarantor” and, collectively with the Omega Master

 Tenant, the “Omega Master Lease Obligors,” and, together with the Welltower Master Lease

 Obligors and the Prepetition Term Loan Obligors, the “Prepetition TL/ML Obligors” and, the

 Prepetition TL/ML Obligors together with the Prepetition ABL Obligors, the “Prepetition

 Obligors”) have entered into that certain Lease Guaranty, dated as of January 30, 2015 with the

 “Omega Landlords” (as amended, restated, amended and restated, supplemented, or otherwise

 modified from time to time, in respect of the Omega Master Lease Agreement, the “Omega Master

 Lease Guaranty”).



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                        (c)      As of the Petition Date, the Omega Master Lease Obligors were

 justly and lawfully indebted and liable to the Omega Landlords, without defense, counterclaim or

 offset of any kind for certain amounts, plus accrued and unpaid interest thereon and fees, expenses

 (including any attorneys’, accountants’, appraisers’ and financial advisors’ fees, in each case,

 solely to the extent that they are chargeable or reimbursable under the Omega Master Lease

 Documents), charges, indemnities and all other Obligations (as defined in the Omega Master

 Lease) incurred or accrued in connection therewith (whether arising before, on, or after the Petition

 Date) owing, in each case under or in connection with the Omega Master Lease Documents without

 defense, counterclaim, or offset of any kind (collectively, the “Omega Master Lease Obligations”

 and, together with the Welltower Master Lease Obligations, the “WELL/OHI Master Lease

 Obligations” and the WELL/OHI Master Lease Obligations together with the Prepetition Term

 Loan Obligations, the “Prepetition TL/ML Secured Obligations” and, the Prepetition TL/ML

 Secured Obligations together with the Prepetition ABL Obligations, the “Prepetition Secured

 Obligations”), which Omega Master Lease Obligations have been guaranteed on a joint and several

 basis by the Omega Master Lease Guarantors.

                        (d)      The Omega Master Lease Obligations are secured by second priority

 security interests in and liens on property of the Omega Master Lease Obligors constituting ABL

 Senior Collateral and first priority security interests in and liens on any other property of the

 Omega Master Lease Obligors as set forth in the Omega Master Lease Documents (the “Omega

 Landlord Collateral” and, together with the Welltower Landlord Collateral, the “WELL/OHI

 Landlord Collateral” and, the WELL/OHI Landlord Collateral, together with the Prepetition Term

 Loan Collateral, the “Prepetition TL/ML Collateral” and, the Prepetition TL/ML Collateral

 together with the ABL Senior Collateral, the “Prepetition Collateral”; and such liens on and



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 security interests in the Welltower Landlord Collateral and the Omega Landlord Collateral, the

 “WELL/OHI Master Lease Liens,” and together with the Prepetition Term Loan Liens, the

 “Prepetition TL/ML Liens” and, the Prepetition TL/ML Liens together with the Prepetition ABL

 Liens, the “Prepetition Liens”).

                (vi)   Intercreditor Agreements. As of the Petition Date the Prepetition Non-

 HUD ABL Agent was party to (A) that certain Intercreditor Agreement dated as of March 9, 2022,

 by and among the Prepetition Non-HUD ABL Agent, in its capacity as revolving agent for itself

 and the Prepetition Non-HUD ABL Lenders, and the Prepetition Term Loan Agent, in its capacity

 as administrative agent for itself and the Prepetition Term Loan Lenders (as amended, restated,

 amended and restated, supplemented, or otherwise modified from time to time, the “Prepetition

 ABL/TL Intercreditor Agreement”), which governs, among other things, the rights, interests

 obligations, priority, and positions of the Prepetition Non-HUD ABL Secured Parties and the

 Prepetition Term Loan Secured Parties with respect to collateral on which both the Prepetition

 ABL Non-HUD Secured Parties and the Prepetition Term Loan Secured Parties hold liens;

 (B)(i) that certain Intercreditor Agreement dated as of December 23, 2016, by and among the

 Prepetition Non-HUD ABL Agent (as successor to MidCap Funding IV Trust) in its capacity as

 revolving agent for itself and the Prepetition Non-HUD ABL Lenders, the Prepetition Term Loan

 Agent, and certain Welltower Landlords (as amended, restated, amended and restated,

 supplemented, or otherwise modified from time to time); and (ii) that certain Intercreditor

 Agreement dated as of October 31, 2019, by and among the Prepetition Non-HUD ABL Agent (as

 successor to MidCap Funding IV Trust) in its capacity as revolving agent for itself and the

 Prepetition Non-HUD ABL Lenders, the Prepetition Term Loan Agent, and certain Welltower

 Landlords (as amended, restated, amended and restated, supplemented, or otherwise modified from



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 time to time, together, the “Prepetition ABL/WELL ML Intercreditor Agreements”), which

 govern, among other things, the rights, interests obligations, priority, and positions of the

 Prepetition Non-HUD ABL Secured Parties and the Welltower Landlords with respect to collateral

 on which both the Prepetition Non-HUD ABL Secured Parties and the Welltower Landlords hold

 liens; and (C) that certain Intercreditor Agreement dated as of July 29, 2016, by and among the

 Prepetition Non-HUD ABL Agent (as successor to MidCap Funding IV Trust) in its capacity as

 revolving agent for itself and the Prepetition Non-HUD ABL Lenders, the Prepetition Term Loan

 Agent, and certain Omega Landlords (as amended, restated, amended and restated, supplemented,

 or otherwise modified from time to time, the “Prepetition ABL/OHI ML Intercreditor

 Agreement”), which governs, among other things, the rights, interests obligations, priority, and

 positions of the Prepetition Non-HUD ABL Secured Parties and the Omega Landlords with respect

 to collateral on which both the Prepetition Non-HUD ABL Secured Parties and the Omega

 Landlords hold liens.

                (vii)    Prepetition Secured Obligations. As of the Petition Date, the Prepetition

 Secured Obligations owing to the Prepetition Secured Parties constitute legal, valid, and binding

 obligations of the Debtors and their applicable affiliates, enforceable against them in accordance

 with their respective terms (other than in respect of the stay of enforcement arising from section

 362 of the Bankruptcy Code); and no portion of the Prepetition Secured Obligations owing to, or

 any transfers made to any or all of the Prepetition Secured Parties is subject to avoidance,

 recharacterization, reduction, set-off, offset, counterclaim, cross-claim, recoupment, defenses,

 disallowance, impairment, recovery, subordination (whether equitable or otherwise), or any other

 legal or equitable challenges pursuant to the Bankruptcy Code or applicable non-bankruptcy law

 or regulation by any person or entity.



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                (viii) Prepetition Liens. The Prepetition Liens granted to the Prepetition Secured

 Parties respectively constitute legal, valid, binding, enforceable (other than in respect of the stay

 of enforcement arising from section 362 of the Bankruptcy Code), non-avoidable, and properly

 perfected liens on and security interests in the Prepetition Collateral and were granted to, or for

 the benefit of, the applicable Prepetition Secured Parties for fair consideration and reasonably

 equivalent value, and are not subject to defense, counterclaim, recharacterization, subordination

 (equitable or otherwise), avoidance, or recovery pursuant to the Bankruptcy Code or applicable

 non-bankruptcy law or equity or regulation by any person or entity.

                (ix)    No Challenges/Claims.          No offsets, challenges, objections, defenses,

 claims or counterclaims of any kind or nature to any of the Prepetition Liens or Prepetition Secured

 Obligations exist, no facts or occurrence supporting or giving rise to any offset, challenge,

 objection, defense, claim or counterclaim of any kind or nature to any of the Prepetition Liens or

 Prepetition Secured Obligations exist, and no portion of the Prepetition Liens or Prepetition

 Secured Obligations are subject to any challenge or defense including, without limitation,

 avoidance, disallowance, disgorgement, recharacterization, or subordination (equitable or

 otherwise) pursuant to the Bankruptcy Code or applicable non-bankruptcy law or equity. The

 Debtors and their estates have no valid Claims (as such term is defined in section 101(5) of the

 Bankruptcy Code), objections, challenges, causes of action, and/or choses in action, including

 “lender liability” causes of action, derivative claims, or basis for any equitable relief against any

 of the Prepetition Secured Parties or DIP Lenders or any of their respective predecessors, affiliates,

 agents, attorneys, advisors, professionals, officers, directors, and employees with respect to the

 Prepetition ABL Documents, the Prepetition Term Loan Documents, the Welltower Master Lease

 Documents, the Omega Master Lease Documents, the Prepetition Secured Obligations, the



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 Prepetition Liens, the DIP Loan Documents, the DIP Liens, or otherwise, whether arising at law

 or at equity, including, without limitation, any challenge, recharacterization, subordination,

 avoidance, recovery, disallowance, reduction, or other Claims arising under or pursuant to sections

 105, 502, 510, 541, 542 through 553, inclusive, or 558 of the Bankruptcy Code or applicable non-

 bankruptcy law equivalents. The Prepetition Secured Obligations constitute allowed, secured

 claims within the meaning of sections 502 and 506 of the Bankruptcy Code. The Debtors waive,

 discharge, and release any right to challenge any of the Prepetition Secured Obligations, including

 the amount, allowance, character and priority of the Debtors’ Obligations thereunder and the

 validity, binding, legal, enforceability, allowance, amount, characterization, extent and priority as

 to the Prepetition Secured Liens.

                (x)     Indemnity. The DIP Agent, the DIP Lenders, and the Prepetition Secured

 Parties have acted in good faith, and without negligence or violation of public policy or law, in

 respect of all actions taken by them in connection with or related in any way to negotiating,

 implementing, documenting, or obtaining the requisite approvals of the DIP Facility and the use

 of Cash Collateral, including in respect of the granting of the DIP Liens and the Adequate

 Protection Liens (as defined below), the DIP Superpriority Claims (as defined below), and the

 Adequate Protection Superpriority Claims (as defined below), and all documents related to any

 and all transactions contemplated by the foregoing. Accordingly, the Prepetition Secured Parties,

 the DIP Agent, and the DIP Lenders shall be and hereby are indemnified and held harmless by the

 Debtors, joint and severally, in respect of any Claim or liability incurred in respect thereof or in

 any way related thereto, provided that no such party will be indemnified for any loss, cost, expense,

 or liability to the extent determined in a final, non-appealable judgment of a court of competent

 jurisdiction to have resulted primarily from any such party’s gross negligence or willful



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 misconduct. No exception or defense exists in contract, law, or equity as to any obligation set

 forth in this paragraph, in the Prepetition ABL Documents, the Prepetition Term Loan Documents,

 the Welltower Master Lease Documents, the Omega Master Lease Documents, or in the DIP Loan

 Documents, to the Debtors’ obligation to indemnify and/or hold harmless the Prepetition Secured

 Parties, the DIP Agent, or the DIP Lenders, as the case may be.

                 (xi)    Releases. Effective as of the date of entry of this Interim Order, as to the

 Debtors only, subject solely to the rights and limitations set forth in paragraphs 24 herein, each of

 the Debtors and the Debtors’ estates, on its and their own behalf, on behalf of its and their

 respective past, present and future predecessors, heirs, successors, subsidiaries, and assigns, hereby

 absolutely, unconditionally and irrevocably releases and forever discharges and acquits (i) the DIP

 Agent, the Welltower DIP Lender, the Omega DIP Lender, the Welltower Master Lease Secured

 Parties, the Omega Master Lease Secured Parties, the Prepetition Term Loan Agent, the Prepetition

 WELL/OHI Term Loan Lenders, the Prepetition ABL Secured Parties, and each of their respective

 officers, directors, controlling persons, employees, agents, attorneys, affiliates, or successors of

 each of the foregoing (all in their capacities as such) and (ii) the WAX DIP Lender and the

 WAX/MAO Investigation Parties (as defined in the DIP Term Sheet), solely as it relates to the

 DIP Facility, the DIP Obligations, and the DIP Loan Documents ((i) and (ii) collectively, the

 “Released Parties”), from any and all (a) obligations and liabilities to the Debtors (and their

 successors and assigns), and (b) claims, counterclaims, demands, defenses, offsets, debts,

 accounts, contracts, liabilities, actions and causes of action arising prior to the date of this Interim

 Order of any kind, nature or description, whether matured or unmatured, known or unknown,

 asserted or unasserted, foreseen or unforeseen, accrued or unaccrued, suspected or unsuspected,

 liquidated or unliquidated, pending or threatened, arising in law or equity, upon contract or tort or



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 under any state or federal law or otherwise, in each case arising out of or related to (as applicable)

 the Prepetition Term Loan Documents, the Prepetition ABL Documents, the Welltower Master

 Lease Documents, the Omega Master Lease Documents, the DIP Loan Documents, and the

 obligations owing and financial obligations made thereunder, the negotiation thereof and of the

 transactions and agreements reflected thereby, and the obligations and financial obligations made

 thereunder, in each case that the Debtors at any time had, now have or may have, or that their

 predecessors, successors or assigns at any time had or hereafter can or may have against any of the

 Released Parties for or by reason of any act, omission, matter, cause or thing whatsoever arising

 at any time on or prior to the date of this Interim Order. For the avoidance of doubt, nothing in

 this release shall relieve the DIP Loan Parties or the Debtors of the Prepetition Secured Obligations

 or their obligations under the DIP Loan Documents from and after the date of this Interim Order.

                (xii)   Sale and Credit Bidding. The Debtors and the Prepetition Obligors admit,

 stipulate, acknowledge, and agree that any one or more of the DIP Lenders, the DIP Agent, or the

 Prepetition Secured Parties, shall have the right to credit bid the entirety of (or any portion of) the

 Prepetition Secured Obligations and/or the DIP Facility Obligations, as applicable, secured by their

 respective Prepetition Liens.

                (xiii) Cash Collateral. Any and all of the DIP Loan Parties’ cash and other

 amounts on deposit or maintained in any account or accounts by the Debtors, whether existing as

 of the Petition Date or thereafter, wherever located, including any amounts generated by the

 collection of accounts receivable or other disposition of the Prepetition Collateral existing as of

 the Petition Date, constitutes or will constitute “cash collateral” within the meaning of section

 363(a) of the Bankruptcy Code (the “Cash Collateral”).




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                (xiv)   Bank Accounts. The Debtors acknowledge and agree that as of the Petition

 Date, none of the Debtors has either opened or maintains any bank accounts other than the accounts

 listed in the exhibit attached to any order authorizing the Debtors to continue to use the Debtors’

 existing cash management system.

        F.      Findings Regarding Corporate Authority. Subject to entry of this Interim Order,

 each DIP Loan Party has all requisite power and authority to execute and deliver the DIP Loan

 Documents to which it is a party and to perform its obligations thereunder.

        G.      Findings Regarding Postpetition Financing and Use of Cash Collateral.

                (i)     Good Cause. Good and sufficient cause has been shown for the entry of

 this Interim Order and for authorization of the Debtors to obtain financing pursuant to the DIP

 Facility and the DIP Loan Documents, and to use Cash Collateral as set forth herein and consistent

 with the Approved DIP Budget (as defined below), subject to Permitted Variances (as defined in

 the DIP Term Sheet).

                (ii)    Immediate Need for Postpetition Financing and Use of Cash Collateral.

 The Debtors’ need to use the Prepetition Collateral (including Cash Collateral) and to obtain credit

 pursuant to the DIP Facility as provided for herein is immediate and critical to avoid serious and

 irreparable harm to the Debtors, their estates, their creditors, and other parties in interest. The

 Debtors have an immediate need to obtain the DIP Loans and other financial accommodations and

 to continue to use the Prepetition Collateral (including Cash Collateral) in order to, among other

 things: (a) permit the orderly continuation of the operation of their businesses; (b) maintain the

 health, safety, and well-being of their residents; (c) maintain, amend, renew, or modify insurance

 policies in the ordinary course of business; (d) maintain business relationships with customers,

 vendors, and suppliers, including purchasing necessary materials and services to maintain



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 compliance with all applicable regulatory and safety requirements; (e) make payroll; (f) satisfy

 other working capital, capital improvement, and operational needs; (g) make postpetition

 payments to the Debtors’ landlords when due, including under the terms of the Welltower Master

 Lease Documents, the Omega Master Lease Documents, the VSR Master Leases, the PA 22 Sub-

 Subleases, and the JV Leases; (h) pay professional fees, expenses, and obligations; (i) pay costs,

 fees, and expenses associated with or payable under the DIP Facility, subject to the terms of this

 Interim Order and the DIP Loan Documents; and (j) make adequate protection payments as set

 forth herein. The Debtors’ use of Cash Collateral alone would be insufficient to meet the Debtors’

 cash disbursement needs during the period of effectiveness of this Interim Order. The access by

 the Debtors to sufficient working capital and liquidity through the use of Cash Collateral and other

 Prepetition Collateral, incurrence of new indebtedness under the DIP Loan Documents, and other

 financial accommodations provided under the DIP Loan Documents are necessary and vital to

 preserve and maintain the value of the Debtors’ assets. The terms of the proposed DIP Facility

 pursuant to the DIP Loan Documents, and this Interim Order are fair and reasonable, reflect each

 Debtor’s exercise of its prudent business judgment, and are supported by reasonably equivalent

 value and fair consideration.

                (iii)   No Credit Available on More Favorable Terms. The Debtors have been

 unable to obtain financing and other financial accommodations from sources other than the DIP

 Lenders on terms more favorable than those provided under the DIP Facility and the DIP Loan

 Documents. The Debtors have been unable to obtain adequate unsecured credit allowable as an

 administrative expense under section 503(b)(1) of the Bankruptcy Code. The Debtors also have

 been unable to obtain adequate credit for money borrowed (a) having priority over administrative

 expenses of the kind specified in sections 503(b), 507(a), and 507(b) of the Bankruptcy Code, or



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 (b) secured only by a lien on property of the Debtors and their estates that is not otherwise subject

 to a lien. Postpetition financing is not otherwise available without (i) as with respect to the DIP

 Lenders: (1) granting to each of the DIP Lenders, jointly and severally, the DIP Liens on all DIP

 Collateral, as set forth herein, (2) the DIP Superpriority Claims, and (3) the other protections set

 forth in this Interim Order; (ii) as with respect the Prepetition ABL Agents for the benefit of the

 Prepetition ABL Lenders:        (1) the ABL Adequate Protection Liens on all ABL Adequate

 Protection Collateral (each as defined below), as set forth herein, (2) the ABL Adequate Protection

 Superpriority Claims (as defined below), and (3) the other protections set forth in this Interim

 Order; and (iii) as with respect to the Prepetition TL/ML Secured Parties: (1) the Prepetition Term

 Loan Adequate Protection Liens and the WELL/OHI Master Lease Adequate Protection Liens

 (each as defined below), as set forth herein, (2) the Prepetition Term Loan Adequate Protection

 Superpriority Claims and the WELL/OHI Master Lease Adequate Protection Superpriority Claims

 (each as defined below), and (3) the other protections set forth in this Interim Order. After

 considering all alternatives, the Debtors have properly concluded, in the exercise of their sound

 business judgment, that the DIP Facility represents the best financing available to them at this

 time, and are in the best interests of all of their stakeholders.

                 (iv)    Use of Proceeds of the DIP Facility and Cash Collateral. As a condition

 to entry into the DIP Facility, the extension of credit and other financial accommodations made

 under the DIP Facility and the consent to use Cash Collateral (including, without limitation, the

 proceeds of the DIP Facility), each of the Prepetition ABL Secured Parties, the Prepetition TL/ML

 Secured Parties, and the DIP Secured Parties requires, and the Debtors have agreed, that Cash

 Collateral, the proceeds of the DIP Facility, and all other cash or funds of the Debtors, shall be

 used solely in accordance with the terms and conditions of this Interim Order and the DIP Loan



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 Documents, and only for the expenditures set forth in and consistent with the Approved DIP

 Budget (as defined below) (subject to Permitted Variances), and for no other purpose.

                 (v)     Adequate Protection. The Debtors have agreed, pursuant to sections 361,

 362, 363, and 364 of the Bankruptcy Code, to provide the Prepetition Secured Parties adequate

 protection, as and to the extent set forth in this Interim Order, against the risk of any diminution in

 the value of their respective interests in the Prepetition Collateral which is as a result of, or arises

 from, or is attributable to, the imposition of the automatic stay, or the use, sale or lease of such

 Prepetition Collateral, or the grant of a lien under section 364 of the Bankruptcy Code and

 applicable case law interpreting the same (any such diminution, “Diminution in Value”). Based

 on the DIP Motion, the DIP Declaration, the First Day Declaration, or other evidence filed in

 support of the DIP Motion, and the record presented to this Court in connection with the Interim

 Hearing, the terms of the adequate protection arrangements and of the use of Prepetition Collateral

 (including Cash Collateral) are fair and reasonable, reflect the Debtors’ prudent exercise of

 business judgment and constitute reasonably equivalent value and fair consideration for the use of

 Prepetition Collateral (including Cash Collateral).

                 (vi)    [Consent. The Prepetition Secured Parties have consented to the Debtors’

 use of Prepetition Collateral (including Cash Collateral) and the DIP Loan Parties’ entry into the

 DIP Facility and the DIP Loan Documents, in each case, solely in accordance with and subject to

 the terms and conditions of this Interim Order and the DIP Loan Documents.]

                 (vii)   Limitation on Charging Expenses Against Collateral. Upon entry of a

 Final Order providing for such relief and as set forth in paragraph 25 herein, no costs or expenses

 of administration of the Chapter 11 Cases or any future proceeding that may result therefrom,

 including liquidation in bankruptcy or other proceedings under the Bankruptcy Code, shall be



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 charged against or recovered from the DIP Collateral or any Prepetition Collateral (in each case,

 including Cash Collateral) as to the Prepetition Secured Parties pursuant to section 506(c) of the

 Bankruptcy Code or any similar principle of law, without the prior written consent of the DIP

 Secured Parties with respect to DIP Collateral or the Prepetition Secured Parties with respect to

 the Prepetition Collateral, and no consent shall be implied from any other action, inaction or

 acquiescence by the DIP Secured Parties or the Prepetition Secured Parties, respectively, and

 nothing contained in this Interim Order or the DIP Loan Documents shall be deemed to be a

 consent by the DIP Secured Parties or the Prepetition Secured Parties to any charge, lien,

 assessment, or claims against the DIP Collateral or the Prepetition Collateral, respectively, under

 section 506(c) of the Bankruptcy Code or otherwise.

                (viii) No Marshaling. Upon entry of a Final Order providing for such relief, in

 no event shall the DIP Secured Parties or the Prepetition Secured Parties be subject to the equitable

 doctrine of “marshaling” or any similar doctrine with respect to the DIP Collateral, the DIP Facility

 Obligations, the Prepetition Collateral, or the Prepetition Secured Obligations. Further, upon entry

 of a Final Order providing for such relief, in no event shall the “equities of the case” exception in

 section 552(b) of the Bankruptcy Code apply to the Prepetition Secured Parties or the Prepetition

 Collateral.

                (ix)    Business Judgment and Good Faith Pursuant to Section 364(e). Based

 on the DIP Motion, the DIP Declaration, the First Day Declaration, and the record presented to

 this Court at the Interim Hearing, (a) the extension of credit and other financial accommodations

 made under the DIP Facility; (b) the terms of the DIP Loan Documents; (c) the fees and other

 amounts paid and to be paid thereunder; (d) the terms of adequate protection granted to the

 Prepetition Secured Parties; (e) the terms on which the Debtors may continue to use Prepetition



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 Collateral (including Cash Collateral); and (f) the Cash Collateral arrangements described therein

 and herein, in each case, pursuant to this Interim Order and the DIP Loan Documents, (1) are fair,

 reasonable, and the best available to the Debtors under the circumstances; (2) reflect the Debtors’

 exercise of prudent business judgment consistent with their fiduciary duties; (3) are supported by

 reasonably equivalent value and fair consideration; and (4) represent the best financing available.

 The DIP Facility and the use of Prepetition Collateral (including Cash Collateral) were negotiated

 in good faith and at arm’s length among the Debtors, the DIP Secured Parties, and the Prepetition

 Secured Parties. The use of Prepetition Collateral (including Cash Collateral) and the credit to be

 extended under the DIP Facility shall be deemed to have been so allowed, advanced, made, used,

 and/or extended in good faith, and for valid business purposes and uses, within the meaning of

 section 364(e) of the Bankruptcy Code, and the DIP Secured Parties are therefore entitled to the

 protection and benefits of section 364(e) of the Bankruptcy Code and this Interim Order.

                (x)     Good Faith of DIP Secured Parties. The DIP Facility, the adequate

 protection granted to the Prepetition Secured Parties, and the use of Prepetition Collateral

 (including Cash Collateral) hereunder have been negotiated in good faith and at arm’s length

 among the Debtors, the DIP Secured Parties, and their respective advisors, and all of the Debtors’

 obligations and indebtedness arising under, in respect of, or in connection with, the DIP Facility

 and the DIP Loan Documents, including, without limitation, all loans and other financial

 accommodations made to and guarantees issued by the Debtors pursuant to the DIP Loan

 Documents and any DIP Facility Obligations shall be deemed to have been extended by the DIP

 Secured Parties and their respective affiliates in good faith, as that term is used in section 364(e)

 of the Bankruptcy Code, and in express reliance upon the protections offered by section 364(e) of

 the Bankruptcy Code, and the claims, security interests and liens, and other rights, benefits, and



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 protections granted to the DIP Secured Parties (and the successors and assigns thereof) pursuant

 to this Interim Order and the DIP Loan Documents shall each be entitled to the full protection of

 section 364(e) of the Bankruptcy Code in the event that this Interim Order or any provision hereof

 is reversed or modified on appeal.

                (xi)    Good Faith of Prepetition Secured Parties. The Prepetition Secured

 Parties have acted in good faith regarding the DIP Facility and the Debtors’ continued use of

 Prepetition Collateral (including Cash Collateral) to fund the administration of the Debtors’ estates

 and continued operation of their businesses (including the incurrence and payment of any adequate

 protection obligations and the granting of adequate protection liens), in accordance with the terms

 hereof.

                (xii)   Initial DIP Budget. The Debtors have prepared and delivered to the DIP

 Secured Parties the initial itemized cash flow forecast set forth on Exhibit 2 attached hereto (the

 “Initial DIP Budget”), which is acceptable to each of the DIP Lenders [and the Prepetition ABL

 Agents], setting forth all line-item and cumulative cash receipts and operating disbursements on a

 weekly basis for the period beginning as of the week including the Closing Date (as defined in the

 DIP Term Sheet) through and including the end of the thirteenth calendar week following such

 week. The DIP Secured Parties are relying upon the Debtors’ agreement to comply with the Initial

 DIP Budget (as may be updated by the Debtors and approved by each of the DIP Lenders from

 time to time pursuant to and in accordance with the terms hereof and of the DIP Term Sheet, the

 “Approved DIP Budget”), in determining to enter into the postpetition financing arrangements

 provided for in this Interim Order and to allow the Debtors to use DIP Collateral (including Cash

 Collateral) subject to the terms of this Interim Order, respectively.




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                 (xiii) Notice. Notice of the Interim Hearing and the emergency relief requested

 in the DIP Motion has been provided by the Debtors, whether by facsimile, email, overnight

 courier, or hand delivery, to certain parties in interest, including: (a) the U.S. Trustee for Region 6;

 (b) the holders of the 30 largest unsecured claims against the Debtors (on a consolidated basis);

 (c) counsel to the Prepetition ABL Agents; (d) counsel to the Prepetition Term Loan Agent,

 (e) counsel to the Omega Landlords; (f) counsel to the Welltower Landlords; (g) the United States

 Department of Housing and Urban Development, (h) the United States Attorney’s Office for the

 Northern District of Texas; (i) the Internal Revenue Service; (j) the state attorneys general for

 states in which the Debtors conduct business; (k) the Attorney General for the State of Texas;

 (l) the Texas Comptroller of Public Accounts, and (m) any party that has requested notice pursuant

 to Bankruptcy Rule 2002 (collectively, the “Notice Parties”). Under the circumstances, such

 notice of the Interim Hearing and the relief requested in the DIP Motion constitutes due, sufficient,

 and appropriate notice and complies with section 102(1) of the Bankruptcy Code, Bankruptcy

 Rules 2002 and 4001(b) and (c), and the Complex Case Procedures.

                 (xiv)    Relief Essential; Necessity of Immediate Entry.           The Debtors have

 requested immediate entry of this Interim Order pursuant to Bankruptcy Rules 4001(b)(2) and

 4001(c)(2). Absent entry of this Interim Order, the Debtors’ businesses, properties, and estates

 will be immediately and irreparably harmed. This Court concludes that entry of this Interim Order

 is in the best interests of the Debtors’ estates, and is necessary, essential, and appropriate for the

 continued operation of the Debtors’ businesses and the management and preservation of their

 assets and properties.




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        NOW THEREFORE, based upon the foregoing findings and conclusions, the DIP

 Motion, the DIP Declaration, the First Day Declaration, and the record before this Court, and after

 due consideration, and good and sufficient cause appearing therefor,

        IT IS HEREBY ORDERED THAT:

        1.      DIP Motion Approved. The DIP Motion is granted on an interim basis, and the

 Interim Financing (as defined below) is authorized and approved, in each case, in accordance with

 and subject to the terms and conditions of this Interim Order and the DIP Term Sheet. Any

 objections or other statements to any of the relief set forth in this Interim Order that have not been

 withdrawn, waived, or settled, and all reservation of rights inconsistent with this Interim Order,

 are hereby overruled; provided that, the rights of all parties in interest to object to the entry of a

 Final Order on the DIP Motion are fully reserved.

        2.      Authorization of DIP Facility.

                (a)     Subject to the terms and conditions of this Interim Order, each of the DIP

 Loan Parties is hereby authorized to execute, enter into, guarantee (as applicable), and perform all

 obligations under the DIP Loan Documents, and such additional documents, instruments,

 certificates and agreements as may be reasonably required or requested by the DIP Secured Parties

 to implement the terms or effectuate the purposes of this Interim Order and the DIP Loan

 Documents. To the extent not entered into as of the date hereof, the Debtors and the DIP Secured

 Parties shall negotiate the DIP Loan Documents in good faith, and in all respects such DIP Loan

 Documents shall be, subject to the terms of this Interim Order and the Final Order, consistent with

 the terms of the DIP Loan Documents and otherwise acceptable to the DIP Secured Parties. Upon

 entry of this Interim Order, the Interim Order, the DIP Term Sheet, and other DIP Loan Documents

 shall govern and control the DIP Facility.



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                (b)     Upon entry of this Interim Order through the entry of the Final Order, the

 DIP Borrowers are authorized to incur, and the DIP Guarantors are hereby authorized to

 unconditionally guarantee, on a joint and several basis, all of the DIP Loan Parties’ DIP Facility

 Obligations on account of such incurrence under the DIP Facility, up to aggregate principal amount

 of $30 million in new money DIP Loans on an interim basis, together with applicable interest,

 protective advances, fees, and other charges payable in connection with the DIP Facility; provided,

 that prior to entry of the Final Order, such amount shall be reduced to $12 million until the Final

 Order is entered (the “Interim Financing”), as applicable, in each case, subject to the terms and

 conditions set forth in this Interim Order and the DIP Term Sheet.

                (c)     Without limiting the foregoing, and without the need for further approval of

 this Court, each DIP Loan Party is authorized to perform all acts to make, execute, and deliver all

 instruments and documents and to pay all fees or expenses that are authorized by the DIP Loan

 Documents and this Interim Order.

                (d)     No DIP Secured Party shall have any obligation or responsibility to monitor

 any Debtor’s use of the DIP Facility, and each DIP Secured Party may rely upon each DIP Loan

 Party’s representations that the amount of the DIP Facility requested at any time and the use thereof

 are in accordance with the requirements of this Interim Order, the DIP Term Sheet, and Bankruptcy

 Rule 4001(c)(2).

        3.      DIP Facility Obligations. Upon entry of this Interim Order and execution and

 delivery of the DIP Term Sheet, the DIP Term Sheet shall constitute valid, binding, enforceable,

 and non-avoidable obligations of each of the DIP Loan Parties, and shall be fully enforceable

 against each of the DIP Loan Parties, their estates, and any successors thereto, including, without

 limitation, any estate representative or trustee appointed in any of the Chapter 11 Cases, or any



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 case under chapter 7 of the Bankruptcy Code upon the conversion of any of the Chapter 11 Cases,

 or in any other proceedings superseding or relating to any of the foregoing and/or upon the

 dismissal of any of the Chapter 11 Cases, and their creditors and other parties in interest, in each

 case, in accordance with the terms thereof and this Interim Order. Upon execution and delivery of

 the DIP Loan Documents, the Debtors shall file the same with the Court within three (3) business

 days of their execution, and the DIP Facility Obligations will include all postpetition loans and

 any other indebtedness or obligations, contingent or absolute, now existing or hereafter arising,

 which may from time to time be or become owing by any of the DIP Loan Parties to the DIP Agent

 or DIP Lenders, in each case, under, or secured by, and in accordance with, the DIP Loan

 Documents or this Interim Order, including all principal, interest, costs, fees, expenses, and other

 amounts under the DIP Loan Documents (including this Interim Order). The DIP Loan Parties

 shall be jointly and severally liable for the DIP Facility Obligations. Subject to paragraph 18 of

 this Interim Order and after the expiration of the DIP Remedies Notice Period (as defined below),

 the DIP Facility Obligations shall be due and payable, without notice or demand, and the use of

 Cash Collateral shall automatically cease during the continuation of a DIP Termination Event (as

 defined below) or the occurrence and continuance of any event or condition set forth in paragraph

 18 of this Interim Order. No obligation, payment, transfer, or grant of security under the DIP Term

 Sheet or this Interim Order to the DIP Secured Parties shall be stayed, restrained, voidable, or

 recoverable under the Bankruptcy Code or under any applicable law (including, without limitation,

 under sections 362, 502(d), 544, 548, or 549 of the Bankruptcy Code, any applicable Uniform

 Voidable Transactions Act, Uniform Fraudulent Transfer Act, Uniform Fraudulent Conveyance

 Act, or other similar state statute or common law), or subject to any defense, reduction,

 recoupment, recharacterization, subordination, disallowance, impairment, cross-claim, claim,



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 counterclaim, offset, or any other challenge under the Bankruptcy Code or any applicable law

 unless in accordance with paragraph 18 of this Interim Order.

        4.      No Obligation to Extend Credit.          The DIP Secured Parties shall have no

 obligation to make any loan or advance under the DIP Term Sheet unless all of the conditions

 precedent to the making of such extension of credit by the DIP Secured Parties under the DIP Term

 Sheet and this Interim Order have been satisfied in full or waived in accordance with the terms of

 the DIP Term Sheet.

        5.      Procedure for Payment of DIP Fees and Expenses. All fees and expenses

 permitted to be paid pursuant to Paragraph 2 above (such fees, the “DIP Fees and Expenses”) shall

 be paid in accordance with the following procedures, and the invoices for such fees and expenses

 shall not be required to comply with any particular format, may be in summary form only, and

 may include redactions.

                (a)     The applicable professional shall serve copies of the invoices supporting the

 DIP Fees and Expenses on counsel to the Debtors, counsel to the Prepetition ABL Agents, counsel

 to the Prepetition Term Loan Agent, counsel to the Official Committee, if any, and the U.S. Trustee

 (collectively, the “Fee Notice Parties”).

                (b)     Any DIP Fees and Expenses shall be subject to prior ten-day review by the

 Fee Notice Parties.

                (c)     If no objection is filed within such ten-day review period, such invoice shall

 be paid without further order of the Court within five days after the expiration of the foregoing

 review period and shall not be subject to any further review, challenge, or disgorgement.




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                 (d)    If any Fee Notice Party shall file with this Court an objection to any such

 legal invoice, the undisputed amounts shall be paid immediately and the portion subject to such

 objection shall not be paid until resolution of such objection by this Court.

                 (e)    For the avoidance doubt, the provision of such invoices shall not constitute

 a waiver of attorney-client privilege or any benefits of the attorney work product doctrine.

        6.       DIP Liens.

                 (a)    As security for the DIP Facility Obligations, effective and perfected upon

 the date of this Interim Order, and without the necessity of the execution, recordation of filings by

 the Debtors or any other party of mortgages, security agreements, control agreements, pledge

 agreements, financing statements, or other similar documents, or the possession or control by the

 DIP Agent or DIP Lenders of or over any DIP Collateral, the following security interests and liens

 are hereby jointly and severally granted by the Debtors to the DIP Lenders, subject to (i) the

 Prepetition ABL Obligations, Prepetition ABL Liens, and ABL Adequate Protection, (ii) the

 Prepetition Term Loan Obligations, Prepetition Term Loan Liens, and Prepetition Term Loan

 Adequate Protection, (iii) the WELL/OHI Master Lease Obligations, WELL/OHI Master Lease

 Liens, and WELL/OHI Master Lease Adequate Protection, (iv) the Permitted Liens (as defined

 below), and (v) the Carve Out (all such liens and security interests granted to each of the DIP

 Lenders, jointly and severally, pursuant to this Interim Order and the DIP Loan Documents, the

 “DIP Liens”):

                 (1)    First Priority Lien on Unencumbered Property.            Pursuant to section

        364(c)(2) of the Bankruptcy Code, a valid, binding, continuing, enforceable, fully-

        perfected first priority senior security interest in and lien upon the all property of the DIP

        Loan Parties, whether existing on the Petition Date or thereafter acquired, that, on or as of



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       the Petition Date that is not subject to (i) valid, perfected and non-avoidable liens, or

       (ii) valid and non-avoidable liens perfected after the Petition Date to the extent permitted

       by section 546(b) of the Bankruptcy Code, including, but not limited to, all of the DIP Loan

       Parties’ respective rights, title, or interest in and to the following assets to the extent

       unencumbered: cash and any investment of such cash, accounts, inventory, goods, contract

       rights, mineral rights, instruments, documents, chattel paper, patents, trademarks,

       copyrights and licenses therefor, accounts receivable, receivables and receivables records,

       general intangibles, payment intangibles, tax or other refunds, insurance proceeds, letters

       of credit, intercompany claims, contracts, owned real estate, real property leaseholds and

       proceeds therefrom, fixtures, deposit accounts, commercial tort claims, securities accounts,

       instruments, investment property, letter-of-credit rights, supporting obligations, vehicles,

       machinery and equipment, real property, all of the issued and outstanding capital stock of

       each DIP Loan Party, other equity or ownership interests, including equity interests in

       subsidiaries and non-wholly-owned subsidiaries, beneficial interests in any trust, money,

       investment property, causes of action (including, for the avoidance of doubt, but subject to

       entry of the Final Order, all proceeds of the DIP Loan Parties’ respective claims and causes

       of action under sections 502(d), 544, 545, 547, 548, 549, 550, and 553 of the Bankruptcy

       Code and any other avoidance or similar action under the Bankruptcy Code or similar state

       law (the “Avoidance Actions”)), and all cash and non-cash proceeds, rents, products,

       substitutions, accessions, profits, and supporting obligations of any of the collateral

       described above, whether existing on the Petition Date or thereafter acquired, and wherever

       located, and the proceeds, products, rents, and profits of the foregoing whether arising

       under section 552(b) of the Bankruptcy Code or otherwise (all of the foregoing collectively,



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       the “DIP Priority Collateral”); for the avoidance of doubt, the DIP Priority Collateral

       excludes assets that qualify as ABL Senior Collateral (as defined herein).

              (2)     Priming Liens and Liens Junior to Certain Other Liens. Pursuant to

       sections 364(c)(3) and 364(d)(1) of the Bankruptcy Code, a valid, binding, continuing,

       enforceable, fully-perfected security interest in and lien on all property of the DIP Loan

       Parties (other than the property described in clause (1) above, as to which the liens and

       security interests in favor of the DIP Lenders will be as described in such clause), whether

       existing on the Petition Date or thereafter acquired, including, but not limited to, all of the

       DIP Loan Parties’ respective rights, title, or interest in and to the following assets: cash

       and any investment of such cash, accounts, inventory, goods, contract rights, mineral

       rights, instruments, documents, chattel paper, patents, trademarks, copyrights and licenses

       therefor, accounts receivable, receivables and receivables records, general intangibles,

       payment intangibles, tax or other refunds, insurance proceeds, letters of credit,

       intercompany claims, contracts, owned real estate, real property leaseholds and proceeds

       therefrom, fixtures, deposit accounts, commercial tort claims, securities accounts,

       instruments, investment property, letter-of-credit rights, supporting obligations, vehicles,

       machinery and equipment, real property, all of the issued and outstanding capital stock of

       each DIP Loan Party, other equity or ownership interests, including equity interests in

       subsidiaries and non-wholly- owned subsidiaries, beneficial interests in any trust, money,

       investment property, causes of action (including, for the avoidance of doubt, but subject to

       entry of the Final Order, all proceeds of Avoidance Actions), and all cash and non-cash

       proceeds, rents, products, substitutions, accessions, profits, and supporting obligations of

       any of the collateral described above, whether in existence on the Petition Date or thereafter



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         created, acquired, or arising and wherever located, which DIP Liens shall be (A) subject

         only to the Carve Out, the ABL Obligations, Prepetition ABL Liens, ABL Adequate

         Protection, Prepetition Term Loan Obligations, Prepetition Term Loan Liens, Prepetition

         Term Loan Adequate Protection, WELL/OHI Master Lease Obligations, WELL/OHI

         Master Lease Liens, WELL/OHI Master Lease Adequate Protection Liens, Prepetition

         Rochester Manor HUD Liens, Prepetition HUD Lender Liens, and liens of other landlords

         of the Debtors (the “Other Landlord Liens”) (in each case, to the extent such liens and

         security interests are valid, perfected and nonavoidable as of the Petition Date, the

         “Permitted Liens”), and (B) senior to any and all other liens and security interests in the

         DIP Collateral (collectively, the “DIP Priming Collateral” and, the DIP Priming Collateral,

         together with the DIP Priority Collateral and the Prepetition Collateral, the “DIP

         Collateral”)).

                 (b)      For the avoidance of doubt, the term “DIP Collateral” shall include all assets

 and properties of each of the Debtors of any kind or nature whatsoever, whether tangible or

 intangible, real, personal or mixed, whether now owned by or owing to, or hereafter acquired by,

 or arising in favor of, any of the Debtors, whether prior to or after the Petition Date, whether owned

 or consigned by or to, or leased from or to, the Debtors, and wherever located, including, without

 limitation, each of the Debtors’ rights, title and interests in (i) all Prepetition Collateral, and (ii) all

 proceeds, products, offspring, and profits of each of the foregoing and all accessions to,

 substitutions, and replacements for, each of the foregoing, including any and all proceeds of any

 insurance, indemnity, warranty, or guaranty payable to any Debtor from time to time with respect

 to any of the foregoing.




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                (c)     Except as expressly provided in this Interim Order, the DIP Liens (i) shall

 not be made subject or subordinate to or pari passu with (A) any lien, security interest, or claim

 heretofore or hereinafter granted in any of the Chapter 11 Cases, including any subsequently

 converted Chapter 11 Case of the Debtor to a case under chapter 7 of the Bankruptcy Code and

 any lien or security interest granted in favor of any federal, state, municipal, or other governmental

 unit (including any regulatory body), commission, board, or court for any liability of the Debtors,

 (B) any lien or security interest that is avoided or preserved for the benefit of the Debtors and their

 estates under section 551 of the Bankruptcy Code or otherwise, (C) any intercompany or affiliate

 claim, lien, or security interest of the Debtors or their affiliates, or (D) any other lien, security

 interest, or claim arising under section 363 or 364 of the Bankruptcy Code granted on or after the

 date hereof, and (ii) shall not be subject to sections 506(c) (to the extent a Final Order is entered

 providing for such relief), 510, 549, 550, or 551 of the Bankruptcy Code.

                (d)     To the extent a Final Order is entered providing for such relief, any

 provision of any lease, loan document, easement, use agreement, proffer, covenant, license,

 contract, organizational document, or other instrument or agreement that requires the consent, or

 the payment of any fees or obligations to, any governmental entity or non-governmental entity in

 order for the DIP Loan Parties to pledge, grant, mortgage, sell, assign, or otherwise transfer any

 fee or leasehold interest in any property or the proceeds thereof, is and shall hereby be deemed to

 be inconsistent with the provisions of the Bankruptcy Code, and shall have no force or effect with

 respect to the DIP Liens or Adequate Protection Liens on such leasehold interests or other

 applicable DIP Collateral or the proceeds of any assignment and/or sale thereof by any DIP Loan

 Parties, in favor of the DIP Secured Parties or the Prepetition Secured Parties in accordance with

 the terms of the DIP Loan Documents and this Interim Order.



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        7.      DIP Superpriority Claims. Effective immediately upon entry of this Interim

 Order, the DIP Lenders are hereby jointly and severally granted, pursuant to section 364(c)(1) and

 503(b) of the Bankruptcy Code, an allowed superpriority administrative expense claim in each of

 the DIP Loan Parties’ Chapter 11 Cases on account of the DIP Facility Obligations, with priority

 over any and all administrative expenses of the kind that are specified in or ordered pursuant to

 sections 105, 328, 330, 331, 364(c)(1), 503(a), 503(b), 506(c), 507(a), 507(b), 546(c), 1113, 1114,

 or any other provisions of the Bankruptcy Code and any other claims against the DIP Loan Parties,

 subject only to (a) the Carve Out, (b) the Prepetition ABL Obligations, (c) the ABL Adequate

 Protection, (d) the Prepetition Term Loan Obligations, (e) the Prepetition Term Loan Adequate

 Protection, (f) the WELL/OHI Master Lease Obligations, and (g) the WELL/OHI Master Lease

 Adequate Protection (the “DIP Superpriority Claims”). The DIP Superpriority Claims shall, for

 purposes of section 1129(a)(9)(A) of the Bankruptcy Code, be considered administrative expenses

 allowed under section 503(b) of the Bankruptcy Code. The DIP Superpriority Claims shall have

 recourse against each of the DIP Loan Parties, on a joint and several basis. Notwithstanding

 anything contained herein or in any of the DIP Term Sheet to the contrary, the DIP Superpriority

 Claims shall, at all times be (x) in respect of any DIP Priming Collateral or proceeds or products

 thereof, (i) junior in right of payment only to Permitted Liens, and (ii) subject only to the Carve

 Out, senior to any and all other administrative expense claims or other claims against the DIP Loan

 Parties or their estates, in the Chapter 11 Cases; and (y) in respect of any DIP Priority Collateral

 or proceeds or products thereof, subject only to the Carve Out, senior to any and all other

 administrative expense claims or other claims against the DIP Loan Parties or their estates, in the

 Chapter 11 Cases.




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        8.      Use of Proceeds of the DIP Facility and Cash Collateral. The use of Prepetition

 Collateral (in each case, including Cash Collateral) is authorized and approved, in each case, in

 accordance with and subject to the terms and conditions of this Interim Order and the DIP Term

 Sheet. From and after the date of entry of this Interim Order, so long as no DIP Termination Event

 has occurred and is continuing the DIP Loan Parties shall be (a) authorized to use Prepetition

 Collateral (including Cash Collateral), and (b) permitted to draw upon the Interim Financing and

 the proceeds thereof, subject, in each case, to the terms and conditions of this Interim Order and

 the DIP Term Sheet, and in accordance with the Approved DIP Budget (subject to Permitted

 Variances), including, without limitation: (i) payment of any amounts due to DIP Secured Parties

 under the DIP Term Sheet; (ii) payment of any adequate protection payments expressly approved

 by the Court; (iii) to fund the Carve Out; (iv) to provide working capital and for other general

 corporate purposes of the DIP Loan Parties; and (v) to pay administration costs of the Chapter 11

 Cases and claims or amounts approved by this Court, including in the “first day” or “second day”

 orders or as required under the Bankruptcy Code. For the avoidance of doubt, none of the DIP

 Loan Parties will use any DIP Loans, the proceeds of the DIP Facility or DIP Collateral (including

 Cash Collateral) in a manner or for a purpose other than those consistent with the Approved DIP

 Budget, the DIP Loan Documents, and this Interim Order unless otherwise ordered by this Court.

 Except as expressly permitted in this Interim Order, the DIP Term Sheet, or the Approved DIP

 Budget, nothing in this Interim Order shall otherwise authorize the disposition of any assets of the

 Debtors or their estates outside the ordinary course of business, or any of the Debtors’ use of any

 DIP Collateral (including Cash Collateral) or other proceeds resulting therefrom. All collections

 and proceeds, whether from ordinary course collections, asset sales, debt or equity issuances,




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 insurance recoveries, condemnations, or otherwise, will be deposited and applied as required by

 this Interim Order and the DIP Loan Documents.

        9.      Disposition of DIP Collateral.         The Debtors shall not sell, transfer, lease,

 encumber, or otherwise dispose of any portion of the DIP Collateral or Prepetition Collateral (in

 each case, including Cash Collateral) (and, in each case, the Debtors shall not enter into any

 binding agreement to do so) other than in accordance with the DIP Loan Documents, in the

 ordinary course of business, or as otherwise ordered by this Court without the prior written consent

 of each of the DIP Lenders and no such consent shall be implied from any other action, inaction,

 or acquiescence by the DIP Lenders; provided, however, that entry of an order of the Court

 authorizing any sale, transfer, lease, encumbrance, or other disposition of all or any portion of the

 DIP Collateral or Prepetition Collateral shall not modify the Debtors' obligations to comply with

 restrictions on sales, transfers, leases, encumbrances, or other dispositions in the DIP Loan

 Documents.

        10.     Adequate Protection. The Prepetition Secured Parties are entitled, pursuant to

 sections 361, 362, 363(e), and 507 of the Bankruptcy Code, to adequate protection of their interests

 in all Prepetition Collateral (in each case, including Cash Collateral), to the extent of any

 Diminution in Value of such Prepetition Secured Parties’ interests in the Prepetition Collateral

 (including Cash Collateral) from and after the Petition Date, (such claims the “Adequate Protection

 Claims”). In consideration of the foregoing, the Prepetition Secured Parties, as applicable, are

 hereby granted the following adequate protection:

                (a)     Adequate Protection to the Prepetition HUD ABL Secured Parties. The

 Prepetition HUD ABL Secured Parties will be granted the following (collectively, the “HUD ABL

 Adequate Protection”).



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              (1)     HUD ABL Adequate Protection Liens.             Solely to the extent of any

       Diminution in Value of any Prepetition HUD ABL Secured Party’s interests in HUD ABL

       Senior Collateral, in each case subject and subordinate to the Carve Out, the Prepetition

       HUD ABL Secured Parties are granted the following security interests and liens

       (collectively, the “HUD ABL Adequate Protection Liens”) under sections 361, 362, 363 of

       the Bankruptcy Code: valid, binding, enforceable, and perfected replacement liens on and

       security interests in assets of the type and nature that would be deemed HUD ABL Senior

       Collateral but for the filing of these cases, and the proceeds thereof (collectively, the “HUD

       ABL Adequate Protection Collateral”). The HUD ABL Adequate Protection Liens shall

       be subordinate only to the Carve Out and any other prepetition Permitted Lien expressly

       permitted to be senior in priority to the Prepetition HUD ABL Liens on the Petition Date.

       For the avoidance of doubt, the DIP Liens, the Prepetition Term Loan Adequate Protection

       Liens (as defined below), and the WELL/OHI Master Lease Adequate Protection Liens (as

       defined below) shall be subject, subordinate, and junior to the Prepetition HUD ABL Liens

       and all HUD ABL Adequate Protection Liens on assets of the type and nature that would

       be deemed HUD ABL Senior Collateral but for the filing of these Chapter 11 Cases.

              (2)     HUD ABL Adequate Protection Superpriority Claims. Solely to the extent

       of any Diminution in Value of any Prepetition HUD ABL Secured Party’s interest in

       Prepetition Collateral, and in each case, subject and subordinate to the Carve Out, the

       Prepetition HUD ABL Secured Parties will be granted an allowed superpriority

       administrative expense claim under sections 503(b) and 507(b) of the Bankruptcy Code

       against the applicable Debtors (collectively, the “HUD ABL Adequate Protection

       Superpriority Claims”). With respect to HUD ABL Senior Collateral, all HUD ABL



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        Adequate Protection Superpriority Claims shall have priority over any and all

        administrative expenses and other claims against the applicable DIP Loan Parties now

        existing or hereafter arising, of any kind whatsoever, including, without limitation, all

        administrative expenses of the kind specified in sections 503(b) and 507(b) of the

        Bankruptcy Code, and over any and all administrative expenses or other claims arising

        under the Bankruptcy Code.

               (3)     HUD ABL Adequate Protection Payments: No later than the fifth Business

        Day following entry of the Interim Order and on the fifth (5th) Business Day of each month

        hereafter, Debtors shall pay the Prepetition HUD ABL Agent adequate protection (the

        “HUD ABL Adequate Protection Payment”) in the form of interest, that has accrued at the

        non-default rate on the Prepetition HUD ABL Obligations as of the Petition Date to be

        applied by the Prepetition HUD ABL Agent in accordance with the Prepetition HUD ABL

        Documents.

               (4)     As further adequate protection, the Debtors will reimburse each Prepetition

        HUD ABL Secured Party for all reasonable and documented out-of-pocket fees, costs and

        expenses of such Prepetition HUD ABL Secured Party (limited, in the case of counsel, to

        all reasonable and documented out-of-pocket fees, costs, disbursements and expenses,

        including one (1) local counsel). All such fees, including reasonable and documented out-

        of-pocket legal and other professional fees shall be paid by the Debtors promptly upon

        written demand and without the requirement of Court approval.

               (b)     Adequate Protection to the Prepetition Non-HUD ABL Secured Parties.

 The Prepetition Non-HUD ABL Secured Parties will be granted the following (collectively, the




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 “Non-HUD ABL Adequate Protection” and, together with the HUD ABL Adequate Protection,

 the “ABL Adequate Protection”).

              (1)     Non-HUD ABL Adequate Protection Liens. Solely to the extent of any

       Diminution in Value of any Prepetition Non-HUD ABL Secured Party’s interests in Non-

       HUD ABL Senior Collateral, in each case subject and subordinate to the Carve Out, the

       Prepetition Non-HUD ABL Secured Parties are granted the following security interests and

       liens (collectively, the “Non-HUD ABL Adequate Protection Liens” and, together with the

       HUD ABL Adequate Protection Liens, the “ABL Adequate Protection Liens”) under

       sections 361, 362, 363 of the Bankruptcy Code: valid, binding, enforceable, and perfected

       replacement liens on and security interests in assets of the type and nature that would be

       deemed Non-HUD ABL Senior Collateral but for the filing of these cases, and the proceeds

       thereof (collectively, the “Non-HUD ABL Adequate Protection Collateral” and, together

       with the HUD ABL Adequate Protection Collateral, the “ABL Adequate Protection

       Collateral”). The Non-HUD ABL Adequate Protection Liens shall be subordinate only to

       the Carve Out and any other prepetition Permitted Lien expressly permitted to be senior in

       priority to the Prepetition Non-HUD ABL Liens on the Petition Date. For the avoidance

       of doubt, the DIP Liens, the Prepetition Term Loan Adequate Protection Liens (as defined

       below), and the WELL/OHI Master Lease Adequate Protection Liens (as defined below)

       shall be subject, subordinate, and junior to the Prepetition Non-HUD ABL Liens and all

       Non-HUD ABL Adequate Protection Liens on assets of the type and nature that would be

       deemed Non-HUD ABL Senior Collateral but for the filing of these Chapter 11 Cases.

              (2)     Non-HUD ABL Adequate Protection Superpriority Claims. Solely to the

       extent of any Diminution in Value of any Prepetition Non-HUD ABL Secured Party’s



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       interest in Prepetition Collateral, and in each case, subject and subordinate to the Carve

       Out, the Prepetition Non-HUD ABL Secured Parties will be granted an allowed

       superpriority administrative expense claim under sections 503(b) and 507(b) of the

       Bankruptcy Code against the applicable Debtors (collectively, the “Non-HUD ABL

       Adequate Protection Superpriority Claims” and, together with the HUD ABL Adequate

       Protection Superpriority Claims, the “ABL Adequate Protection Superpriority Claims”).

       With respect to Non-HUD ABL Senior Collateral, all Non-HUD ABL Adequate Protection

       Superpriority Claims shall have priority over any and all administrative expenses and other

       claims against the applicable DIP Loan Parties now existing or hereafter arising, of any

       kind whatsoever, including, without limitation, all administrative expenses of the kind

       specified in sections 503(b) and 507(b) of the Bankruptcy Code, and over any and all

       administrative expenses or other claims arising under the Bankruptcy Code.

              (3)     Non-HUD ABL Adequate Protection Payments: No later than the fifth

       Business Day following entry of the Interim Order and on the fifth (5th) Business Day of

       each month hereafter, Debtors shall pay the Prepetition Non-HUD ABL Agent adequate

       protection (the “Non-HUD ABL Adequate Protection Payment” and, together with the

       HUD ABL Adequate Protection Payment, the “ABL Adequate Protection Payment”) in the

       form of interest, that has accrued at the non-default rate on the Prepetition Non-HUD ABL

       Obligations as of the Petition Date to be applied by the Prepetition Non-HUD ABL Agent

       in accordance with the Prepetition Non-HUD ABL Documents.

              (4)     As further adequate protection, the Debtors will reimburse each Prepetition

       Non-HUD ABL Secured Party for all reasonable and documented out-of-pocket fees, costs

       and expenses of such Prepetition Non-HUD ABL Secured Party (limited, in the case of



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        counsel, to all reasonable and documented out-of-pocket fees, costs, disbursements and

        expenses, including one (1) local counsel). All such fees, including reasonable and

        documented out-of-pocket legal and other professional fees shall be paid by the Debtors

        promptly upon written demand and without the requirement of Court approval.

                (c)    Adequate Protection to the Prepetition Term Loan Secured Parties. The

 Prepetition Term Loan Secured Parties will be granted the following (collectively, the “Prepetition

 Term Loan Adequate Protection”).

                (1)    Prepetition Term Loan Adequate Protection Liens. Solely to the extent of,

        and in an aggregate amount equal to, any Diminution in Value of any Prepetition Term

        Loan Secured Party’s interests in such Prepetition Term Loan Collateral, from and after

        the Petition Date, the Prepetition Term Loan Secured Parties are granted the following

        security interests and liens (collectively, the “Prepetition Term Loan Adequate Protection

        Liens”) under sections 361, 362, and 363 of the Bankruptcy Code: valid, binding,

        enforceable, and perfected replacement liens on and security interests in the Prepetition

        Collateral, including now-owned and hereafter-acquired real and personal property, assets,

        and rights of any kind or nature, wherever located, which liens and security interests shall

        be junior to (a) the Carve Out, (b) the Prepetition ABL Liens and the ABL Adequate

        Protection Liens (subject to such liens solely with respect to assets of the type and nature

        that would be deemed ABL Senior Collateral but for the filing of these Chapter 11 Cases).

                (2)    Prepetition Term Loan Adequate Protection Superpriority Claims. Solely

        to the extent of, and in an aggregate amount equal to, any Diminution in Value of its

        respective Prepetition Collateral, and in each case, subject and subordinate to the Carve

        Out and the ABL Adequate Protection Superpriority Claims (solely with respect to ABL



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       Senior Collateral), each Prepetition Term Loan Secured Party is hereby granted an allowed

       superpriority administrative expense claim under sections 503(b) and 507(b) of the

       Bankruptcy Code against the applicable Debtors (collectively, the “Prepetition Term Loan

       Adequate Protection Superpriority Claims”).        All Prepetition Term Loan Adequate

       Protection Superpriority Claims shall be junior to (a) the Carve Out and (b) the ABL

       Adequate Protection Superpriority Claims (solely with respect to ABL Senior Collateral),

       and otherwise have priority over any and all other administrative expenses and other claims

       against the applicable Loan Parties now existing or hereafter arising, of any kind

       whatsoever, including, without limitation, all administrative expenses of the kind specified

       in sections 503(b) and 507(b) of the Bankruptcy Code, and over any and all administrative

       expenses or other claims arising under the Bankruptcy Code.

              (3)     Prepetition Term Loan Adequate Protection Payments: No later than the

       fifth Business Day following entry of the Interim DIP Order and on the fifth Business Day

       of each month hereafter, Debtors shall pay the Prepetition Term Loan Agent adequate

       protection (the “Prepetition Term Loan Adequate Protection Payment”) on partial account

       of interest that has accrued on the Prepetition Term Loan Obligations in the amounts set

       forth in the Budget, to be applied by the Prepetition Term Loan Agent in accordance with

       the Prepetition Term Loan Documents.

              (4)     As further adequate protection, the Debtors will reimburse each Prepetition

       Term Loan Secured Party for all reasonable and documented out-of-pocket fees, costs and

       expenses of (limited, in the case of counsel, to all reasonable and documented out-of-pocket

       fees, costs, disbursements and expenses, including one (1) local counsel). All such fees,

       including reasonable and documented out-of-pocket legal and other professional fees shall



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       be paid by the Debtors promptly upon written demand and without the requirement of

       Court approval; provided, however, that in the event such fees and expenses exceed the

       amounts set forth in the Approved DIP Budget, any excess amounts shall be added to the

       principal balance of the DIP Loans.

                (d)   Adequate Protection to the WELL/OHI Master Lease Secured Parties.

 The WELL/OHI Master Lease Secured Parties will be granted the following (collectively, the

 “WELL/OHI Master Lease Adequate Protection”).

                (1)   WELL/OHI Master Lease Adequate Protection Liens. Solely to the extent

       of, and in an aggregate amount equal to, any Diminution in Value of any WELL/OHI

       Master Lease Secured Party’s interests in such WELL/OHI Landlord Collateral, from and

       after the Petition Date, the WELL/OHI Master Lease Secured Parties are granted the

       following security interests and liens (collectively, the “WELL/OHI Master Lease

       Adequate Protection Liens” and, together with the ABL Adequate Protection Liens and the

       Prepetition Term Loan Adequate Protection Liens, the “Adequate Protection Liens”) under

       sections 361, 362, and 363 of the Bankruptcy Code: valid, binding, enforceable, and

       perfected replacement liens on and security interests in the Prepetition Collateral, including

       now-owned and hereafter-acquired real and personal property, assets, and rights of any

       kind or nature, wherever located, which liens and security interests shall be junior to (a) the

       Carve Out, (b) the Prepetition ABL Liens and the ABL Adequate Protection Liens, (c) the

       Prepetition Term Loan Liens, and (d) the Prepetition Term Loan Adequate Protection

       Liens.

                (2)   WELL/OHI Master Lease Adequate Protection Superpriority Claims.

       Solely to the extent of, and in an aggregate amount equal to, any Diminution in Value of



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       its respective Prepetition Collateral, and in each case, subject and subordinate to the Carve

       Out, the ABL Adequate Protection Superpriority Claims (solely with respect to ABL

       Senior Collateral), and the Prepetition Term Loan Adequate Protection Superpriority

       Claims, each WELL/OHI Master Lease Secured Party is hereby granted an allowed

       superpriority administrative expense claim under sections 503(b) and 507(b) of the

       Bankruptcy Code against the applicable Debtors (collectively, the “WELL/OHI Master

       Lease Adequate Protection Superpriority Claims,” and together with the Prepetition Term

       Loan Adequate Protection Superpriority Claims and the ABL Adequate Protection

       Superpriority Claims, the “Adequate Protection Superpriority Claims”). All WELL/OHI

       Master Lease Adequate Protection Superpriority Claims shall be junior to (a) the Carve

       Out, (b) the ABL Adequate Protection Superpriority Claims (solely with respect to ABL

       Senior Collateral), and (c) the Prepetition Term Loan Adequate Protection Superpriority

       Claims, and otherwise have priority over any and all other administrative expenses and

       other claims against the applicable Loan Parties now existing or hereafter arising, of any

       kind whatsoever, including, without limitation, all administrative expenses of the kind

       specified in sections 503(b) and 507(b) of the Bankruptcy Code, and over any and all

       administrative expenses or other claims arising under the Bankruptcy Code.

              (3)     As further adequate protection, the Debtors will reimburse each Welltower

       Landlord and Omega Landlord for all reasonable and documented out-of-pocket fees, costs

       and expenses of (limited, in the case of counsel, to all reasonable and documented out-of-

       pocket fees, costs, disbursements and expenses, including one (1) local counsel). All such

       fees, including reasonable and documented out-of-pocket legal and other professional fees

       shall be paid by the Debtors promptly upon written demand and without the requirement



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        of Court approval; provided, however, that in the event such fees and expenses exceed the

        amounts set forth in the Approved DIP Budget, any excess amounts shall be added to the

        principal balance of the DIP Loans.

               (e)      Procedure for Payment of Adequate Protection Fees and Expenses. All

 fees permitted to be paid pursuant to paragraphs (a) through (d) above (such fees, the “Adequate

 Protection Fees and Expenses”) shall be paid in accordance with the following procedures, and the

 invoices for such fees and expenses shall not be required to comply with any particular format,

 may be in summary form only, and may include redactions.

               (1)      The applicable professional shall serve copies of the invoices supporting the

        Adequate Protection Fees and Expenses on the Fee Notice Parties.

               (2)      Any Adequate Protection Fees and Expenses shall be subject to prior ten-

        day review by the Fee Notice Parties.

               (3)      If no objection is filed within such ten-day review period, such invoice shall

        be paid without further order of the Court within five days after the expiration of the

        foregoing review period and shall not be subject to any further review, challenge, or

        disgorgement.

               (4)      If any Fee Notice Party shall file with this Court an objection to any such

        legal invoice, the undisputed amounts shall be paid immediately and the portion subject to

        such objection shall not be paid until resolution of such objection by this Court.

               (5)      For the avoidance doubt, the provision of such invoices shall not constitute

        a waiver of attorney-client privilege or any benefits of the attorney work product doctrine.

               (f)      Reservation of Rights. Under the circumstances and given that the above-

 described adequate protection is consistent with the Bankruptcy Code, including section 506(b)



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 thereof, this Court finds that the adequate protection provided herein is reasonable and sufficient

 to protect the interests of the Prepetition Secured Parties.

        11.     Budget and Access to Records.

                (a)     All borrowings under the DIP Facility, and the use of Cash Collateral shall

 at all times comply with the Approved DIP Budget (subject to Permitted Variances) and the DIP

 Term Sheet. On the first Thursday of each weekly period after the Reporting Date (as defined

 below), the Debtors shall deliver updates to the Initial DIP Budget (or the previously supplemented

 Approved DIP Budget, as the case may be), covering the 13-week period that commences with the

 beginning of the week immediately following the week in which the supplemental budget is

 required to be delivered, consistent with the form and level of detail set forth in the Initial DIP

 Budget (each such supplemental budget, an “Updated DIP Budget”) and the Updated DIP Budget

 will be filed with this Court and will replace the Initial DIP Budget (or the previously supplemented

 Approved DIP Budget, as the case may be), unless the DIP Lenders or Prepetition ABL Agents

 otherwise object within two (2) Business Days of the receipt thereof to the substance of such

 Updated DIP Budget on the basis of such Updated DIP Budget not being based on reasonable

 assumptions, as being inconsistent with the terms, conditions and covenants under the DIP Loan

 Documents, or being based on information that is incorrect in any material respect, in which case

 the Updated DIP Budget will be as agreed reasonably and in good faith by the DIP Lenders, the

 Prepetition ABL Agents, and the Debtors; provided that, in the event of an objection to the Updated

 DIP Budget in accordance with this paragraph, the then-current Approved DIP Budget shall remain

 in effect, effective as of the beginning of the week immediately following the week in which it

 was delivered. Each Approved DIP Budget shall be filed with this Court.




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                (b)    By no later than 5:00 pm ET on the fourth business day of each week,

 commencing with the fourth full week after the Petition Date (each, a “Reporting Date”), Borrower

 shall deliver to the DIP Lenders a variance report (each, a “Variance Report”) showing

 comparisons of actual results for each line item against such line item in the Budget. Each

 Variance Report shall indicate whether there are any adverse variances that exceed the allowed

 variances, which means, in each case measured on a cumulative basis for the prior four-week

 period and for the period from the Petition Date, (x) up to 15% in the aggregate for all “Total

 Operating Disbursements” (as defined in the Approved DIP Budget), excluding, for the avoidance

 of doubt, “Non-Operating Disbursements” and “Restructuring Disbursements” (each as defined in

 the Approved DIP Budget) and (y) up to 15% in the aggregate for all “Total Receipts” (as defined

 in the Approved DIP Budget) (each, a “Permitted Variance”).

                (c)    Access to Records. The Debtors shall provide the advisors to the DIP

 Secured Parties with all reporting and other information required to be provided to the DIP Agent

 or DIP Lenders under the DIP Loan Documents. In addition to, and without limiting, whatever

 rights to access the DIP Secured Parties have under the DIP Loan Documents, upon reasonable

 notice to Debtors’ counsel (email being sufficient), the Debtors shall permit representatives,

 agents, and employees of the DIP Secured Parties to have reasonable access to (i) inspect the

 Debtors’ assets, and (ii) all information (including historical information and the Debtors’ books

 and records) and personnel, including regularly scheduled meetings as mutually agreed with senior

 management of the Debtors and other company advisors (during normal business hours), and the

 DIP Secured Parties shall be provided with access to all information they shall reasonably request,

 excluding any information for which confidentiality is owed to third parties, information subject




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 to attorney client or similar privilege, or where such disclosure would not be permitted by any

 applicable requirements of law.

        12.     Modification of Automatic Stay. Subject to paragraph 19 hereof, the automatic

 stay imposed by section 362(a) of the Bankruptcy Code is hereby modified as necessary to permit:

 (a) the DIP Loan Parties to grant the DIP Liens and the DIP Superpriority Claims, and to perform

 such acts as the DIP Secured Parties may reasonably request, to assure the perfection and priority

 of the DIP Liens and the DIP Superpriority Claims; (b) the DIP Loan Parties to incur all liabilities

 and obligations, including all the DIP Facility Obligations, to the DIP Secured Parties as

 contemplated under this Interim Order and the DIP Loan Documents, and to perform under the

 DIP Loan Documents any and all other instruments, certificates, agreements, and documents that

 may be reasonably required, necessary, or prudent for the performance by the applicable DIP Loan

 Parties under the DIP Loan Documents and any transactions contemplated therein or in this Interim

 Order in each case in accordance therewith or herewith; (c) the DIP Loan Parties to take all

 appropriate actions to grant the DIP Liens, and to take all appropriate actions (including such

 actions as the Prepetition Secured Parties may reasonably request) to ensure that the ABL

 Adequate Protection Liens, Prepetition Term Loan Adequate Protection Liens, and WELL/OHI

 Master Lease Adequate Protection Liens granted hereunder are perfected and maintain the priority

 set forth herein; (d) the DIP Loan Parties to pay all amounts referred to, required under, in

 accordance with, and subject to the DIP Loan Documents and this Interim Order; (e) the DIP

 Secured Parties and the applicable Prepetition Secured Parties to retain and apply payments made

 in accordance with the DIP Loan Documents and this Interim Order; (f) subject to paragraph 19

 hereof, the DIP Secured Parties to exercise, upon the occurrence and during the continuance of

 any DIP Termination Event (as defined below), all rights and remedies provided for in the DIP



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 Loan Documents and take any or all actions provided therein in accordance therewith; and

 (g) subject to paragraph 18 hereof, the implementation and exercise of all of the terms, rights,

 benefits, privileges, remedies, and provisions of this Interim Order and the DIP Loan Documents,

 in each case, in accordance herewith and therewith, without further notice, motion or application

 to, or order of this Court.

         13.     Perfection of DIP Liens and Adequate Protection Liens. This Interim Order

 shall be sufficient and conclusive evidence of the validity, perfection, and priority of all liens

 granted herein, including, without limitation, the DIP Liens and the Adequate Protection Liens,

 without the necessity of execution, filing, or recording any financing statement, mortgage, notice,

 or other instrument or document that may otherwise be required under the law or regulation of any

 jurisdiction or the taking of any other action (including, for the avoidance of doubt, entering into

 any deposit account control agreement) to validate or perfect (in accordance with applicable law)

 such liens, or to entitle the DIP Secured Parties and the Prepetition Secured Parties to the priorities

 granted herein. Notwithstanding the foregoing, the DIP Agent, the DIP Lenders, the Prepetition

 ABL Agents, the Prepetition Term Loan Agent, the Welltower Landlords, and the Omega

 Landlords, without any further consent of any party, are authorized to execute, file, or record, as

 the case may be (and the DIP Agent, the DIP Lenders, the Prepetition ABL Agents, the Prepetition

 Term Loan Agent, the Welltower Landlords, and the Omega Landlords may reasonably request

 the execution, filing, or recording), as each, in its reasonable discretion deems necessary, such

 financing statements, notices of lien, and other similar documents to enable the DIP Agent, the

 DIP Lenders, the Prepetition ABL Agents, the Prepetition Term Loan Agent, the Welltower

 Landlords, and the Omega Landlords to further validate, perfect, preserve, and enforce the

 applicable DIP Liens or other liens and security interests granted hereunder, perfect in accordance



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 with applicable law or to otherwise evidence the applicable DIP Liens and/or the applicable

 Adequate Protection Liens, as applicable, and all such financing statements, notices, and other

 documents shall be deemed to have been filed or recorded as of the date of entry of the Interim

 Order; provided that, no such filing or recordation shall be necessary or required in order to create,

 perfect, preserve, or enforce the DIP Liens and/or the Adequate Protection Liens. The Debtors are

 authorized to execute and deliver promptly upon reasonable request and in accordance with the

 DIP Term Sheet to the DIP Agent, the DIP Lenders, the Prepetition ABL Agents, the Prepetition

 Term Loan Agent, the Welltower Landlords, and the Omega Landlords all such financing

 statements, notices, and other security documents as the DIP Agent, the DIP Lenders, the

 Prepetition ABL Agents, the Prepetition Term Loan Agent, the Welltower Landlords, and the

 Omega Landlords may reasonably request. The DIP Agent, the DIP Lenders, the Prepetition ABL

 Agents, the Prepetition Term Loan Agent, the Welltower Landlords, and the Omega Landlords,

 each in its discretion, may file a photocopy of this Interim Order as a financing statement with any

 filing or recording office or with any registry of deeds or similar office, in addition to or in lieu of

 such financing statements, notices of lien, or similar instruments. To the extent that the Prepetition

 ABL Agents, the Prepetition Term Loan Agent, the Welltower Landlords, and/or the Omega

 Landlords is a secured party under any account control agreement, listed as an additional insured,

 loss payee under any of the Debtors’ insurance policies, or is the secured party under any loan

 document, financing statement, deed of trust, mortgage, or other instrument or document which

 may otherwise be required under the law of any jurisdiction to validate, attach, perfect, or prioritize

 liens (any such instrument or document, a “Security Document”), each of the DIP Lenders shall

 also be deemed to be the secured party under each such Security Document, and shall have all the

 rights and powers attendant to that position (including, without limitation, rights of enforcement),



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 and shall act in that capacity and distribute any proceeds recovered or received in accordance with

 the terms of this Interim Order and/or the Final Order, as applicable, and the other DIP Loan

 Documents.

        14.     Proceeds of Subsequent Financing. Without limiting the provisions of the

 immediately preceding paragraph, if at any time prior to the indefeasible payment in full in cash

 of all of the DIP Facility Obligations, Prepetition ABL Obligations, the Prepetition Term Loan

 Obligations, and the WELL/OHI Master Lease Obligations, in each case, other than contingent

 indemnification obligations as to which no claim has been asserted, the termination of the DIP

 Secured Parties’ obligations to extend credit under the DIP Facility and this Interim Order

 (including subsequent to the confirmation of any plan with respect to any or all of the Debtors and

 the Debtors’ estates), and the satisfaction of the DIP Superpriority Claims and the Adequate

 Protection Claims, either the DIP Loan Parties, the DIP Loan Parties’ estates, any trustee, any

 examiner with enlarged powers, or any responsible officer subsequently appointed in any of the

 DIP Loan Parties’ Chapter 11 Cases, shall obtain credit or incur debt pursuant to sections 364(b),

 (c), or (d) of the Bankruptcy Code then, unless otherwise agreed in advance in writing by the DIP

 Lenders in their sole discretion, all of the cash proceeds derived from such credit or debt and all

 DIP Collateral shall immediately be turned over to the DIP Agent for further distribution to the

 applicable DIP Secured Parties on account of their applicable DIP Facility Obligations pursuant to

 the applicable DIP Loan Documents.

        15.     Covenants. The DIP Loan Parties shall comply with the covenants set forth in the

 DIP Loan Documents in accordance with the terms thereof.

        16.     Milestones. It is a condition to the DIP Facility and the use of Cash Collateral that

 the Debtors shall comply with those certain case milestones set forth in the DIP Term Sheet (the



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 “Milestones”). The failure to comply with any Milestone shall constitute an “Event of Default” in

 accordance with the terms of the DIP Term Sheet.

        17.     Maintenance of DIP Collateral.          Until all DIP Facility Obligations are

 indefeasibly paid in full (other than contingent indemnification obligations as to which no claim

 has been asserted) and the DIP Secured Parties’ obligation to extend credit under the DIP Facility

 has terminated, the Debtors shall continue to maintain all property, operational, and other

 insurance as required in the DIP Loan Documents. Upon entry of this Interim Order and to the

 fullest extent provided by applicable law, the DIP Agent shall be, and shall be deemed to be,

 without any further action or notice, named as additional insureds and loss payees on each

 insurance policy maintained by the DIP Loan Parties that in any way relates to the DIP Collateral,

 and the DIP Agent shall distribute any proceeds recovered or received in respect of any such

 insurance policies, to the payment in full of the DIP Facility Obligations (other than contingent

 indemnification obligations as to which no claim has been asserted).

        18.     Termination Events.      The (i) occurrence and continuance of any “Event of

 Default” under and as defined in the DIP Term Sheet; (ii) occurrence of any event within the

 definition of “DIP Termination Date” in the DIP Term Sheet; (iii) consent of the Debtors to the

 standing of any party, including an Official Committee to pursue any claim or cause of action

 belonging to the Debtors or their estates, including, without limitation, any Challenge (as defined

 below); or (iv) commencement of a Challenge Proceeding (as defined below) by any party,

 including the Debtors or an Official Committee, shall each constitute a “DIP Termination Event”

 under this Interim Order (each a “DIP Termination Event,” and the date upon which such DIP

 Termination Event occurs, the “DIP Termination Date”), unless waived in writing by the DIP




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 Lenders in their sole discretion. A notice of the occurrence of the DIP Termination Date shall be

 filed with this Court within 3 days after the DIP Termination Date.

        19.     Exercise of Remedies.

                (a)     Remedies of the DIP Agent. Immediately upon the occurrence and during

 the continuation of a DIP Termination Event, any stay, whether arising under section 362 of the

 Bankruptcy Code or otherwise, but subject to the terms of this Interim Order, including clause (d)

 of this paragraph, is hereby modified, without further notice to, hearing of, or order from this Court,

 to the extent necessary to permit the DIP Agent to, upon the delivery of written notice (which may

 include electronic mail) to the DIP Remedies Notice Parties (as defined below): (i) declare all DIP

 Facility Obligations owing under the DIP Facility to be immediately due and payable;

 (ii) terminate, reduce, or restrict any commitment to extend credit to the DIP Loan Parties under

 the DIP Facility (to the extent any such commitment remains); (iii) terminate the DIP Facility and

 the DIP Loan Documents as to any future liability or obligation thereunder, but without affecting

 the DIP Liens or the DIP Facility Obligations; (iv) charge interest at the default rate under the DIP

 Facility; (v) terminate and/or revoke the Debtors’ right, if any, under this Interim Order and the

 DIP Loan Documents to use any Cash Collateral of the DIP Secured Parties; (vi) otherwise enforce

 any and all rights against the DIP Collateral in the possession of the DIP Lenders; and (vii) take

 any other actions or exercise any other rights or remedies permitted under this Interim Order, the

 DIP Loan Documents, or applicable law; provided that prior to the exercise of any right in clauses

 (v) through (vii) of this paragraph, the DIP Lenders shall be required to provide five (5) Business

 Days’ written notice (by electronic mail or other electronic means) to counsel to the Debtors,

 counsel to the Prepetition ABL Agents, counsel to the Prepetition Term Loan Agent, counsel to

 the Official Committee, if any, and the U.S. Trustee (the “DIP Remedies Notice Parties”) of the



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 DIP Lenders’ intent to exercise their rights and remedies (the “DIP Remedies Notice Period”);

 provided, further, that the DIP Lenders shall not be obligated to make any loans or advances under

 the DIP Facility during any DIP Remedies Notice Period; provided further that, for the avoidance

 of doubt, the Debtors may continue to use any Cash Collateral prior to the expiration of the DIP

 Remedies Notice Period so long as such Cash Collateral is used in accordance with the Approved

 DIP Budget (subject to Permitted Variances).

                (b)     Remedies of the Prepetition ABL Agents.              Immediately upon the

 occurrence and during the continuation of a DIP Termination Event (or any event that would have

 been a DIP Termination Event but for any extension, waiver, modification, or similar change to

 the DIP Credit Documents by the DIP Agent or DIP Lenders), any stay, whether arising under

 section 362 of the Bankruptcy Code or otherwise, but subject to the terms of this Interim Order,

 including clause (d) of this paragraph 19, is hereby modified, without further notice to, hearing of,

 or order from this Court, to the extent necessary to permit the Prepetition ABL Agents to, upon

 the delivery of written notice (which may include electronic mail) to the ABL Remedies Notice

 Parties (as defined below): (i) terminate and/or revoke the Debtors’ right, if any, under this Interim

 Order to use any Cash Collateral of the DIP Secured Parties; (ii) otherwise enforce any and all

 rights against the DIP Collateral; and (iii) take any other actions or exercise any other rights or

 remedies permitted under this Interim Order or applicable law; provided that prior to the exercise

 of any right in clauses (i) through (iii) of this paragraph, the Prepetition ABL Agents shall be

 required to provide five (5) Business Days’ written notice (by electronic mail or other electronic

 means) to counsel to the Debtors, counsel to the DIP Lenders, counsel to the Prepetition Term

 Loan Agent, counsel to the Official Committee, if any, and the U.S. Trustee (the “ABL Remedies

 Notice Parties”) of the Prepetition ABL Agents’ intent to exercise its rights and remedies (the



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 “ABL Remedies Notice Period,” together with DIP Remedies Notice Period, as applicable, a

 “Remedies Notice Period”); provided, further, that, for the avoidance of doubt, the Debtors may

 continue to use any Cash Collateral prior to the expiration of the ABL Remedies Notice Period so

 long as such Cash Collateral is used in accordance with the Approved DIP Budget (subject to

 Permitted Variances); provided, further, that nothing in this paragraph 19(b) shall prevent the

 Debtors from seeking the Court’s authorization to use Cash Collateral over the objection of either

 of the Prepetition ABL Agents in accordance with a new Approved DIP Budget but otherwise on

 the same terms and conditions contained in this Interim Order.

                (c)     Remedies of the Prepetition Term Loan Agent. Immediately upon the

 occurrence and during the continuation of a DIP Termination Event (or any event that would have

 been a DIP Termination Event but for any extension, waiver, modification, or similar change to

 the DIP Credit Documents by the DIP Agent or DIP Lenders), any stay, whether arising under

 section 362 of the Bankruptcy Code or otherwise, but subject to the terms of this Interim Order,

 including clause (d) of this paragraph 19, is hereby modified, without further notice to, hearing of,

 or order from this Court, to the extent necessary to permit the Prepetition Term Loan Agent to,

 upon the delivery of written notice (which may include electronic mail) to the Prepetition Term

 Loan Remedies Notice Parties (as defined below): (i) terminate and/or revoke the Debtors’ right,

 if any, under this Interim Order to use any Cash Collateral of the DIP Secured Parties;

 (ii) otherwise enforce any and all rights against the DIP Collateral; and (iii) take any other actions

 or exercise any other rights or remedies permitted under this Interim Order or applicable law;

 provided that prior to the exercise of any right in clauses (i) through (iii) of this paragraph, the

 Prepetition Term Loan Agent shall be required to provide five (5) Business Days’ written notice

 (by electronic mail or other electronic means) to counsel to the Debtors, counsel to the DIP



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 Lenders, counsel to the Prepetition ABL Agents, counsel to the Official Committee, if any, and

 the U.S. Trustee (the “Prepetition Term Loan Remedies Notice Parties”) of the Prepetition Term

 Loan Agent’s intent to exercise its rights and remedies (the “Prepetition Term Loan Remedies

 Notice Period,” together with DIP Remedies Notice Period and the ABL Remedies Notice Period,

 as applicable, a “Remedies Notice Period”); provided, further, that, for the avoidance of doubt, the

 Debtors may continue to use any Cash Collateral prior to the expiration of the Prepetition Term

 Loan Remedies Notice Period so long as such Cash Collateral is used in accordance with the

 Approved DIP Budget (subject to Permitted Variances); provided, further, that nothing in this

 paragraph 19(c) shall prevent the Debtors from seeking the Court’s authorization to use Cash

 Collateral over the objection of the Prepetition Term Loan Agent in accordance with a new

 Approved DIP Budget but otherwise on the same terms and conditions contained in this Interim

 Order.

                (d)     During the applicable Remedies Notice Period, the Debtors, the Official

 Committee or any other party in interest may seek an emergency hearing before this Court. Unless

 during such Remedies Notice Period this Court enters an order to the contrary, the DIP Agent,

 Prepetition ABL Agents, or Prepetition Term Loan Agent, as applicable, shall be deemed to have

 received relief from the automatic stay to exercise all rights and remedies available against the DIP

 Collateral (subject to the rights of the applicable Prepetition Secured Parties), permitted by

 applicable law or equity, without further notice to, hearing of, or order from this Court, and without

 restriction or restraint by any stay under sections 105 or 362 of the Bankruptcy Code or otherwise.

 To the extent a Final Order is entered providing for such relief and in furtherance of the foregoing,

 upon the occurrence and during the continuation of a DIP Termination Event, and the expiration

 of the applicable Remedies Notice Period without entry of a Court order to the contrary, the DIP



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 Agent and any liquidator or other professional acting at the DIP Agent’s direction (or Prepetition

 ABL Agents or Prepetition Term Loan Agent and any liquidator or other professional acting at

 their respective direction) shall (A) have the right to use, license or sub-license (without payment

 of royalty or other compensation) any or all intellectual property of the Debtors, computer

 hardware and software, trade secrets, brochures, customer lists, promotional and advertising

 materials, labels, packaging materials and other property, in advertising for sale, marketing,

 selling, collecting, completing manufacture of, or otherwise exercising any rights or remedies with

 respect to, any DIP Collateral or Prepetition Collateral, as applicable, and (B) have the right to

 access, and a rent free right to use, any and all owned or leased locations (including, without

 limitation, manufacturing facilities, warehouse locations, distribution centers and offices) for the

 purpose of arranging for and effecting the sale or disposition of DIP Collateral or Prepetition

 Collateral, as applicable, including the production, completion, packaging and other preparation

 of such DIP Collateral or Prepetition Collateral, as applicable, for sale or disposition (it being

 understood and agreed that the DIP Agent and its representatives (and persons employed on its

 behalf) or Prepetition ABL Agents and their representatives (and persons employed on their

 behalf) or Prepetition Term Loan Agent and its representatives (and persons employed on its

 behalf), as applicable, may continue to operate, service, maintain, process and sell the DIP

 Collateral (subject to the rights of the Prepetition Secured Parties in the Prepetition Collateral) or

 Prepetition Collateral, as applicable, as well as to engage in bulk sales of such DIP Collateral or

 Prepetition Collateral, as applicable.

                (e)     The Debtors (i) shall reasonably cooperate with the DIP Agent, Prepetition

 ABL Agents, or Prepetition Term Loan Agent, as applicable, in its exercise of rights and remedies,

 whether against DIP Collateral (subject to the rights of the Prepetition Secured Parties in the



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 Prepetition Collateral) or Prepetition Collateral, as applicable, or otherwise; (ii) waive any right to

 seek relief under section 105 of the Bankruptcy Code; and (iii) unless this Court orders otherwise,

 may not contest or challenge the exercise of any such rights or remedies other than to dispute

 whether a DIP Termination Event has in fact occurred.

        20.     Indemnification. The DIP Loan Parties shall jointly and severally indemnify and

 hold harmless each DIP Secured Party and each of their respective directors, officers, employees,

 agents, attorneys, accountants, advisors, controlling persons, equity holders, partners, members,

 and other representatives and each of their respective successors and permitted assigns (each, an

 “Indemnified Party”) against, and to hold each Indemnified Party harmless from, any and all

 losses, claims, damages, liabilities, and reasonable, documented and invoiced out-of- pocket fees

 and expenses (including, without limitation, fees and disbursements of counsel but limited, in the

 case of counsel, to the extent set forth in the DIP Term Sheet) that may be incurred by or asserted

 or awarded against any Indemnified Party, in each case, arising out of, or in any way in connection

 with, or as a result of: (i) the execution or delivery of the DIP Term Sheet, the DIP Credit

 Agreement, the DIP Note, any other DIP Loan Document, the performance by the parties thereto

 of their respective obligations thereunder and the other transactions contemplated thereby; (ii) the

 use of the proceeds of the DIP Loans; (iii) the enforcement or protection of its rights in connection

 with the DIP Term Sheet, the DIP Credit Agreement, the DIP Note, and any other DIP Loan

 Document; (iv) the negotiation of and consent to this Interim Order; or (v) any claim, litigation,

 investigation or proceeding relating to any of the foregoing, whether or not any Indemnified Party

 is a party thereto and regardless of whether such matter is initiated by a third party or the Debtors

 or any of their subsidiaries or affiliates or creditors; provided that, the foregoing indemnity shall

 not apply to any claims arising (i) prior to the Petition Date or (ii) out of, or in any way in



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 connection with, or as a result of provisions of the Prepetition Secured Documents (for the

 avoidance of doubt, nothing in this Interim Order alters, amends, expands or minimizes any

 indemnification under the Prepetition Secured Documents, subject to applicable law); provided

 further that, no Indemnified Party will be indemnified for any loss, claim, damage, liability, cost,

 or other expense to the extent such loss, claim, damage, liability, cost, or expense that (i) is

 determined by a final, non-appealable judgment of a court of competent jurisdiction to have

 resulted from (A) the gross negligence, bad faith, or willful misconduct of such Indemnified Party

 or (B) a material breach of the obligations of such Indemnified Party under the DIP Loan

 Documents; or (ii) relates to any proceeding between or among Indemnified Parties other than

 claims arising out of any act or omission on the part of the DIP Loan Parties in accordance with

 this paragraph 20.

        21.     Proofs of Claim. The DIP Agent, the DIP Secured Parties, and the Prepetition

 Secured Parties shall not be required to file proofs of claim in any of the Chapter 11 Cases for any

 claim allowed herein or therein in respect of the Prepetition Secured Obligations. Any order

 entered by this Court establishing a bar date in any of the Chapter 11 Cases shall not apply to the

 DIP Secured Parties or the Prepetition Secured Parties; provided that, notwithstanding any order

 entered by this Court establishing a bar date in any of the Chapter 11 Cases to the contrary, the

 DIP Agent, on behalf of the DIP Secured Parties, and the Prepetition ABL Agents, the Prepetition

 Term Loan Agent, the Welltower Landlords, and/or the Omega Landlords, on behalf of the

 Prepetition Secured ABL Parties, the Prepetition Term Loan Secured Parties, the Welltower

 Landlords, and/or the Omega Landlords, as applicable, may (but are not required) in their

 discretion file (and amend and/or supplement) in the Debtors’ lead chapter 11 case In re Genesis

 Healthcare, Inc., et al., Case No. 25-80185 (SGJ), a single, master proof of claim, on behalf of the



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 Prepetition Secured ABL Parties, the Prepetition Term Loan Secured Parties, the Welltower

 Landlords, and/or the Omega Landlords, as applicable, for any claim allowed herein or their

 allowed claims arising under the applicable Prepetition Secured Documents, and any such proof

 of claim may (but is not required to) be filed as one consolidated proof of claim against all of the

 Debtors (each, a “Master Proof of Claim”), rather than as separate proofs of claim against each

 Debtor. Any proof of claim filed by the DIP Secured Parties or any of the Prepetition Secured

 Parties shall be deemed to be in addition to (and not in lieu of) any other proof of claim that may

 be filed by any such persons. The provisions set forth in this paragraph are intended solely for the

 purpose of administrative convenience and shall not affect the substantive rights of any party-in-

 interest or their respective successors-in-interest. The Master Proofs of Claim shall not be required

 to attach any instruments, agreements or other documents evidencing the obligations owing by

 each of the Debtors to the Prepetition Secured Parties, which instruments, agreements or other

 documents will be provided upon written request to counsel to each Prepetition Secured Party.

          22.   Carve Out.

                (a)     Subject to the terms, conditions and limitations contained in this paragraph

 22, but only to the extent and subject to the express exclusions set forth herein, the DIP Liens, the

 DIP Superpriority Claims, the Prepetition Liens, the Adequate Protection Liens and the Adequate

 Protection Superpriority Claims, and any other liens or claims granted under this Interim Order,

 are all subordinate (except as otherwise provided herein) to the following (collectively, the “Carve

 Out”):

                (1)     allowed administrative expenses pursuant to 28 U.S.C. § 1930(a)(6) for
                        statutory fees payable to the U.S. Trustee, together with the statutory rate of
                        interest, and 28 U S.C. § 156(c) for fees required to be paid to the Clerk of
                        this Court (collectively, the “Statutory Fees”), which shall not be subject to
                        any budget;



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                (2)    all reasonable fees and expenses up to $50,000 incurred by a trustee under
                       section 726(b) of the Bankruptcy Code;

                (3)    to the extent consistent with the Approved DIP Budget (subject to an
                       allowed variance of 15% of the amount budgeted for each respective
                       Professional Person) and allowed at any time, whether by interim order,
                       procedural order, or otherwise, all accrued and unpaid fees (other than any
                       “success,” “restructuring,” “transaction” or similar fees), disbursements,
                       costs, and expenses (“Allowed Professional Fees”) incurred by persons or
                       firms retained by the Debtors pursuant to section 327, 328, or 363 of the
                       Bankruptcy Code (the “Debtor Professionals”), the Official Committee
                       pursuant to section 328 or 1103 of the Bankruptcy Code (the “Committee
                       Professionals”), or, if a patient care ombudsman (the “PCO”) is appointed
                       by order of this Court, by the PCO pursuant to section 327, 328, or 333 of
                       the Bankruptcy Code (together with the PCO, the “PCO Professionals” and,
                       together with the Debtor Professionals and the Committee Professionals,
                       the “Professional Persons”), at any time on or before the first (1st) Business
                       Day following delivery of the Carve Out Trigger Notice by the DIP Lenders
                       (as defined below) whether allowed by the Court prior to or after delivery
                       of a Carve Out Trigger Notice; and

                (4)    Allowed Professional Fees of Professional Persons in an aggregate amount
                       not to exceed $750,000 incurred after the first (1st) Business Day following
                       delivery DIP Lenders of a Carve Out Trigger Notice, to the extent consistent
                       with the Approved DIP Budget and allowed at any time, whether by Interim
                       Order, procedural order, final order, or otherwise (the amounts set forth in
                       this clause (4), the “Post-Carve Out Trigger Notice Cap”).

                (b)    For purposes of the foregoing, “Carve Out Trigger Notice” shall mean a

 written notice delivered by email (or other electronic means) by the DIP Lenders to the Debtors

 and their counsel, with a copy to the DIP Agent and its counsel, the U.S. Trustee, and counsel to

 the Official Committee, if any, which notice may be delivered following the occurrence and during

 the continuation of a DIP Termination Event stating that the Carve Out Trigger Notice Cap has

 been invoked. The term “Carve-Out Trigger Notice Date” shall mean the day on which a Carve-

 Out Trigger Notice is received by the Debtors. On the Carve-Out Trigger Notice Date, the Carve-

 Out Trigger Notice shall constitute a demand to the Debtors to transfer cash in an amount equal to

 the Post-Carve-Out Trigger Notice Cap plus an amount equal to the total budgeted Professional



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 Person fees for the prior two (2) unfunded weeks less any amount then held in the Carve-Out

 Account (as defined below).

                (c)    Within three (3) business days of the initial funding of the DIP Loans, the

 Debtors shall fund into a segregated account (the “Carve-Out Account”) not subject to the control

 of the DIP Agent, or any of the DIP Lenders or Prepetition Secured Parties an amount equal to the

 total budgeted Professional Person fees for the first two (2) postpetition weeks set forth in the

 Approved DIP Budget and, thereafter the Debtors may transfer into the Carve-Out Account cash

 on a weekly basis in an amount equal to the estimated Professional Person fees for the next

 unfunded week set forth in the Approved DIP Budget. Thereafter, the Debtors shall use such funds

 held in the Carve-Out Account to pay Allowed Professional Fees as they become allowed and

 payable pursuant to interim or final orders from the Court, consistent with the Approved DIP

 Budget (subject to an allowed variance of 15% of the amount budgeted for each respective

 Professional Person); provided, that the Debtors’ obligations to pay the allowed fees and expenses

 of the Debtor Professional Persons shall not be limited or deemed limited to funds held in the

 Carve-Out Account. For the avoidance of doubt, the amount budgeted for each Professional

 Person and deposited in the Carve-Out Account in accordance with this paragraph shall be

 available to pay in full any fees and expenses incurred by such Professional Person until all such

 fees and expenses are paid in full before any fees and expenses of another Professional Person is

 paid out of such earmarked funds.

                (d)    The Carve-Out Trigger Notice shall constitute a demand to the Debtors, and

 the Debtors shall be immediately required prior to the payment of any DIP Facility Obligations, to

 utilize all cash on hand as of such date, and any available cash thereafter held by any Debtor, to

 fund the Carve-Out Account in an amount equal to the difference between the Post-Carve-Out



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 Trigger Notice Cap plus an amount equal to the total budgeted Professional Person fees for the

 prior two (2) unfunded weeks and the balance held in the Carve-Out Account as of the Carve-Out

 Trigger Notice Date.      Notwithstanding anything to the contrary herein, in the DIP Loan

 Documents, or the Prepetition Secured Documents, following delivery of a Carve-Out Trigger

 Notice, the DIP Agent shall not sweep or foreclose on cash (including cash received as a result of

 the sale or other disposition of any assets) of the Debtors until the Carve-Out Account has been

 fully funded as permitted above (it being understood that this does not prohibit any sweep or

 foreclosure on cash in excess of the amounts necessary to fully fund the Carve-Out Account).

                (e)     The amounts in the Carve-Out Account shall be available only to satisfy

 Allowed Professional Fees and other amounts included in the Carve-Out until such amounts are

 paid in full. Notwithstanding anything to the contrary herein, (i) the failure of the Carve-Out

 Account to satisfy in full the amount set forth in the Carve-Out shall not affect the priority of the

 Carve-Out and (ii) in no way shall the Carve-Out, the Carve-Out Account, or any Approved DIP

 Budget be construed as a cap or limitation on the amount of the Allowed Professional Fees due

 and payable by the Debtors or that may be allowed by the Court at any time (whether by interim

 order, final order, or otherwise). All funds in the Carve-Out Account shall be used first to pay all

 obligations benefitting from the Pre Carve-Out Trigger Notice Cap, until paid in full, and then the

 obligations benefitting from the Post Carve-Out Trigger Notice Cap.

                (f)     Notwithstanding anything to the contrary herein or elsewhere, the Carve

 Out shall be senior to all claims and liens, including liens securing the DIP Facility, as well as any

 adequate protection liens and claims described herein, and the DIP Collateral shall exclude the

 Carve Out Account; provided that, if after paying all amounts set forth in the definition of Carve

 Out, the Carve Out Account has not been reduced to zero, all remaining funds shall be distributed



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 to the DIP Agent for application towards the DIP Facility Obligations, unless the DIP Facility

 Obligations have been indefeasibly paid in full in cash and the DIP Facility Obligations have been

 terminated.

                (g)     Nothing herein, including the inclusion of line items in the Approved DIP

 Budget for Professional Persons, shall be construed as consent to the allowance of any particular

 professional fees or expense of the Debtors, of the Official Committee, or of any other person or

 shall affect the right of the DIP Agent, the Prepetition ABL Agents, the Prepetition Term Loan

 Agent, the Welltower Landlords, the Omega Landlords, the U.S. Trustee, or any other party in

 interest to object to the allowance and payment of such fees and expenses. The Prepetition Secured

 Parties shall not be responsible for the direct payment or reimbursement of any fees or

 disbursements of any Professional Persons incurred in connection with the Chapter 11 Cases.

 Nothing in this Interim Order or otherwise shall be construed to obligate the Prepetition Secured

 Parties in any way to pay compensation to or to reimburse expenses of any Professional Persons,

 or to guarantee that the Debtors have sufficient funds to pay such compensation or reimbursement.

        23.     Limitations on the DIP Facility, the DIP Collateral, the Prepetition Collateral,

 the Cash Collateral, the Carve Out, and Other Funds. Notwithstanding anything contained in

 the DIP Loan Documents, this Interim Order, or any other order of this Court to the contrary, no

 DIP Collateral, Prepetition Collateral, DIP Loans, Cash Collateral, proceeds of any of the

 foregoing, any portion of the Carve Out, or any other cash or funds may be used, directly or

 indirectly, by any of the Debtors, any Official Committee (if appointed), or any trustee or other

 estate representative appointed in the Chapter 11 Cases or any other person or entity (or to pay any

 professional fees, disbursements, costs or expenses incurred in connection therewith): (a) to object

 to, contest, prevent, hinder, delay, or interfere with, in any way, the DIP Secured Parties’ or the



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 Prepetition Secured Parties’ enforcement or realization upon any of the DIP Collateral, Prepetition

 Collateral, or Cash Collateral, following the occurrence and continuation of a DIP Termination

 Event; or (b) to investigate (including by way of examinations or discovery proceedings, whether

 formal or informal), prepare, assert, join, commence, support, or prosecute any action for any

 claim, counter-claim, action, proceeding, application, motion, objection, defense, or other

 contested matter seeking any order, judgment, determination, or similar relief against, or adverse

 to the interests of, in any capacity, against any of the Prepetition Secured Parties, DIP Agent, and

 DIP Lenders, and each of their respective successors, assigns, affiliates, parents, subsidiaries,

 partners, controlling persons, representatives, agents, attorneys, advisors, financial advisors,

 consultants, professionals, officers, directors, members, managers, shareholders, and employees,

 past, present and future, and their respective heirs, predecessors, successors and assigns (in each

 case, in their respective capacities as such) (collectively, the “Subject Parties”) with respect to any

 transaction, occurrence, omission, action, or other matter arising under, in connection with, or

 related to this Interim Order, the DIP Facility, the DIP Loan Documents, the DIP Facility

 Obligations, the Prepetition Liens, the Prepetition Secured Obligations, or the Prepetition Secured

 Documents or the transactions contemplated therein or thereby, or any other matter relating to the

 Debtors, including, without limitation, (A) any Avoidance Actions, (B) any so-called “lender

 liability” claims and causes of action, (C) any claim or cause of action with respect to the validity,

 enforceability, priority and extent of, or asserting any defense, counterclaim, or offset to, the DIP

 Facility Obligations, the DIP Superpriority Claims, the DIP Liens, the DIP Loan Documents, the

 Adequate Protection Liens, the Adequate Protection Claims, the Prepetition ABL Obligations, the

 Prepetition ABL Documents, the Prepetition ABL Liens, the Prepetition Term Loan Documents,

 Prepetition Term Loan Liens, the Welltower Master Lease Agreement, the Welltower Master



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 Lease Documents, the Welltower Master Lease Liens, the Omega Master Lease Agreement, the

 Omega Master Lease Documents, or the Omega Master Lease Liens, (D) any claim or cause of

 action seeking to challenge, invalidate, modify, set aside, avoid, marshal, subordinate, or

 recharacterize in whole or in part, the DIP Facility Obligations, the DIP Liens, the DIP

 Superpriority Claims, the DIP Collateral, the Prepetition ABL Obligations, the Prepetition

 Collateral, the Adequate Protection Liens, and the Adequate Protection Claims, or (E) any action

 seeking to modify any of the rights, remedies, priorities, privileges, protections, and benefits

 granted to any of the DIP Secured Parties hereunder or under any of the DIP Loan Documents or

 the Prepetition Secured Parties hereunder or under any of the Prepetition Secured Documents, as

 applicable (in each case, including, without limitation, claims, proceedings, or actions that might

 prevent, hinder, or delay any of the DIP Secured Parties, or the Prepetition Secured Parties’

 assertions, enforcements, realizations, or remedies on or against the DIP Collateral or Prepetition

 Collateral in accordance with the applicable DIP Loan Documents or Prepetition Secured

 Documents and this Interim Order and/or the Final Order (as applicable)); provided, that (i) no

 more than $25,000 in the aggregate of the DIP Collateral, the Carve Out or Cash Collateral,

 proceeds from the borrowings under the DIP Facility or any other amounts, may be used for

 allowed fees and expenses incurred solely by any Official Committee (if appointed) in

 investigating, but not objecting to, challenging, litigating, opposing, prosecuting, or seeking to

 subordinate or recharacterize the validity, enforceability, perfection, and priority of the Prepetition

 Liens, the Prepetition Secured Documents, the Adequate Protection Liens, or the Adequate

 Protection Claims prior to the Challenge Deadline (as defined below), (ii) no more than an

 additional $25,000 in the aggregate of the DIP Collateral, the Carve Out or Cash Collateral,

 proceeds from the borrowings under the DIP Facility or any other amounts, may be used for



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 allowed fees and expenses incurred solely by any Official Committee (if appointed) in

 investigating the claims and/or liens of the Prepetition WAX/MAO Term Loan Lenders and each

 of their respective officers, directors, controlling persons, employees, agents, attorneys, affiliates,

 assigns, or successors of each of the foregoing, and (iii) no DIP Collateral (including Cash

 Collateral) or any proceeds thereof shall be used to investigate, object to, challenge, litigate,

 oppose, or prosecute any cause of action against the DIP Secured Parties (in their capacity as such),

 including seeking to subordinate or recharacterize the validity, enforceability, perfection, and

 priority of the DIP Liens, the DIP Superpriority Claims, the DIP Loans, or the DIP Loan

 Documents. Notwithstanding anything else contained in this Interim Order or the DIP Loan

 Documents, the Investigation Period will not limit the ability of any party to challenge the liens or

 secured claims held by, or to assert claims against, the Prepetition WAX/MAO Term Loan Lenders

 . Except to the extent expressly permitted by the terms of the DIP Loan Documents and this

 Interim Order or any further order of this Court, none of the Debtors, any Official Committee (if

 appointed), or any trustee or other estate representative appointed in the Chapter 11 Cases or any

 other person or entity may use or seek to use Cash Collateral or, to sell, or otherwise dispose of

 DIP Collateral or Prepetition Collateral, in each case, without the consent of each of the DIP

 Lenders.

        24.     Reservation of Certain Third-Party Rights and Bar of Challenges and Claims.

                (a)     Subject to the challenge rights described in this paragraph 24, each of the

 stipulations, admissions, and agreements contained in this Interim Order, including, without

 limitation, in clauses (i) through (xiv) of paragraph E of this Interim Order (collectively, the

 “Stipulations”), shall be binding upon the DIP Loan Parties and any successor thereto (including,

 without limitation, any chapter 7 or chapter 11 trustee appointed or elected for any of the DIP Loan



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 Parties in the Chapter 11 Cases) in all circumstances and for all purposes. The Stipulations shall

 be binding upon all parties in interest (including without limitation, (x) the DIP Loan Parties and

 any successor thereto (including, without limitation, any chapter 7 or chapter 11 trustee appointed

 or elected for any of the DIP Loan Parties in the Chapter 11 Cases), and (y) any Official

 Committee, if appointed) and any other person or entity acting or seeking to act on behalf of the

 DIP Loan Parties’ estates, in all circumstances and for all purposes, unless an Official Committee,

 if any, or a party in interest (in each case, to the extent requisite standing is obtained pursuant to

 an order of this Court entered prior to the Challenge Deadline (as defined below)) with respect to

 the Stipulations and a challenge has been filed with this Court (each, a “Challenge Proceeding”)

 by the Challenge Deadline, objecting to or challenging the amount, validity, perfection,

 enforceability, priority, or extent of any of the Prepetition Secured Obligations, the Prepetition

 Liens, or the Prepetition Secured Documents, or otherwise asserting or prosecuting any Avoidance

 Action or any other claim, counterclaim, cause of action, objection, contest, defense or other

 challenge (a “Challenge”) against any of the Subject Parties arising under, in connection with or

 related to the Debtors, the Prepetition Secured Obligations, the Prepetition Liens, the Prepetition

 Secured Documents, or the DIP Loan Documents, and there is entered a final non- appealable

 order in favor of the objector, movant or plaintiff in any such timely filed Challenge Proceeding;

 provided that (i) as to the Debtors (but not their estates), any and all such challenges are hereby

 irrevocably waived and relinquished as of the Petition Date, (ii) any pleadings filed in any

 Challenge Proceeding shall set forth with the requisite specificity the basis for such Challenge (and

 any Challenges not so specified prior to the Challenge Deadline shall be deemed forever, waived,

 released and barred), and (iii) such Challenge Proceeding may be pursued by the Official




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 Committee or any other party in interest that timely commenced a Challenge Proceeding pursuant

 to the terms of this Interim Order.

                (b)     If no such Challenge Proceeding is timely filed with this Court prior to the

 Challenge Deadline, then, without further notice to any person or entity or order of this Court, the

 Stipulations shall be binding on all parties in interest, including, without limitation, any Official

 Committee, if appointed, the DIP Loan Parties and any successor thereto (including, without

 limitation, any chapter 7 or chapter 11 trustee appointed or elected for any of the DIP Loan Parties

 in the Chapter 11 Cases) and the Debtors.

                (c)     If any such Challenge Proceeding is timely filed prior to the Challenge

 Deadline, the Stipulations shall nonetheless remain binding and preclusive (as provided in

 paragraph 24(b) hereof) on any Official Committee (if appointed) and on any other person or

 entity, the DIP Loan Parties and any successor thereto (including, without limitation, any chapter

 7 or chapter 11 trustee appointed or elected for any of the DIP Loan Parties in the Chapter 11

 Cases), and the Debtors, except to the extent that such Stipulations were expressly and successfully

 challenged in such Challenge Proceeding as set forth in a final, non-appealable order of a court of

 competent jurisdiction.

                (d)     The “Challenge Deadline” shall mean the date that is (A) the later of (i) 75

 calendar days after entry of this Interim Order if no Official Committee has been formed by such

 date, or (ii) if an Official Committee is appointed within 75 calendar days after entry of this Interim

 Order, 60 days after formation of such Official Committee, (B) with respect to any Subject Party,

 such later date that such Subject Party has agreed to in writing, prior to the expiration of the

 deadline to commence a Challenge, or (C) any such later date as has been ordered by this Court

 for cause upon a motion filed and served prior to the expiration of the deadline to commence a



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 Challenge; provided, that the filing of a motion pursuant to subsection (C), supra, shall toll the

 Challenge Period only as to the party that timely filed such standing motion until such motion is

 resolved or adjudicated by this Court; provided further, if a chapter 7 trustee or a chapter 11 trustee

 is appointed or elected during the Challenge Period, then the Challenge Period Termination Date

 with respect to such trustee only, shall be the later of (i) the last day of the Challenge Period and

 (ii) the date that is twenty (20) calendar days after the date on which such trustee is appointed or

 elected. Nothing in this Interim Order vests or confers on any Person (as defined in the Bankruptcy

 Code), including any Official Committee or any other committees appointed or formed in these

 Chapter 11 Cases, standing or authority to pursue any claim or cause of action belonging to the

 Debtors or their estates, including, without limitation, Challenges with respect to the Prepetition

 Secured Documents, the Prepetition Secured Obligations or the Prepetition Liens, and all rights to

 object to such standing are expressly reserved.

        25.     Limitations on Charging Expenses. To the extent a Final Order is entered

 providing for such relief, and except to the extent of the Carve Out and paragraph 23, and except

 as otherwise provided under an Approved DIP Budget, no costs or expenses of administration of

 the Chapter 11 Cases at any time, including, without limitation, any costs and expenses incurred

 in connection with the preservation, protection, or enhancement of realization by the DIP Secured

 Parties or the Prepetition Secured Parties (as the case may be) upon the DIP Collateral or

 Prepetition Collateral (as the case may be), shall be charged against or recovered from (a) the DIP

 Secured Parties or the DIP Collateral (including in respect of the Adequate Protection Liens), or

 any of the DIP Facility Obligations, or (b) the Prepetition Secured Parties or the Prepetition

 Collateral, in each case, pursuant to sections 105 or 506(c) of the Bankruptcy Code or any other

 legal or equitable doctrine (including unjust enrichment) or any similar principle of law, without



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 the prior express written consent of each of the DIP Lenders, the Prepetition ABL Agents, the

 Prepetition Term Loan Agent, the Welltower Landlords, and the Omega Landlords, as applicable,

 each in their sole discretion, and no such consent shall be implied, directly or indirectly, from any

 other action, inaction, or acquiescence by any such agents or creditors (including, without

 limitation, consent to the Carve Out or the approval of any budget hereunder).

        26.     No Marshaling. To the extent a Final Order is entered providing for such relief,

 in no event shall the DIP Secured Parties or the Prepetition Secured Parties be subject to the

 equitable doctrine of “marshaling” or any similar doctrine with respect to the DIP Collateral, the

 DIP Facility Obligations, the Prepetition Collateral, or the Prepetition Secured Obligations as

 applicable, and all proceeds shall be received and applied in accordance with this Interim Order,

 the DIP Term Sheet and the Prepetition Secured Documents, as applicable.

        27.     Equities of the Case. Further, to the extent a Final Order is entered providing for

 such relief, in no event shall the “equities of the case” exception in section 552(b) of the

 Bankruptcy Code apply to any of the Prepetition Secured Parties or Prepetition Collateral.

        28.     Joint and Several Liability. Nothing in this Interim Order shall be construed to

 constitute or authorize a substantive consolidation of any of the Debtors’ estates, it being

 understood, however, that the DIP Loan Parties shall be jointly and severally liable for the

 obligations hereunder and in accordance with the terms of this Interim Order.

        29.     Right to Credit Bid.

                (a)     The DIP Agent or its designee (at the written direction of the DIP Lenders),

 on behalf of the DIP Secured Parties, unless this Court for cause orders otherwise, shall have the

 right to credit bid on the DIP Collateral, in accordance with the DIP Loan Documents, up to the

 full amount of the DIP Facility Obligations, subject to the Prepetition Secured Parties’ respective



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 interests in the DIP Collateral, in connection with any sale or other disposition of all or any portion

 of the DIP Collateral, as provided for in section 363(k) of the Bankruptcy Code, without the need

 for further Court order authorizing the same, including, without limitation, any sales occurring

 pursuant to section 363 of the Bankruptcy Code or included as part of any plan subject to

 confirmation under section 1129(b)(2)(A) of the Bankruptcy Code, and shall automatically be

 deemed a “qualified bidder” with respect to any disposition of DIP Collateral under or pursuant to

 (a) section 363 of the Bankruptcy Code, (b) a plan of reorganization or plan of liquidation under

 section 1129 of the Bankruptcy Code, or (c) a sale or disposition by a chapter 7 trustee for any of

 the Debtors under section 725 of the Bankruptcy Code.

                (b)     The Prepetition ABL Agents or their designee (at the written direction of

 the Prepetition ABL Lenders), on behalf of the Prepetition ABL Secured Parties, unless this Court

 for cause orders otherwise, shall have the right to credit bid on the ABL Senior Collateral, in

 accordance with the Prepetition ABL Documents, up to the full amount of the Prepetition ABL

 Obligations, in connection with any sale or other disposition of all or any portion of the DIP

 Collateral, as provided for in section 363(k) of the Bankruptcy Code, without the need for further

 Court order authorizing the same, including, without limitation, any sales occurring pursuant to

 section 363 of the Bankruptcy Code or included as part of any plan subject to confirmation under

 section 1129(b)(2)(A) of the Bankruptcy Code, and shall each automatically be deemed a

 “qualified bidder” with respect to any disposition of ABL Senior Collateral under or pursuant to

 (a) section 363 of the Bankruptcy Code, (b) a plan of reorganization or plan of liquidation under

 section 1129 of the Bankruptcy Code, or (c) a sale or disposition by a chapter 7 trustee for any of

 the Debtors under section 725 of the Bankruptcy Code.




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                (c)     The Prepetition Term Loan Agent or its designee (at the written direction of

 the Prepetition Term Loan Lenders), on behalf of the Prepetition Term Loan Secured Parties,

 unless this Court for cause orders otherwise, shall have the right to credit bid on the Prepetition

 Term Loan Collateral, in accordance with the Prepetition Term Loan Documents, up to the full

 amount of the Prepetition Term Loan Obligations, in connection with any sale or other disposition

 of all or any portion of the DIP Collateral, as provided for in section 363(k) of the Bankruptcy

 Code, without the need for further Court order authorizing the same, including, without limitation,

 any sales occurring pursuant to section 363 of the Bankruptcy Code or included as part of any plan

 subject to confirmation under section 1129(b)(2)(A) of the Bankruptcy Code, and shall

 automatically be deemed a “qualified bidder” with respect to any disposition of Prepetition Term

 Loan Collateral under or pursuant to (a) section 363 of the Bankruptcy Code, (b) a plan of

 reorganization or plan of liquidation under section 1129 of the Bankruptcy Code, or (c) a sale or

 disposition by a chapter 7 trustee for any of the Debtors under section 725 of the Bankruptcy Code.

        30.     Rights Preserved. Notwithstanding anything herein to the contrary, the entry of

 this Interim Order is without prejudice to, and does not constitute a waiver of, expressly or

 implicitly: (a) the rights of the DIP Secured Parties or the Prepetition Secured Parties to seek any

 other or supplemental relief in respect of the Debtors; (b) the rights of the DIP Secured Parties or

 the Prepetition Secured Parties under the DIP Loan Documents or the Prepetition Secured

 Documents, the Bankruptcy Code or applicable non-bankruptcy law, including, without limitation,

 the right to (i) request modification of the automatic stay of section 362 of the Bankruptcy Code,

 (ii) request dismissal of any of the Chapter 11 Cases, conversion of any or all of the Chapter 11

 Cases to a case under chapter 7, or appointment of a chapter 11 trustee or examiner with expanded

 powers, or (iii) propose, subject to the provisions of section 1121 of the Bankruptcy Code, a



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 Chapter 11 plan or plans; or (c) any other rights, claims, or privileges (whether legal, equitable or

 otherwise) of the DIP Secured Parties or the Prepetition Secured Parties. Notwithstanding

 anything herein to the contrary, the entry of this Interim Order is without prejudice to, and does

 not constitute a waiver of, expressly or implicitly, the Debtors’, the DIP Loan Parties’, or any party

 in interest’s right to oppose any of the relief requested in accordance with the immediately

 preceding sentence, except as expressly set forth in this Interim Order.

        31.     No Waiver by Failure to Seek Relief. The failure or delay on the part of any of

 the DIP Secured Parties or the Prepetition Secured Parties to seek relief or otherwise exercise their

 rights and remedies under this Interim Order, the DIP Loan Documents or the Prepetition Secured

 Documents, or applicable law, as the case may be, shall not constitute a waiver of any of their

 respective rights hereunder, thereunder or otherwise. No delay on the part of any party in the

 exercise of any right or remedy under this Interim Order shall preclude any other or further exercise

 of any such right or remedy or the exercise of any other right or remedy. None of the rights or

 remedies of any party under this Interim Order shall be deemed to have been amended, modified,

 suspended, or waived unless such amendment, modification, suspension, or waiver is express, in

 writing and signed by the party against whom such amendment, modification, suspension, or

 waiver is sought. No consents required hereunder by any of the DIP Secured Parties or the

 Prepetition Secured Parties shall be implied by any inaction or acquiescence by any of the DIP

 Secured Parties or the Prepetition Secured Parties.

        32.     No Deemed Control. In determining to make, and in providing, any DIP Loans

 under the DIP Note, or in exercising any rights or remedies as and when permitted pursuant to this

 Interim Order, any Final Order or the DIP Loan Documents, no DIP Secured Party and no

 Prepetition Secured Party shall be deemed to be in control of any Debtor or its operations or to be



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 acting as a “responsible person,” “managing agent” or “owner or operator” (as such terms are

 defined in the United States Comprehensive Environmental Response, Compensation and Liability

 Act, 29 U.S.C. §§ 9601, et seq., as amended, or any similar state or federal statute) with respect to

 the operation or management of such Debtor.

        33.     Binding Effect of this Interim Order. Immediately upon entry of this Interim

 Order by this Court, this Interim Order shall inure to the benefit of the Debtors, the DIP Secured

 Parties, and the Prepetition Secured Parties, and the provisions of this Interim Order (including all

 findings and conclusions of law herein) shall be valid and binding upon the Debtors, the DIP

 Secured Parties, and the Prepetition Secured Parties, any and all other creditors of the Debtors, any

 Official Committee (if appointed) or other committee appointed in the Chapter 11 Cases, any and

 all other parties in interest, and the respective successors and assigns of each of the foregoing,

 including any trustee or other fiduciary hereafter appointed as legal representative of any of the

 Debtors in any of the Chapter 11 Cases, or upon dismissal or conversion of any of the Chapter 11

 Cases; provided that (a) nothing in this paragraph shall confer final status on this Interim Order;

 and (b) the DIP Secured Parties and the Prepetition Secured Parties shall have no obligation to

 permit the use of DIP Collateral or Prepetition Collateral (including Cash Collateral) by, or to

 extend any financing to, any chapter 7 trustee, chapter 11 trustee, or similar responsible person

 appointed for the estates of the Debtors.

        34.     Survival. The terms and provisions of this Interim Order, including, without

 limitation, (a) the Carve Out and (b) all of the rights, privileges, benefits, and protections afforded

 herein and in the DIP Loan Documents (including the DIP Liens, the DIP Superpriority Claims,

 the Adequate Protection Liens, and the Adequate Protection Claims, and any other claims, liens,

 security interests, and other protections (as applicable)) granted to the DIP Secured Parties and the



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 Prepetition Secured Parties pursuant to this Interim Order and the DIP Loan Documents

 (collectively, the “DIP Protections”), and any actions taken pursuant hereto or thereto, shall

 survive, shall continue in full force and effect, shall remain binding on all parties in interest, and

 shall maintain their priorities, and shall not be modified, impaired, or discharged by (except to the

 extent consented to in writing by the applicable secured parties), entry of any order that may be

 entered (i) confirming any plan of reorganization in any of the Chapter 11 Cases; (ii) converting

 any or all of the Chapter 11 Cases to a case under chapter 7 of the Bankruptcy Code;

 (iii) dismissing any or all of the Chapter 11 Cases; or (iv) pursuant to which this Court abstains

 from hearing any of the Chapter 11 Cases, in each case, until, in respect of the DIP Facility, all of

 the DIP Facility Obligations, pursuant to the DIP Term Sheet and this Interim Order, have been

 indefeasibly paid in full in cash (other than contingent indemnification obligations as to which no

 claim has been asserted) and all commitments to extend credit under the DIP Facility are

 terminated.    This Court shall retain jurisdiction, notwithstanding any such confirmation,

 conversion, or dismissal, for the purposes of enforcing such DIP Protections and the Prepetition

 Secured Parties’ adequate protection.

        35.     Good Faith under Section 364(e) of the Bankruptcy Code; No Modification or

 Stay of this Interim Order. The DIP Secured Parties have acted in good faith in connection with

 the DIP Facility, the DIP Loan Documents, the Interim Financing, and with this Interim Order,

 and their reliance on this Interim Order is in good faith. Based on the findings set forth in this

 Interim Order and the record made during the Interim Hearing, and in accordance with section

 364(e) of the Bankruptcy Code, the DIP Secured Parties are entitled to the protections provided in

 section 364(e) of the Bankruptcy Code, this Interim Order and the DIP Loan Documents to the

 extent provided therein. If any or all of the provisions of this Interim Order are hereafter reversed



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 or modified on appeal, such reversal or modification shall not affect the validity, priority, or

 enforceability of the DIP Facility Obligations or the DIP Liens; provided, however, that the DIP

 Secured Parties shall not be entitled to protection under section 364(e) of the Bankruptcy Code

 with respect to any funds advanced by the DIP Secured Parties or made available by the Prepetition

 Secured Parties, as applicable, under the DIP Loan Documents after entry of an order staying this

 Interim Order or any provision of this Interim Order authorizing the Debtors to borrow funds under

 the DIP Loan Documents. Notwithstanding any such reversal or modification of this Interim Order

 or certain provisions thereof on appeal, any DIP Facility Obligations, DIP Liens, or Adequate

 Protection Liens incurred by the DIP Loan Parties to the DIP Secured Parties or the Prepetition

 Secured Parties, as the case may be, prior to the actual receipt of written notice by the DIP Agent

 and the Prepetition Agent of the effective date of such reversal, modification, or stay shall be

 governed in all respects by the original provisions of this Interim Order.

        36.     Amendment of the DIP Loan Documents. The DIP Loan Documents may, from

 time to time, be amended, amended and restated, modified, or supplemented by the parties thereto

 without notice or a hearing if the amendment, amendment and restatement, modification, or

 supplement is not material, and is: (i) in accordance with the DIP Loan Documents; and (ii) not

 adverse or prejudicial in any material respect to the rights of the Debtors, the estates, or third

 parties; provided, however, all amendments, modifications and waivers of the DIP Loan

 Documents shall require the consent of each of the DIP Lenders. Any material amendment,

 restatement, modification or supplement to the DIP Loan Documents may only be made pursuant

 to an order of this Court, upon notice and a hearing; provided further however, that any

 (i) extension of maturity, (ii) waiver or modification or compromise with respect to any Event of

 Default, or (iii) amendment to the Approved DIP Budget, including with respect to Permitted



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 Variances, shall require the written consent of the DIP Lenders and shall not require entry of an

 order of this Court; for the avoidance of doubt, the Prepetition ABL Agents and Prepetition Term

 Loan Agent each retain theirs rights to seek termination of the Debtors’ ability to continue to use

 Cash Collateral upon any such consent granted by the DIP Lenders and pursuant to the terms set

 forth in paragraph 19 of this Interim Order. The Debtors shall file all amendments, restatements,

 modification and supplements of the DIP Loan Documents with this Court and serve the same on

 the U.S. Trustee and the Official Committee, if any.

        37.     Adequate Assurance Deposits. Notwithstanding anything to the contrary in this

 Interim Order, the interests of the DIP Secured Parties and the Prepetition Secured Parties in any

 adequate assurance deposit ordered by this Court for the benefit of the Debtors’ utilities shall be

 subordinate to the interests of the Debtors’ utilities in such adequate assurance deposit until such

 time as the adequate assurance deposit is returned to the Debtors.

        38.     Limitation of Liability. Nothing in this Interim Order, the DIP Loan Documents,

 or any other documents related to these transactions shall in any way be construed or interpreted

 to impose or allow the imposition upon the DIP Secured Parties (in each case, in their capacities

 as such) of (a) any liability for any claims arising from the prepetition or postpetition activities of

 the Debtors in the operation of their business, or in connection with their restructuring efforts, or

 (b) any fiduciary duties to the Debtors, their respective creditors, shareholders, or estates. So long

 as the DIP Secured Parties comply with their obligations under the DIP Loan Documents and their

 obligations, if any, under applicable law (including the Bankruptcy Code), (x) the DIP Secured

 Parties shall not, in any way or manner, be liable or responsible for (i) the safekeeping of the DIP

 Collateral, (ii) any loss or damage thereto occurring or arising in any manner or fashion from any

 cause, (iii) any diminution in the value thereof, or (iv) any act or default of any carrier, servicer,



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 bailee, custodian, forwarding agency, or other person; and (y) all risk of loss, damage, or

 destruction of the DIP Collateral shall be borne by the DIP Loan Parties.

        39.     Interim Order Controls. In the event of any conflict or inconsistency between or

 among the terms or provisions of this Interim Order, any of the DIP Loan Documents, unless such

 term or provision in this Interim Order is phrased in terms of “defined in” or “as set forth in” the

 DIP Loan Documents, the terms and provisions of this Interim Order shall govern and control.

        40.     Payments Held in Trust. Except as expressly permitted in this Interim Order or

 the DIP Loan Documents, in the event that any person or entity receives any payment on account

 of a security interest in the DIP Collateral or receives any DIP Collateral or any proceeds of DIP

 Collateral prior to indefeasible payment in full in cash of all DIP Facility Obligations under the

 DIP Loan Documents, and termination of the DIP Commitments in accordance with the DIP Term

 Sheet, such person or entity shall be deemed to have received, and shall hold, any such payment

 or proceeds of DIP Collateral in trust for the benefit of the DIP Agent and the DIP Lenders and

 shall immediately turn over such proceeds to the DIP Agent or applicable DIP Lender, for

 application in accordance with the DIP Term Sheet and this Interim Order.

        41.     Interim Order Effective as of the Petition Date. This Interim Order shall take

 effect and shall be enforceable as of the Petition Date immediately upon entry hereof.

 Notwithstanding Bankruptcy Rules 4001(a)(3), 6004(h), 6006(d), and 7062 or any other

 Bankruptcy Rule, or Rule 62(a) of the Federal Rules of Civil Procedure, this Interim Order shall

 be immediately effective and enforceable upon its entry and there shall be no stay of execution or

 effectiveness of this Interim Order.

        42.     Bankruptcy Rules. The requirements of Bankruptcy Rules 4001, 6003, and 6004,

 in each case to the extent applicable, are satisfied by the contents of the DIP Motion.



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          43.    Necessary Action. The Debtors are authorized and directed to take any and all

 such necessary actions as are reasonable and appropriate to implement the terms of this Interim

 Order.

          44.    Headings. Section headings used herein are for convenience only and are not to

 affect the construction of or to be taken into consideration in interpreting this Interim Order.

          45.    Final Hearing. The Final Hearing to consider entry of the Final Order and

 final approval of the DIP Facility is scheduled for [August 5], 2025 at [9:30 a].m. (prevailing

 Central Time), before the Honorable United States Bankruptcy Judge Stacey G. Jernigan,

 at the United States Bankruptcy Court for the Northen District of Texas. The Debtors shall

 promptly transmit copies of this Interim Order (which shall constitute adequate notice of the Final

 Hearing) to the parties given notice of the Interim Hearing, to any party that has filed a request for

 notices with this Court, and to any official committee, after the same has been appointed, or any

 counsel thereto.

          46.    Objections. Any objections or responses to the entry of the proposed Final Order

 shall be filed with the Court and served on the following no later 4:00 p.m. (prevailing Central

 Time) on [July 29], 2025: (a) Genesis Healthcare, Inc., c/o Ankura Consulting Group, LLC, 2021

 McKinney       Ave.   Suite   340,   Dallas,   TX     75201   (Attn:   Louis    E.   Robichaux     IV

 (louis.robichaux@ankura.com)); (b) proposed counsel to the Debtors, McDermott Will & Emery

 LLP, 2501 North Harwood Street, Suite 1900, Dallas, TX 75201 (Attn:                  Marcus A. Helt

 (mhelt@mwe.com) and Jack G. Haake (jhaake@mwe.com)), and 1180 Peachtree St. NE, Suite

 3350, Atlanta, GA 30309 (Attn: Daniel M. Simon (dsimon@mwe.com)), and 444 West Lake

 Street, Suite 4000, Chicago, IL 60606 (Attn: William A. Guerrieri (wguerrieri@mwe.com) and

 Emily C. Keil (ekeil@mwe.com)); (c) counsel to Welltower, Gibson, Dunn & Crutcher LLP, 2001



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 Ross Avenue, Suite 2100, Dallas, TX 75201 (Attn: John T. Cox III (tcox@gibsondunn.com)) and

 333 South Grand Avenue, Los Angeles, CA 90071 (Attn:                          Jeffrey C. Krause

 (jkrause@gibsondunn.com) and Michael G. Farag (mfarag@gibsondunn.com)); (d) counsel to

 Omega, Goodwin Proctor LLP, The New York Times Building, 620 Eighth Avenue, New York,

 NY 10018 (Attn: Robert J. Lemons (rlemons@goodwinlaw.com)), and Ferguson Braswell Fraser

 Kubasta PC, 2500 Dallas Parkway, Suite 600, Plano, TX 75093 (Attn:                 Leighton Aiken

 (laiken@fbfk.law)); (e) counsel to the Debtors’ Prepetition ABL Secured Parties, Blank Rome

 LLP, 444 West Lake Street, Suite 1650, Chicago, IL 60606 (Attn: Kenneth J. Ottaviano

 (ken.ottaviano@blankrome.com)); (f) counsel to the Debtors’ proposed DIP Lenders, DLA Piper

 LLP, 1900 N. Pearl St., Suite 2200, Dallas, TX 75201 (Attn:                       James Muenker

 (james.muenker@us.dlapiper.com)); (g) the United States Trustee for the Northern District of

 Texas, 1100 Commerce Street, Room 976, Dallas, TX 75242 (Attn: Meredyth A. Kippes);

 (h) counsel to the official committee of unsecured creditors (if any) appointed in these Chapter 11

 Cases; and (i) any party that has requested notice pursuant to Bankruptcy Rule 2002. Any

 objections by creditors or any other party in interest to the DIP Motion or any of the provisions of

 this Interim Order shall be deemed waived unless filed and received in accordance with the

 foregoing on or before such date.

        47.     Retention of Jurisdiction. This Court shall retain jurisdiction to hear, determine

 and, if applicable, enforce the terms of, any and all matters arising from or related to the DIP

 Facility and/or this Interim Order.

                                       # # # END OF ORDER # # #




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 Prepared and presented by:

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 Proposed Counsel for the Debtors and
 Debtors-in-Possession




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                                   EXHIBIT 1

                                 DIP Term Sheet
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                                GENESIS HEALTHCARE, INC., et al.

                                  JUNIOR SECURED
                  DEBTOR-IN-POSSESSION CREDIT FACILITY TERM SHEET

                             Summary of Proposed Terms and Conditions

                                               July 9, 2025

          This binding term sheet (including all schedules, annexes and exhibits hereto, this “DIP Term
 Sheet” and together with the Interim DIP Order, the Final DIP Order, the Budget (each as defined below),
 and the definitive loan agreement (as modified in accordance with its terms, the “DIP Credit Agreement”),
 security agreement or other definitive documentation of the terms and conditions set forth herein,
 collectively, the “DIP Loan Documents”) sets forth a summary of the terms and conditions with respect to
 the junior secured debtor-in-possession term loan credit facility (to be provided by the DIP Lenders (as
 defined below)) to Genesis Healthcare, Inc. and certain of its affiliates in connection with cases (the
 “Chapter 11 Cases”) filed by the Debtors (as defined below) in the United States Bankruptcy Court for the
 Northern District of Texas, Dallas Division (the “Bankruptcy Court”) under chapter 11 of title 11 of the
 United States Code (as amended, the “Bankruptcy Code”).

          This DIP Term Sheet is proffered in the nature of a settlement proposal in furtherance of
 settlement discussions. Accordingly, this DIP Term Sheet is protected by Rule 408 of the Federal
 Rules of Evidence and any other applicable statutes or doctrines protecting the use or disclosure of
 confidential settlement discussions. Nothing contained in this DIP Term Sheet shall be an admission
 of fact or liability.

         This DIP Term Sheet shall be a binding agreement from and after, and subject to, the entry
 of the Interim DIP Order with respect to the DIP Loans (as defined below). This DIP Term Sheet
 does not purport to summarize all of the terms, conditions, representations and other provisions with
 respect to the DIP Facility (as defined below), which will be set forth in the DIP Loan Documents.
 The obligation of the DIP Lenders (as defined below) to provide financing pursuant to this DIP Term
 Sheet shall be subject to the conditions precedent and other terms and conditions set forth herein. In
 the event of any conflict between this DIP Term Sheet and the terms of the Interim DIP Order or the
 Final DIP Order (each as defined below), the terms of the Interim DIP Order or the Final DIP Order
 (as applicable) shall govern.

  Borrowers:                   Genesis Healthcare, Inc., a Delaware limited liability company, and FC-
                               GEN Operations Investment, LLC, a Delaware limited liability company,
                               each in its capacity as a debtor and debtor-in-possession (collectively, the
                               “Borrowers”) in the Chapter 11 Cases to be filed (such date, the “Petition
                               Date”) under chapter 11 of Title 11 of the Bankruptcy Code in the
                               Bankruptcy Court.

                               This DIP Term Sheet assumes that the Borrowers and the Guarantors (as
                               defined below) will file voluntary petitions simultaneously under the
                               Bankruptcy Code in the Bankruptcy Court and will request joint
                               administration of the Chapter 11 Cases; provided that all of Borrowers’
                               and Guarantors’ existing and future, direct or indirect domestic or foreign
                               affiliates and subsidiaries that become debtors and debtors-in-possession
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                                   in the Chapter 11 Cases at any time and from time to time, shall be
                                   Guarantors, as described below under “Guarantors”.

     Guarantors:                   Each of the Borrowers’ direct and indirect affiliates and subsidiaries that
                                   commence Chapter 11 Cases on or after the Petition Date, including
                                   without limitation such affiliates and subsidiaries as set forth on Exhibit B
                                   hereto, in their capacities as debtors and debtors-in- possession, on a joint
                                   and several basis (each, a “Guarantor” and collectively, the “Guarantors”,
                                   together with the Borrowers, each individually a “Loan Party” and a
                                   “Debtor”, and collectively, the “Loan Parties” and the “Debtors”)
                                   absolutely and unconditionally guarantees, as a guaranty of performance
                                   and payment and not as a guaranty of collection, prompt payment when
                                   due, whether at stated maturity, by required prepayment, upon
                                   acceleration, demand or otherwise, and at all times thereafter, the payment
                                   and performance of any and all obligations of Borrowers under and with
                                   respect to the DIP Facility (as defined below), including, without limitation
                                   any and all DIP Loans and DIP Claims (each as defined below)
                                   (collectively, the “Guaranteed Obligations”), subject to, and in accordance
                                   with, the terms of the DIP Orders. This guaranty shall not be affected by
                                   the genuineness, validity, regularity or enforceability of the Guaranteed
                                   Obligations or any instrument or agreement evidencing any Guaranteed
                                   Obligations, or by the existence, validity, enforceability, perfection, non-
                                   perfection or extent of any collateral therefor, or by any fact or
                                   circumstance relating to the Guaranteed Obligations which might
                                   otherwise constitute a defense to the obligations of any Guarantor under
                                   this Guaranty other than the irrevocable payment in full in cash and
                                   performance of all obligations hereunder, and each Guarantor hereby
                                   irrevocably waives any defenses it may now have or hereafter acquire in
                                   any way relating to any or all of the foregoing (other than the defense of
                                   payment in full).

     Prepetition Secured           See Annex A attached hereto. 1
     Obligations; Prepetition
     Collateral:

     DIP Secured Parties:          Markglen, Inc., as lender under the DIP Facility (in such capacity, the
                                   “Welltower DIP Lender”), OHI Mezz Lender LLC, as lender under the
                                   DIP Facility (in such capacity, the “Omega DIP Lender”), and CPE 88988
                                   LLC, as lender under the DIP Facility (in such capacity, the “WAX DIP
                                   Lender” and, together with Welltower DIP Lender and Omega DIP Lender,
                                   the “DIP Lenders”), and Welltower OP LLC, upon execution of the DIP
                                   Credit Agreement, administrative and collateral agent (in such capacity,
                                   the “DIP Agent” and, together with the DIP Lenders, the “DIP Secured
                                   Parties”).




 1
     Capitalized terms used but not defined herein have the meaning given to them in Annex A attached hereto.


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                             “WELL/OHI DIP Lenders” shall mean, collectively, the Welltower DIP
                             Lender and the Omega DIP Lender (the DIP Loans held by the WELL/OHI
                             DIP Lenders, the “WELL/OHI DIP Loans”).

                             The DIP Loans held by the WAX DIP Lender are referred to as the “WAX
                             DIP Loans.”

                             The obligations of each DIP Lender with respect to the DIP Facility (as
                             defined below), under the DIP Loan Documents, and for all other purposes,
                             shall be several and not joint.

  Type and Amount of the     A junior secured debtor-in-possession credit facility comprised of a new
  DIP Facility:              money term loan credit facility available in two draws as set forth herein
                             in an aggregate principal amount equal to $30,000,000 (the “DIP Facility”;
                             each DIP Lender’s commitment under the DIP Facility, its “DIP
                             Commitment” and the aggregate commitments of the DIP Lenders, the
                             “DIP Commitments”) (the loans under the DIP Facility, the “DIP Loans”;
                             each DIP Lender’s claim under the DIP Facility, a “DIP Claim” and the
                             aggregate claims of the DIP Lenders, collectively, the “DIP Claims”; and
                             proceeds received by the Borrowers from the DIP Loans, the “DIP
                             Proceeds”).

                             Each DIP Lender’s respective DIP Commitment and obligations is several
                             and not joint with the DIP Commitment and obligations of any other DIP
                             Lender, and in no event shall any DIP Lender be required to fund or
                             otherwise make available DIP Loans in excess of its DIP Commitment.

                             Following the Closing Date (as defined below), the DIP Loans may be
                             incurred during the Availability Period (as defined below) (x) upon entry
                             of an interim order of the Bankruptcy Court in form and substance
                             satisfactory to each of the DIP Lenders, in their sole discretion, authorizing
                             and approving the DIP Facility and the use of Cash Collateral (within the
                             meaning of section 363(a) of the Bankruptcy Code) (the “Interim DIP
                             Order”), in an aggregate principal amount not to exceed the amount
                             reflected in the Budget (as defined below) (the “Initial Draw”) and (y) the
                             remaining principal amount in a single draw (the “Final Draw”) upon entry
                             of a final order of the Bankruptcy Court in form and substance satisfactory
                             to each of the DIP Lenders, in their sole discretion, inter alia, authorizing
                             and approving the DIP Facility (including the DIP Loans and the DIP Loan
                             Documents and all lender fees related thereto) (the “Final DIP Order,” and,
                             together with the Interim DIP Order, the “DIP Orders”) and satisfaction of
                             any other conditions to draw as set forth in the DIP Loan Documents, in an
                             aggregate amount not to exceed the aggregate DIP Commitments, in each
                             case subject to the terms and conditions provided herein and in the DIP
                             Loan Documents.

                             Once repaid, the DIP Loans incurred under the DIP Facility cannot be
                             reborrowed. For the avoidance of doubt, the DIP Commitments will be
                             permanently reduced by the amount of DIP Loans made on the date of the
                             Initial Draw and of the Final Draw, as applicable.



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                        The DIP Facility shall be available from the Closing Date (as defined
                        below) to the DIP Termination Date (as defined below) (the “Availability
                        Period”).

  Closing Date:         The date of the satisfaction or waiver by the DIP Secured Parties of the
                        relevant “Conditions Precedent to the Initial Draw” set forth below and in
                        the DIP Credit Agreement (the “Closing Date”).

  Maturity:             All DIP Obligations (as defined below) will be due and payable in full in
                        cash unless otherwise agreed to in writing (email being sufficient) by each
                        of the DIP Lenders on the earliest of (i) the date that is 210 calendar days
                        after the Petition Date (or such later date as agreed to by each of the DIP
                        Lenders), (ii) if the Final DIP Order has not been entered, 35 calendar days
                        after the Petition Date (or such later date as agreed to by each of the DIP
                        Lenders), (iii) the acceleration of the DIP Loans and the termination of the
                        DIP Commitments upon the occurrence of an event referred to below under
                        “Termination”, (iv) the effective date of any chapter 11 plan of
                        reorganization or liquidation of the Borrowers or any other Loan Parties
                        (the “Plan”), (v) the date the Bankruptcy Court converts any of the Chapter
                        11 Cases to a case under chapter 7 of the Bankruptcy Code, (vi) the date
                        the Bankruptcy Court dismisses any of the Chapter 11 Cases, (vii) the
                        closing of any sale of assets under section 363 of the U.S. Bankruptcy
                        Code, which when taken together with all other sales of assets since the
                        Closing Date, constitutes a sale of all or substantially all of the assets of
                        the Loan Parties, (viii) the date an order is entered in any Bankruptcy Case
                        appointing a chapter 11 trustee or examiner with enlarged powers, (ix) the
                        date on which the Debtors consent to the standing of any party, including
                        a Committee (as defined below) to pursue any claim or cause of action
                        belonging to the Debtors or their estates, including, without limitation, any
                        Challenge (as defined below), and (x) the date on which a Challenge
                        Proceeding (as defined below) is commenced by any party, including the
                        Debtors or a Committee (each, a “DIP Termination Event” and the earliest
                        of any such date, the “DIP Termination Date”). Principal of, and accrued
                        interest on, the DIP Loans and all other amounts owing to the DIP Lenders
                        under the DIP Facility shall be due and payable in cash on the DIP
                        Termination Date.

                        The occurrence of the DIP Termination Date shall terminate the ability of
                        the Borrowers to borrow the Initial Draw or the Final Draw and shall
                        terminate the DIP Commitments and any further obligation each DIP
                        Lender has to make any DIP Loans under the DIP Loan Documents.

  Budget:               The Budget shall consist of a 13-week operating budget setting forth all
                        forecasted receipts and disbursements on a weekly basis for such 13-week
                        period beginning as of the week of the Petition Date, broken down by
                        week, including the anticipated weekly uses of the DIP Proceeds and Cash
                        Collateral for such period, which shall include, among other things,
                        available cash, cash flow, trade payables and ordinary course expenses,
                        total expenses, fees and expenses relating to the DIP Facility, Adequate
                        Protection payments, fees and expenses related to the Chapter 11 Cases
                        (including professional fees), and working capital and other general

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                        corporate needs, which forecast shall be in form and substance satisfactory
                        to each of the DIP Lenders in their sole discretion (such Budget shall meet
                        the requirements described under, and be supplemented in the manner
                        required under, the “Financial Reporting Requirements” section below).

  Use of Proceeds:      Proceeds of the DIP Loans and Cash Collateral shall be used, in each case
                        subject to the Budget (including Permitted Variances (as defined below))
                        and the terms and conditions of the DIP Term Sheet, the Interim DIP Order,
                        the Final DIP Order, and the DIP Loan Documents, to (i) provide working
                        capital and for other general corporate purposes of the Debtors, (ii) fund
                        the costs of the administration of the Chapter 11 Cases (including
                        professional fees and expenses), and (iii) fund fees and other payments
                        contemplated in respect of the DIP Facility.

                        Without in any way limiting the foregoing, no DIP Collateral (as defined
                        below), Prepetition Collateral, DIP Loans, Cash Collateral, proceeds of
                        any of the foregoing, any portion of the Carve Out, or any other cash or
                        funds may be used, directly or indirectly, by any of the Debtors, any
                        official committee appointed in the Chapter 11 Cases (the “Committee”),
                        or any trustee or other estate representative appointed in the Chapter 11
                        Cases or any other person or entity (or to pay any professional fees,
                        disbursements, costs or expenses incurred in connection therewith): (a) to
                        object to, contest, prevent, hinder, delay, or interfere with, in any way, the
                        DIP Secured Parties’ or the Prepetition Secured Parties’ enforcement or
                        realization upon any of the DIP Collateral, Prepetition Collateral, or Cash
                        Collateral, following the occurrence and continuation of a DIP
                        Termination Event ; or (b) to investigate (including by way of
                        examinations or discovery proceedings, whether formal or informal),
                        prepare, assert, join, commence, support, or prosecute any action for any
                        claim, counter-claim, action, proceeding, application, motion, objection,
                        defense, or other contested matter seeking any order, judgment,
                        determination, or similar relief against, or adverse to the interests of, in any
                        capacity, against any of the Prepetition Secured Parties, DIP Agent, and
                        DIP Lenders, and each of their respective successors, assigns, affiliates,
                        parents, subsidiaries, partners, controlling persons, representatives, agents,
                        attorneys, advisors, financial advisors, consultants, professionals, officers,
                        directors, members, managers, shareholders, and employees, past, present
                        and future, and their respective heirs, predecessors, successors and assigns
                        (in each case, in their respective capacities as such) with respect to any
                        transaction, occurrence, omission, action, or other matter arising under, in
                        connection with, or related to the Interim DIP Order, the DIP Facility, the
                        DIP Loan Documents, the DIP Facility Obligations, the Prepetition Liens,
                        the Prepetition Secured Obligations, or the Prepetition Secured Documents
                        or the transactions contemplated therein or thereby, or any other matters
                        relating to the Debtors, including, without limitation, (A) any Avoidance
                        Actions (as defined below), (B) any so-called “lender liability” claims and
                        causes of action, (C) any claim or cause of action with respect to the
                        validity, enforceability, priority and extent of, or asserting any defense,
                        counterclaim, or offset to, the DIP Obligations, the DIP Superpriority
                        Claims, the DIP Liens, the DIP Loan Documents, the Adequate Protection
                        Liens, the Adequate Protection Claims, the Prepetition ABL Obligations,

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                        the Prepetition ABL Documents, the Prepetition ABL Liens, the
                        Prepetition Term Loan Documents, Prepetition Term Loan Liens, the
                        Welltower Master Lease Agreement, the Welltower Master Lease
                        Documents, the Welltower Master Lease Liens, the Omega Master Lease
                        Agreement, the Omega Master Lease Documents, or the Omega Master
                        Lease Liens, (D) any claim or cause of action seeking to challenge,
                        invalidate, modify, set aside, avoid, marshal, subordinate, or recharacterize
                        in whole or in part, the DIP Obligations, the DIP Liens, the DIP
                        Superpriority Claims, the DIP Collateral, the Prepetition ABL Obligations,
                        the Prepetition Collateral, the Adequate Protection Liens, and the
                        Adequate Protection Claims, or (E) any action seeking to modify any of
                        the rights, remedies, priorities, privileges, protections, and benefits granted
                        to any of the DIP Secured Parties hereunder or under any of the DIP Loan
                        Documents or the Prepetition Secured Parties hereunder or under any of
                        the Prepetition Secured Documents, as applicable (in each case, including,
                        without limitation, claims, proceedings, or actions that might prevent,
                        hinder, or delay any of the DIP Secured Parties, or the Prepetition Secured
                        Parties’ assertions, enforcements, realizations, or remedies on or against
                        the DIP Collateral or Prepetition Collateral in accordance with the
                        applicable DIP Loan Documents or Prepetition Secured Documents and
                        the Interim DIP Order and/or the Final DIP Order (as applicable));
                        provided, that (i) no more than $25,000 in the aggregate of the DIP
                        Collateral, the Carve Out or Cash Collateral, proceeds from the borrowings
                        under the DIP Facility or any other amounts, may be used for allowed fees
                        and expenses incurred solely by any Committee (if appointed) in
                        investigating, but not objecting to, challenging, litigating, opposing,
                        prosecuting, or seeking to subordinate or recharacterize the validity,
                        enforceability, perfection, and priority of the Prepetition Liens, the
                        Prepetition Secured Documents, the Adequate Protection Liens, or the
                        Adequate Protection Claims prior to the Challenge Deadline (as defined
                        below), (ii) no more than an additional $25,000 in the aggregate of the DIP
                        Collateral, the Carve Out or Cash Collateral, proceeds from the borrowings
                        under the DIP Facility or any other amounts, may be used for allowed fees
                        and expenses incurred solely by any Committee (if appointed) in
                        investigating the claims and/or liens of the WAX/MAO Term Lenders and
                        each of their respective officers, directors, controlling persons, employees,
                        agents, attorneys, affiliates, assigns, or successors of each of the foregoing
                        (collectively, the “WAX/MAO Investigation Parties”), and (iii) no DIP
                        Collateral (including Cash Collateral) or any proceeds thereof shall be used
                        to investigate, object to, challenge, litigate, oppose, or prosecute any cause
                        of action against the DIP Secured Parties (in their capacity as such),
                        including seeking to subordinate or recharacterize the validity,
                        enforceability, perfection, and priority of the DIP Liens, the DIP
                        Superpriority Claims, the DIP Loans, or the DIP Loan Documents. Except
                        to the extent expressly permitted by the terms of the DIP Loan Documents
                        and this Interim Order or any further order of this Court, none of the
                        Debtors, any Committee (if appointed), or any trustee or other estate
                        representative appointed in the Chapter 11 Cases or any other person or
                        entity may use or seek to use Cash Collateral or, to sell, or otherwise



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                           dispose of DIP Collateral or Prepetition Collateral, in each case, without
                           the consent of each of the DIP Lenders.

  Interest:                A per annum rate equal to 15%, with such interest payable monthly in
                           arrears in kind (i.e., by adding such outstanding interest to the aggregate
                           principal amount of the DIP Loans) on the monthly anniversary of the
                           Petition Date, calculated on the basis of the actual number of days elapsed
                           in a 365/366-day year; provided that any and all accrued and unpaid (in
                           cash) interest shall be due and payable in cash upon the DIP Termination
                           Date.

  Default Interest:        If an Event of Default under the DIP Loan Documents has occurred and is
                           continuing, the DIP Loans and all DIP Obligations will automatically bear
                           interest at an additional 2% per annum.

  Fees:                    Upfront Fee: Each DIP Lender shall receive an upfront fee, payable-in-
                           kind (i.e., by adding such fee to the aggregate principal amount of the DIP
                           Loans) equal to 2% of such DIP Lender’s DIP Commitment under the DIP
                           Facility, which shall be fully earned, non-refundable, and due and payable
                           upon the Closing Date.

                           Exit Fee: Each DIP Lender shall receive a payable-in-cash exit fee (the
                           “Exit Fee”) equal to 4% of such DIP Lender’s initial DIP Commitment,
                           which shall be fully earned and non-refundable on the Closing Date, and
                           payable on the DIP Termination Date; provided, however, if the DIP
                           Termination Date has occurred solely as a result of the occurrence and
                           continuation of an Event of Default under the DIP Loan Documents, then
                           the Exit Fee shall not be payable until the DIP Obligations have been
                           accelerated by the DIP Lenders.

  Voluntary Prepayments:   Voluntary prepayments of the DIP Loans shall be permitted at any time,
                           without premium or penalty.

  Mandatory                Subject to the senior rights of the ABL Lenders in Prepetition ABL
  Prepayments:             Collateral, the Prepetition Term Loan Lenders in Prepetition Term Loan
                           Collateral, the WELL/OHI Master Lease Secured Parties in WELL/OHI
                           Master Lease Collateral, and the Other Landlords in Other Landlord
                           Collateral, the following amounts shall be indefeasibly paid in cash in
                           satisfaction of the DIP Obligations within two (2) business days of receipt,
                           except as such amounts are set forth in the Budget and are necessary to
                           satisfy the expenditures set forth in the Budget:

                              i.   100% of the net proceeds of asset sales.

                             ii.   100% of the net proceeds of insurance and condemnation awards.

                            iii.   100% of the net proceeds of any debt issuance or equity issuance.

                            iv.    100% of proceeds of claims and causes of action.




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  Priority and Security     As security for all obligations of the Borrowers and the Guarantors to the
  under DIP Facility:       DIP Lenders under the DIP Facility, including, without limitation, all
                            principal and accrued interest, premiums (if any), costs, fees and expenses
                            or any other amounts due (collectively, the “DIP Obligations”), effective
                            and automatically perfected upon the date of the Interim DIP Order, and
                            without the necessity of the execution, recordation of filings by the Debtors
                            of mortgages, security agreements, control agreements, pledge
                            agreements, financing statements, or other similar documents, or the
                            possession or control by any DIP Lender of, or over, any DIP Collateral,
                            the following security interests and liens will be granted by the Debtors to
                            the DIP Lenders, subject only to the ABL Obligations, Prepetition ABL
                            Liens, ABL Adequate Protection, Prepetition Term Loan Obligations,
                            Prepetition Term Loan Liens, Prepetition Term Loan Adequate Protection,
                            WELL/OHI Master Lease Obligations, WELL/OHI Master Lease Liens,
                            WELL/OHI Master Lease Adequate Protection, Other Landlord Liens, the
                            Rochester Manor HUD Liens, HUD Lender Liens, payment of the Carve
                            Out to the extent provided for herein and the Permitted Liens (if any) (all
                            such liens and security interests granted to the DIP Lenders under the
                            Interim DIP Order and the DIP Loan Documents, the “DIP Liens,” and the
                            property subject to the DIP Liens, collectively, the “DIP Collateral”):

                              i.    First Lien on Unencumbered Property: Under section 364(c)(2) of
                                    the Bankruptcy Code, a valid, binding, continuing, enforceable,
                                    fully-perfected first priority senior security interest in and lien on
                                    all property of the Loan Parties, whether existing on the Petition
                                    Date or thereafter acquired, that, on or as of the Petition Date is
                                    not subject to valid, perfected and non-avoidable liens (or
                                    perfected after the Petition Date to the extent permitted by section
                                    546(b) of the Bankruptcy Code), including, but not limited to, all
                                    of the Loan Parties’ respective rights, title, or interest in and to the
                                    following assets to the extent unencumbered: cash and any
                                    investment of such cash, accounts, inventory, goods, contract
                                    rights, mineral rights, instruments, documents, chattel paper,
                                    patents, trademarks, copyrights and licenses therefor, accounts
                                    receivable, receivables and receivables records, general
                                    intangibles, payment intangibles, tax or other refunds, insurance
                                    proceeds, letters of credit, intercompany claims, contracts, owned
                                    real estate, real property leaseholds and proceeds therefrom,
                                    fixtures, deposit accounts, commercial tort claims, securities
                                    accounts, instruments, investment property, letter-of-credit rights,
                                    supporting obligations, vehicles, machinery and equipment, real
                                    property, all of the issued and outstanding capital stock of each
                                    Loan Party, other equity or ownership interests, including equity
                                    interests in subsidiaries and non-wholly-owned subsidiaries,
                                    beneficial interests in any trust, money, investment property,
                                    causes of action (including, for the avoidance of doubt, but subject
                                    to entry of the Final DIP Order, all proceeds of the Loan Parties’
                                    respective claims and causes of action under sections 502(d), 544,
                                    545, 547, 548, 549, 550, and 553 of the Bankruptcy Code and any
                                    other avoidance or similar action under the Bankruptcy Code or
                                    similar state law (the “Avoidance Actions”)), and all cash and non-

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                                cash proceeds, rents, products, substitutions, accessions, profits,
                                and supporting obligations of any of the collateral described
                                above, whether in existence on the Petition Date or thereafter
                                created, acquired, or arising and wherever located;

                          ii.   Priming Liens and Liens Junior to Certain Other Liens: Under
                                sections 364(c)(3) and 364(d)(1) of the Bankruptcy Code, a valid,
                                binding, continuing, enforceable, fully-perfected security interest
                                in and lien on all property of the Loan Parties (other than the
                                property described in clause (i) above, as to which the liens and
                                security interests in favor of the DIP Lenders will be as described
                                in such clause), whether existing on the Petition Date or thereafter
                                acquired including, but not limited to, all of the Loan Parties’
                                respective rights, title, or interest in and to the following assets:
                                cash and any investment of such cash, accounts, inventory, goods,
                                contract rights, mineral rights, instruments, documents, chattel
                                paper, patents, trademarks, copyrights and licenses therefor,
                                accounts receivable, receivables and receivables records, general
                                intangibles, payment intangibles, tax or other refunds, insurance
                                proceeds, letters of credit, intercompany claims, contracts, owned
                                real estate, real property leaseholds and proceeds therefrom,
                                fixtures, deposit accounts, commercial tort claims, securities
                                accounts, instruments, investment property, letter-of-credit rights,
                                supporting obligations, vehicles, machinery and equipment, real
                                property, all of the issued and outstanding capital stock of each
                                Loan Party, other equity or ownership interests, including equity
                                interests in subsidiaries and non-wholly-owned subsidiaries,
                                beneficial interests in any trust, money, investment property,
                                causes of action (including, for the avoidance of doubt, but subject
                                to entry of the Final DIP Order, all proceeds of Avoidance
                                Actions), and all cash and non-cash proceeds, rents, products,
                                substitutions, accessions, profits, and supporting obligations of
                                any of the collateral described above, whether in existence on the
                                Petition Date or thereafter created, acquired, or arising and
                                wherever located, which DIP Liens shall be (A) subject only to the
                                Carve Out, the ABL Obligations, Prepetition ABL Liens, ABL
                                Adequate Protection, Prepetition Term Loan Obligations,
                                Prepetition Term Loan Liens, Prepetition Term Loan Adequate
                                Protection, WELL/OHI Master Lease Obligations, WELL/OHI
                                Master Lease Liens, WELL/OHI Master Lease Adequate
                                Protection, Other Landlord Liens, the Rochester Manor HUD
                                Liens and HUD Lender Liens (in each case, to the extent such liens
                                and security interests are valid, perfected and nonavoidable as of
                                the Petition Date, the “Permitted Liens”), and (B) senior to any and
                                all other liens and security interests in the DIP Collateral.

                        Except to the extent expressly permitted hereunder (including, for the
                        avoidance of doubt, the Prepetition ABL Liens, Prepetition Term Loan
                        Liens, WELL/OHI Master Lease Liens, Other Landlord Liens, the
                        Rochester Manor HUD Liens, HUD Lender Liens, and adequate protection
                        with respect to the foregoing, as applicable), subject to the Carve Out, the

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                        DIP Liens and the DIP Superpriority Claims (as defined below) shall not
                        be made subject to or pari passu with (a) any lien, security interest, or
                        claim heretofore or hereinafter granted in any of the Chapter 11 Cases or
                        any successor cases, including any subsequently converted Chapter 11
                        Case of the Debtor to a case under chapter 7 of the Bankruptcy Code and
                        any lien or security interest granted in favor of any federal, state,
                        municipal, or other governmental unit (including any regulatory body),
                        commission, board, or court for any liability of the Debtors, (b) any lien or
                        security interest that is avoided or preserved for the benefit of the Debtors
                        and their estates under section 551 of the Bankruptcy Code or otherwise,
                        (c) any intercompany or affiliate claim, lien, or security interest of the
                        Debtors or their affiliates, or (d) any other lien, security interest, or claim
                        arising under section 363 or 364 of the Bankruptcy Code granted on or
                        after the date hereof.

  Superpriority DIP     All DIP Claims shall be entitled to the benefits of section 364(c)(1) of the
  Claims:               Bankruptcy Code, having superpriority over any and all administrative
                        expenses of the kind that are specified in sections 105, 326, 328, 330, 331,
                        503(b), 506(c), 507(a), 507(b), 546(c), 726, 1114 or any other provisions
                        of the Bankruptcy Code, senior in priority to all other claims or
                        administrative expenses, subject only to (a) the Carve Out, (b) the
                        Prepetition ABL Obligations, (c) the ABL Adequate Protection, (d) the
                        Prepetition Term Loan Obligations, (e) the Prepetition Term Loan
                        Adequate Protection, (f) the WELL/OHI Master Lease Obligations, and
                        (g) the WELL/OHI Master Lease Adequate Protection.

  Carve Out:            “Carve Out” means an amount equal to the sum of the following: (i) all
                        fees required to be paid to the Clerk of the Bankruptcy Court and to the
                        Office of the United States Trustee under 28 U.S.C. § 1930(a) plus interest
                        under 31 U.S.C. § 3717 (without regard to the notice set forth in clause (iii)
                        below); (ii) all reasonable fees and expenses incurred by a trustee under
                        section 726(b) of the Bankruptcy Code in an aggregate amount not to
                        exceed $50,000 (without regard to the notice set forth in clause (iii) below);
                        (iii) to the extent permitted by the Budget (subject to an allowed variance
                        of 15% of the amount budgeted for each respective Estate Professional)
                        and allowed by the Bankruptcy Court at any time, whether by Interim DIP
                        Order, procedural order, final order or otherwise, all accrued and unpaid
                        fees, disbursements, costs and expenses incurred by persons or firms
                        retained by the Debtors under section 327, 328 or 363 of the Bankruptcy
                        Code (the “Debtor Professionals”) and all accrued unpaid fees,
                        disbursements, costs and expenses incurred by the Committee (if any)
                        under section 328 and 1103 of the Bankruptcy Code (the “Committee
                        Professionals,” together with the Debtor Professionals, the “Estate
                        Professionals,” and such Estate Professional fees, the “Allowed
                        Professional Fees”), at any time before or on the first business day
                        following delivery by the DIP Lenders of a Carve Out Trigger Notice (as
                        defined below), whether allowed by the Bankruptcy Court prior to or after
                        delivery of a Carve Out Trigger Notice; and (iv) Allowed Professional
                        Fees of Estate Professionals in an aggregate amount not to exceed
                        $750,000 incurred after the first business day following delivery by the
                        DIP Lenders of a Carve Out Trigger Notice, to the extent consistent with

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                            the Budget and allowed at any time, whether by Interim DIP Order,
                            procedural order, final order, or otherwise (the amounts set forth in this
                            clause (iv), the “Post-Carve Out Trigger Notice Cap”); provided, however,
                            nothing herein shall be construed to impair the ability of any party to object
                            to any fees, expenses, reimbursement or compensation sought by any such
                            professionals or any other person or entity. For purposes of the foregoing,
                            “Carve Out Trigger Notice” shall mean a written notice (which may be
                            delivered by e-mail (or other electronic means)) by the DIP Lenders to the
                            Debtors and their counsel, the United States Trustee, and lead counsel to
                            any Committee appointed in the Chapter 11 Cases, which notice may be
                            delivered following the occurrence of an Event of Default, stating that the
                            Post-Carve Out Trigger Notice Cap has been invoked.

                            For the avoidance of doubt and notwithstanding anything to the contrary
                            herein, the Carve Out shall be senior to all liens and claims securing the
                            DIP Facility, and all other forms of adequate protection, liens, or claims
                            securing the DIP Obligations or the Prepetition Secured Obligations.

  Investigation Rights:     The Committee (to the extent appointed) and any other party in interest
                            with proper standing granted by the Bankruptcy Court, shall have the lesser
                            of (x) with respect to the Committee, sixty (60) calendar days from the date
                            of its appointment or (y) to the extent a Committee is not appointed, any
                            party in interest (other than the Debtors) shall have a maximum of seventy-
                            five (75) calendar days from the entry of the Interim DIP Order for any
                            other party in interest with requisite standing (the “Investigation Period”)
                            to investigate and commence an adversary proceeding or contested matter,
                            as required by the applicable Federal Rules of Bankruptcy Procedure, and
                            challenge (each, a “Challenge”) the findings, the Debtors’ stipulations, or
                            any other stipulations contained in the Interim DIP Order and the Final DIP
                            Order relating to the Prepetition Loan Documents and WELL/OHI Master
                            Lease Documents, including, without limitation, any challenge to the
                            validity, priority or enforceability of the liens securing the Prepetition
                            Secured Obligations of the WELL/OHI Term Lenders and WELL/OHI
                            Master Lease Secured Parties or their affiliates, or to assert any claim or
                            cause of action against the WELL/OHI Term Lenders and WELL/OHI
                            Master Lease Secured Parties or their affiliates arising under or in
                            connection with their respective Prepetition Loan Documents, WELL/OHI
                            Master Lease Documents, or their respective Prepetition Secured
                            Obligations, as the case may be, whether in the nature of a setoff,
                            counterclaim or defense of Prepetition Secured Obligations, or otherwise.
                            Notwithstanding anything else contained in the DIP Loan Documents
                            (including this DIP Term Sheet), the Investigation Period will not limit the
                            ability of any party to challenge the liens or secured claims held by, or to
                            assert claims against, the WAX/MAO Term Lenders. The Investigation
                            Period may only be extended with the prior written consent of the
                            applicable Prepetition Secured Party or under an order of the Bankruptcy
                            Court. Except to the extent asserted in an adversary proceeding or
                            contested matter filed during the Investigation Period, upon the expiration
                            of such applicable Investigation Period (to the extent not otherwise waived
                            or barred), (i) any and all Challenges or potential challenges shall be
                            deemed to be forever waived and barred; (ii) all of the agreements,

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                              waivers, releases, affirmations, acknowledgements and stipulations
                              contained in the Interim DIP Order and Final DIP Order shall be
                              irrevocably and forever binding on the Debtors, the Committee and all
                              parties-in-interest and any and all successors-in- interest as to any of the
                              foregoing, including any chapter 7 trustee, without further action by any
                              party or the Bankruptcy Court; (iii) the Prepetition Secured Obligations
                              owing to the WELL/OHI Term Lenders and WELL/OHI Master Lease
                              Secured Parties or their affiliates shall be deemed to be finally allowed and
                              the Prepetition Liens securing such claims shall be deemed to constitute
                              valid, binding and enforceable encumbrances, and not subject to avoidance
                              under the Bankruptcy Code or applicable non-bankruptcy law; and (iv) the
                              Debtors shall be deemed to have released, waived, and discharged the
                              Released Parties from any and all claims and causes of action arising out
                              of, based upon or related to, in whole or in part, the Prepetition Secured
                              Obligations. Notwithstanding anything to the contrary herein: (x) if any
                              Challenge is timely commenced with the Bankruptcy Court (such
                              commencement, a “Challenge Proceeding”), the stipulations contained in
                              the Interim DIP Order and the Final DIP Order shall nonetheless remain
                              binding on all other parties-in-interest and preclusive except to the extent
                              that such stipulations are expressly and successfully challenged in such
                              Challenge; and (y) the Released Parties reserve all of their rights to contest
                              on any grounds any Challenge. For the avoidance of doubt, the Interim
                              DIP Order and the Final DIP Order shall include language that the
                              investigation rights afforded to the Committee will not constitute the
                              Debtors’, the Prepetition Secured Parties’ or DIP Lenders’ recognition,
                              consent, or agreement not to object to, the Committee’s standing to assert
                              any claim or cause of action.

  Conditions Precedent to     The DIP Lenders’ obligations to fund the Initial Draw will be subject to
  Initial Draw:               each of the following conditions precedent satisfied to each of the DIP
                              Lenders’ sole discretion:

                                 i.   All “first day” motions, including those related to the DIP Facility,
                                      filed by the Debtors and related interim and final orders, as
                                      applicable, entered within 3 business days of the Petition Date by
                                      the Bankruptcy Court in the Chapter 11 Cases shall be in form and
                                      substance reasonably satisfactory to each of the DIP Lenders.

                                ii.   The DIP Lenders shall have received a Budget in form and
                                      substance satisfactory to each of the DIP Lenders. Entry by the
                                      Bankruptcy Court of the Interim DIP Order authorizing the
                                      secured financing under the DIP Facility on the terms and
                                      conditions contemplated by this DIP Term Sheet, authorizing the
                                      Debtors’ use of DIP Collateral subject to the terms provided
                                      herein, and otherwise on terms reasonably acceptable to each of
                                      the DIP Lenders no later than 3 business days after the Petition
                                      Date, and such Interim DIP Order shall be in full force and effect
                                      and not have been vacated, reversed, stayed, modified or amended
                                      (except in the case of a modification or amendment as consented
                                      to by each of the DIP Lenders, in their sole discretion) and shall
                                      not be subject to a stay pending appeal or motion for leave to

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                                      appeal or other proceeding to set aside any such order or the
                                      challenge to the relief provided for in it, except as consented to by
                                      each of the DIP Lenders.

                               iii.   Entry by the Bankruptcy Court of an order authorizing, on an
                                      interim basis, the use of Cash Collateral and providing for
                                      adequate protection in favor of the Prepetition Secured Parties on
                                      terms satisfactory to the Prepetition Secured Parties.

                               iv.    The DIP Lenders shall have a valid and perfected lien on and
                                      security interest in the DIP Collateral of the Debtors on the basis
                                      and with the priority set forth herein.

                                v.    All out-of-pocket costs, fees and expenses required to be paid to
                                      the DIP Lenders under this DIP Term Sheet, the DIP Loan
                                      Documents or the Interim DIP Order shall have been paid.

                               vi.    No default or Event of Default shall have occurred, and shall be
                                      continuing, under the DIP Term Sheet immediately prior to the
                                      funding of the DIP Loans or would result from such borrowing of
                                      the DIP Loans.

                               vii.   The Borrowers shall have delivered to the DIP Lenders a
                                      customary borrowing notice.

                              viii.   Other than the Chapter 11 Cases, as stayed upon the
                                      commencement of the Chapter 11 Cases, or as disclosed in writing
                                      to the DIP Lenders prior to the Petition Date, there shall exist no
                                      action, suit, investigation, litigation or proceeding pending or
                                      threatened in writing in any court or before any arbitrator or
                                      governmental authority that (a) would reasonably be expected to
                                      result in a material adverse effect, or (b) restrains, prevents or
                                      purports to affect materially adversely the legality, validity or
                                      enforceability of the DIP Facility or the consummation of the
                                      transactions contemplated thereby.

                               ix.    The making of the Initial Draw shall not violate any requirement
                                      of law and shall not be enjoined, temporarily, preliminarily, or
                                      permanently.

  Conditions Precedent to     The DIP Lenders’ obligation to fund the Final Draw will be subject to each
  Final Draw:                 of the following conditions precedent:

                                 i.   All documentation relating to the DIP Facility, including the DIP
                                      Credit Agreement, shall be in form and substance satisfactory to
                                      each of the DIP Lenders and shall have been duly executed and
                                      delivered by all parties thereto.

                                ii.   The Interim DIP Order, as entered by the Bankruptcy Court, shall
                                      not have been reversed, modified, amended, stayed or vacated,



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                                without the consent of each of the DIP Lenders, and the Borrowers
                                shall be in compliance in all respects with the Interim DIP Order.

                         iii.   The Bankruptcy Court shall have entered the Final DIP Order
                                within thirty-five (35) calendar days following the Petition Date,
                                in form and substance consistent with the terms and conditions set
                                forth herein, authorizing the Debtors’ use of DIP Collateral subject
                                to the terms provided herein, and otherwise satisfactory to each of
                                the DIP Lenders, which Final DIP Order shall include, an updated
                                Budget (as necessary) as an exhibit thereto, entered on notice to
                                such parties as may be satisfactory to each of the DIP Lenders and
                                otherwise as required by the Bankruptcy Code, the Federal Rules
                                of Bankruptcy Procedure and the Local Bankruptcy Rules of the
                                Bankruptcy Court, authorizing and approving, on a final basis,
                                (a) the DIP Facility and the transactions contemplated thereby,
                                including, without limitation, the granting of the superpriority
                                status, security interests and priming liens, and the payment of all
                                fees, referred to herein; (b) the use of cash collateral and providing
                                for adequate protection in favor of the Prepetition Secured Parties
                                as and to the extent provided herein; and (c) reflecting such other
                                terms and conditions that are mutually satisfactory to each of the
                                DIP Lenders and the Debtors, in their respective discretion, in each
                                case, on the terms and conditions set forth herein; which Final DIP
                                Order shall be in full force and effect, shall not have been reversed,
                                vacated or stayed and shall not have been amended, supplemented
                                or otherwise modified without the prior written consent of each of
                                the DIP Lenders.

                         iv.    The DIP Lenders shall have received a borrowing notice from the
                                Borrowers at least two (2) business days prior to the anticipated
                                date of the Final Draw.

                          v.    The representations and warranties of the Loan Parties under the
                                DIP Loan Documents shall be true and correct in all material
                                respects (or in the case of representations and warranties with a
                                “materiality” qualifier, true and correct in all respects).

                         vi.    No default or “Event of Default” shall have occurred, and shall be
                                continuing, under the DIP Loan Documents immediately prior to
                                the funding of the DIP Loans or would result from such borrowing
                                of the DIP Loans.

                         vii.   The Debtors shall have made all payments when due (without
                                taking into account any stay or other relief provided by
                                commencement of the Chapter 11 Cases) of postpetition Rents (as
                                defined in the WELL/OHI Master Lease Documents) on account
                                of the WELL/OHI Master Lease Obligations, unless otherwise
                                waived by the prior written consent (email being sufficient) of the
                                applicable WELL/OHI Master Lease Landlord, and shall have
                                made payment when due (without taking into account any stay or
                                other relief provided by commencement of the Chapter 11 Cases)

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                                             of all other postpetition rents, unless otherwise waived by the prior
                                             written consent (email being sufficient) of the applicable
                                             WELL/OHI Master Lease Landlord; and there shall not have
                                             occurred and remain ongoing any other “Event of Default” under
                                             the WELL/OHI Master Lease Documents (other than a default of
                                             the type described in section 365(b)(2) of the Bankruptcy Code)
                                             unless otherwise waived by the prior written consent (email being
                                             sufficient) of the applicable WELL/OHI Master Lease Landlord.

                                    viii.    The Debtors shall have made all payments when due (without
                                             taking into account any stay or other relief provided by
                                             commencement of the Chapter 11 Cases) of postpetition Rents (as
                                             defined therein) on account of the obligations under the VSR
                                             Master Leases 2, unless otherwise waived by the prior written
                                             consent (email being sufficient) of the applicable Landlord under
                                             the VSR Master Leases, and shall have made payment when due
                                             (without taking into account any stay or other relief provided by
                                             commencement of the Chapter 11 Cases) of all other postpetition
                                             rents, unless otherwise waived by the prior written consent (email
                                             being sufficient) of the applicable Landlord under the VSR Master
                                             Leases; and there shall not have occurred and remain ongoing any
                                             other “Event of Default” under the VSR Master Leases (other than
                                             a default of the type described in section 365(b)(2) of the
                                             Bankruptcy Code) unless otherwise waived by the prior written
                                             consent (email being sufficient) of the applicable Landlord under
                                             the VSR Master Leases.

                                      ix.    The Debtors shall have made all payments when due (without
                                             taking into account any stay or other relief provided by
                                             commencement of the Chapter 11 Cases) of postpetition Rents (as
                                             defined therein) on account of the obligations under the PA 22
                                             Sub-Subleases, 3 unless otherwise waived by the prior written

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     “VSR Master Leases” shall mean, collectively, together with any documents related thereto, (i) that certain
     Amended and Restated Master Lease Agreement No. 5 dated as of February 2, 2015 (as otherwise amended,
     supplemented, or otherwise modified from time to time), and (ii) that certain HUD Facilities Master Lease dated as
     of March 29, 2012 (as otherwise amended, supplemented, or otherwise modified from time to time), by and among
     those entities identified as “Landlord” thereunder and the Debtor entities identified as “Tenant” thereunder.
 3
     “PA 22 Sub-Subleases” shall mean, collectively, together with any documents related thereto, (i) that certain
     Assignment and Assumption of Lease, dated as of January 1, 2025 (as otherwise amended, supplemented, or
     otherwise modified from time to time), by and among Integra WIP Tenant LLC, a Delaware limited liability
     company, as assignor, and 1700 Market Street Opco LLC, 940 Walnut Bottom Road Opco LLC, 1070 Stouffer
     Avenue Opco LLC, 100 West Queen Street Opco LLC, 2600 Northampton Street Opco LLC, 3430 Huntingdon
     Pike Opco LLC, 1008 Thompson Street Opco LLC, 600 West Valley Forge Road Opco LLC, 100 Abbeyville Road
     Opco LLC, 2125 Elizabeth Avenue Opco LLC, 900 Tuck Street Opco LLC, 640 Bethlehem Pike Opco LLC, 724
     North Charlotte St Opco LLC, 3000 Windmill Road Opco LLC, 901 Court Street Opco LLC, 115 South Providence
     Road Opco LLC, 425 Buttonwood Street Opco LLC, 200 Pauline Drive Opco LLC, 2400 Kingston Court Opco
     LLC, 1770 Barley Road Opco LLC, 2021 Westgate Drive Opco LLC, 2029 Westgate Drive Opco LLC, as assignees,
     and Genesis PM PA Operations LLC, as sublessee, (ii) that certain Amended and Restated Sub-Sublease
     Agreement, dated as of January 1, 2025 but effective as of December 22, 2022 (as otherwise amended,
     supplemented, or otherwise modified from time to time), by and between Genesis PM PA Operations LLC, a
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                                             consent (email being sufficient) of the applicable Landlord under
                                             the PA 22 Sub-Subleases, and shall have made payment when due
                                             (without taking into account any stay or other relief provided by
                                             commencement of the Chapter 11 Cases) of all other postpetition
                                             rents, unless otherwise waived by the prior written consent (email
                                             being sufficient) of the applicable Landlord under the PA 22 Sub-
                                             Subleases; and there shall not have occurred and remain ongoing
                                             any other “Event of Default” under the PA 22 Sub-Subleases
                                             (other than a default of the type described in section 365(b)(2) of
                                             the Bankruptcy Code) unless otherwise waived by the prior written
                                             consent (email being sufficient) of the applicable Landlord under
                                             the PA 22 Sub-Subleases.

                                      x.     There shall not have occurred and remain ongoing any event of
                                             default under the PA 22 MOTAs 4 (other than a default of the type
                                             described in section 365(b)(2) of the Bankruptcy Code) unless
                                             otherwise waived by the prior written consent (email being



     Delaware limited liability company, as sub-sublessor, and 2021 Westgate Drive Operations, LLC, 2029 Westgate
     Drive Operations LLC, 1700 Market Street Operations LLC, 940 Walnut Bottom Road Operations LLC, 1070
     Stouffer Avenue Operations LLC, 2600 Northampton Street Operations LLC, 3430 Huntington Pike Operations
     LLC, 1008 Thompson Street Operations LLC, 600 W. Valley Forge Road Operations LLC, 100 Abbeyville Road
     Operations LLC, 2125 Elizabeth Avenue Operations LLC, 900 Tuck Street Operations LLC, 640 Bethlehem Pike
     Operations LLC, 724 N. Charlotte Street Operations LLC, 3000 Windmill Road Operations LLC, 800 Court Street
     Circle Operations LLC, 115 S. Providence Road Operations LLC, 425 Buttonwood Street Operations LLC, 200
     Pauline Drive Operations LLC, 2400 Kingston Court Operations LLC, and 1770 Barley Road Operations LLC, as
     sub-sublesses, and (iii) that certain Sublease Agreement dated as of December 22, 2022, by and between Integra
     WIP Tenant LLC, a Delaware limited liability company, as sublessor, and Genesis PM PA Operations LLC, a
     Delaware limited liability company, as sublessee, as amended by that certain First Amendment to Sublease
     Agreement dated as of November 1, 2024, as further amended by that certain Lease Division and Second
     Amendment to Sublease Agreement dated as of January 1, 2025 (as otherwise amended, supplemented, or otherwise
     modified from time to time).
 4
     “PA 22 MOTAs” shall mean, collectively, together with any documents related thereto, that certain Operations
     Transfer Agreement, dated as of January 1, 2025, by and among 2021 Westgate Drive Operations, LLC, 2029
     Westgate Drive Operations LLC, 1700 Market Street Operations LLC, 940 Walnut Bottom Road Operations LLC,
     1070 Stouffer Avenue Operations LLC, 2600 Northampton Street Operations LLC, 3430 Huntington Pike
     Operations LLC, 100 W Queen Street Operations LLC, 1008 Thompson Street Operations LLC, 600 W. Valley
     Forge Road Operations LLC, 100 Abbeyville Road Operations LLC, 2125 Elizabeth Avenue Operations LLC, 900
     Tuck Street Operations LLC, 640 Bethlehem Pike Operations LLC, 724 N. Charlotte Street Operations LLC, 3000
     Windmill Road Operations LLC, 800 Court Street Circle Operations LLC, 115 S. Providence Road Operations
     LLC, 425 Buttonwood Street Operations LLC, 200 Pauline Drive Operations LLC, 2400 Kingston Court Operations
     LLC, and 1770 Barley Road Operations LLC, as existing operators, and 1700 Market Street Opco LLC, 940 Walnut
     Bottom Road Opco LLC, 1070 Stouffer Avenue Opco LLC, 100 West Queen Street Opco LLC, 2600 Northampton
     Street Opco LLC, 3430 Huntingdon Pike Opco LLC, 1008 Thompson Street Opco LLC, 600 West Valley Forge
     Road Opco LLC, 100 Abbeyville Road Opco LLC, 2125 Elizabeth Avenue Opco LLC, 900 Tuck Street Opco LLC,
     640 Bethlehem Pike Opco LLC, 724 North Charlotte St Opco LLC, 3000 Windmill Road Opco LLC, 901 Court
     Street Opco LLC, 115 South Providence Road Opco LLC, 425 Buttonwood Street Opco LLC, 200 Pauline Drive
     Opco LLC, 2400 Kingston Court Opco LLC, 1770 Barley Road Opco LLC, 2021 Westgate Drive Opco LLC, 2029
     Westgate Drive Opco LLC, as new operators, and, for limited purposes, Genesis Healthcare, Inc. and Altira Health
     Group LLC.



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                                sufficient) of the applicable counterparties under the PA 22
                                MOTAs.

                         xi.    The Debtors shall have made all payments when due (without
                                taking into account any stay or other relief provided by
                                commencement of the Chapter 11 Cases) of postpetition Rents (as
                                defined therein) on account of the obligations under the JV Leases,
                                unless otherwise waived by the prior written consent (email being
                                sufficient) of the applicable Landlord under the JV Leases, and
                                shall have made payment when due (without taking into account
                                any stay or other relief provided by commencement of the Chapter
                                11 Cases) of all other postpetition rents, unless otherwise waived
                                by the prior written consent (email being sufficient) of the
                                applicable Landlord under the JV Leases; and there shall not have
                                occurred and remain ongoing any other “Event of Default” under
                                the JV Leases (other than a default of the type described in section
                                365(b)(2) of the Bankruptcy Code) unless otherwise waived by the
                                prior written consent (email being sufficient) of the applicable
                                Landlord under the JV Leases.

                         xii.   The Debtors have delivered to the DIP Lenders the most recent
                                Budget and such other information as requested by the DIP
                                Lenders, in form and substance satisfactory to each of the DIP
                                Lenders.

                        xiii.   The Debtors are in compliance with the Milestones as of that date.

                        xiv.    Since the Petition Date, other than the Chapter 11 Cases, there
                                shall not have occurred or there shall not exist any event,
                                condition, circumstance or contingency that, individually, or in the
                                aggregate, (a) has had or could reasonably be expected to have a
                                material adverse effect on the business, operations, properties,
                                assets, performance or financial condition of the Loan Parties
                                taken as a whole; (b) has resulted in, or could reasonably be
                                expected to result in, a material adverse effect on the validity or
                                enforceability of, or the rights, remedies or benefits available to
                                the DIP Lenders; or (c) has had or could reasonably be expected
                                to have, a material adverse effect on the ability of the Loan Parties
                                to perform their obligations under any DIP Document.

                         xv.    All reasonable and documented costs, fees, expenses (including,
                                without limitation, legal fees and expenses) incurred in connection
                                negotiating, documenting, approving, administering, monitoring
                                or enforcing any rights under the DIP Facility set forth in the DIP
                                Loan Documents or otherwise to be paid to the DIP Lenders shall
                                have been paid when due.

                        xvi.    The amounts requested by the Borrowers shall be used for an
                                authorized purpose as defined under “Use of Proceeds” above and




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                                     in accordance with the Budget, subject to a Permitted Variance (as
                                     defined below).

                             xvii.   The Loan Parties are in compliance with (a) the Interim DIP Order;
                                     (b) the Final DIP Order; and (c) the Budget (subject to Permitted
                                     Variances).

  Credit Bidding:            Subject to entry of the Final DIP Order, the DIP Agent shall have the
                             unqualified right to credit bid any or all of the obligations under the DIP
                             Facility in connection with any disposition of DIP Collateral, including the
                             Transaction.

  Admissions/Stipulations:   The Borrowers shall make customary admissions and stipulations with
                             respect to the amount of the Prepetition Secured Obligations, the validity,
                             perfection, enforceability, non-avoidability, and priority of the Prepetition
                             Liens, and the value of the Prepetition Collateral.

  Representations and        Customary and appropriate for financings of this type.
  Warranties:

  Affirmative Covenants:     Customary for transactions of this type (and to include reporting covenants
                             (including with respect to the Budgets and Permitted Variances) and
                             consistent with the Prepetition Term Loan Agreement, the delivery of all
                             material pleadings, motions and other material documents filed with the
                             Bankruptcy Court on behalf of the Debtors in the Chapter 11 Cases to the
                             DIP Lenders and their counsel, to the extent practical under the
                             circumstances, update meetings and/or calls with the DIP Lenders as
                             reasonably requested).

  Negative Covenants:        Customary for transactions of this type (and to include limitations on
                             indebtedness, liens, investments, acquisitions, restricted payments and
                             dispositions of assets) and consistent with the Prepetition Term Loan
                             Agreement.

  Financial Reporting        Subject to the satisfaction of the conditions precedent set forth below, use
  Requirements:              of cash shall be subject to a 13-week cash flow forecast commencing on
                             the Petition Date, which forecast shall include an itemized list of expenses
                             to be incurred during each week along with information sufficient to denote
                             the purpose of such expenses and shall be in form and substance acceptable
                             to each of the DIP Lenders in their sole discretion (the “Budget,” a copy of
                             the initial Budget is attached as Exhibit A to this DIP Term Sheet) and
                             shall, at a minimum, contain the categories set forth in the Budget attached
                             as Exhibit A (each, a “Reporting Category”).

                             By no later than 5:00 pm ET on the fourth business day of each week,
                             commencing with the fourth full week after the Petition Date (each, a
                             “Reporting Date”), Borrowers shall deliver to the DIP Lenders a variance
                             report (each, a “Variance Report”) showing comparisons of actual results
                             for each line item against such line item in the Budget. Each Variance
                             Report shall indicate whether there are any adverse variances that exceed
                             the allowed variances, which means, in each case measured on a

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                        cumulative basis for the prior four-week period and for the period from the
                        Petition Date, (x) up to 15% in the aggregate for all “Total Operating
                        Disbursements,” excluding, for the avoidance of doubt, “Non-Operating
                        Disbursements” and “Restructuring Disbursements” and (y) up to 15% in
                        the aggregate for all “Total Receipts” (all as defined in the Budget) (each,
                        a “Permitted Variance”).

                        If necessary, the Debtors may provide to the DIP Lenders an updated 13-
                        week cash flow forecast, containing line items of sufficient detail to reflect
                        the Debtors’ projected cash receipts and disbursements for such 13-week
                        period on a weekly basis (the “Updated 13-Week Forecast”). Such
                        Updated 13-Week Forecast shall be acceptable to each of the DIP Lenders
                        in their sole discretion, and upon acceptance by each of the DIP Lenders,
                        such Updated 13-Week Forecast shall become the new Budget
                        commencing on such week, and promptly after ethe DIP Lenders approve
                        the new Budget, the Debtors shall deliver the new Budget, together with
                        any amendments or modifications thereto approved by each of the DIP
                        Lenders. In the event that the DIP Lenders and the Debtors do not agree
                        to an updated Budget, the Budget shall be the then-existing Budget or such
                        Budget as may be approved by the Bankruptcy Court after a hearing.

  Chapter 11 Cases      The obligations of the DIP Lenders to advance the DIP Loans shall be
  Milestones:           subject to the Debtors satisfying, or causing the satisfaction of, the
                        milestones listed below (collectively, the “Milestones”) by the specified or
                        by such later date as each of the DIP Lenders may agree in writing (email
                        being sufficient):

                           i.   No later than three (3) days after the Petition Date, the Bankruptcy
                                Court shall have entered the Interim DIP Order.

                          ii.   No later than ten (10) days after the Petition Date, the Debtors shall
                                have filed a motion for approval of procedures for the marketing
                                and sale of some or all the Debtors’ assets under Bankruptcy Code
                                section 363 (the “Transaction”), which motion shall be in form and
                                substance acceptable to each of the DIP Lenders.

                         iii.   No later than twenty-one (21) days after entry of the Interim DIP
                                Order, all documentation relating to the DIP Facility, including the
                                DIP Credit Agreement, shall be in form and substance satisfactory
                                to each of the DIP Lenders and shall have been duly executed and
                                delivered by all parties thereto.

                         iv.    No later than thirty-five (35) days after the Petition Date, the
                                Bankruptcy Court shall have entered an order granting the
                                Debtors’ motion for approval of procedures for the marketing and
                                Transaction (the “Bidding Procedures Order”), which order shall
                                be in form and substance acceptable to each of the DIP Lenders.

                          v.    No later than thirty-five (35) days after the Petition Date, the
                                Bankruptcy Court shall have entered the Final DIP Order.



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                          vi.    No later than forty (40) days after the Petition Date, the
                                 Bankruptcy Court shall have entered an order approving the
                                 Debtors rejection of certain leases mutually agreed between the
                                 Debtors and the DIP Lenders, which order shall be in form and
                                 substance acceptable to each of the DIP Lenders.

                          vii.   Any auction to select a winning bidder under the Bidding
                                 Procedures Order shall be conducted no later than ninety-five (95)
                                 days following the Petition Date.

                         viii.   No later than one hundred (100) days after the Petition Date, the
                                 Bankruptcy Court shall have entered an order approving the
                                 Transaction by approving the sale of substantially all the Debtors’
                                 assets under section 363 of the Bankruptcy Code, which order shall
                                 be in form and substance acceptable to each of the DIP Lenders.

                          ix.    No later than 210 days after the Petition Date, the Transaction shall
                                 have been consummated.

  Events of Default:     “Events of Default” shall include the following and any other defaults
                         specified as such in the DIP Orders, each of which may only be waived in
                         writing by each of the DIP Lenders:

                            i.   failure to make payments including adequate protection payments
                                 when due;

                           ii.   noncompliance with covenants (subject to customary cure periods
                                 as may be agreed with respect to certain covenants);

                          iii.   breaches of representations and warranties in any material respect,
                                 in either case, under the DIP Loan Documents;

                          iv.    invalidity of any material provision of the DIP Loan Documents;

                           v.    change in ownership or control;

                          vi.    filing of a Plan by the Debtors that does not propose to indefeasibly
                                 repay the DIP Obligations, to the extent outstanding, in full in cash
                                 on the Plan effective date, unless otherwise consented to in writing
                                 by each of the DIP Lenders prior to its filing;

                          vii.   any of the Debtors shall file a pleading seeking to vacate or modify
                                 the Interim DIP Order or the Final DIP Order over the objection of
                                 the DIP Lenders;

                         viii.   entry of an order without the prior written consent of each of the
                                 DIP Lenders amending, supplementing or otherwise modifying the
                                 Interim DIP Order or the Final DIP Order;

                          ix.    entry of an order without the express written consent of each of the
                                 DIP Lenders obtaining additional financing from a party other than


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                                the DIP Lenders under section 364(d) of the Bankruptcy Code
                                except if such financing contemplates payment in full of the DIP
                                Obligations;

                          x.    reversal, vacatur or stay of the effectiveness of the Interim DIP
                                Order or the Final DIP Order except to the extent reversed within
                                ten (10) business days;

                          xi.   any violation of any material term of the Interim DIP Order or the
                                Final DIP Order by the Debtors;

                         xii.   termination of the Debtors’ right to use Cash Collateral as
                                permitted hereunder;

                        xiii.   failure to comply with the Budget, including Permitted Variances;

                        xiv.    entry of an order in favor of the objector, movant or plaintiff any
                                timely filed Challenge Proceeding;

                         xv.    dismissal of the Chapter 11 Case of a Debtor with material assets
                                or conversion of the Chapter 11 Case of a Debtor with material
                                assets to a case under chapter 7 of the Bankruptcy Code, or any
                                Debtor shall file a motion or other pleading seeking such dismissal
                                or conversion of any Bankruptcy Case;

                        xvi.    appointment of a chapter 11 trustee or examiner with enlarged
                                powers, or any Debtor shall file a motion or other pleading seeking
                                such appointment;

                        xvii.   failure to meet a Milestone, unless extended or waived by the prior
                                written consent (email being sufficient) of each of the DIP
                                Lenders;

                       xviii.   the Debtors’ filing of a motion to reject the WELL/OHI Master
                                Lease Documents or modify the claim(s) of the WELL/OHI
                                Master Lease Landlords or the failure of the Debtors to make any
                                payment when due (without taking into account any stays or other
                                relief provided by commencement of the Chapter 11 Cases) of
                                postpetition Rents (as defined in the WELL/OHI Master Lease
                                Documents) accruing on account of the WELL/OHI Master Lease
                                Obligations, unless otherwise waived by the prior written consent
                                (email being sufficient) of the applicable WELL/OHI Master
                                Lease Landlord, or the failure of the Debtors to make any payment
                                when due (without taking into account any stays or other relief
                                provided by commencement of the Chapter 11 Cases) of other
                                postpetition rents, unless otherwise waived by the prior written
                                consent (email being sufficient) of the applicable WELL/OHI
                                Master Lease Landlord, or the occurrence and continuation of any
                                other “Event of Default” under the WELL/OHI Master Lease
                                Documents (other than a default of the type described in section
                                365(b)(2) of the Bankruptcy Code) unless otherwise waived by the


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                               prior written consent (email being sufficient) of the applicable
                               WELL/OHI Master Lese Landlord;

                        xix.   the Debtors’ filing of a motion to reject the VSR Master Leases or
                               modify the claim(s) of the Landlords thereunder or the failure of
                               the Debtors to make any payment when due (without taking into
                               account any stays or other relief provided by commencement of
                               the Chapter 11 Cases) of postpetition Rents (as defined in the VSR
                               Master Leases) accruing on account of the obligations thereunder,
                               unless otherwise waived by the prior written consent (email being
                               sufficient) of the applicable Landlord under the VSR Master
                               Leases, or the failure of the Debtors to make any payment when
                               due (without taking into account any stays or other relief provided
                               by commencement of the Chapter 11 Cases) of other postpetition
                               rents, unless otherwise waived by the prior written consent (email
                               being sufficient) of the applicable Landlord under the VSR Master
                               Leases, or the occurrence and continuation of any other “Event of
                               Default” under the VSR Master Leases (other than a default of the
                               type described in section 365(b)(2) of the Bankruptcy Code)
                               unless otherwise waived by the prior written consent (email being
                               sufficient) of the applicable Landlord under the VSR Master
                               Leases;

                         xx.   the Debtors’ filing of a motion to reject the PA 22 Sub-Subleases
                               or PA 22 MOTAs or modify the claim(s) of the Landlords or
                               counterparties thereunder or the failure of the Debtors to make any
                               payment when due (without taking into account any stays or other
                               relief provided by commencement of the Chapter 11 Cases) of
                               postpetition Rents (as defined in the PA 22 Sub-Subleases)
                               accruing on account of the obligations thereunder, unless
                               otherwise waived by the prior written consent (email being
                               sufficient) of the applicable Landlord under the PA 22 Sub-
                               Subleases, or the failure of the Debtors to make any payment when
                               due (without taking into account any stays or other relief provided
                               by commencement of the Chapter 11 Cases) of other postpetition
                               rents, unless otherwise waived by the prior written consent (email
                               being sufficient) of the applicable Landlord under the PA 22 Sub-
                               Subleases, or the occurrence and continuation of any other “Event
                               of Default” under the PA 22 Sub-Subleases or PA 22 MOTAs
                               (other than a default of the type described in section 365(b)(2) of
                               the Bankruptcy Code) unless otherwise waived by the prior written
                               consent (email being sufficient) of the applicable Landlord or
                               counterparty under the PA 22 Sub-Subleases or PA 22 MOTAs;

                        xxi.   the Debtors’ filing of a motion to reject the JV Leases or modify
                               the claim(s) of the Landlords thereunder or the failure of the
                               Debtors to make any payment when due (without taking into
                               account any stays or other relief provided by commencement of
                               the Chapter 11 Cases) of postpetition Rents (as defined in the JV
                               Leases) accruing on account of the obligations thereunder, unless
                               otherwise waived by the prior written consent (email being

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                                sufficient) of the applicable Landlord under the JV Leases, or the
                                failure of the Debtors to make any payment when due (without
                                taking into account any stays or other relief provided by
                                commencement of the Chapter 11 Cases) of other postpetition
                                rents, unless otherwise waived by the prior written consent (email
                                being sufficient) of the applicable Landlord under the JV Leases,
                                or the occurrence and continuation of any other “Event of Default”
                                under the JV Leases (other than a default of the type described in
                                section 365(b)(2) of the Bankruptcy Code) unless otherwise
                                waived by the prior written consent (email being sufficient) of the
                                applicable Landlord under the JV Leases;

                        xxii.   the Debtors’ filing of (or supporting another party in the filing of)
                                a motion seeking entry of, or the entry of an order by the
                                Bankruptcy Court, granting any superpriority claim or lien (except
                                as contemplated herein) which is senior to or pari passu with the
                                DIP Claims;

                       xxiii.   the Debtors seeking, or supporting any other person’s motion
                                seeking (in any such case, verbally in any court of competent
                                jurisdiction or by way of any motion or pleading filed with the
                                Bankruptcy Court, or any other writing to another party in interest
                                by the Debtors), to challenge the validity or enforceability of any
                                of the obligations of the parties under the Prepetition Secured
                                Documents;

                       xxiv.    the Debtors filing a motion for the Bankruptcy Court to approve a
                                sale of the DIP Collateral under section 363 of the Bankruptcy
                                Code, unless such proposed sale is approved by each of the DIP
                                Lenders, in their sole discretion;

                        xxv.    any Debtor shall fail to execute and deliver to the DIP Lenders any
                                agreement, financing statement, trademark filing, copyright filing,
                                notices of lien or similar instruments or other documents that the
                                DIP Lenders may reasonably request from time to time to more
                                fully evidence, confirm, validate, perfect, preserve and enforce the
                                DIP Liens created in favor of the DIP Lenders;

                       xxvi.    the Debtors shall assert in any pleading filed in any court that the
                                guarantee contained in the DIP Loan Documents is not valid and
                                binding, for any reason, to be in full force and effect, other than
                                under the terms hereof or thereof;

                       xxvii.   payment of or granting adequate protection with respect to
                                prepetition debt, other than as expressly provided herein or as
                                otherwise consented to by each of the DIP Lenders;

                      xxviii.   expiration or termination of the period provided by section 1121
                                of the Bankruptcy Code for the exclusive right to file a plan with
                                respect to a Debtor with material assets unless such expiration or



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                                termination was sought by any of the Prepetition Secured Parties
                                or the DIP Lenders;

                       xxix.    cessation of the DIP Liens or the DIP Claims to be valid, perfected
                                and enforceable in all respects;

                        xxx.    any Debtor asserting any right of subrogation or contribution
                                against any other Debtor until all borrowings under the DIP
                                Facility are paid in full and the commitments are terminated;

                       xxxi.    subject to entry of the Final DIP Order, the allowance of any claim
                                or claims under section 506(c) of the Bankruptcy Code or
                                otherwise against any Prepetition TL/ML Secured Party;

                       xxxii.   the entry of an order in any of the Chapter 11 Cases granting relief
                                from any stay or proceeding (including, without limitation, the
                                automatic stay) so as to allow a third party to proceed with
                                foreclosure against a material portion of the Debtors’ assets;

                      xxxiii.   the entry of an order in any Bankruptcy Case avoiding or requiring
                                repayment of any portion of the payments made on account of the
                                DIP Obligations owing under the DIP Loan Documents; and

                      xxxiv.    the entry of an order by the Bankruptcy Court providing relief
                                adverse to the interests of any DIP Lender or any Prepetition
                                Secured Party with respect to any motion, objection, application
                                or adversary proceeding challenging the validity, enforceability,
                                perfection or priority of, or seeking avoidance, subordination or
                                characterization of, any portion of the Prepetition Secured
                                Obligations and/or the liens and security interests securing the
                                Prepetition Secured Obligations or asserting any other claim or
                                cause of action against and/or with respect to the Prepetition
                                Secured Obligations or the liens and security interests securing the
                                Prepetition Secured Obligations, but excluding preliminary or
                                final relief granting standing to any other party to prosecute such
                                claims, causes of action or proceeding.

  Termination:          Upon the occurrence and during the continuance of an Event of Default,
                        the DIP Lenders may by written notice to the Borrowers, their counsel, the
                        U.S. Trustee and counsel for any statutory committee, terminate the DIP
                        Facility, declare the obligations in respect thereof to be immediately due
                        and payable and, subject to the conditions in the “Remedies” row of this
                        DIP Term Sheet, exercise all rights and remedies under the DIP Loan
                        Documents, the Interim DIP Order, and the Final DIP Order.

  Remedies:             The DIP Lenders shall have customary remedies upon the occurrence and
                        during the continuance of an Event of Default, including, without
                        limitation, the following:

                        Without further order from the Bankruptcy Court, and subject to the terms
                        of the Interim DIP Order and the Final DIP Order (including in respect of


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                           any required notices), the automatic stay provisions of section 362 of the
                           Bankruptcy Code shall be vacated and modified to the extent necessary to
                           permit the DIP Lenders to exercise, upon the occurrence and during the
                           continuance of any Event of Default under the DIP Loan Documents, all
                           rights and remedies provided for in the DIP Loan Documents, and to take
                           any or all of the following actions without further order of or application
                           to the Bankruptcy Court (as applicable): (a) immediately terminate the
                           Debtors’ use of any cash collateral; (b) cease making any DIP Loans under
                           the DIP Facility to the Debtors; (c) declare all DIP Obligations to be
                           immediately due and payable; (d) freeze monies or balances in the Debtors’
                           accounts (and, with respect to the DIP Loan Documents and the DIP
                           Facility, sweep all funds contained in any account subject to a control
                           agreement); (e) immediately set-off any and all amounts in accounts
                           maintained by the Debtors with the DIP Lenders against the DIP
                           Obligations, or otherwise enforce any and all rights against the DIP
                           Collateral in the possession of the DIP Lenders, including, without
                           limitation, disposition of the DIP Collateral solely for application towards
                           the DIP Obligations; and (f) take any other actions or exercise any other
                           rights or remedies permitted under the Interim DIP Order and the Final DIP
                           Order, the DIP Loan Documents or applicable law to effect the repayment
                           of the DIP Obligations; provided, however, that the DIP Lenders must
                           provide the Debtors with five (5) business days’ written notice (which may
                           be by email and a copy of which shall be sent to the Prepetition ABL
                           Agent) before exercising any enforcement rights or remedies with respect
                           to the DIP Collateral or the Prepetition Collateral other than funds
                           contained in any account subject to a control agreement; provided, further,
                           that neither the Debtors, the Committee nor any other party-in-interest
                           shall have the right to contest the enforcement of the remedies set forth in
                           the Interim DIP Order and the Final DIP Order and the DIP Loan
                           Documents on any basis other than an assertion that an Event of Default
                           has not occurred or has been cured within the cure periods expressly set
                           forth in the applicable DIP Loan Documents.

  Adequate Protection:     ABL Adequate Protection. As adequate protection for the interests of the
                           Prepetition ABL Secured Parties in the Prepetition ABL Collateral
                           (including Cash Collateral), under sections 361, 362, and 363(e) of the
                           Bankruptcy Code, and as a condition for the use of their Prepetition
                           Collateral, including any Cash Collateral, the Prepetition ABL Secured
                           Parties will be granted the following (collectively, the “ABL Adequate
                           Protection”):

                             i.    ABL Adequate Protection Liens: Solely to the extent of any
                                   Diminution in Value of any Prepetition ABL Secured Party’s
                                   interests in Prepetition ABL Collateral and in each case subject
                                   and subordinate to the Carve Out, the Prepetition ABL Secured
                                   Parties are granted the following security interests and liens
                                   (collectively, the “ABL Adequate Protection Liens”) under
                                   sections 361, 362, 363 of the Bankruptcy Code: valid, binding,
                                   enforceable, and perfected replacement liens on and security
                                   interests in assets of the type and nature that would be deemed
                                   Prepetition ABL Collateral but for the filing of these cases, and the

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                                proceeds thereof. For the avoidance of doubt, the DIP Liens,
                                Prepetition Term Loan Adequate Protection Liens, and the
                                WELL/OHI Master Lease Adequate Protection Liens shall be
                                subject, subordinate and junior to all ABL Adequate Protection
                                Liens on assets of the type and nature that would be deemed
                                Prepetition ABL Collateral but for the filing of these cases, and the
                                proceeds thereof.

                          ii.   ABL Adequate Protection Superpriority Claims: Solely to the
                                extent of any Diminution in Value of any Prepetition ABL Secured
                                Party’s interests in Prepetition Collateral and in each case subject
                                and subordinate to the Carve Out, the Prepetition ABL Secured
                                Parties will be granted an allowed superpriority administrative
                                expense claim under sections 503(b) and 507(b) of the Bankruptcy
                                Code against the applicable Debtors (collectively, the “ABL
                                Adequate Protection Superpriority Claims”). All ABL Adequate
                                Protection Superpriority Claims shall have priority over any and
                                all administrative expenses and other claims against the applicable
                                Loan Parties now existing or hereafter arising, of any kind
                                whatsoever, including, without limitation, all administrative
                                expenses of the kind specified in sections 503(b) and 507(b) of the
                                Bankruptcy Code, and over any and all administrative expenses or
                                other claims arising under the Bankruptcy Code.

                         iii.   ABL Adequate Protection Payments: No later than the fifth
                                Business Day following entry of the Interim DIP Order and on the
                                fifth Business Day of each month hereafter, Debtors shall pay the
                                Prepetition ABL Agent adequate protection in the form of interest,
                                that has accrued at the non-default rate on the Prepetition ABL
                                Obligations as of the Petition Date to be applied by the Prepetition
                                ABL Agent in accordance with the Prepetition ABL Documents.

                         iv.    As further adequate protection, the Debtors will reimburse each
                                Prepetition ABL Secured Party for all reasonable and documented
                                out-of-pocket fees, costs and expenses of such Prepetition ABL
                                Secured Party (limited, in the case of counsel, to all reasonable and
                                documented out-of-pocket fees, costs, disbursements and
                                expenses, including one (1) local counsel and one (1) prepetition
                                credit counsel). All such fees, including reasonable and
                                documented out-of-pocket legal and other professional fees shall
                                be paid by the Debtors promptly upon written demand and without
                                the requirement of Bankruptcy Court approval.

                        For the avoidance of doubt and except for the ABL Adequate Protection
                        Liens and the ABL Adequate Protection Superpriority Claims, (a) the
                        respective rights, interests obligations, priority, and positions as between
                        the Prepetition ABL Secured Parties and the Prepetition Term Loan
                        Secured Parties shall continue to be governed by the ABL/Term Loan
                        Intercreditor Agreement; and (b) the respective rights, interests
                        obligations, priority, and positions as between the Prepetition ABL


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                        Secured Parties and the WELL/OHI Master Lease Landlords shall
                        continue to be governed by the ABL/Landlord Intercreditor Agreements.

                        Prepetition Term Loan Adequate Protection: As adequate protection for
                        the interests of the Prepetition Term Loan Secured Parties in the Prepetition
                        Collateral (including Cash Collateral), under sections 361, 362 and 363(e)
                        of the Bankruptcy Code, and as a condition for the use of the Prepetition
                        Collateral, including any Cash Collateral, the Prepetition Term Loan
                        Secured Parties will be granted the following (collectively, the “Prepetition
                        Term Loan Adequate Protection”):

                           i.   Prepetition Term Loan Adequate Protection Liens. Solely to the
                                extent of, and in an aggregate amount equal to, any Diminution in
                                Value of any Prepetition Term Loan Secured Party’s interests in
                                such Prepetition Term Loan Secured Party’s Prepetition
                                Collateral, from and after the Petition Date, the Prepetition Term
                                Loan Lenders are granted the following security interests and liens
                                (collectively, the “Prepetition Term Loan Adequate Protection
                                Liens” and the collateral subject thereto, the “Prepetition Term
                                Loan Adequate Protection Collateral”) under sections 361, 362,
                                and 363 of the Bankruptcy Code: valid, binding, enforceable, and
                                perfected replacement liens on and security interests in the
                                Prepetition Collateral, including now- owned and hereafter-
                                acquired real and personal property, assets, and rights of any kind
                                or nature, wherever located, which liens and security interests shall
                                be junior to (a) the Carve Out and (b) the Prepetition ABL Agent’s
                                prepetition liens and the ABL Adequate Protection Liens (subject
                                to such liens solely with respect to assets of the type and nature
                                that would be deemed Prepetition ABL Collateral but for the filing
                                of these cases).

                          ii.   Prepetition Term Loan Adequate Protection Superpriority Claims.
                                Solely to the extent of, and in an aggregate amount equal to, any
                                Diminution in Value of its respective Prepetition Collateral, and in
                                each case, subject and subordinate to the Carve Out and the ABL
                                Adequate Protection Superpriority Claims, each Prepetition Term
                                Loan Secured Party is hereby granted an allowed superpriority
                                administrative expense claim under sections 503(b) and 507(b) of
                                the Bankruptcy Code against the applicable Debtors (collectively,
                                the “Prepetition Term Loan Adequate Protection Superpriority
                                Claims”). All Prepetition Term Loan Adequate Protection
                                Superpriority Claims shall be junior to (a) the Carve Out and (b)
                                the ABL Adequate Protection Superpriority Claims, and otherwise
                                have priority over any and all other administrative expenses and
                                other claims against the applicable Loan Parties now existing or
                                hereafter arising, of any kind whatsoever, including, without
                                limitation, all administrative expenses of the kind specified in
                                sections 503(b) and 507(b) of the Bankruptcy Code, and over any
                                and all administrative expenses or other claims arising under the
                                Bankruptcy Code.


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                         iii.   Prepetition Term Loan Adequate Protection Payments: No later
                                than the fifth Business Day following entry of the Interim DIP
                                Order and on the fifth Business Day of each month hereafter,
                                Debtors shall pay the Prepetition Term Loan Agent adequate
                                protection on partial account of interest that has accrued on the
                                Prepetition Term Loan Obligations in the amounts set forth in the
                                Budget, to be applied by the Prepetition Term Loan Agent in
                                accordance with the Prepetition Term Loan Documents.

                         iv.    As further adequate protection, the Debtors will reimburse each
                                Prepetition Term Loan Secured Party for all reasonable and
                                documented out-of-pocket fees, costs and expenses of (limited, in
                                the case of counsel, to all reasonable and documented out-of-
                                pocket fees, costs, disbursements and expenses, including one (1)
                                local counsel).      All such fees, including reasonable and
                                documented out-of-pocket legal and other professional fees shall
                                be paid by the Debtors promptly upon written demand and without
                                the requirement of Bankruptcy Court approval; provided,
                                however, that in the event such fees and expenses exceed the
                                amounts set forth in the DIP Budget, any excess amounts shall be
                                added to the principal balance of the DIP Loans.

                        Master Lease Adequate Protection: As adequate protection for the
                        interests of the WELL/OHI Master Lease Secured Parties in the Prepetition
                        Collateral (including Cash Collateral), under sections 361, 362 and 363(e)
                        of the Bankruptcy Code, and as a condition for the use of the Prepetition
                        Collateral, including any Cash Collateral, the WELL/OHI Master Lease
                        Secured Parties are hereby granted the following (collectively, the
                        “WELL/OHI Master Lease Adequate Protection”):

                           i.   Master Lease Adequate Protection Liens: Solely to the extent of,
                                and in an aggregate amount equal to, any Diminution in Value of
                                any WELL/OHI Master Lease Secured Party’s interests in such
                                WELL/OHI Master Lease Collateral, from and after the Petition
                                Date, the WELL/OHI Master Lease Secured Parties are granted
                                the following security interests and liens (collectively, the
                                “WELL/OHI Master Lease Adequate Protection Liens” and the
                                collateral subject thereto, the “WELL/OHI Master Lease Adequate
                                Protection Collateral”) under sections 361, 362, and 363 of the
                                Bankruptcy Code: valid, binding, enforceable, and perfected
                                replacement liens on and security interests in the Prepetition
                                Collateral, including now-owned and hereafter-acquired real and
                                personal property, assets, and rights of any kind or nature,
                                wherever located, which liens and security interests shall be junior
                                to (a) the Carve-Out, (b) the Prepetition ABL Agent’s prepetition
                                liens, (c) the ABL Adequate Protection Liens, (d) the Prepetition
                                Term Loan Liens, and (e) the Prepetition Term Loan Adequate
                                Protection Liens.

                          ii.   Master Lease Adequate Protection Superpriority Claims. Solely
                                to the extent of, and in an aggregate amount equal to, any

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                                     Diminution in Value of its respective Prepetition Collateral, and in
                                     each case, subject and subordinate to the Carve Out, the ABL
                                     Adequate Protection Superpriority Claims, and the Prepetition
                                     Term Loan Adequate Protection Superpriority Claims, each
                                     WELL/OHI Master Lease Secured Party is hereby granted an
                                     allowed superpriority administrative expense claim under sections
                                     503(b) and 507(b) of the Bankruptcy Code against the applicable
                                     Debtors (collectively, the “WELL/OHI Master Lease Adequate
                                     Protection Superpriority Claims”). All WELL/OHI Master Lease
                                     Adequate Protection Superpriority Claims shall be junior to (a) the
                                     Carve Out, (b) the ABL Adequate Protection Superpriority
                                     Claims, and (c) the Prepetition Term Loan Adequate Protection
                                     Superpriority Claims.

                              iii.   As further adequate protection, the Debtors will reimburse each
                                     WELL/OHI Master Lease Secured Party for all reasonable and
                                     documented out-of-pocket fees, costs and expenses of (limited, in
                                     the case of counsel, to all reasonable and documented out-of-
                                     pocket fees, costs, disbursements and expenses, including one (1)
                                     local counsel).      All such fees, including reasonable and
                                     documented out-of-pocket legal and other professional fees shall
                                     be paid by the Debtors promptly upon written demand and without
                                     the requirement of Bankruptcy Court approval; provided,
                                     however, that in the event such fees and expenses exceed the
                                     amounts set forth in the DIP Budget, any excess amounts shall be
                                     added to the principal balance of the DIP Loans.

  Marshalling and Waiver     Effective upon entry of the Final DIP Order, the DIP Lenders and the
  of 506(c) and 552(b)       Prepetition Secured Parties shall not be subject to the equitable doctrine of
  Claims:                    “marshalling” or any similar doctrine with respect to the DIP Collateral or
                             the Prepetition Collateral, as applicable, and all proceeds shall be received
                             and applied under the Final DIP Order and the DIP Loan Documents
                             notwithstanding any other agreement or provision to the contrary.

                             Effective upon entry of the Final DIP Order, the Debtors (on behalf of
                             themselves and their estates) shall waive, and shall not assert in the Chapter
                             11 Cases or any successor cases, (i) any surcharge claim under sections
                             105(a) and/or 506(c) of the Bankruptcy Code or otherwise for any costs
                             and expenses incurred in connection with the preservation, protection or
                             enhancement of, or realization by the DIP Lenders and the Prepetition
                             Secured Parties, upon the DIP Collateral or the Prepetition Collateral, and
                             (ii) the DIP Lenders and the Prepetition Secured Parties shall each be
                             entitled to all of the rights and benefits of section 552(b) of the Bankruptcy
                             Code, and the “equities of the case” exception under section 552(b) of the
                             Bankruptcy Code shall not apply to the DIP Lenders and the Prepetition
                             Secured Parties with respect to proceeds, product, offspring or profits of
                             any of the Prepetition Collateral or DIP Collateral.

  Release:                   Effective as of the date of entry of the Interim DIP Order, as to the Debtors
                             only, subject solely to the Challenge rights and limitations set forth in
                             herein, each of the Debtors and the Debtors’ estates, on its and their own

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                        behalf, on behalf of its and their respective past, present and future
                        predecessors, heirs, successors, subsidiaries, and assigns, shall absolutely,
                        unconditionally and irrevocably release and forever discharge and acquit
                        (i) the DIP Agent, the Welltower DIP Lender, the Omega DIP Lender, the
                        Welltower Master Lease Secured Parties, the Omega Master Lease
                        Secured Parties, the Prepetition Term Loan Agent, the Prepetition
                        WELL/OHI Term Loan Lenders, the Prepetition ABL Secured Parties, and
                        each of their respective officers, directors, controlling persons, employees,
                        agents, attorneys, affiliates, or successors of each of the foregoing (all in
                        their capacities as such) and (ii) the WAX DIP Lender and the WAX/MAO
                        Investigation Parties, solely as it relates to the DIP Facility, the DIP
                        Obligations, and the DIP Loan Documents ((i) and (ii) collectively, the
                        “Released Parties”), from any and all (a) obligations and liabilities to the
                        Debtors (and their successors and assigns), and (b) claims, counterclaims,
                        demands, defenses, offsets, debts, accounts, contracts, liabilities, actions
                        and causes of action arising prior to the date of the Interim DIP Order of
                        any kind, nature or description, whether matured or unmatured, known or
                        unknown, asserted or unasserted, foreseen or unforeseen, accrued or
                        unaccrued, suspected or unsuspected, liquidated or unliquidated, pending
                        or threatened, arising in law or equity, upon contract or tort or under any
                        state or federal law or otherwise, in each case arising out of or related to
                        (as applicable) the Prepetition Term Loan Documents, the Prepetition ABL
                        Documents, the Welltower Master Lease Documents, the Omega Master
                        Lease Documents, the DIP Loan Documents, and the obligations owing
                        and financial obligations made thereunder, the negotiation thereof and of
                        the transactions and agreements reflected thereby, and the obligations and
                        financial obligations made thereunder, in each case that the Debtors at any
                        time had, now have or may have, or that their predecessors, successors or
                        assigns at any time had or hereafter can or may have against any of the
                        Released Parties for or by reason of any act, omission, matter, cause or
                        thing whatsoever arising at any time on or prior to the date of the Interim
                        DIP Order. For the avoidance of doubt, nothing in the release shall relieve
                        the Debtors of the Prepetition Secured Obligations or their obligations
                        under the DIP Loan Documents.

  Indemnification:      The Debtors shall indemnify, pay and hold harmless the DIP Lenders (and
                        their directors, officers, employees and agents) against any loss, liability,
                        cost or expense incurred in respect of the financing contemplated hereby
                        or the use or the proposed use of proceeds thereof (except to the extent
                        resulting from the gross negligence, bad faith, fraud, or willful misconduct
                        of the indemnified party, as determined by a final, non-appealable
                        judgment of a court of competent jurisdiction).

  Expenses:             All fees, including reasonable and documented out-of-pocket legal and
                        other professional fees (limited to the reasonable and documented fees of
                        the advisors) related to negotiating, documenting, approving,
                        administering, monitoring or enforcing any rights under the DIP Facility
                        of each DIP Lender shall be paid by the Debtors promptly upon written
                        demand and without the requirement of Bankruptcy Court approval.



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  Governing Law:              Except as governed by the Bankruptcy Code, the law of the State of New
                              York.


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         IN WITNESS HEREOF, each of the undersigned has executed this Term Sheet or has caused the
 same to be executed by its duly authorized representatives as of the date first written above.


                                                      Genesis Healthcare, Inc., FC-GEN Operations
                                                      Investment, LLC, and such other entities listed
                                                      on Exhibit B




                                                      By:

                                                      Name: Louis E. Robichaux
                                                      Title: Co-Chief Restructuring Officer of
                                                             Genesis Healthcare, Inc., et al.




                                                      [___________________]




                                                      By:

                                                      Name:
                                                      Title:




          [Signature Page to Junior Secured Debtor-in-Possession Credit Facility Term Sheet]
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                                                ANNEX A

                        Prepetition Secured Obligations; Prepetition Collateral

 Prepetition ABL Credit Facilities

 That certain Fifth Amended and Restated Credit Agreement, dated as of March 9, 2022 (as supplemented,
 amended, amended and restated, or otherwise modified from time to time, the “Prepetition ABL Credit
 Agreement,” and together with any other documents executed and delivered in connection therewith, the
 “Prepetition Non-HUD ABL Documents”), by and among Genesis Healthcare, Inc., a Delaware
 corporation, FC-GEN Operations Investment, LLC, a Delaware limited liability company, Skilled
 Healthcare, LLC, a Delaware limited liability company, Genesis Holdings, LLC, a Delaware limited
 liability company, Genesis Healthcare LLC, a Delaware limited liability company, and certain affiliates
 and subsidiaries party thereto as “Borrowers” (collectively, the “Non-HUD ABL Borrowers”), White Oak
 Healthcare Finance, LLC (“WOHCF”) and the other financial institutions party thereto from time to time
 as lenders (the “Prepetition Non-HUD ABL Lenders”), WOHCF, as Agent for the lenders (in such capacity,
 the “Prepetition Non-HUD ABL Agent,” and together with the Prepetition Non-HUD ABL Lenders, the
 “Prepetition Non-HUD ABL Secured Parties”), pursuant to which the Prepetition Non-HUD ABL Lenders
 provided an asset-based lending credit facility to the Non-HUD ABL Borrowers (the “Prepetition Non-
 HUD ABL Credit Facility”). The Non-HUD ABL Borrowers and the other guarantors granted to the
 Prepetition Non-HUD ABL Agent, for itself and on behalf of the Prepetition Non-HUD ABL Lenders, valid
 and properly perfected continuing liens on and security interests in (the “Prepetition Non-HUD ABL
 Liens”) all “Collateral” as defined in the Prepetition Non-HUD ABL Documents (collectively, the
 “Prepetition Non-HUD ABL Collateral”) (it being understood that the term “Prepetition Non-HUD ABL
 Collateral” does not include any property or assets that have been expressly excluded from such definition
 in the Prepetition Non-HUD ABL Documents).

 That certain Third Amended and Restated Revolving Credit Agreement, dated as of March 6, 2020 (as
 otherwise amended, supplemented, or otherwise modified from time to time, the “Prepetition HUD ABL
 Credit Agreement,” and together with any other documents executed and delivered in connection therewith,
 the “Prepetition HUD ABL Loan Documents”), by and among, certain affiliates and subsidiaries of Genesis
 Healthcare, Inc. party thereto as “Borrowers” (collectively, the “HUD ABL Borrowers”), WOHCF and the
 other financial institutions party thereto from time to time as lenders (the “Prepetition Non-HUD ABL
 Lenders”), White Oak Healthcare Finance, LLC (“WOHCF”), as Agent for the lenders (in such capacity,
 the “Prepetition Non-HUD ABL Agent,” and together with the Prepetition Non-HUD ABL Lenders, the
 “Prepetition Non-HUD ABL Secured Parties”), pursuant to which the Prepetition Non-HUD ABL Lenders
 provided an asset-based lending credit facility to the Non-HUD ABL Borrowers (the “Prepetition Non-
 HUD ABL Credit Facility”). The HUD ABL Borrowers and the other guarantors granted to the Prepetition
 HUD ABL Agent, for itself and on behalf of the Prepetition HUD ABL Lenders, valid and properly
 perfected continuing liens on and security interests in (the “Prepetition HUD ABL Liens”) all “Collateral”
 as defined in the Prepetition HUD ABL Documents (collectively, the “Prepetition HUD ABL Collateral”)
 (it being understood that the term “Prepetition HUD ABL Collateral” does not include any property or
 assets that have been expressly excluded from such definition in the Prepetition HUD ABL Documents).

 WELL/OHI Master Lease Agreements

 Welltower Master Lease Agreements

     •   That certain Master Lease Agreement, dated as of December 23, 2016 (as otherwise amended,
         supplemented, or otherwise modified from time to time, the “Welltower Non-HUD Master Lease
         Agreement,” and together with any other documents executed and delivered in connection
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        therewith, the “Welltower Non-HUD Master Lease Documents”), by and among the entities party
        thereto from time to time collectively as a “Landlord” (the “Welltower Non-HUD Master Lease
        Landlord”) and Genesis Dynasty Operations, LLC as tenant, (the “Welltower Non-HUD Master
        Lease Tenant”) pursuant to which the Welltower Non-HUD Master Lease Landlord leased certain
        properties (the “Non-HUD Welltower Leased Properties”) to the Welltower Non-HUD Master
        Lease Tenant on the terms set forth in the Welltower Non-HUD Master Lease Documents. As
        more fully set forth in the Welltower Non-HUD Master Lease Documents, the Welltower Non-
        HUD Master Lease Obligations (as defined below) are unconditionally and irrevocably guaranteed
        by the certain of those entities who provided a Guaranty (as defined therein) in connection
        therewith, (collectively, the “Welltower Non-HUD Master Lease Guarantors,” and together with
        the Welltower Non-HUD Master Lease Tenant, the “Welltower Non-HUD Master Lease
        Obligors”).

    •   That certain Master Lease Agreement, dated as of October 1, 2017 (as otherwise amended,
        supplemented, or otherwise modified from time to time, the “Welltower HUD Master Lease
        Agreement,” and together with any other documents executed and delivered in connection
        therewith, the “Welltower HUD Master Lease Documents” and together with the Welltower Non-
        HUD Master Lease Documents, the “Welltower Master Lease Documents”), by and among the
        entities party thereto from time to time collectively as a “Landlord” (the “Welltower HUD Master
        Lease Landlord” and, together with the Welltower Non-HUD Master Lease Landlord, the
        “Welltower Master Lease Landlords”) and Genesis Tang Operations LLC as tenant, (the
        “Welltower HUD Master Lease Tenant”) pursuant to which the Welltower HUD Master Lease
        Landlord leased certain properties (the “HUD Welltower Leased Properties”) to the Welltower
        HUD Master Lease Tenant on the terms set forth in the Welltower HUD Master Lease Documents.
        As more fully set forth in the Welltower HUD Master Lease Documents, the Welltower HUD
        Master Lease Obligations (as defined below) are unconditionally and irrevocably guaranteed by
        the certain of those entities who provided a Guaranty (as defined therein) in connection therewith,
        (collectively, the “Welltower HUD Master Lease Guarantors,” and together with the Welltower
        HUD Master Lease Tenant, the “Welltower HUD Master Lease Obligors” and the Welltower HUD
        Master Lease Obligors and Welltower Non-Hud Master Lease Obligors, collectively, the
        “Welltower Master Lease Obligors”).

    •   The Welltower Non-HUD Master Lease Obligors granted to the Welltower Non-HUD Master
        Lease Landlord (collectively, the “Welltower Non-HUD Master Lease Secured Parties”) valid and
        properly perfected continuing liens on and security interests in (the “Welltower Non-HUD Master
        Lease Liens”) all “Collateral” as defined in the Welltower Non-HUD Master Lease Documents
        (collectively, the “Welltower Non-HUD Master Lease Collateral”) (it being understood that the
        term “Welltower Non-HUD Master Lease Collateral” does not include any property or assets that
        have been expressly excluded from such definition in the Welltower Non-HUD Master Lease
        Documents).

    •   The Welltower HUD Master Lease Obligors granted to the Welltower Non-HUD Master Lease
        Landlord (collectively, the “Welltower HUD Master Lease Secured Parties” and, together with the
        Welltower Non-HUD Master Lease Secured Parties, the “Welltower Master Lease Secured
        Parties”) valid and properly perfected continuing liens on and security interests in (the “Welltower
        HUD Master Lease Liens” and, together with the Welltower Non-HUD Master Lease Liens, the
        “Welltower Master Lease Liens”) all “Collateral” as defined in the Welltower HUD Master Lease
        Documents (collectively, the “Welltower HUD Master Lease Collateral” and, together with the
        Welltower Non-HUD Master Lease Collateral, the “Welltower Master Lease Collateral”) (it being
        understood that the term “Welltower HUD Master Lease Collateral” does not include any property


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        or assets that have been expressly excluded from such definition in the Welltower HUD Master
        Lease Documents).

    •   The obligations of the Welltower Master Lease Obligors under the Welltower Master Lease
        Documents are referred to, collectively, as the “Welltower Master Lease Obligations”.

 Omega Master Lease Agreement

    •   That certain Second Consolidated Amended and Restated Master Lease Agreement, dated as of
        January 30, 2015 (as otherwise amended, supplemented, or otherwise modified from time to time,
        the “Omega Master Lease Agreement,” and together with any other documents executed and
        delivered in connection therewith, the “Omega Master Lease Documents”), by and among the
        entities party thereto from time to time collectively as a “Landlord” (the “Omega Master Lease
        Landlord”) and Sunbridge Care Enterprises, LLC, a Delaware limited liability company, Sunbridge
        Beckley Health Care, LLC, a West Virginia limited liability company, Sunbridge Putnam Health
        Care, LLC, a West Virginia limited liability company, Sunbridge Dunbar Health Care, LLC, a West
        Virginia limited liability company, Sunbridge Salem Health Care, LLC, a West Virginia limited
        liability company, Sunbridge Regency-North Carolina, LLC, a North Carolina limited liability
        company, Sunbridge Healthcare, LLC, a New Mexico limited liability company, Sunbridge
        Regency-Tennessee, LLC, a Tennessee limited liability company, Falmouth Healthcare, LLC, a
        Delaware limited liability company, Mashpee Healthcare, LLC, a Delaware limited liability
        company, Peak Medical Of Idaho, LLC, a Delaware limited liability company, Peak Medical Of
        Boise, LLC, a Delaware limited liability company, Genesis OMG Operations LLC, a Delaware
        limited liability company, 803 Hacienda Lane Operations LLC, a New Mexico limited liability
        company, 419 Harding Street Operations LLC, a New Mexico limited liability company, 1650
        Galisteo Street Operations LLC, a New Mexico limited liability company, 3720 Church Rock Street
        Operations LLC, a New Mexico limited liability company, 3514 Fowler Avenue Operations LLC,
        a New Mexico limited liability company, 400 Mckinley Avenue Operations LLC, a West Virginia
        limited liability company, Sunbridge Retirement Care Associates, LLC, a Colorado limited liability
        company, and Albuquerque Heights Healthcare And Rehabilitation Center, LLC, a Delaware
        limited liability company, as tenant (collectively, the “Omega Master Lease Tenant”), pursuant to
        which the Omega Master Lease Landlord leased certain properties (the “Omega Leased
        Properties”) to the Omega Master Lease Tenant on the terms set forth in the Omega Master Lease
        Documents. As more fully set forth in the Omega Master Lease Documents, the Omega Master
        Lease Obligations (as defined below) are unconditionally and irrevocably guaranteed by the certain
        of those entities who provided a Guaranty (as defined therein) in connection therewith,
        (collectively, the “Omega Master Lease Guarantors,” and together with the Omega Master Lease
        Tenant, the “Omega Master Lease Obligors”), and the obligations of the Omega Master Lease
        Obligors under the Omega Master Lease Documents, collectively, the “Omega Master Lease
        Obligations”).

    •   The Omega Master Lease Obligors granted to the Omega Master Lease Landlord (collectively, the
        “Omega Master Lease Secured Parties”) valid and properly perfected continuing liens on and
        security interests in (the “Omega Master Lease Liens”) all “Collateral” as defined in the Omega
        Master Lease Documents (collectively, the “Omega Master Lease Collateral”) (it being understood
        that the term “Omega Master Lease Collateral” does not include any property or assets that have
        been expressly excluded from such definition in the Omega Master Lease Documents).

 The Welltower Master Lease Documents and the Omega Master Lease Documents are referred to,
 collectively, as the “WELL/OHI Master Lease Documents”; the Welltower Master Lease Landlords and
 the Omega Master Lease Landlord are referred to, collectively, as the “WELL/OHI Master Lease

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 Landlords”; the Welltower Master Lease Obligations and the Omega Master Lease Obligations are referred
 to, collectively, as the “WELL/OHI Master Lease Obligations”; the Welltower Master Lease Secured
 Parties and the Omega Master Lease Secured Parties are referred to, collectively, as the “WELL/OHI
 Master Lease Secured Parties”; the Welltower Master Lease Liens and Omega Master Lease Liens are
 referred to, collectively, as the “WELL/OHI Master Lease Liens”; and the Welltower Master Lease
 Collateral and the Omega Master Lease Collateral is referred to, collectively, as the “WELL/OHI Master
 Lease Collateral”.

 Other Lease Agreements

 Certain of the Debtors are parties to various lease agreements and related documents (collectively, the
 “Other Landlord Leases”) with certain other landlords (the “Other Landlords”). The Debtors’ obligations
 under the Other Landlord Leases are referred to, collectively, as the “Other Landlord Lease Obligations”;
 the liens granted to the Other Landlords under the Other Landlord Leases are referred to, collectively, as
 the “Other Landlord Liens”; and the collateral under the Other Landlord Leases is referred to, collectively,
 as the “Other Landlord Collateral”.

 Prepetition Term Loan Facility

 That certain Term Loan Agreement, dated as of July 29, 2016 (as amended and restated pursuant to that
 certain Amendment No. 13 to Loan Agreement and Amendment No. 2 to Guarantee and Collateral
 Agreement, dated as of April 10, 2024, and as otherwise supplemented, amended, amended and restated,
 or otherwise modified from time to time, the “Prepetition Term Loan Credit Agreement,” and together with
 any other documents executed and delivered in connection therewith, the “Prepetition Term Loan
 Documents”; the Prepetition Term Loan Documents, together with the WELL/OHI Master Lease
 Documents, the “Prepetition TL/ML Loan Documents”; and the Prepetition TL/ML Loan Documents,
 together with the Prepetition ABL Documents, the “Prepetition Loan Documents”), by and among Genesis
 Healthcare, Inc., a Delaware corporation, FC-GEN Operations Investment, LLC, a Delaware limited
 liability company, GEN Operations I, LLC, a Delaware limited liability company, GEN Operations II, LLC,
 a Delaware limited liability company, and certain affiliates and subsidiaries party thereto as “Borrowers”
 (collectively, the “Prepetition Term Loan Obligors”), Welltower OP LLC (formerly known as Welltower
 Inc.) and the other financial institutions party thereto from time to time as lenders (the “Prepetition Term
 Loan Lenders”), 5 and Welltower OP LLC (formerly known as Welltower Inc.), as agent for the Prepetition
 Term Loan Lenders (in such capacity, the “Prepetition Term Loan Agent,” and together with the Prepetition
 Term Loan Lenders, the “Prepetition Term Loan Secured Parties”; the Prepetition Term Loan Secured
 Parties, together with the WELL/OHI Master Lease Secured Parties, the “Prepetition TL/ML Secured
 Parties”; and Prepetition TL/ML Secured Parties, together with the Prepetition ABL Secured Parties, the
 “Prepetition Secured Parties”).

 The Prepetition Term Loan Obligors, granted to the Prepetition Term Loan Agent, for the benefit of itself
 and the Prepetition Term Loan Lenders, valid and properly perfected continuing liens on and security
 interests in (the “Prepetition Term Loan Liens”; the Prepetition Term Loan Liens, together with the
 WELL/OHI Master Lease Liens and the Prepetition ABL Liens, the “Prepetition Liens”) all “Collateral” as
 defined in the Prepetition Term Loan Documents (collectively, the “Prepetition Term Loan Collateral”; the


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     WAX Dynasty Partners LLC and MAO 22322 LLC are referred to, collectively, as the “WAX/MAO Term Lenders,”
     and the Prepetition Term Loan Obligations with respect to the WAX/MAO Term Lenders are referred to as the
     “WAX/MAO Term Loan Obligations.” Markglen, Inc. and OHI Mezz Lender, LLC are referred to, collectively, as
     the “WELL/OHI Term Lenders,” and the Prepetition Term Loan Obligations with respect to the WELL/OHI Term
     Lenders are referred to as the “WELL/OHI Term Loan Obligations.”


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 Prepetition Term Loan Collateral, together with the WELL/OHI Master Lease Collateral and the Prepetition
 ABL Collateral, the “Prepetition Collateral”).

 Priority of Prepetition Liens; Intercreditor Agreements.

 ABL/Term Loan Intercreditor Agreement. The Prepetition ABL Agent and the Prepetition Term Loan
 Agent entered into that certain Fifth Amended and Restated Intercreditor Agreement, dated as of March 9,
 2022 (as otherwise amended, supplemented, or otherwise modified from time to time, the “ABL/Term Loan
 Intercreditor Agreement”), to govern the respective rights, interests, obligations, priority and positions of
 the Prepetition ABL Obligations and the Prepetition Term Loan Obligations with respect to certain of the
 Prepetition ABL Collateral and the Prepetition Term Loan Collateral. Certain of the Debtors under the
 Prepetition Loan Documents acknowledged and agreed to the ABL/Term Loan Intercreditor Agreement.

 ABL/Welltower Landlord Intercreditor Agreement. The Prepetition ABL Agent, as successor to MidCap
 Funding IV Trust, the Prepetition Term Loan Agent, the Welltower Master Lease Landlords, and certain of
 the Debtors party to the Welltower Master Lease Documents (or, in each case, their predecessors in interest)
 entered into (i) that certain Intercreditor Agreement, dated as of December 23, 2016 and (ii) that certain
 Intercreditor Agreement, dated as of October 31, 2019 (together, as supplemented, amended, amended and
 restated, or otherwise modified from time to time, the “ABL/Welltower Landlord Intercreditor
 Agreements,” and together with the ABL/Term Loan Intercreditor Agreement, the “Intercreditor
 Agreements”), to govern the respective rights, interests, obligations, priority and positions of the Prepetition
 ABL Obligations and the Welltower Master Lease Obligations with respect to certain of the Prepetition
 ABL Collateral and the Welltower Landlord Collateral.

 ABL/Omega Landlord Intercreditor Agreement. The Prepetition ABL Agent, as successor to MidCap
 Funding IV Trust, the Prepetition Term Loan Agent, the Omega Master Lease Landlord, the Prepetition
 Term Loan Agent, and certain of the Debtors party to the Omega Master Lease Documents entered into that
 certain Amended and Restated Intercreditor Agreement, dated as of July 29, 2016 (as supplemented,
 amended, amended and restated, or otherwise modified from time to time, the “ABL/Omega Landlord
 Intercreditor Agreement,” and together with the ABL/Welltower Landlord Intercreditor Agreements, the
 ABL/Landlord Intercreditor Agreements (together with the ABL/Term Loan Intercreditor Agreement, the
 “Intercreditor Agreements”)), to govern the respective rights, interests, obligations, priority and positions
 of the Prepetition ABL Obligations and the Omega Master Lease Obligations with respect to certain of the
 Prepetition ABL Collateral and the Omega Landlord Collateral.

 Prepetition HUD Lender Liens.

 Certain Debtors operate Facilities (collectively, the “HUD Facilities”) which are encumbered by loans (the
 “HUD Property Loans”) provided by certain financial institutions (the “HUD Lenders”) and insured by the
 U.S. Department of Housing and Urban Development, acting by and through its Secretary and his or her
 successors, assigns or designates (“HUD”). In connection with the HUD Property Loans, such Debtors
 entered into certain Operator Security Agreement (each, a “HUD Operator Security Agreement”) with the
 applicable HUD Lender granting to such HUD Lender valid and properly perfected continuing liens on and
 security interests in (the “HUD Lender Liens”) all “Collateral” (as defined in each HUD Operator Security
 Agreement) (the “HUD Lender Collateral”) to secure, among other things, obligations owed to the HUD
 Lenders, including the HUD Property Loans.

 Rochester Manor HUD Mortgage.

 Debtor 40 Whitehall Road Property LLC (the “Rochester Manor Borrower”) has outstanding obligations
 owed to Berkadia Commercial Mortgage LLC (the “Rochester Manor HUD Lender”) and, together with

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 HUD, the “Rochester Manor HUD Secured Parties”) under that certain Healthcare Facility Note, dated as
 of December 1, 2016 (as otherwise amended, supplemented, or otherwise modified from time to time, the
 “Rochester Manor HUD Note,” and together with any other documents executed and delivered in
 connection therewith, the “Rochester Manor HUD Documents”), which is insured by HUD.

 Under the Rochester Manor HUD Documents, the Rochester Manor Borrower granted to the Rochester
 Manor HUD Secured Parties valid and properly perfected continuing liens on and security interests in (the
 “Rochester Manor HUD Liens”) substantially all of its asserts, including the Rochester Manor skilled
 nursing facility located in Strafford County, New Hampshire (the “Rochester Manor HUD Collateral”).




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                                   EXHIBIT A

                                     Budget
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DIP Budget

                                                  wk 1        wk 2        wk 3       wk 4       wk 5        wk 6        wk 7        wk 8      8-Wk
                                                 Fcst.       Fcst.       Fcst.       Fcst.      Fcst.      Fcst.       Fcst.       Fcst.      Fcst.
                                                  Post        Post        Post       Post       Post        Post        Post        Post      Post
($ in millions)                                 7/11/25     7/18/25     7/25/25     8/1/25     8/8/25     8/15/25     8/22/25     8/29/25     Total
1    Operating Receipts                            24.3        43.5        68.3       43.6       53.7        55.9        50.0        72.3       411.7
2    Payroll & Benefits                             (4.0)      (33.5)      (27.4)     (34.2)     (26.5)      (34.0)      (26.3)      (34.1)     (220.0)
3    Insurance                                       -           -          (2.6)      (0.6)       -           -           -           -          (3.3)
4    Provider Assessments                            -          (6.9)       (6.2)      (2.9)      (4.7)       (1.6)       (1.3)       (0.4)      (24.1)
5    Trade Payables                                 (8.0)      (14.0)      (19.3)     (11.3)     (11.2)      (11.2)      (11.2)      (11.2)      (97.3)
6    Utilities                                       -           0.0        (0.6)      (1.0)      (1.0)       (1.0)       (1.0)       (1.0)       (5.7)
7    Rent & Related                                  -          (2.6)       (2.1)       -        (22.0)        -          (3.6)       (2.1)      (32.5)
8    Subtotal - Operating Disbursements          ($12.0)     ($57.0)     ($58.2)    ($50.0)    ($65.4)     ($47.8)     ($43.5)     ($48.8)    ($382.9)
9    Net Operating Cash Flows                    $12.3       ($13.5)     $10.1       ($6.4)    ($11.7)       $8.1        $6.5      $23.5        $28.8
10   Interest Payments & Fees                        -           -          (3.2)       -          -           -           -          (3.3)       (6.5)
11   Professional Fees                              (1.5)       (1.4)       (1.4)      (1.4)      (2.1)       (1.8)       (1.8)       (1.8)      (13.2)
12   US Trustee Fees                                 -           -           -          -          -           -           -           -           -
13   Other Restructuring Disbursements              (0.1)       (4.1)       (0.1)      (0.1)      (0.1)       (1.6)       (0.1)       (0.1)       (6.3)
14   Subtotal - Restructuring Disbursements       ($1.6)      ($5.5)      ($4.6)     ($1.5)     ($2.2)      ($3.4)      ($1.9)      ($5.3)     ($26.0)
15 Net Cash Flow                                 $10.7       ($18.9)       $5.5      ($7.8)    ($13.9)       $4.6        $4.6      $18.2         $2.9
16   Beginning Op. Book Cash Balance               2.5         25.2        6.2        11.7        3.9        7.9         12.5       17.1          2.5
17   (+/-): Net Cash Flow                         10.7        (18.9)       5.5         (7.8)    (13.9)       4.6          4.6       18.2          2.9
18   (+): DIP Draw                                12.0          -          -            -        18.0        -            -          -           30.0
19   Ending Op. Book Cash Balance                $25.2         $6.2      $11.7        $3.9       $7.9      $12.5        $17.1      $35.4        $35.4
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                                       EXHIBIT B

                                    Guarantor Entities

 Debtor Name                                                 EIN Number
 1 Glen Hill Road Operations LLC                             XX-XXXXXXX
 1 Sutphin Drive Operations LLC                              XX-XXXXXXX
 10 Woodland Drive Operations LLC                            XX-XXXXXXX
 100 Abbeyville Road Operations LLC                          XX-XXXXXXX
 100 Chambers Street Operations LLC                          XX-XXXXXXX
 100 W. Queen Street Operations LLC                          XX-XXXXXXX
 105 Chester Road Operations LLC                             XX-XXXXXXX
 1000 Lincoln Drive Operations LLC                           XX-XXXXXXX
 1008 Thompson Street Operations LLC                         XX-XXXXXXX
 101 13th Street Operations LLC                              XX-XXXXXXX
 101 Development Group, LLC                                  XX-XXXXXXX
 1020 South Main Street Operations LLC                       XX-XXXXXXX
 106 Tyree Street Operations LLC                             XX-XXXXXXX
 1070 Stouffer Avenue Operations LLC                         XX-XXXXXXX
 11 Dairy Lane Operations LLC                                XX-XXXXXXX
 1100 Norman Eskridge Highway Operations LLC                 XX-XXXXXXX
 1104 Welsh Road Operations LLC                              XX-XXXXXXX
 1105 Perry Highway Operations LLC                           XX-XXXXXXX
 113 W. McMurray Road Operations LLC                         XX-XXXXXXX
 115 S. Providence Road Operations LLC                       XX-XXXXXXX
 12-15 Saddle River Road Operations LLC                      XX-XXXXXXX
 1245 Church Road Operations LLC                             XX-XXXXXXX
 1248 Hospital Drive Operations LLC                          XX-XXXXXXX
 125 Holly Road Operations LLC                               XX-XXXXXXX
 128 East State Street Associates, LLC                       XX-XXXXXXX
 136 Donahoe Manor Road Operations LLC                       XX-XXXXXXX
 1361 Route 72 West Operations LLC                           XX-XXXXXXX
 1539 Country Club Road Operations LLC                       XX-XXXXXXX
 1543 Country Club Road Manor Operations LLC                 XX-XXXXXXX
 161 Bakers Ridge Road Operations LLC                        XX-XXXXXXX
 1631 Ritter Drive Operations LLC                            XX-XXXXXXX
 1650 Galisteo Street Operations LLC                         XX-XXXXXXX
 1680 Spring Creek Road Operations LLC                       XX-XXXXXXX
 1700 Market Street Operations LLC                           XX-XXXXXXX
 1700 Pine Street Operations LLC                             XX-XXXXXXX
 175 Blueberry Lane Operations LLC                           XX-XXXXXXX
 1770 Barley Road Operations LLC                             XX-XXXXXXX
 1848 Greentree Road Operations LLC                          XX-XXXXXXX
 191 Hackett Hill Road Operations LLC                        XX-XXXXXXX
 2 Blackberry Lane Operations LLC                            XX-XXXXXXX
 20 Maitland Street Operations LLC                           XX-XXXXXXX
 200 Pauline Drive Operations LLC                            XX-XXXXXXX
 200 Reynolds Avenue Operations LLC                          XX-XXXXXXX
 200 South Ritchie Avenue Operations LLC                     XX-XXXXXXX


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 Debtor Name                                                  EIN Number
 201 Wood Street Operations LLC                               XX-XXXXXXX
 2021 Westgate Drive Operations LLC                           XX-XXXXXXX
 2029 Westgate Drive Operations LLC                           XX-XXXXXXX
 2101 Fairland Road Operations LLC                            XX-XXXXXXX
 211-213 Ana Drive Operations LLC                             XX-XXXXXXX
 2125 Elizabeth Avenue Operations LLC                         XX-XXXXXXX
 22 Tuck Road Operations LLC                                  XX-XXXXXXX
 225 Evergreen Road Operations LLC                            XX-XXXXXXX
 227 Evergreen Road Operations LLC                            XX-XXXXXXX
 23 Fair Street Operations LLC                                XX-XXXXXXX
 23 Fair Street Property, LLC                                 XX-XXXXXXX
 24 Old Etna Road Operations LLC                              XX-XXXXXXX
 2400 Kingston Court Operations LLC                           XX-XXXXXXX
 25 East Lindsley Road Operations LLC                         XX-XXXXXXX
 25 Ridgewood Road Operations LLC                             XX-XXXXXXX
 2507 Chestnut Street Operations LLC                          XX-XXXXXXX
 2600 Northampton Street Operations LLC                       XX-XXXXXXX
 262 Toll Gate Road Operations LLC                            XX-XXXXXXX
 2720 Charles Town Road Operations LLC                        XX-XXXXXXX
 279 Cabot Street Operations LLC                              XX-XXXXXXX
 279 Cabot Street Property LLC                                XX-XXXXXXX
 2800 Palo Parkway Operations LLC                             XX-XXXXXXX
 290 Hanover Street Operations LLC                            XX-XXXXXXX
 292 Applegarth Road Operations LLC                           XX-XXXXXXX
 3 Industrial Way East Operations LLC                         XX-XXXXXXX
 30 West Avenue Operations LLC                                XX-XXXXXXX
 300 Pearl Street Operations LLC                              XX-XXXXXXX
 3000 Windmill Road Operations LLC                            XX-XXXXXXX
 302 Cedar Ridge Road Operations LLC                          XX-XXXXXXX
 330 Franklin Turnpike Operations LLC                         XX-XXXXXXX
 333 Green End Avenue Operations LLC                          XX-XXXXXXX
 3430 Huntingdon Pike Operations LLC                          XX-XXXXXXX
 3485 Davisville Road Operations II LLC                       XX-XXXXXXX
 3514 Fowler Avenue Operations LLC                            XX-XXXXXXX
 3590 Washington Pike Operations LLC                          XX-XXXXXXX
 3720 Church Rock Street Operations LLC                       XX-XXXXXXX
 390 Red School Lane Operations LLC                           XX-XXXXXXX
 40 Crosby Street Operations LLC                              XX-XXXXXXX
 40 Whitehall Road Operations LLC                             XX-XXXXXXX
 40 Whitehall Road Property LLC                               XX-XXXXXXX
 400 McKinley Avenue Operations LLC                           XX-XXXXXXX
 4140 Old Washington Highway Operations LLC                   XX-XXXXXXX
 419 Harding Street Operations LLC                            XX-XXXXXXX
 422 23rd Street Operations LLC                               XX-XXXXXXX
 425 Buttonwood Street Operations LLC                         XX-XXXXXXX
 450 East Philadelphia Avenue Operations LLC                  XX-XXXXXXX
 462 Main Street Operations LLC                               XX-XXXXXXX
 50 Mulberry Tree Street Operations LLC                       XX-XXXXXXX

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 Debtor Name                                                     EIN Number
 50 Pheasant Road Operations LLC                                 XX-XXXXXXX
 500 East Philadelphia Avenue Operations LLC                     XX-XXXXXXX
 501 Thomas Jones Way Operations LLC                             XX-XXXXXXX
 505 Weyman Road Operations LLC                                  XX-XXXXXXX
 530 Macoby Street Operations LLC                                XX-XXXXXXX
 54 Sharp Street Operations LLC                                  XX-XXXXXXX
 5485 Perkiomen Avenue Operations LLC                            XX-XXXXXXX
 550 South Negley Avenue Operations LLC                          XX-XXXXXXX
 5609 Fifth Avenue Operations LLC                                XX-XXXXXXX
 590 North Poplar Fork Road Operations LLC                       XX-XXXXXXX
 60 Highland Road Operations LLC                                 XX-XXXXXXX
 600 Paoli Pointe Drive Operations LLC                           XX-XXXXXXX
 600 W. Valley Forge Road Operations LLC                         XX-XXXXXXX
 613 Hammonds Lane Operations LLC                                XX-XXXXXXX
 624 N. Converse Street Property, LLC                            XX-XXXXXXX
 640 Bethlehem Pike Operations LLC                               XX-XXXXXXX
 642 Metacom Avenue Operations LLC                               XX-XXXXXXX
 660 Commonwealth Avenue Operations LLC                          XX-XXXXXXX
 677 Court Street Operations LLC                                 XX-XXXXXXX
 7 Baldwin Street Operations LLC                                 XX-XXXXXXX
 700 Marvel Road Operations LLC                                  XX-XXXXXXX
 700 Town Bank Road Operations LLC                               XX-XXXXXXX
 715 East King Street Operations LLC                             XX-XXXXXXX
 723 Summers Street Operations LLC                               XX-XXXXXXX
 724 N. Charlotte Street Operations LLC                          XX-XXXXXXX
 735 Putnam Pike Operations LLC                                  XX-XXXXXXX
 75 Hickle Street Operations LLC                                 XX-XXXXXXX
 777 Lafayette Road Operations LLC                               XX-XXXXXXX
 8 Rose Street Operations LLC                                    XX-XXXXXXX
 8 Snow Road Operations LLC                                      XX-XXXXXXX
 80 Maddex Drive Operations LLC                                  XX-XXXXXXX
 800 Court Street Circle Operations LLC                          XX-XXXXXXX
 803 Hacienda Lane Operations LLC                                XX-XXXXXXX
 8100 Washington Lane Operations LLC                             XX-XXXXXXX
 825 Summit Street Operations LLC                                XX-XXXXXXX
 84 Cold Hill Road Operations LLC                                XX-XXXXXXX
 840 Lee Road Operations LLC                                     XX-XXXXXXX
 850 12th Avenue Property, LLC                                   XX-XXXXXXX
 867 York Road Operations LLC                                    XX-XXXXXXX
 885 MacBeth Drive Operations LLC                                XX-XXXXXXX
 900 Tuck Street Operations LLC                                  XX-XXXXXXX
 91 Country Village Road Operations LLC                          XX-XXXXXXX
 940 Walnut Bottom Road Operations LLC                           XX-XXXXXXX
 98 Hospitality Drive Operations LLC                             XX-XXXXXXX
 Albuquerque Heights Healthcare and Rehabilitation Center, LLC   XX-XXXXXXX
 Albuquerque Heights Property, LLC                               XX-XXXXXXX
 Belen Meadows Healthcare and Rehabilitation Center, LLC         XX-XXXXXXX
 Belfast Operations, LLC                                         XX-XXXXXXX

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 Debtor Name                                                    EIN Number
 Brier Oak on Sunset, LLC                                       XX-XXXXXXX
 Camden Operations, LLC                                         XX-XXXXXXX
 Canyon Albuquerque Property, LLC                               XX-XXXXXXX
 Canyon Transitional Rehabilitation Center, LLC                 XX-XXXXXXX
 Clovis Healthcare and Rehabilitation Center, LLC               XX-XXXXXXX
 Courtyard JV LLC                                               XX-XXXXXXX
 Encore GC Acquisition LLC                                      XX-XXXXXXX
 Encore Pediatrics, LLC                                         XX-XXXXXXX
 Encore Preakness, LLC                                          XX-XXXXXXX
 Encore Rehabilitation Services, LLC                            XX-XXXXXXX
 Falmouth Operations, LLC                                       XX-XXXXXXX
 Farmington Operations, LLC                                     XX-XXXXXXX
 Five Ninety Six Sheldon Road Operations LLC                    XX-XXXXXXX
 Forty Six Nichols Street Operations LLC                        XX-XXXXXXX
 Fountain Holdco, LLC                                           XX-XXXXXXX
 Franklin Woods JV LLC                                          XX-XXXXXXX
 GEN BQ JV Holdings, LLC                                        XX-XXXXXXX
 GEN CCG JV Holdings LLC                                        XX-XXXXXXX
 GEN Operations I, LLC                                          XX-XXXXXXX
 GEN Operations II, LLC                                         XX-XXXXXXX
 GEN SF JV Holdings, LLC                                        XX-XXXXXXX
 GEN-CCG WO Master Tenant LLC                                   XX-XXXXXXX
 GEN-Next Holdco I LLC                                          XX-XXXXXXX
 Genesis Administrative Services LLC                            XX-XXXXXXX
 Genesis CT Holdings LLC                                        XX-XXXXXXX
 Genesis CT XCL Operations LLC                                  XX-XXXXXXX
 Genesis DE Holdings LLC                                        XX-XXXXXXX
 Genesis Dynasty Operations LLC                                 XX-XXXXXXX
 Genesis Eldercare Network Services, LLC                        XX-XXXXXXX
 Genesis ElderCare Physician Services, LLC                      XX-XXXXXXX
 Genesis HealthCare LLC                                         XX-XXXXXXX
 Genesis HealthCare of Maine, LLC                               XX-XXXXXXX
 Genesis Holdings LLC                                           XX-XXXXXXX
 Genesis MA Holdings LLC                                        XX-XXXXXXX
 Genesis MD Holdings LLC                                        XX-XXXXXXX
 Genesis Midwest II Operations LLC                              XX-XXXXXXX
 Genesis NH Holdings LLC                                        XX-XXXXXXX
 Genesis NHG Operations LLC                                     XX-XXXXXXX
 Genesis NHG-GEN Operations LLC                                 XX-XXXXXXX
 Genesis NJ Holdings LLC                                        XX-XXXXXXX
 Genesis OMG Operations LLC                                     XX-XXXXXXX
 Genesis Operations III LLC                                     XX-XXXXXXX
 Genesis Operations IV LLC                                      XX-XXXXXXX
 Genesis Operations LLC                                         XX-XXXXXXX
 Genesis Operations V LLC                                       XX-XXXXXXX
 Genesis Operations VI LLC                                      XX-XXXXXXX
 Genesis Orion Operations LLC                                   XX-XXXXXXX
 Genesis PA Holdings LLC                                        XX-XXXXXXX

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 Debtor Name                                                    EIN Number
 Genesis Partnership LLC                                        XX-XXXXXXX
 Genesis Physician Services MSO, LLC                            XX-XXXXXXX
 Genesis PM CO Operations LLC                                   XX-XXXXXXX
 Genesis PM NJ Operations LLC                                   XX-XXXXXXX
 Genesis PM PA Operations LLC                                   XX-XXXXXXX
 Genesis RI Holdings LLC                                        XX-XXXXXXX
 Genesis SNI Operations LLC                                     XX-XXXXXXX
 Genesis Tang Operations LLC                                    XX-XXXXXXX
 Genesis VA Holdings LLC                                        XX-XXXXXXX
 Genesis VT Holdings LLC                                        XX-XXXXXXX
 Genesis WV Holdings LLC                                        XX-XXXXXXX
 GHC Holdings LLC                                               XX-XXXXXXX
 GHC JV Holdings LLC                                            XX-XXXXXXX
 GHC Payroll LLC                                                XX-XXXXXXX
 GHC TX Operations LLC                                          XX-XXXXXXX
 Granite Ledges JV LLC                                          XX-XXXXXXX
 Harborside Danbury Limited Partnership                         XX-XXXXXXX
 Harborside Health I LLC                                        XX-XXXXXXX
 Harborside Healthcare Advisors Limited Partnership             XX-XXXXXXX
 Harborside Healthcare Limited Partnership                      XX-XXXXXXX
 Harborside Healthcare, LLC                                     XX-XXXXXXX
 Harborside New Hampshire Limited Partnership                   XX-XXXXXXX
 Harborside Rhode Island Limited Partnership                    XX-XXXXXXX
 Harborside Toledo Business LLC                                 XX-XXXXXXX
 HBR Kentucky, LLC                                              XX-XXXXXXX
 HBR Trumbull, LLC                                              XX-XXXXXXX
 HC 63 Operations LLC                                           XX-XXXXXXX
 Kansas City Transitional Care Center, LLC                      XX-XXXXXXX
 Kennebunk Operations, LLC                                      XX-XXXXXXX
 Kennett Center, L.P.                                           XX-XXXXXXX
 KHI LLC                                                        XX-XXXXXXX
 Leasehold Resource Group, LLC                                  XX-XXXXXXX
 Lewiston Operations, LLC                                       XX-XXXXXXX
 LTC ACO, LLC                                                   XX-XXXXXXX
 Maryland Harborside, LLC                                       XX-XXXXXXX
 Magnolia JV LLC                                                XX-XXXXXXX
 Metro Therapy, Inc.                                            XX-XXXXXXX
 Nine Haywood Avenue Operations LLC                             XX-XXXXXXX
 Odd Lot LLC                                                    XX-XXXXXXX
 Orono Operations, LLC                                          XX-XXXXXXX
 PAI Participant 1, LLC                                         XX-XXXXXXX
 PAI Participant 2, LLC                                         XX-XXXXXXX
 PAI Participant 3, LLC                                         XX-XXXXXXX
 PAI Participant 4, LLC                                         XX-XXXXXXX
 PBR Intermediate Holdings, LLC                                 XX-XXXXXXX
 PDDTSE, LLC                                                    XX-XXXXXXX
 Peak Medical Assisted Living, LLC                              XX-XXXXXXX
 Peak Medical Las Cruces No. 2, LLC                             XX-XXXXXXX

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 Debtor Name                                                     EIN Number
 Peak Medical Las Cruces, LLC                                    XX-XXXXXXX
 Peak Medical New Mexico No. 3, LLC                              XX-XXXXXXX
 Peak Medical Roswell, LLC                                       XX-XXXXXXX
 Peak Medical, LLC                                               XX-XXXXXXX
 Pine Tree Villa LLC                                             XX-XXXXXXX
 Post-Acute Innovations, LLC                                     XX-XXXXXXX
 Powerback Pediatrics of Arkansas, LLC                           XX-XXXXXXX
 Powerback Pediatrics of Georgia, LLC                            XX-XXXXXXX
 Powerback Pediatrics of Missouri, LLC                           XX-XXXXXXX
 Powerback Pediatrics of Nebraska, LLC                           XX-XXXXXXX
 Powerback Pediatrics of South Carolina, LLC                     XX-XXXXXXX
 Powerback Pediatrics of Vermont, LLC                            XX-XXXXXXX
 Powerback Rehabilitation, LLC                                   XX-XXXXXXX
 PRMC/GEC at Salisbury Center, LLC                               XX-XXXXXXX
 Property Resource Holdings, LLC                                 XX-XXXXXXX
 Regency Health Services, LLC                                    XX-XXXXXXX
 Respiratory Health Services LLC                                 XX-XXXXXXX
 Romney Health Care Center Limited Partnership                   XX-XXXXXXX
 Route 92 Operations LLC                                         XX-XXXXXXX
 Saddle Shop Road Operations LLC                                 XX-XXXXXXX
 Salisbury JV LLC                                                XX-XXXXXXX
 Scarborough Operations, LLC                                     XX-XXXXXXX
 SHG Partnership, LLC                                            XX-XXXXXXX
 SHG Resources, LLC                                              XX-XXXXXXX
 Skies Healthcare and Rehabilitation Center, LLC                 XX-XXXXXXX
 Skiles Avenue and Sterling Drive Urban Renewal Operations LLC   XX-XXXXXXX
 Skilled Healthcare, LLC                                         XX-XXXXXXX
 Skowhegan SNF Operations, LLC                                   XX-XXXXXXX
 St. Anthony Healthcare and Rehabilitation Center, LLC           XX-XXXXXXX
 St. Catherine Healthcare and Rehabilitation Center, LLC         XX-XXXXXXX
 St. John Healthcare and Rehabilitation Center, LLC              XX-XXXXXXX
 St. Theresa Healthcare and Rehabilitation Center, LLC           XX-XXXXXXX
 State Street Associates, L.P.                                   XX-XXXXXXX
 State Street Kennett Square, LLC                                XX-XXXXXXX
 Stillwell Road Operations LLC                                   XX-XXXXXXX
 Summit Care Parent, LLC                                         XX-XXXXXXX
 Summit Care, LLC                                                XX-XXXXXXX
 Sun Healthcare Group, Inc.                                      XX-XXXXXXX
 SunBridge Beckley Health Care LLC                               XX-XXXXXXX
 SunBridge Care Enterprises, LLC                                 XX-XXXXXXX
 SunBridge Clipper Home of North Conway, LLC                     XX-XXXXXXX
 SunBridge Clipper Home of Wolfeboro, LLC                        XX-XXXXXXX
 SunBridge Dunbar Health Care LLC                                XX-XXXXXXX
 SunBridge Gardendale Health Care Center, LLC                    XX-XXXXXXX
 SunBridge Goodwin Nursing Home, LLC                             XX-XXXXXXX
 SunBridge Healthcare, LLC                                       XX-XXXXXXX
 SunBridge Nursing Home, LLC                                     XX-XXXXXXX
 SunBridge Putnam Health Care LLC                                XX-XXXXXXX

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 Debtor Name                                                   EIN Number
 SunBridge Regency-North Carolina, LLC                         XX-XXXXXXX
 SunBridge Regency-Tennessee, LLC                              XX-XXXXXXX
 SunBridge Retirement Care Associates, LLC                     XX-XXXXXXX
 SunBridge Salem Health Care LLC                               XX-XXXXXXX
 SunDance Rehabilitation Agency, LLC                           XX-XXXXXXX
 SunDance Rehabilitation Holdco, Inc.                          XX-XXXXXXX
 SunDance Rehabilitation, LLC                                  XX-XXXXXXX
 The Rehabilitation Center of Albuquerque, LLC                 XX-XXXXXXX
 Thirty Five Bel-Aire Drive SNF Operations LLC                 XX-XXXXXXX
 Three Mile Curve Operations LLC                               XX-XXXXXXX
 Waterville SNF Operations LLC                                 XX-XXXXXXX
 Westbrook Operations, LLC                                     XX-XXXXXXX
 Westwood Medical Park Operations LLC                          XX-XXXXXXX




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                                   EXHIBIT 2

                                Initial DIP Budget
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DIP Budget

                                                  wk 1        wk 2        wk 3       wk 4       wk 5        wk 6        wk 7        wk 8      8-Wk
                                                 Fcst.       Fcst.       Fcst.       Fcst.      Fcst.      Fcst.       Fcst.       Fcst.      Fcst.
                                                  Post        Post        Post       Post       Post        Post        Post        Post      Post
($ in millions)                                 7/11/25     7/18/25     7/25/25     8/1/25     8/8/25     8/15/25     8/22/25     8/29/25     Total
1    Operating Receipts                            24.3        43.5        68.3       43.6       53.7        55.9        50.0        72.3       411.7
2    Payroll & Benefits                             (4.0)      (33.5)      (27.4)     (34.2)     (26.5)      (34.0)      (26.3)      (34.1)     (220.0)
3    Insurance                                       -           -          (2.6)      (0.6)       -           -           -           -          (3.3)
4    Provider Assessments                            -          (6.9)       (6.2)      (2.9)      (4.7)       (1.6)       (1.3)       (0.4)      (24.1)
5    Trade Payables                                 (8.0)      (14.0)      (19.3)     (11.3)     (11.2)      (11.2)      (11.2)      (11.2)      (97.3)
6    Utilities                                       -           0.0        (0.6)      (1.0)      (1.0)       (1.0)       (1.0)       (1.0)       (5.7)
7    Rent & Related                                  -          (2.6)       (2.1)       -        (22.0)        -          (3.6)       (2.1)      (32.5)
8    Subtotal - Operating Disbursements          ($12.0)     ($57.0)     ($58.2)    ($50.0)    ($65.4)     ($47.8)     ($43.5)     ($48.8)    ($382.9)
9    Net Operating Cash Flows                    $12.3       ($13.5)     $10.1       ($6.4)    ($11.7)       $8.1        $6.5      $23.5        $28.8
10   Interest Payments & Fees                        -           -          (3.2)       -          -           -           -          (3.3)       (6.5)
11   Professional Fees                              (1.5)       (1.4)       (1.4)      (1.4)      (2.1)       (1.8)       (1.8)       (1.8)      (13.2)
12   US Trustee Fees                                 -           -           -          -          -           -           -           -           -
13   Other Restructuring Disbursements              (0.1)       (4.1)       (0.1)      (0.1)      (0.1)       (1.6)       (0.1)       (0.1)       (6.3)
14   Subtotal - Restructuring Disbursements       ($1.6)      ($5.5)      ($4.6)     ($1.5)     ($2.2)      ($3.4)      ($1.9)      ($5.3)     ($26.0)
15 Net Cash Flow                                 $10.7       ($18.9)       $5.5      ($7.8)    ($13.9)       $4.6        $4.6      $18.2         $2.9
16   Beginning Op. Book Cash Balance               2.5         25.2        6.2        11.7        3.9        7.9         12.5       17.1          2.5
17   (+/-): Net Cash Flow                         10.7        (18.9)       5.5         (7.8)    (13.9)       4.6          4.6       18.2          2.9
18   (+): DIP Draw                                12.0          -          -            -        18.0        -            -          -           30.0
19   Ending Op. Book Cash Balance                $25.2         $6.2      $11.7        $3.9       $7.9      $12.5        $17.1      $35.4        $35.4
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                                   EXHIBIT B

                               Proposed Final Order

                                    [To come]
